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                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

BOARD OF COMMISSIONERS OF LUCAS
COUNTY, OHIO, MENTAL HEALTH &             Case No.   3:18-cv-2445
RECOVERY SERVICES BOARD of LUCAS
COUNTY, AND LUCAS COUNTY CHILDREN
SERVICES BOARD OF TRUSTEES,

                       Plaintiff,           COMPLAINT

     vs.                                    DEMAND FOR JURY TRIAL

PURDUE PHARMA L.P., PURDUE PHARMA
INC., THE PURDUE FREDERICK COMPANY,
INC., ENDO HEALTH SOLUTIONS INC.,
ENDO PHARMACEUTICALS, INC., JANSSEN
PHARMACEUTICALS, INC., JANSSEN
PHARMACEUTICA, INC. N/K/A JANSSEN
PHARMACEUTICALS, INC., NORAMCO,
INC., ORTHOMCNEIL-JANSSEN
PHARMACEUTICALS, INC. N/K/A JANSSEN
PHARMACEUTICALS, INC., JOHNSON &
JOHNSON, TEVA PHARMACEUTICAL
INDUSTRIES LTD., TEVA
PHARMACEUTICALS USA, INC.,
CEPHALON, INC., ALLERGAN PLC F/K/A
ACTAVIS PLC, ALLERGAN FINANCE, LLC
F/K/A ACTAVIS, INC., WATSON
PHARMACEUTICALS, INC. N/K/A ACTAVIS,
INC., WATSON LABORATORIES, INC.,
ACTAVIS, LLC, ACTAVIS PHARMA, INC.
f/k/a WATSON PHARMA, INC., INSYS
THERAPEUTICS, INC., MALLINCKRODT
PLC, MALLINCKRODT LLC, CARDINAL
HEALTH, INC., MCKESSON CORPORATION,
AMERISOURCEBERGEN CORPORATION,
CVS HEALTH CORPORATION, THE
KROGER CO., RITEAID OF MARYLAND,
INC. D/B/A RITEAID MID-ATLANTIC
CUSTOMER SUPPORT CENTER, INC.,
WALGREENS BOOTS ALLIANCE, INC.
A/K/A WALGREEN CO., WALMART INC.
F/K/A WALMART STORES, INC., H. D.
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SMITH, LLC D/B/A HD SMITH, F/K/A H. D.
SMITH WHOLESALE DRUG CO., H. D.
SMITH HOLDINGS, LLC., H. D. SMITH
HOLDING COMPANY, and MIAMI-LUKEN,
INC.

                        Defendants.
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       1.      The Board of Commissioners of Lucas County, Ohio, the Mental Health &

Recovery Services Board of Lucas County and Lucas County Children Services Board of

Trustees (collectively “Plaintiffs”)1 bring this action to prevent future harm and to redress past

wrongs against Defendants: Purdue Pharma, L.P.; Purdue Pharma, Inc.; The Purdue Frederick

Company, Inc.; Endo Health Solutions Inc.; Endo Pharmaceuticals, Inc.; Janssen

Pharmaceuticals, Inc.; Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc.;

Noramco, Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc.;

Johnson & Johnson; Teva Pharmaceutical Industries Ltd.; Teva Pharmaceuticals USA, Inc.;

Cephalon, Inc.; Allergan PLC f/k/a Actavis PLC; Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a

Watson Pharmaceuticals, Inc.; Watson Laboratories, Inc.; Actavis, LLC; Actavis Pharma, Inc.

f/k/a Watson Pharma Inc.; Insys Therapeutics, Inc.; Mallinckrodt PLC; Mallinckrodt LLC;

Cardinal Health Inc.; McKesson Corporation; AmerisourceBergen Corporation; CVS Health

Corporation; The Kroger Co.; Rite Aid of Maryland, Inc. D/B/A RiteAid Mid-Atlantic Customer

Support Center, Inc.; Walgreens Boots Alliance, Inc. A/K/A Walgreen Co.; Walmart Inc. F/K/A

Walmart Stores, Inc.; H.D. Smith, LLC d/b/a H.D. Smith, f/k/a H.D. Smith Wholesale Drug Co.;

H.D. Smith Holding Company; and Miami-Luken, Inc. Plaintiffs assert two categories of claims:

claims against the pharmaceutical manufacturers of prescription opioid drugs that engaged in a

massive false marketing campaign to drastically expand the market for such drugs and their own

market share, and claims against entities in the supply chain that reaped enormous financial

rewards by refusing to monitor and restrict the improper distribution of those drugs.



1
 The term “Plaintiffs” hereinafter shall refer collectively to the Board of Commissioners of
Lucas County, the Mental Health & Recovery Services Board of Lucas County, and Lucas
County Children Services Board of Trustees, , except where otherwise specified.



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                                       INTRODUCTION

       2.      This case arises from the worst man-made epidemic in modern medical history—

the misuse, abuse, and over-prescription of opioids.2

       3.      By now, most Americans have been affected, either directly or indirectly, by the

opioid disaster. But few realize that this crisis arose from the opioid manufacturers’ deliberately

deceptive marketing strategy to expand opioid use, together with the distributors’ equally

deliberate efforts to evade restrictions on opioid distribution. Manufacturers and distributors

alike acted without regard for the lives that would be trammeled in pursuit of profit.

       4.      Since the push to expand prescription opioid use began in the late 1990s, the

death toll has steadily climbed, with no sign of slowing. The number of opioid overdoses in the

United States rose from 8,000 in 1999 to over 20,000 in 2009, and over 33,000 in 2015.3 In the

twelve months that ended in September 2017, opioid overdoses claimed 45,000 lives.

       5.      From 1999 through 2016, overdoses killed more than 350,000 Americans.4 Over

200,000 of them, more than were killed in the Vietnam War, died from opioids prescribed by

doctors to treat pain.5 These opioids include brand-name prescription medications such as

OxyContin, Opana ER, Vicodin, Subsys, and Duragesic, as well as generics like oxycodone,

hydrocodone, and fentanyl.



2
 Unless otherwise indicated, as used herein, the term “opioid” refers to the entire family of
opiate drugs including natural, synthetic and semi-synthetic opiates.
3
  Overdose Death Rates, NIH Nat’l Inst. on Drug Abuse, https://www.drugabuse.gov/related-
topics/trends-statistics/overdose-death-rates (revised Sept. 2017).
4
 Understanding the Epidemic, Ctrs. for Disease Control and Prevention,
https://www.cdc.gov/drugoverdose/epidemic/index.html (last updated Aug. 30, 2017).
5
 Prescription Opioid Overdose Data, Ctrs. for Disease Control and Prevention,
https://www.cdc.gov/drugoverdose/data/overdose.html (last updated Aug. 1, 2017).



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       6.      Most of the overdoses from non-prescription opioids are also directly related to

prescription pills. Many opioid users, having become addicted to but no longer able to obtain

prescription opioids, have turned to heroin. According to the American Society of Addiction

Medicine, 80% of people who initiated heroin use in the past decade started with prescription

opioids—which, at the molecular level and in their effect, closely resemble heroin. In fact,

people who are addicted to prescription opioids are 40 times more likely to become addicted to

heroin, and the Centers for Disease Control and Prevention (“CDC”) identified addiction to

prescription opioids as the strongest risk factor for heroin addiction.

       7.      As a result, in part, of the proliferation of opioid pharmaceuticals between the late

1990s and 2015, the life expectancy for Americans decreased for the first time in recorded

history. Drug overdoses are now the leading cause of death for Americans under 50.

       8.      In the words of Robert Anderson, who oversees death statistics at the Centers for

Disease Control and Prevention, “I don’t think we’ve ever seen anything like this. Certainly not

in modern times.” On October 27, 2017, the President declared the opioid epidemic a public

health emergency.

       9.      This suit takes aim at the two primary causes of the opioid crisis: (a) a marketing

scheme involving the false and deceptive marketing of prescription opioids, which was designed

to dramatically increase the demand for and sale of opioids and opioid prescriptions; and (b) a

supply chain scheme, pursuant to which the various entities in the supply chain failed to design

and operate systems to identify suspicious orders of prescription opioids, maintain effective

controls against diversion, and halt suspicious orders when they were identified, thereby

contributing to the oversupply of such drugs and fueling an illegal secondary market.




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       10.     On the demand side, the crisis was precipitated by the defendants who

manufacture, sell, and market prescription opioid painkillers (“Marketing Defendants”).

Through a massive marketing campaign premised on false and incomplete information, the

Marketing Defendants engineered a dramatic shift in how and when opioids are prescribed by the

medical community and used by patients. The Marketing Defendants relentlessly and

methodically, but untruthfully, asserted that the risk of addiction was low when opioids were

used to treat chronic pain, and overstated the benefits and trivialized the risk of the long-term use

of opioids.

       11.     The Marketing Defendants’ goal was simple: to dramatically increase sales by

convincing doctors to prescribe opioids not only for the kind of severe pain associated with

cancer or short-term post-operative pain, but also for common chronic pains, such as back pain

and arthritis. They did this even though they knew that opioids were addictive and subject to

abuse, and that their other claims regarding the risks, benefits, and superiority of opioids for

long-term use were untrue and unfounded.

       12.     The Marketing Defendants’ push to increase opioid sales worked. Through their

publications and websites, endless stream of sales representatives, “education” programs, and

other means, Marketing Defendants dramatically increased their sales of prescription opioids and

reaped billions of dollars of profit as a result. Since 1999, the amount of prescription opioids sold

in the U.S. nearly quadrupled. In 2016, 289 million prescriptions for opioids were filled in the

U.S.—enough to medicate every adult in America around the clock for a month.

       13.     Meanwhile, the Defendants made blockbuster profits. In 2012 alone, opioids

generated $8 billion in revenue for drug companies. By 2015, sales of opioids grew to

approximately $9.6 billion.




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       14.     On the supply side, the crisis was fueled and sustained by those involved in the

supply chain of opioids, including manufacturers, distributors, and pharmacies (together,

“Defendants”), who failed to maintain effective controls over the distribution of prescription

opioids, and who instead have actively sought to evade such controls. Defendants have

contributed substantially to the opioid crisis by selling and distributing far greater quantities of

prescription opioids than they know could be necessary for legitimate medical uses, while failing

to report, and to take steps to halt suspicious orders when they were identified, thereby

exacerbating the oversupply of such drugs and fueling an illegal secondary market.

       15.     From the day they made the pills to the day those pills were consumed in our

community, these manufacturers had control over the information regarding addiction they chose

to spread and emphasize as part of their massive marketing campaign. By providing misleading

information to doctors about addiction being rare and opioids being safe even in high doses, then

pressuring doctors into prescribing their products by arguing, among other things, that no one

should be in pain, the Marketing Defendants created a population of addicted patients who

sought opioids at never-before-seen rates. The scheme worked, and through it the Marketing

Defendants caused their profits to soar as more and more people became dependent on opioids.

Today, as many as 1 in 4 patients who receive prescription opioids long-term for chronic pain in

a primary care setting struggles with addiction. And as of 2017, overdose death rates involving

prescription opioids were five times higher than they were in 1999.

       16.     As millions became addicted to opioids, “pill mills,” often styled as “pain

clinics,” sprouted nationwide and rogue prescribers stepped in to supply prescriptions for non-

medical use. These pill mills, typically under the auspices of licensed medical professionals,

issue high volumes of opioid prescriptions under the guise of medical treatment. Prescription




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opioid pill mills and rogue prescribers cannot channel opioids for illicit use without at least the

tacit support and willful blindness of the Defendants, if not their knowing support.

           17.    As a direct and foreseeable result of Defendants’ conduct, cities and counties

across the nation, including Plaintiff, are now swept up in what the CDC has called a “public

health epidemic” and what the U.S. Surgeon General has deemed an “urgent health crisis.”6 The

increased volume of opioid prescribing correlates directly to skyrocketing addiction, overdose,

and death; black markets for diverted prescription opioids; and a concomitant rise in heroin and

fentanyl abuse by individuals who could no longer legally acquire—or simply could not afford—

prescription opioids.

           18.    Thus, rather than compassionately helping patients in pain, this explosion in

opioid use—and Defendants’ profits—has come at the expense of patients and Plaintiffs has

caused ongoing harm and damages to Plaintiffs. As the CDC director concluded in 2014: “We

know of no other medication routinely used for a nonfatal condition that kills patients so

frequently.”7

           19.    Defendants’ conduct in promoting opioid use, addiction, abuse, overdose and

death has had severe and far-reaching public health, social services, and criminal justice

consequences, including the fueling of addiction and overdose from illicit drugs such as heroin.

The costs are borne by Plaintiffs and other governmental entities and agencies. These necessary

and costly responses to the opioid crisis include the handling of emergency responses to

overdoses, providing addiction treatment, handling opioid-related investigations, arrests,


6
 CDC, Examining the Growing Problems of Prescription Drug and Heroin Abuse (Apr. 29,
2014), available at http://www,cdc,give.washington/testimony/2014/t20140429.htm; Vivek H.
Murthy, Letter from the Surgeon General, August 2016, available at http://turnthetiderx.org.
7
    Id.



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adjudications, and incarceration, treating opioid-addicted newborns in neonatal intensive care

units, burying the dead, and placing thousands of children in foster care placements, among

others.

          20.   The burdens imposed on Plaintiffs are not the normal or typical burdens of

government programs and services. Rather, these are extraordinary costs and losses that are

directly related to Defendants’ illegal actions. The Defendants’ conduct has created a public

nuisance and a blight. Governmental entities, and the services they provide their citizens, have

been strained to the breaking point by this public health crisis.

          21.   Defendants have not changed their ways or corrected their past misconduct but

instead are continuing to fuel the crisis.

          22.   Within the next hour, six Americans will die from opioid overdoses; two babies

will be born dependent on opioids and begin to go through withdrawal; and drug manufacturers

will earn over $2.7 million from the sale of opioids.

          23.   The Board of Commissioners of Lucas County, Mental Health and Recovery

Services Board of Lucas County and Lucas County Children Services Board of Trustees have

filed this suit to bring the devastating march of this epidemic to a halt and to hold Defendants

responsible for the crisis they caused.

                                  JURISDICTION AND VENUE

          24.   This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 because

Plaintiffs’ claims under the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18

U.S.C. § 1961 et seq., raise a federal question. This Court has supplemental jurisdiction over the

Plaintiffs’ state-law claims under 28 U.S.C. § 1367 because those claims are so related to the

RICO claim as to form part of the same case or controversy.




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        25.      This Court has personal jurisdiction over all Defendants because the causes of

action alleged in this Complaint arise out of each Defendants’ transacting business in Ohio,

contracting to supply services or goods in this state, causing tortious injury by an act or omission

in this state, and because the Defendants regularly do or solicit business or engage in a persistent

course of conduct or deriving substantial revenue from goods used or consumed or services

rendered in this state. Defendants have purposefully directed their actions towards Ohio and/or

have the requisite minimum contacts with Ohio to satisfy any statutory or constitutional

requirements for personal jurisdiction.

        26.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) in that a

substantial part of the events or omissions giving rise to the claim occurred in this district. Venue

is also proper under 18 U.S.C. § 1965(a) because Defendants reside, are found, have agents, or

transact their affairs in this district.

                                              PARTIES

I.      PLAINTIFFS

        27.      Plaintiff Board of Commissioners of Lucas County, Ohio (“Plaintiff BCLC” or

“Plaintiff Board of Commissioners ”) is a political subdivision of the State of Ohio, which may

sue and plead in its own name.

        28.      Plaintiff Board of Commissioners is responsible for the public health, safety and

welfare of its citizens.

        29.      Plaintiff Board of Commissioners has declared, inter alia, that opioid abuse,

addiction, morbidity and mortality has created a serious public health and safety crisis, and is a

public nuisance, and that the diversion of legally produced controlled substances into the illicit

market causes or contributes to this public nuisance.




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       30.     Plaintiff Mental Health & Recovery Services Board of Lucas County (“Plaintiff

MHRSB”) is the Lucas County Board established pursuant to Ohio Revised Code Chapter 340.

It is charged with, among other things:

               a) Serving as the community addiction and mental health planning agency for

                   the county or counties under its jurisdiction,

               b) Evaluating the need for addiction services and recovery supports, and

               c) Preparing a plan that addresses the needs and establishes priorities for

                   treatment and prevention of drug addiction.

       31.     Contracting for the delivery of such services and monitoring the performance and

effectiveness of such contracts. Plaintiff Lucas County Children Services Board of Trustees

(“Plaintiff CSB”) is an agency established by the Lucas County Board of Commissioners,

pursuant to Chapter 5153 of the Ohio Revised Code. It is charged with the duties set out at R.C.

§5153.16, which include but are not limited to the investigation of any child alleged to be an

abused, neglected, or dependent, accepting custody of any such child, entering into contracts for

the care of any such child, provide care for any child deemed to be in need of such care, and

enter into contracts for such care and other services, as set out in more detail in the statute.

       32.     The distribution and diversion of opioids into Ohio and into Lucas County and

surrounding areas (collectively, “Plaintiffs’ Community”), created the foreseeable opioid crisis

and opioid public nuisance for which Plaintiffs here seek relief.

       33.     Plaintiffs directly and foreseeably sustained all economic damages alleged herein.

Defendants’ conduct has exacted a financial burden for which the Plaintiffs seek relief. These

damages have been suffered, and continue to be suffered directly, by the Plaintiffs.




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       34.     Plaintiffs also seek the means to abate the epidemic created by Defendants’

wrongful and/or unlawful conduct.

       35.     Plaintiffs have standing to bring an action for the opioid epidemic nuisance

created by Defendants.

       36.     Plaintiffs have standing to recover damages incurred as a result of Defendants’

actions and omissions. Plaintiffs have standing to bring all claims pled herein, including, inter

alia, to bring claims under the federal RICO statute, pursuant to 18 U.S.C. § 1961(3) (“persons”

include entities which can hold legal title to property) and 18 U.S.C. § 1964 (“persons” have

standing).

II.    DEFENDANTS

       A.      Marketing Defendants.

       37.     At all relevant times, the Marketing Defendants each of whom is defined below,

have packaged, distributed, supplied, sold, placed into the stream of commerce, labeled,

described, marketed, advertised, promoted and purported to warn or purported to inform

prescribers and users regarding the benefits and risks associated with the use of the prescription

opioid drugs. The Marketing Defendants, at all times, have manufactured and sold prescription

opioids without fulfilling their legal duty to prevent diversion and report suspicious orders.

               a.      Purdue Entities

       38.     Defendant Purdue Pharma L.P. (“PPL”) is a limited partnership organized under

the laws of Delaware with its principal place of business in Stamford, Connecticut. None of the

PPL’s partners have citizenship in the State of Ohio.

       39.     Defendant Purdue Pharma Inc. (“PPI”) is a New York corporation with its

principal place of business in Stamford, Connecticut.




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       40.      Defendant The Purdue Frederick Company, Inc. (“PFC”) is a New York

corporation with its principal place of business in Stamford, Connecticut.

       41.      PPL, PPI, and PFC (collectively, “Purdue”) are engaged in the manufacture,

promotion, distribution, and sale of opioids nationally, and in Lucas County, including the

following:

    Product          Chemical Name                                                 Schedule8
    Name
    OxyContin        Oxycodone hydrochloride, extended release                     Schedule II
    MS Contin        Morphine sulfate, extended release                            Schedule II
    Dilaudid         Hydromorphone hydrochloride                                   Schedule II
    Dilaudid-HP      Hydromorphone hydrochloride                                   Schedule II
    Butrans          Buprenorphine                                                 Schedule III
    Hysinga ER       Hydrocodone bitrate                                           Schedule II
    Targiniq ER      Oxycodone hydrochloride and naloxone hydrochloride            Schedule II

       42.      Purdue made thousands of payments to physicians nationwide, including in Ohio,

ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids.




8
  Since passage of the Controlled Substances Act (“CSA”) in 1970, opioids have been regulated
as controlled substances. As controlled substances, they are categorized in five schedules,
ranked in order of their potential for abuse, with Schedule I being the most dangerous. The CSA
imposes a hierarchy of restrictions on prescribing and dispensing drugs based on their medicinal
value, likelihood of addiction or abuse, and safety. Opioids generally had been categorized as
Schedule II or Schedule III drugs; hydrocodone and tapentadol were recently reclassified from
Schedule III to Schedule II. Schedule II drugs have a high potential for abuse, and may lead to
severe psychological or physical dependence. Schedule III drugs are deemed to have a lower
potential for abuse, but their abuse still may lead to moderate or low physical dependence or high
psychological dependence.



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        43.     OxyContin is Purdue’s largest-selling opioid. Since 2009, Purdue’s national

annual sales of OxyContin have fluctuated between $2.47 billion and $3.1 billion, up four-fold

from 2006 sales of $800 million. OxyContin constitutes roughly 30% of the entire market for

analgesic drugs (i.e., painkillers). Sales of OxyContin (launched in 1996) went from a mere $49

million in its first full year on the market to $1.6 billion in 2002.

        44.     In 2007, Purdue settled criminal and civil charges against it for misbranding

OxyContin and agreed to pay the United States $635 million – at the time, one of the largest

settlements with a drug company for marketing misconduct. None of this stopped Purdue. In

fact, Purdue continued to create the false perception that opioids were safe and effective for long

term use, even after being caught, by using unbranded marketing methods to circumvent the

system. In short, Purdue paid the fine when caught and then continued business as usual,

deceptively marketing and selling billions of dollars of opioids each year.

                b.      Actavis Entities

        45.     Allergan PLC is a public limited company incorporated in Ireland with its

principal place of business in Dublin, Ireland. Actavis PLC acquired Allergan PLC in March

2015, and the combined company changed its name to Allergan PLC in January 2013.

Defendant Actavis, Inc. was acquired by Watson Pharmaceuticals, Inc. in October 2012, and the

combined company changed its name to Actavis, Inc. as of January 2013 and then Actavis PLC

in October 2013. Defendant Watson Laboratories, Inc. is a Nevada corporation with its principal

place of business in Corona, California, and is a wholly owned subsidiary of Allergan PLC

(Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a Watson Pharmaceuticals, Inc.). Defendant

Actavis Pharma, Inc. is registered to do business with the Nebraska Secretary of State as a

Delaware corporation with its principal place of business in New Jersey and was formerly known

as Watson Pharma, Inc. Defendant Actavis LLC is a Delaware limited liability company with its


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principal place of business in Parsippany, New Jersey. Each of these defendants and entities is

owned by Defendant Allergan PLC, which uses them to market and sell its drugs in the United

States. Collectively, these defendants and entities are referred to as “Actavis”.

       46.      Actavis manufactures or has manufactured the following drugs as well as generic

versions of Kadian, Duragesic, and Opana in the United States:



    Product          Chemical Name                                                  Schedule
    Name
    Kadian           Morphine sulfate, extended release                             Schedule II
    Norco            Hydrocodone bitartate and acetaminophen                        Schedule II

       47.     Actavis made thousands of payments to physicians nationwide including in Ohio,

ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids.

               c.      Cephalon Entities

       48.     Defendant Teva Pharmaceuticals USA, Inc. (“Teva USA”) is a Delaware

corporation with its principal place of business in North Whales, Pennsylvania. Teva USA was

in the business of selling generic opioids, including a generic form of OxyContin from 2005 to

2009. Teva USA is a wholly-owned subsidiary of Defendant Teva Pharmaceutical Industries,

Ltd. (“Teva Ltd.”), an Israeli corporation (collectively “Teva”).

       49.     Defendant Cephalon, Inc. is a Delaware corporation with its principal place of

business in Frazer, Pennsylvania. In 2011, Teva Ltd. acquired Cephalon, Inc.




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       50.     Teva USA and Cephalon, Inc. (collectively, “Cephalon”) work together to

manufacture, promote, distribute and sell both brand name and generic versions of the opioids

including the following:

                    Product Name       Chemical Name         Schedule
                    Actiq              Fentanyl citrate      Schedule II
                    Fentora            Fentanyl buccal       Schedule II

       51.     From 2000 forward, Cephalon has made thousands of payments to physicians

nationwide, including in Ohio, ostensibly for activities including participating on speakers’

bureaus, providing consulting services, assisting in post-marketing safety surveillance and other

services, many of whom were not oncologists and did not treat cancer pain, but in fact to

deceptively promote and maximize the use of opioids.

               d.       Janssen Entities

       52.     Defendant Johnson & Johnson (“J&J”) is a New Jersey corporation with its

principal place of business in New Brunswick, New Jersey.

       53.     Defendant Janssen Pharmaceuticals, Inc. (“Janssen Pharmaceuticals”) is a

Pennsylvania corporation with its principal place of business in Titusville, New Jersey, and is a

wholly-owned subsidiary of J&J. J&J corresponds with the FDA regarding Janssen’s products.

Janssen Pharmaceuticals, Inc. was formerly known as Ortho-McNeil-Janssen Pharmaceuticals,

Inc., which in turn was formerly known as Janssen Pharmaceutica, Inc.

       54.     Defendant Noramco, Inc. (“Noramco”) is a Delaware company headquartered in

Wilmington, Delaware and was a wholly owned subsidiary of J&J and its manufacturer of active

pharmaceutical ingredients until July 2016 when J&J sold its interests to SK Capital.




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         55.    Defendant Ortho-McNeil-Janssen Pharmaceuticals, Inc. (“OMP”), now known as

Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of business

in Titusville, New Jersey.

         56.    Defendant Janssen Pharmaceutica, Inc. (“Janssen Pharmaceutica”), now known as

Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of business

in Titusville, New Jersey.

         57.    J&J, Janssen Pharmaceuticals, OMP, and Janssen Pharmaceutica (collectively,

“Janssen”) are or have been engaged in the manufacture, promotion, distribution, and sale of

opioids nationally, and in Lucas County. Among the drugs Janssen manufactures or

manufactured are the following:

           Product           Chemical Name                                 Schedule
           Name
           Duragesic         Fentanyl                                      Schedule II
           Nucynta9          Tapentadol hydrochloride, immediate           Schedule II
                             release
           Nucynta ER        Tapentadol hydrochloride, extended            Schedule II
                             release

         58.    Janssen made thousands of payments to physicians nationwide, including in Ohio,

ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids. Together, Nucynta and Nucynta ER

accounted for $172 million in sales in 2014. Prior to 2009, Duragesic accounted for at least $1

billion in annual sales.



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    Depomed, Inc. acquired the rights to Nucynta and Nucynta ER from Janssen in 2015.



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       59.     Janssen, like many other companies, has a corporate code of conduct, which

clarifies the organization’s mission, values and principles. Janssen’s employees are required to

read, understand and follow its Code of Conduct for Health Care Compliance. Johnson &

Johnson imposes this code of conduct on Janssen as a pharmaceutical subsidiary of Johnson &

Johnson. Documents posted on Johnson & Johnson’s and Janssen’s websites confirm Johnson &

Johnson’s control of the development and marketing of opioids by Janssen. Janssen’s website

“Ethical Code for the Conduct of Research and Development,” names only Johnson & Johnson

and does not mention Janssen anywhere within the document. The “Ethical Code for the

Conduct of Research and Development” posted on the Janssen website is Johnson & Johnson’s

company-wide Ethical Code, which it requires all of its subsidiaries to follow.

       60.     The “Every Day Health Care Compliance Code of Conduct” posted on Janssen’s

website is a Johnson & Johnson company-wide document that describes Janssen as one of the

“Pharmaceutical Companies of Johnson & Johnson” and as one of the “Johnson & Johnson

Pharmaceutical Affiliates.” It governs how “[a]ll employees of Johnson & Johnson

Pharmaceutical Affiliates,” including those of Janssen, “market, sell, promote, research, develop,

inform and advertise Johnson & Johnson Pharmaceutical Affiliates’ products.” All Janssen

officers, directors, employees, sales associates must certify that they have “read, understood and

will abide by” the code. The code governs all of the forms of marketing at issue in this case.

       61.     J&J made payments to thousands of physicians nationwide, including in Ohio,

ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids.




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               e.      Endo Entities

       62.     Defendant Endo Health Solutions Inc. (“EHS”) is a Delaware corporation with its

principal place of business in Malvern, Pennsylvania.

       63.     Defendant Endo Pharmaceuticals, Inc. (“EPI”) is a wholly-owned subsidiary of

EHS and is a Delaware corporation with its principal place of business in Malvern, Pennsylvania.

       64.     EHS and EPI (collectively, “Endo”) manufacture opioids sold nationally, and in

Lucas County. Among the drugs Endo manufactures or manufactured are the following:

 Product Name       Chemical Name                                         Schedule
 Opana ER           Oxymorphone hydrochloride, extended release           Schedule II
 Opana              Oxymorphone hydrochloride                             Schedule II
 Percodan           Oxycodone                                             Schedule II
 Percocet           Oxycodone                                             Schedule II
 Generic            Oxycodone                                             Schedule II
 Generic            Oxymorphone                                           Schedule II
 Generic            Hydromorphone                                         Schedule II
 Generic            Hydrocodone                                           Schedule II

       65.     Endo made thousands of payments to physicians nationwide, including in Ohio,

ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids.

       66.     Opioids made up roughly $403 million of Endo’s overall revenues of $3 billion in

2012, accounting for over 10% of Endo’s total revenue; Opana ER yielded revenue of $1.15

billion from 2010 to 2013. Endo also manufactures and sells generic opioids, both directly and

through its subsidiary, Qualitest Pharmaceuticals, Inc., including generic oxycodone,

oxymorphone, hydromorphone, and hydrocodone products.




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       67.     The Food and Drug Administration requested that Endo remove Opana ER from

the market in June 2017. The FDA relied on post-marketing data in reaching its conclusion

based on risk of abuse.10

               f.      Insys Therapeutics, Inc.

       68.     Insys Therapeutics, Inc. is a Delaware corporation with its principal place of

business in Chandler, Arizona. Insys’s principal product and source of revenue is Subsys:

 Product Name       Chemical Name                                         Schedule
 Subsys             Fentanyl                                              Schedule II

       69.     Insys made thousands of payments to physicians nationwide, including in Ohio,

ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids.

       70.     Subsys is a transmucosal immediate-release formulation (TIRF) of fentanyl,

contained in a single-dose spray device intended for oral, under the tongue administration.

Subsys was approved by the FDA solely for the treatment of breakthrough cancer pain.

       71.     In 2016, Insys made approximately $330 million in net revenue from Subsys.

Insys promotes, sells, and distributes Subsys throughout the United States, and in Lucas County.

       72.     Insys’s founder and owner was recently arrested and charged, along with other

Insys executives, with multiple felonies in connection with an alleged conspiracy to bribe

practitioners to prescribe Subsys and defraud insurance companies. Other Insys executives and

managers were previously indicted.

10
   FDA requests removal of OPANA ER for risks related to abuse. Available at:
https://www.fda.gov/newsevents/newsroom/pressannouncements/ucm562401.htm (accessed
August 17, 2017).



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               g.     Mallinckrodt Entities

       73.     Defendant Mallinckrodt plc is an Irish public limited company with its

headquarters in Staines-Upon-Thames, Surrey, United Kingdom. Mallinckrodt plc was

incorporated in January 2013 for the purpose of holding the pharmaceuticals business of

Covidien plc, which was fully transferred to Mallinckrodt plc in June of that year. Mallinckrodt

plc also operates under the registered business name Mallinckrodt Pharmaceuticals, with its U.S.

headquarters in Hazelwood, Missouri. Defendant Mallinckrodt LLC (together with Mallinckrodt

plc, “Mallinckrodt”) is a Delaware corporation with its headquarters in Hazelwood, Missouri.

Mallinckrodt manufactures, markets, sells and distributes pharmaceutical drugs throughout the

United States, and in Lucas County. Mallinckrodt is the largest U.S. supplier of opioid pain

medications and among the top ten generic pharmaceutical manufacturers in the United States,

based on prescriptions.

       74.     Mallinckrodt manufactures and markets two branded opioids: Exalgo, which is

extended-release hydromorphone, sold in 8, 12, 16, and 32 mg dosage strengths, and

Roxicodone, which is oxycodone, sold in 15 and 30 mg dosage strengths. In 2009, Mallinckrodt

Inc., a subsidiary of Covidien plc, acquired the U.S. rights to Exalgo. The FDA approved Exalgo

for treatment of chronic pain in 2012. Mallinckrodt further expanded its branded opioid

portfolio in 2012 by purchasing Roxicodone from Xanodyne Pharmaceuticals. In addition,

Mallinckrodt developed Xartemis XR, an extended-release combination of oxycodone and

acetaminophen, which the FDA approved in March 2014, and which Mallinckrodt has since

discontinued. Mallinckrodt promoted its branded opioid products with its own direct sales force.

       75.     While it has sought to develop its branded opioid products, Mallinckrodt has long

been a leading manufacturer of generic opioids. Mallinckrodt estimated that in 2015 it received

approximately 25% of the U.S. Drug Enforcement Administration’s (“DEA”) entire annual quota


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for controlled substances that it manufactures. Mallinckrodt also estimated, based on IMS

Health data for the same period, that its generics claimed an approximately 23% market share of

DEA Schedules II and III opioid and oral solid dose medications.11

         76.    Mallinckrodt operates a vertically integrated business in the United States:

(1) importing raw opioid materials, (2) manufacturing generic opioid products, primarily at its

facility in Hobart, New York, and (3) marketing and selling its products to drug distributors,

specialty pharmaceutical distributors, retail pharmacy chains, pharmaceutical benefit managers

that have mail-order pharmacies, and hospital buying groups.

         77.    Among the drugs Mallinckrodt manufactures or has manufactured are the

following:

 Product Name         Chemical Name                                            Schedule
 Exalgo               Hydromorphone hydrochloride, extended release            Schedule II
 Roxicodone           Oxycodone hydrochloride                                  Schedule II
 Xartemis XR          Oxycodone hydrochloride and acetaminophen                Schedule II
 Methadose            Methadone hydrochloride                                  Schedule II
 Generic              Morphine sulfate, extended release                       Schedule II
 Generic              Morphine sulfate oral solution                           Schedule II
 Generic              Fentanyl transdermal system                              Schedule II
 Generic              Oral transmucosal fentanyl citrate                       Schedule II
 Generic              Oxycodone and acetaminophen                              Schedule II
 Generic              Hydrocodone bitartrate and acetaminophen                 Schedule II
 Generic              Hydromorphone hydrochloride                              Schedule II
 Generic              Hydromorphone hydrochloride, extended release            Schedule II
 Generic              Naltrexone hydrochloride                                 unscheduled
 Generic              Oxymorphone hydrochloride                                Schedule II



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     Mallinckrodt plc 2016 Form 10-K.



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 Product Name        Chemical Name                                              Schedule
 Generic             Methadone hydrochloride                                    Schedule II
 Generic             Oxycodone hydrochloride                                    Schedule II
 Generic             Buprenorphine and naloxone                                 Schedule III

       78.     Mallinckrodt made thousands of payments to physicians nationwide, including in

Ohio, ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids.

       79.     Collectively, Purdue, Actavis, Cephalon, Janssen, Endo, Insys, and Mallinckrodt

are referred to as “Marketing Defendants.”12

       B.      Distributor Defendants

       80.     The Distributor Defendants are defined below. At all relevant times, the

Distributor Defendants have distributed, supplied, sold, and placed into the stream of commerce

the prescription opioids, without fulfilling the fundamental duty of wholesale drug distributors to

detect and warn of diversion of dangerous drugs for non-medical purposes. The Distributor

Defendants universally failed to comply with federal and/or state law. The Distributor

Defendants are engaged in “wholesale distribution,” as defined under state and federal law.

Plaintiffs allege the unlawful conduct by the Distributor Defendants is a substantial cause for the

volume of prescription opioids plaguing Plaintiffs’ community.

               a.      Cardinal Health, Inc.

       81.     Cardinal Health, Inc. (“Cardinal”) describes itself as a “global, integrated health

care services and products company,” and is the fifteenth largest company by revenue in the

12
 Together, Purdue, Cephalon, Janssen and Endo are also sometimes referred to as “RICO
Marketing Defendants.”



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U.S., with annual revenue of $121 billion in 2016. Cardinal distributes pharmaceutical drugs,

including opioids, throughout the country. Cardinal is an Ohio corporation and is headquartered

in Dublin, Ohio. Based on Defendant Cardinal’s own estimates, one of every six pharmaceutical

products dispensed to United States patients travels through the Cardinal Health network.

               b.     McKesson Corporation

       82.     McKesson Corporation (“McKesson”) is fifth on the list of Fortune 500

companies, ranking immediately after Apple and ExxonMobil, with annual revenue of $191

billion in 2016. McKesson is a wholesaler of pharmaceutical drugs that distributes opioids

throughout the country. McKesson is incorporated in Delaware, with its principal place of

business in San Francisco, California.

       83.     In January 2017, McKesson paid a record $150 million to resolve an investigation

by the U.S. Department of Justice (“DOJ”) for failing to report suspicious orders of certain

drugs, including opioids. In addition to the monetary penalty, the DOJ required McKesson to

suspend sales of controlled substances from distribution centers in Ohio, Florida, Michigan and

Colorado. The DOJ described these “staged suspensions” as “among the most severe sanctions

ever agreed to by a [Drug Enforcement Administration] registered distributor.”

               c.     AmerisourceBergen Drug Corporation

       84.     AmerisourceBergen Drug Corporation (“AmerisourceBergen”) is a wholesaler of

pharmaceutical drugs that distributes opioids throughout the country. AmerisourceBergen is the

eleventh largest company by revenue in the United States, with annual revenue of $147 billion in

2016. AmerisourceBergen’s principal place of business is located in Chesterbrook,

Pennsylvania, and it is incorporated in Delaware.




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                d.     CVS Health Corporation

        85.     Defendant CVS Health Corporation (“CVS”) is a Delaware corporation with its

principal place of business in Rhode Island. At all times relevant to this Complaint, CVS

distributed prescription opioids throughout the United States, including in Ohio and Lucas

County specifically.

                e.     The Kroger Co.

        86.     Defendant The Kroger Co. (“Kroger) is an Ohio corporation with headquarters in

Cincinnati, OH. Kroger operates 2,268 pharmacies in the United States. At all times relevant to

this Complaint, Kroger distributed prescription opioids throughout the United States, including

in Ohio and Lucas County specifically.

                f.     Rite-Aid of Maryland, Inc.

        87.     Defendant Rite Aid of Maryland, Inc., dba Rite Aid Mid-Atlantic Customer

Support Center, Inc. (“Rite Aid”), is a Maryland corporation with its principal office located in

Camp Hill, Pennsylvania. At all times relevant to this Complaint, Rite Aid distributed

prescription opioids throughout the United States, including in Ohio and Lucas County

specifically.

                g.     Walgreens Boots Alliance, Inc.

        88.     Defendant Walgreens Boots Alliance, Inc., also known as Walgreen Co.

(“Walgreens”) is a Delaware corporation with its principal place of business in Illinois. At all

times relevant to this Complaint, Walgreens distributed prescription opioids throughout the

United States, including in Ohio and Lucas County specifically.

                h.     Walmart Inc.

        89.     Defendant Walmart Inc., formerly known as Walmart Stores, Inc. (“Walmart”), is

a Delaware corporation with its principal place of business in Arkansas. At all times relevant to


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this Complaint, Walmart distributed prescription opioids throughout the United States, including

in Ohio and Lucas County specifically.

               i.      H.D. Smith

       90.     Defendants H. D. Smith, LLC d/b/a HD Smith f/k/a H. D. Smith Wholesale Drug

Co., H. D. Smith Holdings, LLC, H. D. Smith Holding Company (“H. D. Smith”) is a Delaware

corporation with its principal place of business in Springfield, Illinois. H. D. Smith is a privately

held independent pharmaceuticals distributor of wholesale brand, generic, and specialty

pharmaceuticals. At all times relevant to this Complaint, H. D. Smith distributed prescription

opioids throughout the United States, including in Ohio and Lucas County specifically.

               j.       Miami-Luken

       91.     Defendant Miami-Luken, Inc. (“Miami-Luken”) is an Ohio corporation with its

headquarters and principal place of business in Springboro, Ohio. At all times relevant to this

Complaint, Miami-Luken distributed prescription opioids throughout the United States,

including in Ohio and Lucas County specifically.

       92.     Collectively, Defendants CVS, Kroger, Rite Aid, Walgreens, and Walmart are

referred to as “National Retail Pharmacies.” Cardinal, McKesson, AmerisourceBergen, H.D.

Smith, Miami-Luken, and the National Retail Pharmacies are collectively referred to as the

“Distributor Defendants.”13

       93.     Defendants include the above-referenced entities as well as their predecessors,

successors, affiliates, subsidiaries, partnerships and divisions to the extent that they are engaged

in the manufacture, promotion, distribution, sale, and/or dispensing of opioids.


13
 Together, Purdue, Actavis, Cephalon, Janssen, Endo, Mallinckrodt, Cardinal, McKesson, and
AmerisourceBergen are sometimes referred to as “RICO Supply Chain Defendants.”



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       C.      Agency and Authority

       94.     All of the actions described in this Complaint are part of, and in furtherance of,

the unlawful conduct alleged herein, and were authorized, ordered, and/or done by Defendants’

officers, agents, employees, or other representatives while actively engaged in the management

of Defendants’ affairs within the course and scope of their duties and employment, and/or with

Defendants’ actual, apparent, and/or ostensible authority.

                                 FACTUAL ALLEGATIONS

I.     FACTS COMMON TO ALL CLAIMS14

       A.      Opioids and Their Effects

       95.     The term “opioid” refers to a class of drugs that bind with opioid receptors in the

brain and includes natural, synthetic, and semi-synthetic opioids. Natural opioids are derived

from the opium poppy. Generally used to treat pain, opioids produce multiple effects on the

human body, the most significant of which are analgesia, euphoria, and respiratory depression.

       96.     The medicinal properties of opioids have been recognized for millennia—as well

as their potential for abuse and addiction. The opium poppy contains various opium alkaloids,

three of which are used in the pharmaceutical industry today: morphine, codeine, and thebaine.

Early use of opium in Western medicine was with a tincture of opium and alcohol called

laudanum, which contains all of the opium alkaloids and is still available by prescription today.

Chemists first isolated the morphine and codeine alkaloids in the early 1800s.

       97.     In 1827, the pharmaceutical company Merck began large-scale production and

commercial marketing of morphine. During the American Civil War, field medics commonly


14
   The allegations in this complaint are made upon information and belief. Plaintiffs reserve the
right to seek leave to amend or correct this Complaint based upon analysis of ARCOS data not
yet available and upon further investigation and discovery.



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used morphine, laudanum, and opium pills to treat the wounded, and many veterans were left

with morphine addictions. By 1900, an estimated 300,000 people were addicted to opioids in the

United States, and many doctors prescribed opioids solely to prevent their patients from suffering

withdrawal symptoms. The nation’s first Opium Commissioner, Hamilton Wright, remarked in

1911, “The habit has this nation in its grip to an astonishing extent. Our prisons and our hospitals

are full of victims of it, it has robbed ten thousand businessmen of moral sense and made them

beasts who prey upon their fellows . . . it has become one of the most fertile causes of

unhappiness and sin in the United States.”15

       98.     Pharmaceutical companies tried to develop substitutes for opium and morphine

that would provide the same analgesic effects without the addictive properties. In 1898, Bayer

Pharmaceutical Company began marketing diacetylmorphine (obtained from acetylation of

morphine) under the trade name “Heroin.” Bayer advertised heroin as a non-addictive cough and

cold remedy suitable for children, but as its addictive nature became clear, heroin distribution in

the U.S. was limited to prescription only in 1914 and then banned altogether a decade later.

       99.     Although heroin and opium became classified as illicit drugs, there is little

difference between them and prescription opioids. Prescription opioids are synthesized from the

same plant as heroin, have similar molecular structures, and bind to the same receptors in the

human brain.




15
   Nick Miroff, From Teddy Roosevelt to Trump: How drug companies triggered an opioid crisis
a century ago, The Washington Post (Oct. 17, 2017), https://www.washingtonpost.com/news/
retropolis/wp/2017/09/29/the-greatest-drug-fiends-in-the-world-an-american-opioid-crisis-in-
1908/?utm_term=.7832633fd7ca.



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       100.    Due to concerns about their addictive properties, prescription opioids have usually

been regulated at the federal level as Schedule II controlled substances by the U.S. Drug

Enforcement Administration (“DEA”) since 1970.

       101.    Throughout the twentieth century, pharmaceutical companies continued to

develop prescription opioids like Percodan, Percocet, and Vicodin, but these opioids were

generally produced in combination with other drugs, with relatively low opioid content.

       102.    In contrast, OxyContin, the product whose launch in 1996 ushered in the modern

opioid epidemic, is pure oxycodone. Purdue initially made it available in the following strengths:

10 mg, 15 mg, 20 mg, 30 mg, 40 mg, 60 mg, 80 mg, and 160 mg. The weakest OxyContin

delivers as much narcotic as the strongest Percocet, and some OxyContin tablets delivered

sixteen times that.

       103.    Medical professionals describe the strength of various opioids in terms of

morphine milligram equivalents (“MME”). According to the CDC, doses at or above 50

MME/day double the risk of overdose compared to 20 MME/day, and one study found that

patients who died of opioid overdose were prescribed an average of 98 MME/day.

       104.    Different opioids provide varying levels of MMEs. For example, just 33 mg of

oxycodone provides 50 MME. Thus, at OxyContin’s twice-daily dosing, the 50 MME/day

threshold is nearly reached by a prescription of 15 mg twice daily. One 160 mg tablet of

OxyContin, which Purdue took off the market in 2001, delivered 240 MME.

       105.    The wide variation in the MME strength of prescription opioids renders

misleading any effort to capture “market share” by the number of pills or prescriptions attributed

to Purdue or other manufacturers. Purdue, in particular, focuses its business on branded, highly

potent pills, causing it to be responsible for a significant percent of the total amount of MME in




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circulation, even though it currently claims to have a small percent of the market share in terms

of pills or prescriptions.

        106.    Fentanyl is a synthetic opioid that is 100 times stronger than morphine and 50

times stronger than heroin. First developed in 1959, fentanyl is showing up more and more often

in the market for opioids created by Marketing Defendants’ promotion, with particularly lethal

consequences.

        107.    The effects of opioids vary by duration. Long-acting opioids, such as Purdue’s

OxyContin and MS Contin, Janssen’s Nucynta ER and Duragesic, Endo’s Opana ER, and

Actavis’s Kadian, are designed to be taken once or twice daily and are purported to provide

continuous opioid therapy for, in general, 12 hours. Short-acting opioids, such as Cephalon’s

Actiq and Fentora, are designed to be taken in addition to long-acting opioids to address

“episodic pain” (also referred to as “breakthrough pain”) and provide fast-acting, supplemental

opioid therapy lasting approximately 4 to 6 hours. Still other short-term opioids, such as Insys’s

Subsys, are designed to be taken in addition to long-acting opioids to specifically address

breakthrough cancer pain, excruciating pain suffered by some patients with end-stage cancer.

The Marketing Defendants promoted the idea that pain should be treated by taking long-acting

opioids continuously and supplementing them by also taking short-acting, rapid-onset opioids for

episodic or “breakthrough” pain.

        108.    Patients develop tolerance to the analgesic effect of opioids relatively quickly. As

tolerance increases, a patient typically requires progressively higher doses in order to obtain the

same perceived level of pain reduction. The same is true of the euphoric effects of opioids—the

“high.” However, opioids depress respiration, and at very high doses can and often do arrest




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respiration altogether. At higher doses, the effects of withdrawal are more severe. Long-term

opioid use can also cause hyperalgesia, a heightened sensitivity to pain.

       109.    Discontinuing opioids after more than just a few weeks of therapy will cause most

patients to experience withdrawal symptoms. These withdrawal symptoms include: severe

anxiety, nausea, vomiting, headaches, agitation, insomnia, tremors, hallucinations, delirium,

pain, and other serious symptoms, which may persist for months after a complete withdrawal

from opioids, depending on how long the opioids were used.

       110.    As a leading pain specialist doctor put it, the widespread, long-term use of opioids

“was a de facto experiment on the population of the United States. It wasn’t randomized, it

wasn’t controlled, and no data was collected until they started gathering death statistics.”

       B.      The Resurgence of Opioid Use in the United States

               a.      The Sackler Family Integrated Advertising and Medicine

       111.    Given the history of opioid abuse in the U.S. and the medical profession’s

resulting wariness, the commercial success of the Marketing Defendants’ prescription opioids

would not have been possible without a fundamental shift in prescribers’ perception of the risks

and benefits of long-term opioid use.

       112.    As it turned out, Purdue Pharma was uniquely positioned to execute just such a

maneuver, thanks to the legacy of a man named Arthur Sackler. The Sackler family is the sole

owner of Purdue and one of the wealthiest families in America, with a net worth of $13 billion as

of 2016. All of the company’s profits go to Sackler family trusts and entities.16 Yet the Sacklers




16
  David Armstrong, The man at the center of the secret OxyContin files, Stat News (May 12,
2016), https://www.statnews.com/2016/05/12/man-center-secret-oxycontin-files/.



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have avoided publicly associating themselves with Purdue, letting others serve as the

spokespeople for the company.

           113.   The Sackler brothers—Arthur, Mortimer, and Raymond—purchased a small

patent-medicine company called the Purdue Frederick Company in 1952. It was Arthur Sackler

who created the pharmaceutical advertising industry as we know it, laying the groundwork for

the OxyContin promotion that would make the Sacklers billionaires.

           114.   Arthur Sackler was both a psychiatrist and a marketing executive. He pioneered

both print advertising in medical journals and promotion through physician “education” in the

form of seminars and continuing medical education courses. He also understood the persuasive

power of recommendations from fellow physicians, and did not hesitate to manipulate

information when necessary. For example, one promotional brochure produced by his firm for

Pfizer showed business cards of physicians from various cities as if they were testimonials for

the drug, but when a journalist tried to contact these doctors, he discovered that they did not

exist.17

           115.   It was Arthur Sackler who, in the 1960s, made Valium into the first $100-million

drug, so popular it became known as “Mother’s Little Helper.” When Arthur’s client, Roche,

developed Valium, it already had a similar drug, Librium, another benzodiazepine, on the market

for treatment of anxiety. So Arthur invented a condition he called “psychic tension”—essentially




17
  Barry Meier, Pain Killer: A “Wonder” Drug’s Trail of Addiction and Death (Rodale 2003)
(hereinafter “Meier”), at 204.



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stress—and pitched Valium as the solution.18 The campaign, for which Arthur was compensated

based on volume of pills sold,19 was a remarkable success.

          116.   Arthur Sackler created not only the advertising for his clients but also the vehicle

to bring their advertisements to doctors—a biweekly newspaper called the Medical Tribune,

which was distributed for free to doctors nationwide. Arthur also conceived a company now

called IMS Health Holdings Inc., which monitors prescribing practices of every doctor in the

U.S. and sells this valuable data to pharmaceutical companies like Marketing Defendants, who

utilize it to target and tailor their sales pitches to individual physicians.

                 b.     Purdue and the Development of OxyContin

          117.   After the Sackler brothers acquired the Purdue Frederick Company in 1952,

Purdue sold products ranging from earwax remover to antiseptic, and it became a profitable

business. As an advertising executive, Arthur Sackler was not involved, on paper at least, in

running Purdue, which would have been a conflict of interest. Raymond Sackler became

Purdue’s head executive, while Mortimer Sackler ran Purdue’s UK affiliate.

          118.   In the 1980s, Purdue, through its UK affiliate, acquired a Scottish drug producer

that had developed a sustained-release technology suitable for morphine. Purdue marketed this

extended-release morphine as MS Contin, and it quickly became Purdue’s bestseller. As the

patent expiration for MS Contin loomed, Purdue searched for a drug to replace it. Around that

time, Raymond’s oldest son, Richard Sackler, who was also a trained physician, became more

involved in the management of the company. Richard had grand ambitions for the company;


18
   Meier, supra note 17, at 202; see also One Family Reaped Billions From Opioids, WBUR On
Point (Oct. 23, 2017), http://www.wbur.org/onpoint/2017/10/23/one-family-reaped-billions-
from-opioids.
19
     Meier, supra note 17.



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according to a long-time Purdue sales representative, “Richard really wanted Purdue to be big—I

mean really big.”20 Richard believed Purdue should develop another use for its “Contin” timed-

release system.

       119.    In 1990, Purdue’s vice president of clinical research, Robert Kaiko, sent a memo

to Richard and other executives recommending that the company work on a pill containing

oxycodone. At the time, oxycodone was perceived as less potent than morphine, largely because

it was most commonly prescribed as Percocet, a relatively weak oxycodone-acetaminophen

combination pill. MS Contin was not only approaching patent expiration but had always been

limited by the stigma associated with morphine. Oxycodone did not have that problem, and

what’s more, it was sometimes mistakenly called “oxycodeine,” which also contributed to the

perception of relatively lower potency, because codeine is weaker than morphine. Purdue

acknowledged using this to its advantage when it later pled guilty to criminal charges of

“misbranding” in 2007, admitting that it was “well aware of the incorrect view held by many

physicians that oxycodone was weaker than morphine” and “did not want to do anything ‘to

make physicians think that oxycodone was stronger or equal to morphine’ or to ‘take any

steps . . . that would affect the unique position that OxyContin’” held among physicians.21

       120.    For Purdue and OxyContin to be “really big,” Purdue needed to both distance its

new product from the traditional view of narcotic addiction risk, and broaden the drug’s uses

beyond cancer pain and hospice care. A marketing memo sent to Purdue’s top sales executives

in March 1995 recommended that if Purdue could show that the risk of abuse was lower with


20
  Christopher Glazek, The Secretive Family Making Billions from the Opioid Crisis, Esquire
(Oct. 16, 2017), http://www.esquire.com/news-politics/a12775932/sackler-family-oxycontin/.
21
  Christopher Glazek, The Secretive Family Making Billions from the Opioid Crisis, Esquire
(Oct. 16, 2017), http://www.esquire.com/news-politics/a12775932/sackler-family-oxycontin/.



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OxyContin than with traditional immediate-release narcotics, sales would increase.22 As

discussed below, Purdue did not find or generate any such evidence, but this did not stop Purdue

from making that claim regardless.

          121.      Armed with this and other misrepresentations about the risks and benefits of its

new drug, Purdue was able to open an enormous untapped market: patients with non-end-of-life,

non-acute, everyday aches and pains. As Dr. David Haddox, a Senior Medical Director at

Purdue, declared on the Early Show, a CBS morning talk program, “There are 50 million patients

in this country who have chronic pain that’s not being managed appropriately every single day.

OxyContin is one of the choices that doctors have available to them to treat that.”23

          122.      In pursuit of these 50 million potential customers, Purdue poured resources into

OxyContin’s sales force and advertising, particularly to a far broader audience of primary care

physicians who treated patients with chronic pain complaints. The graph below shows how

promotional spending in the first six years following OxyContin’s launch dwarfed Purdue’s

spending on MS Contin or Defendant Janssen’s spending on Duragesic: 24




22
     Meier, supra note 17, at 269.
23
     Id., at 156.
24
  OxyContin Abuse and Diversion and Efforts to Address the Problem, U.S. General Accounting
Office Report to Congressional Requesters at 22 (Dec. 2003), http://www.gao.gov/
new.items/d04110.pdf.



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       123.    Prior to Purdue’s launch of OxyContin, no drug company had ever promoted such

a pure, high-strength Schedule II narcotic to so wide an audience of general practitioners.

       124.    In the two decades following OxyContin’s launch, Purdue continued to devote

substantial resources to its promotional efforts.

       125.    Purdue has generated estimated sales of more than $35 billion from opioids since

1996, raking in more than $3 billion in 2015 alone. Remarkably, its opioid sales continued to

climb even after a period of media attention and government inquiries regarding OxyContin

abuse in the early 2000s and a criminal investigation culminating in guilty pleas in 2007. Purdue

proved itself skilled at evading full responsibility and continuing to sell through the controversy.

The company’s annual opioid sales of $3 billion in 2015 represent a four-fold increase from its

2006 sales of $800 million.

       126.    One might imagine that Richard Sackler’s ambitions have been realized. But in

the best tradition of family patriarch Arthur Sackler, Purdue has its eyes on even greater profits.


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Under the name of Mundipharma, the Sacklers are looking to new markets for their opioids—

employing the exact same playbook in South America, China, and India as they did in the United

States.

          127.   In May 2017, a dozen members of Congress sent a letter to the World Health

Organization, warning it of the deceptive practices Purdue is unleashing on the rest of the world

through Mundipharma:

                 We write to warn the international community of the deceptive and
                 dangerous practices of Mundipharma International—an arm of
                 Purdue Pharmaceuticals. The greed and recklessness of one
                 company and its partners helped spark a public health crisis in the
                 United States that will take generations to fully repair. We urge the
                 World Health Organization (WHO) to do everything in its power
                 to avoid allowing the same people to begin a worldwide opioid
                 epidemic. Please learn from our experience and do not allow
                 Mundipharma to carry on Purdue’s deadly legacy on a global
                 stage. . . .

                 Internal documents revealed in court proceedings now tell us that
                 since the early development of OxyContin, Purdue was aware of
                 the high risk of addiction it carried. Combined with the misleading
                 and aggressive marketing of the drug by its partner, Abbott
                 Laboratories, Purdue began the opioid crisis that has devastated
                 American communities since the end of the 1990s. Today,
                 Mundipharma is using many of the same deceptive and reckless
                 practices to sell OxyContin abroad. . . .

                 In response to the growing scrutiny and diminished U.S. sales, the
                 Sacklers have simply moved on. On December 18, the Los
                 Angeles Times published an extremely troubling report detailing
                 how in spite of the scores of lawsuits against Purdue for its role in
                 the U.S. opioid crisis, and tens of thousands of overdose deaths,
                 Mundipharma now aggressively markets OxyContin
                 internationally. In fact, Mundipharma uses many of the same
                 tactics that caused the opioid epidemic to flourish in the U.S.,




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               though now in countries with far fewer resources to devote to the
               fallout.25

       128.    Purdue’s recent pivot to untapped markets—after extracting substantial profits

from American communities and leaving local governments to address the devastating and still

growing damage the company caused—only serves to underscore that Purdue’s actions have

been knowing, intentional, and motivated by profits throughout this entire story.

               c.      Other Marketing Defendants Leapt at the Opioid Opportunity

       129.    Purdue created a market for the use of opioids for a range of common aches and

pains by misrepresenting the risks and benefits of its opioids, but it was not alone. The other

Marketing Defendants—already manufacturers of prescription opioids—positioned themselves

to take advantage of the opportunity Purdue created, developing both branded and generic

opioids to compete with OxyContin, while, together with Purdue and each other, misrepresenting

the safety and efficacy of their products. These misrepresentations are described in greater detail

in Sections D below.

       130.    Endo, which already sold Percocet and Percodan, was the first to submit an

application for a generic extended-release oxycodone to compete with OxyContin. At the same

time, Endo sought FDA approval for another potent opioid, immediate-release and extended-

release oxymorphone, branded as Opana and Opana ER. Oxymorphone, like OxyContin’s active

ingredient oxycodone, is not a new drug; it was first synthesized in Germany in 1914 and sold in

the U.S. by Endo beginning in 1959 under the trade name Numorphan. But Numorphan tablets

proved highly susceptible to abuse. Called “blues” after the light blue color of the 10 mg pills,


25
   Letter to Dr. Margaret Chan, World Health Organization (May 3, 2017),
http://katherineclark.house.gov/_cache/files/a577bd3c-29ec-4bb9-bdba-
1ca71c784113/mundipharma-letter-signatures.pdf.



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Numorphan provoked, according to some users, a more euphoric high than heroin. As the

National Institute on Drug Abuse observed in its 1974 report, “Drugs and Addict Lifestyle,”

Numorphan was extremely popular among addicts for its quick and sustained effect.26 Endo

withdrew oral Numorphan from the market in 1979.27

            131.   Two decades later, however, as communities around the U.S. were first sounding

the alarm about prescription opioids and Purdue executives were being called to testify before

Congress about the risks of OxyContin, Endo essentially reached back into its inventory, dusted

off a product it had previously shelved after widespread abuse, and pushed it into the

marketplace with a new trade name, Opana.

            132.   The clinical trials submitted with Endo’s first application for approval of Opana

were insufficient to demonstrate efficacy, and some subjects in the trials overdosed and had to be

revived with naloxone. Endo then submitted new “enriched enrollment” clinical trials, in which

trial subjects who do not respond to the drug are excluded from the trial, and obtained approval.

Endo began marketing Opana and Opana ER in 2006.

            133.   Like Numorphan, Opana ER was highly susceptible to abuse. On June 8, 2017,

the FDA sought removal of Opana ER. In its press release, the FDA indicated that this is the first

time the agency has taken steps to remove a currently marketed opioid pain medication from sale




26
  John Fauber and Kristina Fiore, Abandoned Painkiller Makes a Comeback, MedPage Today
(May 10, 2015), https://www.medpagetoday.com/psychiatry/addictions/51448.
27
     Id.



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due to the public health consequences of abuse.”28 On July 6, 2017, Endo agreed to withdraw

Opana ER from the market.29

         134.   Janssen, which already marketed the Duragesic (fentanyl) patch for severe pain,

also joined Purdue in pursuit of the broader chronic pain market. It sought to expand the use of

Duragesic through, for example, advertisements proclaiming, “It’s not just for end stage cancer

anymore!” This claim earned Janssen a warning letter from the FDA, for representing that

Duragesic was “more useful in a broader range of conditions or patients than has been

demonstrated by substantial evidence.”30

         135.   Janssen also developed a new opioid compound called tapentadol in 2009,

marketed as Nucynta for the treatment of moderate to severe pain. Janssen launched the

extended-release version, Nucynta ER, for treatment of chronic pain in 2011.

         136.   By adding additional opioids or expanding the use of their existing opioid

products, the other Marketing Defendants took advantage of the market created by Purdue’s

aggressive promotion of OxyContin and reaped enormous profits. For example, Opana ER alone

generated more than $1 billion in revenue for Endo in 2010 and again in 2013. Janssen also

passed the $1 billion mark in sales of Duragesic in 2009.

         C.     Defendants’ Conduct Created an Abatable Public Nuisance

         137.   As alleged throughout this Complaint, Defendants’ conduct created a public

health crisis and a public nuisance.

28
   Press Release, U.S. Food & Drug Administration, FDA requests removal of Opana ER for
risks related to abuse (June 8, 2017),
https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.
29
   Endo pulls opioid as U.S. seeks to tackle abuse epidemic, Reuters (July 6, 2017, 9:59am),
https://www.reuters.com/article/us-endo-intl-opana-idUSKBN19R2II.
30
     March 30, 2000 FDA letter to Janssen



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       138.    The public nuisance—i.e., the opioid epidemic—created, perpetuated, and

maintained by Defendants can be abated and further recurrence of such harm and inconvenience

can be abated by, inter alia, (a) educating prescribers (especially primary care physicians and the

most prolific prescribers of opioids) and patients regarding the true risks and benefits of opioids,

including the risk of addiction, in order to prevent the next cycle of addiction; (b) providing

addiction treatment to patients who are already addicted to opioids; and (c) making naloxone

widely available so that overdoses are less frequently fatal.

       139.    Defendants have the ability to act to abate the public nuisance, and the law

recognizes that they are uniquely well positioned to do so. It is the manufacturer of a drug that

has primary responsibility to assure the safety, efficacy, and appropriateness of a drug’s labeling,

marketing, and promotion. And, all companies in the supply chain of a controlled substance are

primarily responsible for ensuring that such drugs are only distributed and dispensed to

appropriate patients and not diverted. These responsibilities exist independent of any FDA or

DEA regulation, to ensure that their products and practices meet both federal and state consumer

protection laws and regulations. As registered manufacturers and distributors of controlled

substances, Defendants are placed in a position of special trust and responsibility and are

uniquely positioned, based on their knowledge of prescribers and orders, to act as a first line of

defense.

       D.      The Marketing Defendants’ Multi-Pronged Scheme to Change Prescriber
               Habits and Public Perception and Increase Demand for Opioids

       140.    In order to accomplish the fundamental shift in perception that was key to

successfully marketing their opioids, the Marketing Defendants designed and implemented a

sophisticated and deceptive marketing strategy. Lacking legitimate scientific research to support

their claims, the Marketing Defendants turned to the marketing techniques first pioneered by



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Arthur Sackler to create a series of misperceptions in the medical community and ultimately

reverse the long-settled understanding of the relative risks and benefits of opioids.

       141.    The Marketing Defendants promoted, and profited from, their misrepresentations

about the risks and benefits of opioids for chronic pain even though they knew that their

marketing was false and misleading. The history of opioids, as well as research and clinical

experience over the last 20 years, established that opioids were highly addictive and responsible

for a long list of very serious adverse outcomes. The FDA and other regulators warned

Marketing Defendants of these risks. The Marketing Defendants had access to scientific studies,

detailed prescription data, and reports of adverse events, including reports of addiction,

hospitalization, and deaths—all of which made clear the harms from long-term opioid use and

that patients are suffering from addiction, overdoses, and death in alarming numbers. More

recently, the FDA and CDC issued pronouncements based on existing medical evidence that

conclusively expose the known falsity of these Defendants’ misrepresentations.

       142.    The marketing scheme to increase opioid prescriptions centered around nine

categories of misrepresentations, which are discussed in detail below. The Marketing Defendants

disseminated these misrepresentations through various channels, including through advertising,

sales representatives, purportedly independent organizations these defendants funded and

controlled, “Front Groups,” so-called industry “Key Opinion Leaders,” and Continuing Medical

Education (“CME”) programs discussed subsequently below.

               a.      The Marketing Defendants Promoted Multiple Falsehoods About
                       Opioids

       143.    The Marketing Defendants’ misrepresentations fall into the following nine

categories:

               a.      The risk of addiction from chronic opioid therapy is low



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               b.      To the extent there is a risk of addiction, it can be easily identified and
                       managed

               c.      Signs of addictive behavior are “pseudoaddiction,” requiring more opioids

               d.      Opioid withdrawal can be avoided by tapering

               e.      Opioid doses can be increased without limit or greater risks

               f.      Long-term opioid use improves functioning

               g.      Alternative forms of pain relief pose greater risks than opioids

               h.      OxyContin provides twelve hours of pain relief

               i.      New formulations of certain opioids successfully deter abuse

       144.    Each of these propositions was false. The Marketing Defendants knew this, but

they nonetheless set out to convince physicians, patients, and the public at large of the truth of

each of these propositions in order to expand the market for their opioids.

       145.    The categories of misrepresentations are offered to organize the numerous

statements the Marketing Defendants made and to explain their role in the overall marketing

effort, not as a checklist for assessing each Marketing Defendant’s liability. While each

Marketing Defendant deceptively promoted their opioids specifically, and, together with other

Marketing Defendants, opioids generally, not every Marketing Defendant propagated (or needed

to propagate) each misrepresentation. Each Marketing Defendant’s conduct, and each

misrepresentation, contributed to an overall narrative that aimed to—and did—mislead doctors,

patients, and payors about the risk and benefits of opioids. While this Complaint endeavors to

document examples of each Marketing Defendant’s misrepresentations and the manner in which

they were disseminated, they are just that—examples. The Complaint is not, especially prior to

discovery, an exhaustive catalog of the nature and manner of each deceptive statement by each

Marketing Defendant.




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                         a.      Falsehood #1: The risk of addiction from chronic opioid
                                 therapy is low

           146.   Central to the Marketing Defendants’ promotional scheme was the

misrepresentation that opioids are rarely addictive when taken for chronic pain. Through their

marketing efforts, the Marketing Defendants advanced the idea that the risk of addiction is low

when opioids are taken as prescribed by “legitimate” pain patients. That, in turn, directly led to

the expected and intended result that doctors prescribed more opioids to more patients—thereby

enriching the Marketing Defendants and substantially contributing to the opioid epidemic.

           147.   Each of the Marketing Defendants claimed that the potential for addiction from its

opioids was relatively small or non-existent, even though there was no scientific evidence to

support those claims. None of them have acknowledged, retracted, or corrected their false

statements.

           148.   In fact, studies have shown that a substantial percentage of long-term users of

opioids experience addiction. Addiction can result from the use of any opioid, “even at

recommended dose,”31 and the risk substantially increases with more than three months of use. 32

As the CDC Guideline states, “[o]pioid pain medication use presents serious risks, including

overdose and opioid use disorder” (a diagnostic term for addiction).33




31
   FDA announces safety labeling changes and postmarket study requirements for extended-
release and long-acting opioid analgesics, FDA (Sept. 10, 2013); see also FDA announces
enhanced warnings for immediate-release opioid pain medications related to risks of misuse,
abuse, addiction, overdose and death, FDA (Mar. 22, 2016),
https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm491739.htm.
32
     CDC Guideline at 21.
33
     Id. at 2.



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                       i.     Purdue’s misrepresentations regarding addiction risk

       149.    When it launched OxyContin, Purdue knew it would need data to overcome

decades of wariness regarding opioid use. It needed some sort of research to back up its

messaging. But Purdue had not conducted any studies about abuse potential or addiction risk as

part of its application for FDA approval for OxyContin. Purdue (and, later, the other Defendants)

found this “research” in the form of a one-paragraph letter to the editor published in the New

England Journal of Medicine (NEJM) in 1980.

       150.    This letter, by Dr. Hershel Jick and Jane Porter, declared the incidence of

addiction “rare” for patients treated with opioids.34 They had analyzed a database of hospitalized

patients who were given opioids in a controlled setting to ease suffering from acute pain. Porter

and Jick considered a patient not addicted if there was no sign of addiction noted in patients’

records.




34
  Jane Porter and Herschel Jick, MD, Addiction Rare in Patients Treated with Narcotics, 302(2)
N Engl J Med. 123 (Jan. 10, 1980), http://www.nejm.org/doi/pdf/10.1056/
NEJM198001103020221.



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          151.   As Dr. Jick explained to a journalist years later, he submitted the statistics to

NEJM as a letter because the data were not robust enough to be published as a study.35

          152.   Purdue nonetheless began repeatedly citing this letter in promotional and

educational materials as evidence of the low risk of addiction, while failing to disclose that its

source was a letter to the editor, not a peer-reviewed paper.36 Citation of the letter, which was

largely ignored for more than a decade, significantly increased after the introduction of

OxyContin. While first Purdue and then other Marketing Defendants used it to assert that their

opioids were not addictive, “that’s not in any shape or form what we suggested in our letter,”

according to Dr. Jick.

          153.   Purdue specifically used the Porter and Jick letter in its 1998 promotional video “I

got my life back,” in which Dr. Alan Spanos says “In fact, the rate of addiction amongst pain


35
     Meier, supra note 17, at 174.
36
 J. Porter & H. Jick, Addiction Rare in Patients Treated with Narcotics, 302(2) New. Eng. J.
Med. 123 (1980).



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patients who are treated by doctors is much less than 1%.”37 Purdue trained its sales

representatives to tell prescribers that fewer than 1% of patients who took OxyContin became

addicted. (In 1999, a Purdue-funded study of patients who used OxyContin for headaches found

that the addiction rate was thirteen per cent.)”38

        154.    Other Defendants relied on and disseminated the same distorted messaging. The

enormous impact of Defendants’ misleading amplification of this letter was well documented in

another letter published in the NEJM on June 1, 2017, describing the way the one-paragraph

1980 letter had been irresponsibly cited and in some cases “grossly misrepresented.” In

particular, the authors of this letter explained:

                [W]e found that a five-sentence letter published in the Journal in
                1980 was heavily and uncritically cited as evidence that addiction
                was rare with long-term opioid therapy. We believe that this
                citation pattern contributed to the North American opioid crisis by
                helping to shape a narrative that allayed prescribers’ concerns
                about the risk of addiction associated with long-term opioid
                therapy . . .39

        155.    “It’s difficult to overstate the role of this letter,” said Dr. David Juurlink of the

University of Toronto, who led the analysis. “It was the key bit of literature that helped the

opiate manufacturers convince front-line doctors that addiction is not a concern.”40



37
   Our Amazing World, Purdue Pharma OxyContin Commercial,
https://www.youtube.com/watch?v=Er78Dj5hyeI (last visited Jan. 31, 2018) (emphasis added).
38
  Patrick R. Keefe, The Family That Built an Empire of Pain, The New Yorker (Oct. 30, 2017)
(hereinafter, “Keefe, Empire of Pain”).
39
   Pamela T.M. Leung, B.Sc. Pharm., Erin M. Macdonald, M.Sc., Matthew B. Stanbrook, M.D.,
Ph.D., Irfan Al Dhalla, M.D., David N. Juurlink, M.D., Ph.D., A 1980 Letter on the Risk of
Opioid Addiction, 376 N Engl J Med 2194-95 (June 1, 2017),
http://www.nejm.org/doi/full/10.1056/NEJMc1700150.
40
  Painful words: How a 1980 letter fueled the opioid epidemic, STAT (May 31, 2017),
https://www.statnews.com/2017/05/31/opioid-epidemic-nejm-letter/.



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       156.    Alongside its use of the Porter and Jick letter, Purdue also crafted its own

materials and spread its deceptive message through numerous additional channels. In its 1996

press release announcing the release of OxyContin, for example, Purdue declared, “The fear of

addiction is exaggerated.”41

       157.    At a hearing before the House of Representatives’ Subcommittee on Oversight

and Investigations of the Committee on Energy and Commerce in August 2001, Purdue

emphasized “legitimate” treatment, dismissing cases of overdose and death as something that

would not befall “legitimate” patients: “Virtually all of these reports involve people who are

abusing the medication, not patients with legitimate medical needs under the treatment of a

healthcare professional.”42

       158.    Purdue spun this baseless “legitimate use” distinction out even further in a patient

brochure about OxyContin, called “A Guide to Your New Pain Medicine and How to Become a

Partner Against Pain.” In response to the question “Aren’t opioid pain medications like

OxyContin Tablets ‘addicting’?,” Purdue claimed that there was no need to worry about

addiction if taking opioids for legitimate, “medical” purposes:

               Drug addiction means using a drug to get “high” rather than to
               relieve pain. You are taking opioid pain medication for medical




41
   Press Release, OxyContin, New Hope for Millions of Americans Suffering from Persistent
Pain: Long-Acting OxyContin Tablets Now Available to Relieve Pain (May 31, 1996, 3:47pm),
http://documents.latimes.com/oxycontin-press-release-1996/.
42
   Oxycontin: Its Use and Abuse: Hearing Before the H. Subcomm. on Oversight and
Investigations of the Comm. on Energy and Commerce, 107th Cong. 1 (Aug. 28, 2001)
(statement of Michael Friedman, Executive Vice President, Chief Operating Officer, Purdue
Pharma, L.P.), https://www.gpo.gov/fdsys/pkg/CHRG-107hhrg75754/html/CHRG-
107hhrg75754.htm.



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                   purposes. The medical purposes are clear and the effects are
                   beneficial, not harmful. 43

            159.   Sales representatives marketed OxyContin as a product “‘to start with and to stay

with.’” 44 Sales representatives also received training in overcoming doctors’ concerns about

addiction with talking points they knew to be untrue about the drug’s abuse potential. One of

Purdue’s early training memos compared doctor visits to “firing at a target,” declaring that “[a]s

you prepare to fire your ‘message,’ you need to know where to aim and what you want to hit!” 45

According to the memo, the target is physician resistance based on concern about addiction:

“The physician wants pain relief for these patients without addicting them to an opioid.” 46

            160.   Former sales representative Steven May, who worked for Purdue from 1999 to

2005, explained to a journalist how he and his coworkers were trained to overcome doctors’

objections to prescribing opioids. The most common objection he heard about prescribing

OxyContin was that “it’s just too addictive.”47 May and his coworkers were trained to “refocus”

doctors on “legitimate” pain patients, and to represent that “legitimate” patients would not

become addicted. In addition, they were trained to say that the 12-hour dosing made the



43
  Partners Against Pain consists of both a website, styled as an “advocacy community” for
better pain care, and a set of medical education resources distributed to prescribers by sales
representatives. It has existed since at least the early 2000s and has been a vehicle for Purdue to
downplay the risks of addiction from long-term opioid use. One early pamphlet, for example,
answered concerns about OxyContin’s addictiveness by claiming: “Drug addiction means using
a drug to get ‘high’ rather than to relieve pain. You are taking opioid pain medication for
medical purposes. The medical purposes are clear and the effects are beneficial, not harmful.”
44
     Keefe, Empire Of Pain.
45
     Meier, supra note 17, at 102.
46
     Id.
47
  David Remnick, How OxyContin Was Sold to the Masses (Steven May interview with Patrick
Radden Keefe), The New Yorker (Oct. 27, 2017), https://www.newyorker.com/podcast/the-new-
yorker-radio-hour/how-oxycontin-was-sold-to-the-masses.



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extended-release opioids less “habit-forming” than painkillers than need to be taken every four

hours.

         161.   According to interviews with prescribers and former Purdue sales representatives,

Purdue has continued to distort or omit the risk of addiction while failing to correct its earlier

misrepresentations, leaving many doctors with the false impression that pain patients will only

rarely become addicted to opioids.

         162.   With regard to addiction, Purdue’s label for OxyContin has not sufficiently

disclosed the true risks to, and experience of, its patients. Until 2014, the OxyContin label stated

in a black-box warning that opioids have “abuse potential” and that the “risk of abuse is

increased in patients with a personal or family history of substance abuse.”

                       ii.     Endo’s misrepresentations regarding addiction risk

         163.   Endo also falsely represented that addiction is rare in patients who are prescribed

opioids.

         164.   Until April 2012, Endo’s website for Opana, www.opana.com, stated that “[m]ost

healthcare providers who treat patients with pain agree that patients treated with prolonged

opioid medicines usually do not become addicted.”

         165.   Upon information and belief, Endo improperly instructed its sales representatives

to diminish and distort the risk of addiction associated with Opana ER.

         166.   One of the Front Groups with which Endo worked most closely was the American

Pain Foundation (“APF”), described more fully below. Endo provided substantial assistance to,

and exercised editorial control, over the deceptive and misleading messages that APF conveyed

through its National Initiative on Pain Control (“NIPC”) and its website Painknowledge.com,

which claimed that “[p]eople who take opioids as prescribed usually do not become addicted.”




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       167.   Another Endo website, PainAction.com, stated: “Did you know? Most chronic

pain patients do not become addicted to the opioid medications that are prescribed for them.”

       168.   A brochure available on Painknowledge.com titled “Pain: Opioid Facts,” Endo-

sponsored NIPC stated that “people who have no history of drug abuse, including tobacco, and

use their opioid medication as directed will probably not become addicted.” In numerous patient

education pamphlets, Endo repeated this deceptive message.

          In a patient education pamphlet titled “Understanding Your Pain: Taking Oral
           Opioid Analgesics,” Endo answers the hypothetical patient question—“What
           should I know about opioids and addiction?”—by focusing on explaining
           what addiction is (“a chronic brain disease”) and is not (“Taking opioids for
           pain relief”). It goes on to explain that “[a]ddicts take opioids for other
           reasons, such as unbearable emotional problems. Taking opioids as prescribed
           for pain relief is not addiction.” This publication is still available online.

       169.   An Endo publication, Living with Someone with Chronic Pain, stated, “Most

health care providers who treat people with pain agree that most people do not develop an

addiction problem.”

       170.   In addition, a 2009 patient education publication, Pain: Opioid Therapy, funded

by Endo and posted on Painknowledge.com, omitted addiction from the “common risks” of

opioids, as shown below:




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                       iii.    Janssen’s misrepresentations regarding addiction risk.

       171.    Janssen likewise misrepresented the addiction risk of opioids on its websites and

print materials.

       172.    A Janssen unbranded website, Let’s Talk Pain, perpetuated the concept of

pseudoaddiction, associating patient behaviors such as “drug seeking,” “clock watching,” and

“even illicit drug use or deception” with undertreated pain which can be resolved with “effective

pain management.”

       173.    A Janssen unbranded website, PrescribeResponsibly.com, states that concerns

about opioid addiction are “overestimated” and that “true addiction occurs only in a small

percentage of patients.”48

       174.    Janssen reviewed, edited, approved, and distributed a patient education guide

entitled Finding Relief: Pain Management for Older Adults, which, as seen below, described as

“myth” the claim that opioids are addictive, and asserted as fact that “[m]any studies show that

opioids are rarely addictive when used properly for the management of chronic pain.” Until

recently, this guide was still available online.




48
   Keith Candiotti, M.D., Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/opioid-pain-management (last modified July 2,
2015).



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                       iv.    Cephalon’s misrepresentations regarding addiction risk.

       175.    Cephalon sponsored and facilitated the development of a guidebook, Opioid

Medications and REMS: A Patient’s Guide, which included claims that “patients without a

history of abuse or a family history of abuse do not commonly become addicted to opioids.”

Similarly, Cephalon sponsored APF’s Treatment Options: A Guide for People Living with Pain

(2007), which taught that addiction is rare and limited to extreme cases of unauthorized dose

escalations, obtaining opioids from multiple sources, or theft.

       176.    For example, a 2003 Cephalon-sponsored CME presentation titled Pharmacologic

Management of Breakthrough or Incident Pain, posted on Medscape in February 2003, teaches:

               [C]hronic pain is often undertreated, particularly in the noncancer
               patient population. . . . The continued stigmatization of opioids and
               their prescription, coupled with often unfounded and self-imposed
               physician fear of dealing with the highly regulated distribution
               system for opioid analgesics, remains a barrier to effective pain
               management and must be addressed. Clinicians intimately involved
               with the treatment of patients with chronic pain recognize that the
               majority of suffering patients lack interest in substance abuse. In
               fact, patient fears of developing substance abuse behaviors such as
               addiction often lead to undertreatment of pain. The concern about
               patients with chronic pain becoming addicted to opioids during
               long-term opioid therapy may stem from confusion between




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               physical dependence (tolerance) and psychological dependence
               (addiction) that manifests as drug abuse.49

                       v.      Actavis’s misrepresentations regarding addiction risk.

       177.    Doctors have a strong recollection of Kadian sales representatives’ discussing the

drug’s low-abuse potential.

       178.    Actavis misrepresentations conveyed both that (1) Kadian does not cause

euphoria and therefore is less addictive and that (2) Kadian is less prone to tampering and abuse,

even though Kadian was not approved by the FDA as abuse deterrent, and, upon information and

belief, Actavis had no studies to suggest it was.

                       vi.     Mallinckrodt’s misrepresentations regarding addiction risk

       179.    As described below, Mallinckrodt promoted its branded opioids Exalgo and

Xartemis XR, and opioids generally, in a campaign that consistently mischaracterized the risk of

addiction. Mallinckrodt did so through its website and sales force, as well as through unbranded

communications distributed through the “C.A.R.E.S. Alliance” it created and led.

       180.    Mallinckrodt in 2010 created the C.A.R.E.S. (Collaborating and Acting

Responsibly to Ensure Safety) Alliance, which it describes as “a coalition of national patient

safety, provider and drug diversion organizations that are focused on reducing opioid pain

medication abuse and increasing responsible prescribing habits.” The “C.A.R.E.S. Alliance”

itself is a service mark of Mallinckrodt LLC (and was previously a service mark of Mallinckrodt,

Inc.) copyrighted and registered as a trademark by Covidien, its former parent

company. Materials distributed by the C.A.R.E.S. Alliance, however, include unbranded

publications that do not disclose a link to Mallinckrodt.

49
 Michael J. Brennan, et al., Pharmacologic Management of Breakthrough or Incident Pain,
Medscape, http://www.medscape.org/viewarticle/449803 (last visited Oct. 10, 2017).



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       181.    By 2012, Mallinckrodt, through the C.A.R.E.S. Alliance, was promoting a book

titled Defeat Chronic Pain Now! This book is still available online. The false claims and

misrepresentations in this book include the following statements:

                   •   “Only rarely does opioid medication cause a true addiction
                       when prescribed appropriately to a chronic pain patient
                       who does not have a prior history of addiction.”

                   •   “It is currently recommended that every chronic pain
                       patient suffering from moderate to severe pain be viewed as
                       a potential candidate for opioid therapy.”

                   •   “When chronic pain patients take opioids to treat their pain,
                       they rarely develop a true addiction and drug craving.”

                   •   “Only a minority of chronic pain patients who are taking
                       long-term opioids develop tolerance.”

                   •   “The bottom line: Only rarely does opioid medication
                       cause a true addiction when prescribed appropriately to a
                       chronic pain patient who does not have a prior history of
                       addiction.”

                   •   “Here are the facts. It is very uncommon for a person with
                       chronic pain to become ‘addicted’ to narcotics IF (1) he
                       doesn’t have a prior history of any addiction and (2) he
                       only takes the medication to treat pain.”

                   •   “Studies have shown that many chronic pain patients can
                       experience significant pain relief with tolerable side effects
                       from opioid narcotic medication when taken daily and no
                       addiction.”

       182.    In a 2013 Mallinckrodt Pharmaceuticals Policy Statement Regarding the

Treatment of Pain and Control of Opioid Abuse, which is still available online, Mallinckrodt

stated that, “[s]adly, even today, pain frequently remains undiagnosed and either untreated or

undertreated” and cites to a report that concludes that “the majority of people with pain use their

prescription drugs properly, are not a source of misuse, and should not be stigmatized or denied

access because of the misdeeds or carelessness of others.”




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       183.    Marketing Defendants’ suggestions that the opioid epidemic is the result of bad

patients who manipulate doctors to obtain opioids illicitly helped further their marketing scheme,

but is at odds with the facts. While there are certainly patients who unlawfully obtain opioids,

they are a small minority. For example, patients who “doctor-shop”—i.e., visit multiple

prescribers to obtain opioid prescriptions—are responsible for roughly 2% of opioid

prescriptions. The epidemic of opioid addiction and abuse is overwhelmingly a problem of false

marketing (and unconstrained distribution) of the drugs, not problem patients.

                       b.     Falsehood #2: To the extent there is a risk of addiction, it can
                              be easily identified and managed

       184.    While continuing to maintain that most patients can safely take opioids long-term

for chronic pain without becoming addicted, the Marketing Defendants assert that to the extent

that some patients are at risk of opioid addiction, doctors can effectively identify and manage that

risk by using screening tools or questionnaires. In materials they produced, sponsored, or

controlled, Defendants instructed patients and prescribers that screening tools can identify

patients predisposed to addiction, thus making doctors feel more comfortable prescribing opioids

to their patients and patients more comfortable starting opioid therapy for chronic pain. These

tools, they say, identify those with higher addiction risks (stemming from personal or family

histories of substance use, mental illness, trauma, or abuse) so that doctors can then more closely

monitor those patients.

       185.    Purdue shared its Partners Against Pain “Pain Management Kit,” which contains

several screening tools and catalogues of Purdue materials, which included these tools, with

prescribers. Janssen, on its website PrescribeResponsibly.com, states that the risk of opioid

addiction “can usually be managed” through tools such as opioid agreements between patients




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and doctors.50 The website, which directly provides screening tools to prescribers for risk

assessments,51 includes a “[f]our question screener” to purportedly help physicians identify and

address possible opioid misuse.52

            186.   Purdue and Cephalon sponsored the APF’s Treatment Options: A Guide for

People Living with Pain (2007), which also falsely reassured patients that opioid agreements

between doctors and patients can “ensure that you take the opioid as prescribed.”

            187.   Purdue sponsored a 2011 webinar taught by Dr. Webster, entitled Managing

Patient’s Opioid Use: Balancing the Need and Risk. This publication misleadingly taught

prescribers that screening tools, urine tests, and patient agreements have the effect of preventing

“overuse of prescriptions” and “overdose deaths.”

            188.   Purdue sponsored a 2011 CME program titled Managing Patient’s Opioid Use:

Balancing the Need and Risk. This presentation deceptively instructed prescribers that screening

tools, patient agreements, and urine tests prevented “overuse of prescriptions” and “overdose

deaths.”

            189.   Purdue also funded a 2012 CME program called Chronic Pain Management and

Opioid Use: Easing Fears, Managing Risks, and Improving Outcomes. The presentation

deceptively instructed doctors that, through the use of screening tools, more frequent refills, and

other techniques, even high-risk patients showing signs of addiction could be treated with

opioids.

50
   Howard A. Heit, MD, FACP, FASAM and Douglas L. Gourlay, MD, MSc, FRCPC, FASAM,
What a Prescriber Should Know Before Writing the First Prescription, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/before-prescribing-opioids#pseudoaddiction (last
modified July 2, 2015).
51
     http://www.prescriberesponsibly.com/risk-assessment-resources (last visited March 2, 2018).
52
     Id.



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       190.    Endo paid for a 2007 supplement available for continuing education credit in the

Journal of Family Practice written by a doctor who became a member of Endo’s speaker’s

bureau in 2010. This publication, entitled Pain Management Dilemmas in Primary Care: Use of

Opioids, (i) recommended screening patients using tools like (a) the Opioid Risk Tool created by

Dr. Webster and linked to Janssen or (b) the Screener and Opioid Assessment for Patients with

Pain, and (ii) taught that patients at high risk of addiction could safely receive chronic opioid

therapy using a “maximally structured approach” involving toxicology screens and pill counts.

The ORT was linked to by Endo-supported websites, as well.

       191.    There are three fundamental flaws in the Marketing Defendants’ representations

that doctors can consistently identify and manage the risk of addiction. First, there is no reliable

scientific evidence that doctors can depend on the screening tools currently available to

materially limit the risk of addiction. Second, there is no reliable scientific evidence that high-

risk patients identified through screening can take opioids long-term without triggering

addiction, even with enhanced monitoring. Third, there is no reliable scientific evidence that

patients who are not identified through such screening can take opioids long-term without

significant danger of addiction.

                       c.      Falsehood #3: Signs of addictive behavior are
                               “pseudoaddiction,” requiring more opioids

       192.    The Marketing Defendants instructed patients and prescribers that signs of

addiction are actually indications of untreated pain, such that the appropriate response is to

prescribe even more opioids. Dr. David Haddox, who later became a Senior Medical Director for

Purdue, published a study in 1989 coining the term “pseudoaddiction,” which he characterized as

“the iatrogenic syndrome of abnormal behavior developing as a direct consequence of inadequate




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pain management.”53 In other words, people on prescription opioids who exhibited classic signs

of addiction— for example, asking for more and higher doses of opioids, self-escalating their

doses, or claiming to have lost prescriptions in order to get more opioids—were not addicted, but

rather simply suffering from undertreatment of their pain.

       193.    In the materials and outreach they produced, sponsored, or controlled, Defendants

made each of these misrepresentations and omissions, and have never acknowledged, retracted,

or corrected them.

       194.    Cephalon, Endo, and Purdue sponsored the Federation of State Medical Boards’

(“FSMB”) Responsible Opioid Prescribing (2007) written by Dr. Fishman and discussed in more

detail below, which taught that behaviors such as “requesting drugs by name,” “demanding or

manipulative behavior,” seeing more than one doctor to obtain opioids, and hoarding, which are

signs of genuine addiction, are all really signs of “pseudoaddiction.”

       195.    Purdue posted an unbranded pamphlet entitled Clinical Issues in Opioid

Prescribing on its unbranded website, PartnersAgainstPain.com, in 2005, and circulated this

pamphlet through at least 2007 and on its website through at least 2013. The pamphlet listed

conduct including “illicit drug use and deception” that it claimed was not evidence of true

addiction but “pseudoaddiction” caused by untreated pain.

       196.    Even though its sales representatives promoted pseudoaddiction, Endo itself has

repudiated the concept of pseudoaddiction. In finding that “[t]he pseudoaddiction concept has

never been empirically validated and in fact has been abandoned by some of its proponents,” the

New York Attorney General, in a 2016 settlement with Endo, reported that “Endo’s Vice

53
  David E. Weissman and J. David Haddox, Opioid pseudoaddiction—an iatrogenic syndrome,
36(3) Pain 363-66 (Mar. 1989), https://www.ncbi.nlm.nih.gov/pubmed/2710565. (“Iatrogenic”
describes a condition induced by medical treatment.)



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President for Pharmacovigilance and Risk Management testified to [the NY AG] that he was not

aware of any research validating the ‘pseudoaddiction’ concept” and acknowledged the difficulty

in distinguishing “between addiction and ‘pseudoaddiction.’”54 Endo thereafter agreed not to

“use the term ‘pseudoaddiction’ in any training or marketing” in New York.

       197.    Janssen sponsored, funded, and edited a website called Let’s Talk Pain, which in

2009 stated “pseudoaddiction . . . refers to patient behaviors that may occur when pain is

undertreated . . . . Pseudoaddiction is different from true addiction because such behaviors can

be resolved with effective pain management.” This website was accessible online until at least

May 2012.

       198.    Janssen also currently runs a website, Prescriberesponsibly.com, which claims

that concerns about opioid addiction are “overestimated,” and describes pseudoaddiction as “a

syndrome that causes patients to seek additional medications due to inadequate pharmacotherapy

being prescribed. Typically when the pain is treated appropriately the inappropriate behavior

ceases.”55

       199.    The CDC Guideline nowhere recommends attempting to provide more opioids to

patients exhibiting symptoms of addiction. Dr. Lynn Webster, a KOL discussed below, admitted

that pseudoaddiction “is already something we are debunking as a concept” and became “too

much of an excuse to give patients more medication. It led us down a path that caused harm.”




54
  Attorney General of the State of New York, In the Matter of Endo Health Solutions Inc. &
Endo Pharmaceuticals Inc., Assurance No.:15-228, Assurance of Discontinuance Under
Executive Law Section 63. Subdivision 15 at 7.
55
   What a Prescriber Should Know Before Writing the First Prescription, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/before-prescribing-opioids (last visited Oct. 9,
2017).



                                                58
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                       d.      Falsehood #4: Opioid withdrawal can be avoided by tapering

       200.    In an effort to underplay the risk and impact of addiction, the Marketing

Defendants falsely claimed that, while patients become physically dependent on opioids,

physical dependence is not the same as addiction and can be easily addressed, if and when pain

relief is no longer desired, by gradually tapering patients’ dose to avoid the adverse effects of

withdrawal. Defendants fail to disclose the extremely difficult and painful effects that patients

can experience when they are removed from opioids—adverse effects that also make it less

likely that patients will be able to stop using the drugs. Defendants also failed to disclose how

difficult it is for patients to stop using opioids after they have used them for a prolonged period.

       201.    A non-credit educational program sponsored by Endo, Persistent Pain in the

Older Adult, claimed that withdrawal symptoms, which make it difficult for patients to stop

using opioids, could be avoided by simply tapering a patient’s opioid dose over ten days.

However, this claim is at odds with the experience of patients addicted to opioids. Most patients

who have been taking opioids regularly will, upon stopping treatment, experience withdrawal,

characterized by intense physical and psychological effects, including anxiety, nausea,

headaches, and delirium, among others. This painful and arduous struggle to terminate use can

leave many patients unwilling or unable to give up opioids and heightens the risk of addiction.

       202.    Purdue sponsored the American Pain Foundation’s (“APF”) A Policymaker’s

Guide to Understanding Pain & Its Management, which taught that “Symptoms of physical

dependence can often be ameliorated by gradually decreasing the dose of medication during

discontinuation,” but the guide did not disclose the significant hardships that often accompany

cessation of use.

       203.    To this day, the Marketing Defendants have not corrected or retracted their

misrepresentations regarding tapering as a solution to opioid withdrawal.


                                                 59
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                       e.     Falsehood #5: Opioid doses can be increased without limit or
                              greater risks

       204.    In materials they produced, sponsored or controlled, Marketing Defendants

instructed prescribers that they could safely increase patients’ dose to achieve pain relief. Each

of the Marketing Defendants’ claims was deceptive in that it omitted warnings of increased

adverse effects that occur at higher doses, effects confirmed by scientific evidence.

       205.    These misrepresentations were integral to the Marketing Defendants’ promotion

of prescription opioids. As discussed above, patients develop a tolerance to opioids’ analgesic

effects, so that achieving long-term pain relief requires constantly increasing the dose.

       206.    In a 1996 sales memo regarding OxyContin, for example, a regional manager for

Purdue instructed sales representatives to inform physicians that there is “no[] upward limit” for

dosing and ask “if there are any reservations in using a dose of 240mg-320mg of OxyContin.”56

       207.    In addition, sales representatives aggressively pushed doctors to prescribe

stronger doses of opioids. For example, one Purdue sales representative wrote about how his

regional manager would drill the sales team on their upselling tactics:

               It went something like this. “Doctor, what is the highest dose of
               OxyContin you have ever prescribed?” “20mg Q12h.” “Doctor, if
               the patient tells you their pain score is still high you can increase
               the dose 100% to 40mg Q12h, will you do that?” “Okay.” “Doctor,
               what if that patient them came back and said their pain score was
               still high, did you know that you could increase the OxyContin
               dose to 80mg Q12h, would you do that?” “I don’t know, maybe.”
               “Doctor, but you do agree that you would at least Rx the 40mg
               dose, right?” “Yes.”

               The next week the rep would see that same doctor and go through
               the same discussion with the goal of selling higher and higher
               doses of OxyContin.

56
   Sales manager on 12-hour dosing, Los Angeles Times (May 5, 2016),
http://documents.latimaes.com/sales-manager-on12-hour-dosing-1996/.



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        208.    These misrepresentations were particularly dangerous. As noted above, opioid

doses at or above 50 MME/day double the risk of overdose compared to 20 MME/day, and 50

MME is equal to just 33 mg of oxycodone. The recommendation of 320 mg every twelve hours

is ten times that.

        209.    In its 2010 Risk Evaluation and Mitigation Strategy (“REMS”) for OxyContin,

however, Purdue does not address the increased risk of respiratory depression and death from

increasing dose, and instead advises prescribers that “dose adjustments may be made every 1-2

days”; “it is most appropriate to increase the q12h dose”; the “total daily dose can usually be

increased by 25% to 50%”; and if “significant adverse reactions occur, treat them aggressively

until they are under control, then resume upward titration.”57

        210.    Endo sponsored a website, Painknowledge.com, which claimed that opioids may

be increased until “you are on the right dose of medication for your pain,” at which point further

dose increases would not be required.

        211.    Endo also published on its website a patient education pamphlet entitled

Understanding Your Pain: Taking Oral Opioid Analgesics. In Q&A format, it asked, “If I take

the opioid now, will it work later when I really need it?” The response is, “The dose can be

increased . . . You won’t ‘run out’ of pain relief.”

        212.    Purdue and Cephalon sponsored APF’s Treatment Options: A Guide for People

Living with Pain (2007), which taught patients that opioids have “no ceiling dose” and therefore

are safer than NSAIDs.


57
   OxyContin Risk Evaluation and Mitigation Strategy, Purdue Pharma L.P.,
https://web.archive.org/web/20170215190303/https://www.fda.gov/downloads/Drugs/DrugSafet
y/PostmarketDrugSafetyInformationforPatientsandProviders/UCM220990.pdf (last modified
Nov. 2010).



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          213.   Marketing Defendants were aware of the greater dangers high dose opioids posed.

In 2013, the FDA acknowledged “that the available data do suggest a relationship between

increasing opioid dose and risk of certain adverse events” and that studies “appear to credibly

suggest a positive association between high-dose opioid use and the risk of overdose and/or

overdose mortality.” A study of the Veterans Health Administration from 2004 to 2008 found the

rate of overdose deaths is directly related to maximum daily dose.

                         f.     Falsehood #6: Long-term opioid use improves functioning

          214.   Despite the lack of evidence of improved function and the existence of evidence

to the contrary, the Marketing Defendants consistently promoted opioids as capable of improving

patients’ function and quality of life because they viewed these claims as a critical part of their

marketing strategies. In recalibrating the risk-benefit analysis for opioids, increasing the

perceived benefits of treatment was necessary to overcome its risks.

          215.   Purdue noted the need to compete with this messaging, despite the lack of data

supporting improvement in quality of life with OxyContin treatment:

                 Janssen has been stressing decreased side effects, especially
                 constipation, as well as patient quality of life, as supported by
                 patient rating compared to sustained release morphine…We do not
                 have such data to support OxyContin promotion. . . . In addition,
                 Janssen has been using the “life uninterrupted” message in
                 promotion of Duragesic for non-cancer pain, stressing that
                 Duragesic “helps patients think less about their pain.” This is a
                 competitive advantage based on our inability to make any quality
                 of life claims.58

          216.   Despite its acknowledgment that “[w]e do not have such data to support

OxyContin promotion,” Purdue ran a full-page ad for OxyContin in the Journal of the American

Medical Association, proclaiming, “There Can Be Life With Relief,” and showing a man happily

58
     Meier, supra note 17, at 281.



                                                 62
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fly-fishing alongside his grandson, implying that OxyContin would help users’ function. This ad

earned a warning letter from the FDA, which admonished, “It is particularly disturbing that your

November ad would tout ‘Life With Relief’ yet fail to warn that patients can die from taking

OxyContin.”59

       217.     Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

Management, which claimed that “multiple clinical studies” have shown that opioids are

effective in improving daily function, psychological health, and health-related quality of life for

chronic pain patients. But the article cited as support for this in fact stated the contrary, noting

the absence of long-term studies and concluding, “[f]or functional outcomes, the other analgesics

were significantly more effective than were opioids.”

       218.     A series of medical journal advertisements for OxyContin in 2012 presented

“Pain Vignettes”—case studies featuring patients with pain conditions persisting over several

months—that implied functional improvement. For example, one advertisement described a

“writer with osteoarthritis of the hands” and implied that OxyContin would help him work more

effectively.

       219.     Similarly, since at least May of 2011, Endo has distributed and made available on

its website, opana.com, a pamphlet promoting Opana ER with photographs depicting patients

with physically demanding jobs like those of a construction worker or chef, misleadingly

implying that the drug would provide long-term pain relief and functional improvement.

       220.     As noted above, Janssen sponsored and edited a patient education guide entitled

Finding Relief: Pain Management for Older Adults (2009), which states as “a fact” that “opioids


59
  Chris Adams, FDA Orders Purdue Pharma To Pull Its OxyContin Ads, Wall Street Journal
(Jan. 23, 2003, 12:01am), https://www.wsj.com/articles/SB1043259665976915824.



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may make it easier for people to live normally.” This guide features a man playing golf on the

cover and lists examples of expected functional improvement from opioids, like sleeping through

the night, returning to work, recreation, sex, walking, and climbing stairs. It assures patients that,

“[u]sed properly, opioid medications can make it possible for people with chronic pain to ‘return

to normal.’” Similarly, Responsible Opioid Prescribing (2007), sponsored and distributed by

Teva, Endo, and Purdue, taught that relief of pain by opioids, by itself, improved patients’

function. The book remains for sale online.

       221.    In addition, Janssen’s Let’s Talk Pain, website featured a video interview, which

was edited by Janssen personnel, claiming that opioids were what allowed a patient to “continue

to function,” falsely implying that her experience would be representative.

       222.    The APF’s Treatment Options: A Guide for People Living with Pain (2007),

sponsored by Purdue and Cephalon, counseled patients that opioids “give [pain patients] a

quality of life we deserve.” The guide was available online until APF shut its doors in May 2012.

       223.    Endo’s NIPC website Painknowledge.com claimed that with opioids, “your level

of function should improve; you may find you are now able to participate in activities of daily

living, such as work and hobbies, that you were not able to enjoy when your pain was worse.” In

addition to “improved function,” the website touted improved quality of life as a benefit of

opioid therapy. The grant request that Endo approved for this project specifically indicated

NIPC’s intent to make claims of functional improvement.

       224.    Endo was the sole sponsor, through NIPC, of a series of CMEs titled Persistent

Pain in the Older Patient, which claimed that chronic opioid therapy has been “shown to reduce

pain and improve depressive symptoms and cognitive functioning.” The CME was disseminated

via webcast.




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         225.   Mallinckrodt’s website, in a section on responsible use of opioids, claims that

“[t]he effective pain management offered by our medicines helps enable patients to stay in the

workplace, enjoy interactions with family and friends, and remain an active member of

society.”60

         226.   The Marketing Defendants’ claims that long-term use of opioids improves patient

function and quality of life are unsupported by clinical evidence. There are no controlled studies

of the use of opioids beyond 16 weeks, and there is no evidence that opioids improve patients’

pain and function long term. The FDA, for years, has made clear through warning letters to

manufacturers the lack of evidence for claims that the use of opioids for chronic pain improves

patients’ function and quality of life.61 Based upon a review of the existing scientific evidence,

the CDC Guideline concluded that “there is no good evidence that opioids improve pain or

function with long-term use.”62

         227.   Consistent with the CDC’s findings, substantial evidence exists demonstrating

that opioid drugs are ineffective for the treatment of chronic pain and worsen patients’ health.

For example, a 2006 study-of-studies found that opioids as a class did not demonstrate

60
  Mallinckrodt Pharmaceuticals, Responsible Use, http://www.mallinckrodt.com/corporate-
responsibility/responsible-use
61
  The FDA has warned other drugmakers that claims of improved function and quality of life
were misleading. See Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., &
Commc’ns, to Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010), (rejecting claims that
Actavis’ opioid, Kadian, had an “overall positive impact on a patient’s work, physical and
mental functioning, daily activities, or enjoyment of life.”); Warning Letter from Thomas
Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Brian A. Markison, Chairman,
President and Chief Executive Officer, King Pharmaceuticals, Inc. (March 24, 2008), (finding
the claim that “patients who are treated with [Avinza (morphine sulfate ER)] experience an
improvement in their overall function, social function, and ability to perform daily activities . . .
has not been demonstrated by substantial evidence or substantial clinical experience.”). The
FDA’s warning letters were available to Defendants on the FDA website.
62
     CDC Guideline at 20.



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improvement in functional outcomes over other non-addicting treatments. The few longer-term

studies of opioid use had “consistently poor results,” and “several studies have showed that

opioids for chronic pain may actually worsen pain and functioning . . .”63 along with general

health, mental health, and social function. Over time, even high doses of potent opioids often

fail to control pain, and patients exposed to such doses are unable to function normally.

         228.    On the contrary, the available evidence indicates opioids may worsen patients’

health and pain. Increased duration of opioid use is strongly associated with increased prevalence

of mental health disorders (depression, anxiety, post-traumatic stress disorder, and substance

abuse), increased psychological distress, and greater health care utilization. The CDC Guideline

concluded that “[w]hile benefits for pain relief, function and quality of life with long-term opioid

use for chronic pain are uncertain, risks associated with long-term opioid use are clearer and

significant.”64 According to the CDC, “for the vast majority of patients, the known, serious, and

too-often-fatal risks far outweigh the unproven and transient benefits [of opioids for chronic

pain].”65

         229.    As one pain specialist observed, “opioids may work acceptably well for a while,

but over the long term, function generally declines, as does general health, mental health, and

social functioning. Over time, even high doses of potent opioids often fail to control pain, and

these patients are unable to function normally.”66 In fact, research such as a 2008 study in the


63
  Thomas R. Frieden and Debra Houry, Reducing the Risks of Relief – The CDC Opioid-
Prescribing Guideline, New England Journal of Medicine, at 1503 (Apr. 21, 2016)
64
     CDC Guideline at 2, 18.
65
  Thomas R. Frieden and Debra Houry, Reducing the Risks of Relief – The CDC Opioid-
Prescribing Guideline, New England Journal of Medicine, at 1503 (Apr. 21, 2016)
66
  Andrea Rubinstein, Are We Making Pain Patients Worse?, Sonoma Med. (Fall 2009),
available at http://www.nbcms.org/about-us/sonoma-county-medical-
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journal Spine has shown that pain sufferers prescribed opioids long-term suffered addiction that

made them more likely to be disabled and unable to work.67 Another study demonstrated that

injured workers who received a prescription opioid for more than seven days during the first six

weeks after the injury were 2.2 times more likely to remain on work disability a year later than

workers with similar injuries who received no opioids at all.68 Moreover, the first randomized

clinical trial designed to make head-to-head comparisons between opioids and other kinds of

pain medications was recently published on March 6, 2018, in the Journal of the American

Medical Association. The study reported that “[t]here was no significant difference in pain-

related function between the 2 groups” – those whose pain was treated with opioids and those

whose pain was treated with non-opioids, including acetaminophen and other non-steroidal anti-

inflammatory drugs (“NSAIDs”) like ibuprofen. Accordingly, the study concluded: “Treatment

with opioids was not superior to treatment with nonopioid medications for improving pain-

related function over 12 months.”

                      g.      Falsehood #7: Alternative forms of pain relief pose greater
                              risks than opioids

       230.    In materials they produced, sponsored or controlled, the Marketing Defendants

omitted known risks of chronic opioid therapy and emphasized or exaggerated risks of




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association/magazine/sonoma-medicine-are-we-making-pain-patients-
worse.aspx?pageid=144&tabid=747.
67
  Jeffrey Dersh, et al., Prescription opioid dependence is associated with poorer outcomes in
disabling spinal disorders, 33(20) Spine 2219-27 (Sept. 15, 2008).
68
  Franklin, GM, Stover, BD, Turner, JA, Fulton-Kehoe, D, Wickizer, TM, Early opioid
prescription and subsequent disability among workers with back injuries: the Disability Risk
Identification Study Cohort, 33 Spine 199, 201-202.



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competing products so that prescribers and patients would favor opioids over other therapies

such as over-the-counter acetaminophen or over-the-counter or prescription NSAIDs.

       231.    For example, in addition to failing to disclose in promotional materials the risks of

addiction, overdose, and death, the Marketing Defendants routinely ignored the risks of

hyperalgesia, a “known serious risk associated with chronic opioid analgesic therapy in which

the patient becomes more sensitive to certain painful stimuli over time;”69 hormonal

dysfunction;70 decline in immune function; mental clouding, confusion, and dizziness; increased

falls and fractures in the elderly;71 neonatal abstinence syndrome (when an infant exposed to

opioids prenatally suffers withdrawal after birth), and potentially fatal interactions with alcohol

or with benzodiazepines, which are used to treat anxiety and may be co-prescribed with opioids,

particularly to veterans suffering from pain.72

       232.    The APF’s Treatment Options: A Guide for People Living with Pain, sponsored

by Purdue and Cephalon, warned that risks of NSAIDs increase if “taken for more than a period

of months,” with no corresponding warning about opioids. The publication falsely attributed

10,000 to 20,000 deaths annually to NSAID overdose, when the figure is closer to 3,200.73


69
  Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Eval. & Res., to Andrew Kolodny,
M.D., Pres. Physicians for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818
(Sept. 10, 2013).
70
  H.W. Daniell, Hypogonadism in men consuming sustained-action oral opioids, 3(5) J. Pain
377-84 (2001).
71
 See Bernhard M. Kuschel, The risk of fall injury in relation to commonly prescribed
medications among older people – a Swedish case-control study, Eur. J. Pub. H. (July 31, 2014).
72
  Karen H. Seal, Association of Mental Health Disorders With Prescription Opioids and High-
Risk Opioids in US Veterans of Iraq and Afghanistan, 307(9) J. Am. Med. Ass’n 940-47 (2012).
73
  Robert E. Tarone, et al., Nonselective Nonaspirin Nonsteroidal Anti-Inflammatory Drugs and
Gastrointestinal Bleeding: Relative and Absolute Risk Estimates from Recent Epidemiologic
Studies, 11 Am. J. of Therapeutics 17-25 (2004).



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       233.     Janssen sponsored Finding Relief: Pain Management for Older Adults (2009),

which listed dose limitations as “disadvantages” of other pain medicines but omitted any

discussion of risks of increased doses from opioids. Finding Relief described the advantages and

disadvantages of NSAIDs on one page, and the “myths/facts” of opioids on the facing page. The

disadvantages of NSAIDs are described as involving “stomach upset or bleeding,” “kidney or

liver damage if taken at high doses or for a long time,” “adverse reactions in people with

asthma,” and “can increase the risk of heart attack and stroke.” The only adverse effects of

opioids listed are “upset stomach or sleepiness,” which the brochure claims will go away, and

constipation.

       234.     Endo’s NIPC website, Painknowledge.com, which contained a flyer called “Pain:

Opioid Therapy.” This publication listed opioids’ adverse effects but with significant omissions,

including hyperalgesia, immune and hormone dysfunction, cognitive impairment, tolerance,

dependence, addiction, and death.

       235.     As another example, the Endo-sponsored CME put on by NIPC, Persistent Pain

in the Older Adult, discussed above, counseled that acetaminophen should be used only short-

term and includes five slides on the FDA’s restrictions on acetaminophen and its adverse effects,

including severe liver injury and anaphylaxis (shock). In contrast, the CME downplays the risk

of opioids, claiming opioids have “possibly less potential for abuse than in younger patients,”

and does not list overdose among the adverse effects. Some of those misrepresentations are

described above; others are laid out below.




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            236.   In April 2007, Endo sponsored an article aimed at prescribers, published in Pain

Medicine News, titled “Case Challenges in Pain Management: Opioid Therapy for Chronic

Pain.”74 The article asserted:

                   Opioids represent a highly effective but controversial and often
                   misunderstood class of analgesic medications for controlling both
                   chronic and acute pain. The phenomenon of tolerance to opioids –
                   the gradual waning of relief at a given dose – and fears of abuse,
                   diversion, and misuse of these medications by patients have led
                   many clinicians to be wary of prescribing these drugs, and/or to
                   restrict dosages to levels that may be insufficient to provide
                   meaningful relief.75

            237.   To help allay these concerns, Endo emphasized the risks of NSAIDs as an

alternative to opioids. The article included a case study that focused on the danger of extended

use of NSAIDs, including that the subject was hospitalized with a massive upper gastrointestinal

bleed believed to have resulted from his protracted NSAID use. In contrast, the article did not

provide the same detail concerning the serious side effects associated with opioids.

            238.   Additionally, Purdue acting with Endo sponsored Overview of Management

Options, a CME issued by the AMA in 2003, 2007, 2010, and 2013. The 2013 version remains

available for CME credit. The CME taught that NSAIDs and other drugs, but not opioids, are

unsafe at high doses.

            239.   As a result of the Marketing Defendants’ deceptive promotion of opioids over

safer and more effective drugs, opioid prescriptions increased even as the percentage of patients

visiting a doctor for pain remained constant. A study of 7.8 million doctor visits between 2000

and 2010 found that opioid prescriptions increased from 11.3% to 19.6% of visits, as NSAID and


74
  Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for Chronic Pain,
Pain Med. News.
75
     Id.



                                                   70
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acetaminophen prescriptions fell from 38% to 29%, driven primarily by the decline in NSAID

prescribing.76

                        h.     Falsehood #8: OxyContin provides twelve hours of pain relief

       240.      Purdue also dangerously misled doctors and patients about OxyContin’s duration

and onset of action, making the knowingly false claim that OxyContin would provide 12 hours of

pain relief for most patients. As laid out below, Purdue made this claim for two reasons. First, it

provides the basis for both Purdue’s patent and its market niche, allowing it to both protect and

differentiate itself from competitors. Second, it allowed Purdue to imply or state outright that

OxyContin had a more even, stable release mechanism that avoided peaks and valleys and

therefore the rush that fostered addiction and attracted abusers.

       241.      Purdue promotes OxyContin as an extended-release opioid, but the oxycodone

does not enter the body on a linear rate. OxyContin works by releasing a greater proportion of

oxycodone into the body upon administration, and the release gradually tapers, as illustrated in

the following chart:




76
  M. Daubresse, et al., Ambulatory Diagnosis and Treatment of Nonmalignant Pain in the
United States, 2000-2010, 51(10) Med. Care, 870-878 (2013). For back pain alone, the
percentage of patients prescribed opioids increased from 19% to 29% between 1999 and 2010,
even as the use of NSAIDs or acetaminophen declined from 39.9% to 24.5% of these visits; and
referrals to physical therapy remained steady. See also J. Mafi, et al., Worsening Trends in the
Management and Treatment of Back Pain, 173(17) J. of the Am Med. Ass’n Internal Med. 1573,
1573 (2013).



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        242.    The reduced release of the drug over time means that the oxycodone no longer

provides the same level of pain relief; as a result, in many patients, OxyContin does not last for

the twelve hours for which Purdue promotes it—a fact that Purdue has known at all times

relevant to this action.

        243.    OxyContin tablets provide an initial absorption of approximately 40% of the

active medicine. This has a two-fold effect. First, the initial rush of nearly half of the powerful

opioid triggers a powerful psychological response. OxyContin thus behaves more like an

immediate release opioid, which Purdue itself once claimed was more addicting in its original

1995 FDA-approved drug label. Second, the initial burst of oxycodone means that there is less of

the drug at the end of the dosing period, which results in the drug not lasting for a full twelve

hours and precipitates withdrawal symptoms in patients, a phenomenon known as “end of dose”




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failure. (The FDA found in 2008 that a “substantial number” of chronic pain patients will

experience end-of-dose failure with OxyContin.)

       244.    End-of-dose failure renders OxyContin even more dangerous because patients

begin to experience withdrawal symptoms, followed by a euphoric rush with their next dose—a

cycle that fuels a craving for OxyContin. For this reason, Dr. Theodore Cicero, a

neuropharmacologist at the Washington University School of Medicine in St. Louis, has called

OxyContin’s 12-hour dosing “the perfect recipe for addiction.”77 Many patients will exacerbate

this cycle by taking their next dose ahead of schedule or resorting to a rescue dose of another

opioid, increasing the overall amount of opioids they are taking.

       245.    It was Purdue’s decision to submit OxyContin for approval with 12-hour dosing.

While the OxyContin label indicates that “[t]here are no well-controlled clinical studies

evaluating the safety and efficacy with dosing more frequently than every 12 hours,” that is

because Purdue has conducted no such studies.

       246.    Purdue nevertheless has falsely promoted OxyContin as if it were effective for a

full twelve hours. Its advertising in 2000 included claims that OxyContin provides “Consistent

Plasma Levels Over 12 Hours.” That claim was accompanied by a chart, mirroring the chart on

the previous page. However, this version of the chart deceptively minimized the rate of end-of-

dose failure by depicting 10 mg in a way that it appeared to be half of 100 mg in the table’s y-

axis. That chart, shown below, depicts the same information as the chart above, but does so in a

way that makes the absorption rate appear more consistent:




77
 Harriet Ryan, “‘‘You Want a Description of Hell?’ OxyContin’s 12-Hour Problem,” Los
Angeles Times, May 5, 2016, available at http://www.latimes.com/projects/oxycontin-part1/.



                                                73
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       247.    Purdue’s 12-hour messaging was key to its competitive advantage over short-

acting opioids that required patients to wake in the middle of the night to take their pills. Purdue

advertisements also emphasized “Q12h” dosing. These include an advertisement in the February

2005 Journal of Pain and 2006 Clinical Journal of Pain featuring an OxyContin logo with two

pill cups, reinforcing the twice-a-day message. A Purdue memo to the OxyContin launch team

stated that “OxyContin’s positioning statement is ‘all of the analgesic efficacy of immediate-

release oxycodone, with convenient q12h dosing,’” and further that “[t]he convenience of q12h

dosing was emphasized as the most important benefit.”78

       248.    Purdue executives therefore maintained the messaging of twelve-hour dosing

even when many reports surfaced that OxyContin did not last twelve hours. Instead of


78
   OxyContin launch, Los Angeles Times (May 5, 2016),
http://documents.latimes.com/oxycontin-launch-1995/



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acknowledging a need for more frequent dosing, Purdue instructed its representatives to push

higher-strength pills, even though higher dosing carries its own risks, as noted above. It also

means that patients will experience higher highs and lower lows, increasing their craving for

their next pill. (Urging higher doses to avoid end-of-dose failure is like advising a pilot to avoid

a crash by flying higher.) Nationwide, based on an analysis by the Los Angeles Times, more than

52% of patients taking OxyContin longer than three months are on doses greater than 60

milligrams per day—which converts to the 90 MED that the CDC Guideline urges prescribers to

“avoid” or “carefully justify.”79

         249.   The information that OxyContin did not provide pain relief for a full twelve hours

was known to Purdue, and Purdue’s competitors, but was not disclosed to prescribers. Purdue’s

knowledge of some pain specialists’ tendency to prescribe OxyContin three times per day instead

of two was set out in Purdue’s internal documents as early as 1999 and is apparent from

MEDWATCH Adverse Event reports for OxyContin.

         250.   Even Purdue’s competitor, Endo, was aware of the problem; Endo attempted to

position its Opana ER drug as offering “durable” pain relief, which Endo understood to suggest a

contrast to OxyContin. Opana ER advisory board meetings featured pain specialists citing lack of

12-hour dosing as a disadvantage of OxyContin. Endo even ran advertisements for Opana ER

referring to “real” 12-hour dosing.

         251.   For example, in a 1996 sales strategy memo from a Purdue regional manager, the

manager emphasized that representatives should “convinc[e] the physician that there is no need”

for prescribing OxyContin in shorter intervals than the recommended 12-hour interval, and



79
     CDC Guideline at 16.



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instead the solution is prescribing higher doses.”80 One sales manager instructed her team that

anything shorter than 12-hour dosing “needs to be nipped in the bud. NOW!!”81

       252.    Purdue’s failure to disclose the prevalence of end-of-dose failure meant that

prescribers were misinformed about the advantages of OxyContin in a manner that preserved

Purdue’s competitive advantage and profits, at the expense of patients, who were placed at

greater risk of overdose, addiction, and other adverse effects.

                       i.     Falsehood #9: New formulations of certain opioids successfully
                              deter abuse

       253.    Rather than take the widespread abuse of and addiction to opioids as reason to

cease their untruthful marketing efforts, Marketing Defendants Purdue and Endo seized them as

a competitive opportunity. These companies developed and oversold “abuse-deterrent

formulations” (“ADF”) opioids as a solution to opioid abuse and as a reason that doctors could

continue to safely prescribe their opioids, as well as an advantage of these expensive branded

drugs over other opioids. These Defendants’ false and misleading marketing of the benefits of

their ADF opioids preserved and expanded their sales and falsely reassured prescribers thereby

prolonging the opioid epidemic. Other Marketing Defendants, including Actavis and

Mallinckrodt, also promoted their branded opioids as formulated to be less addictive or less

subject to abuse than other opioids.

       254.    The CDC Guideline confirms that “[n]o studies” support the notion that “abuse-

deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,” noting

that the technologies “do not prevent opioid abuse through oral intake, the most common route of

80
   Sales manager on 12-hour dosing, Los Angeles Times (May 5, 2016),
http://documents.latimes.com/sales-manager-on12-hour-dosing-1996/.
81
  Harriet Ryan, Lisa Girion, and Scott Glover, ‘You Want a Description of Hell?’ OxyContin’s
12-Hour Problem (May 5, 2016), http://www.latimes.com/projects/oxycontin-part1/.



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opioid abuse, and can still be abused by non-oral routes.” Tom Frieden, the former Director of

the CDC, reported that his staff could not find “any evidence showing the updated opioids [ADF

opioids] actually reduce rates of addiction, overdoses, or death.”

                        i.      Purdue’s deceptive marketing of reformulated OxyContin and
                                Hysinga ER

          255.   Reformulated ADF OxyContin was approved by the FDA in April 2010. It was

not until 2013 that the FDA, in response to a citizen petition filed by Purdue, permitted reference

to the abuse-deterrent properties in its label. When Hysinga ER (extended-release hydrocodone)

launched in 2014, the product included similar abuse-deterrent properties and limitations. But in

the beginning, the FDA made clear the limited claims that could be made about ADF, noting that

no evidence supported claims that ADF prevented tampering, oral abuse, or overall rates of

abuse.

          256.   It is unlikely a coincidence that reformulated OxyContin was introduced shortly

before generic versions of OxyContin were to become available, threatening to erode Purdue’s

market share and the price it could charge. Purdue nonetheless touted its introduction of ADF

opioids as evidence of its good corporate citizenship and commitment to address the opioid

crisis.

          257.   Despite its self-proclaimed good intention, Purdue merely incorporated its

generally deceptive tactics with respect to ADF. Purdue sales representatives regularly

overstated and misstated the evidence for and impact of the abuse-deterrent features of these

opioids. Specifically, Purdue sales representatives:

                claimed that Purdue’s ADF opioids prevent tampering and that its ADFs could not
                 be crushed or snorted;

                claimed that Purdue’s ADF opioids reduce opioid abuse and diversion;

                asserted or suggested that its ADF opioids are non-addictive or less addictive,


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               asserted or suggested that Purdue’s ADF opioids are safer than other opioids,
                could not be abused or tampered with, and were not sought out for diversion; and

               failed to disclose that Purdue’s ADF opioids do not impact oral abuse or misuse.

         258.   If pressed, Purdue acknowledged that perhaps some “extreme” patients might still

abuse the drug, but claimed the ADF features protect the majority of patients. These

misrepresentations and omissions are misleading and contrary to Purdue’s ADF labels, Purdue’s

own information, and publicly available data.

         259.   Purdue knew or should have known that reformulated OxyContin is not more

tamper-resistant than the original OxyContin and is still regularly tampered with and abused.

         260.   In 2009, the FDA noted in permitting ADF labeling that “the tamper-resistant

properties will have no effect on abuse by the oral route (the most common mode of abuse)”. In

the 2012 medical office review of Purdue’s application to include an abuse-deterrence claim in

its label for OxyContin, the FDA noted that the overwhelming majority of deaths linked to

OxyContin were associated with oral consumption, and that only 2% of deaths were associated

with recent injection and only 0.2% with snorting the drug.

         261.   The FDA’s Director of the Division of Epidemiology stated in September 2015

that no data that she had seen suggested the reformulation of OxyContin “actually made a

reduction in abuse,” between continued oral abuse, shifts to injection of other drugs (including

heroin), and defeat of the ADF mechanism. Even Purdue’s own funded research shows that half

of OxyContin abusers continued to do so orally after the reformulation rather than shift to other

drugs.

         262.   A 2013 article presented by Purdue employees based on review of data from

poison control centers, concluded that ADF OxyContin can reduce abuse, it but ignored

important negative findings. The study revealed that abuse merely shifted to other drugs and



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that, when the actual incidence of harmful exposures was calculated, there were more harmful

exposures to opioids after the reformulation of OxyContin. In short, the article deceptively

emphasized the advantages and ignored the disadvantages of ADF OxyContin.

       263.    Websites and message boards used by drug abusers, such as bluelight.org and

reddit.com, report a variety of ways to tamper with OxyContin and Hysinga ER, including

through grinding, microwaving then freezing, or drinking soda or fruit juice in which a tablet is

dissolved. Purdue has been aware of these methods of abuse for more than a decade.

       264.    One-third of the patients in a 2015 study defeated the ADF mechanism and were

able to continue inhaling or injecting the drug. To the extent that the abuse of Purdue’s ADF

opioids was reduced, there was no meaningful reduction in opioid abuse overall, as many users

simply shifted to other opioids such as heroin.

       265.    In 2015, claiming a need to further assess its data, Purdue abruptly withdrew a

supplemental new drug application related to reformulated OxyContin one day before FDA staff

was to release its assessment of the application. The staff review preceded an FDA advisory

committee meeting related to new studies by Purdue “evaluating the misuse and/or abuse of

reformulated OxyContin” and whether those studies “have demonstrated that the reformulated

product has a meaningful impact on abuse.”82 Upon information and belief, Purdue never

presented the data to the FDA because the data would not have supported claims that

OxyContin’s ADF properties reduced abuse or misuse.

       266.    Despite its own evidence of abuse, and the lack of evidence regarding the benefit

of Purdue’s ADF opioids in reducing abuse, Dr. J. David Haddox, the Vice President of Health

82
  Meeting Notice, Joint Meeting of the Drug Safety and Risk Management Advisory Committee
and the Anesthetic and Analgesic Drug Products Advisory Committee; Notice of Meeting, May
25, 2015, 80 FR 30686.



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Policy for Purdue, falsely claimed in 2016 that the evidence does not show that Purdue’s ADF

opioids are being abused in large numbers. Purdue’s recent advertisements in national

newspapers also continues to claim its ADF opioids as evidence of its efforts to reduce opioid

abuse, continuing to mislead prescribers, patients, payors, and the public about the efficacy of its

actions.

                       ii.     Endo’s deceptive marketing of reformulated Opana ER

       267.    Endo also made abuse-deterrence a key to its marketing strategy.

       268.    Opana ER was particularly likely to be tampered with and abused. That is because

Opana ER has lower “bioavailability” than other opioids, meaning that the active pharmaceutical

ingredient (the “API” or opioid) does not absorb into the bloodstream as rapidly as other opioids

when taken orally. Additionally, when swallowed whole, the extended-release mechanism

remains intact, so that only 10% of Opana ER’s API is released into the patient’s bloodstream

relative to injection; when it is taken intranasally, that rate increases to 43%. The larger gap

between bioavailability when consumed orally versus snorting or injection, the greater the

incentive for users to manipulate the drug’s means of administration.

       269.    In December 2011, Endo obtained approval for a new formulation of Opana ER

that added a hard coating that the company claimed made it crush-resistant.

       270.    Even prior to its approval, the FDA had advised Endo that it could not market the

new Opana ER as abuse-deterrent.

       271.    However, Endo continued to market Opana ER as ADF while its commercial

window remained open.

       272.    Nonetheless, in August of 2012, Endo submitted a citizen petition asking the FDA

for permission to change its label to indicate that Opana ER was abuse-resistant, both in that it

was less able to be crushed and snorted and that it was resistant injection by syringe. Borrowing


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a page from Purdue’s playbook, Endo announced it would withdraw original Opana ER from the

market and sought a determination that its decision was made for safety reasons (its lack of

abuse-deterrence), which would prevent generic copies of original Opana ER.

       273.    Endo then sued the FDA, seeking to force expedited consideration of its citizen

petition. The court filings confirmed Endo’s true motives: in a declaration submitted with its

lawsuit, Endo’s chief operating officer indicated that a generic version of Opana ER would

decrease the company’s revenue by up to $135 million per year. Endo also claimed that if the

FDA did not block generic competition, $125 million, which Endo spent on developing the

reformulated drug to “promote the public welfare” would be lost.83 The FDA responded that:

“Endo’s true interest in expedited FDA consideration stems from business concerns rather than

protection of the public health.”84

       274.    Despite Endo’s purported concern with public safety, not only did Endo continue

to distribute original, admittedly unsafe Opana ER for nine months after the reformulated version

became available, it declined to recall original Opana ER despite its dangers. In fact, Endo

claimed in September 2012 to be “proud” that “almost all remaining inventory” of the original

Opana ER had “been utilized.”85




83
   Plaintiffs’ Opposition to Defendants’ and Intervenor’s Motions to Dismiss and Plaintiffs’
Reply in Support of Motion for Preliminary Injunction (“Endo Br.”), Endo Pharmaceuticals Inc.
v. U.S. Food and Drug Administration, et al.., No. 1:12-cv-01936, Doc. 23 at 20 (D.D.C. Dec.14,
2012).
84
  Defendants’ Response to the Court’s November 30, 2012 Order, Endo Pharmaceuticals Inc. v.
U.S. Food and Drug Administration, et al.., No. 1:12-cv-01936, Doc. 9 at 6 (D.D.C. Dec. 3,
2012).
85
  Id.; Endo News Release, Sept. 6, 2012 Endo Pharmaceuticals Inc. v. U.S. Food and Drug
Administration, et al., No. 1:12-cv-01936, Doc. 18-4(D.D.C. Dec. 9, 2012)..



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         275.   In its citizen petition, Endo asserted that redesigned Opana ER had “safety

advantages.” Endo even relied on its rejected assertion that Opana was less crushable to argue

that it developed Opana ER for patient safety reasons and that the new formulation would help,

for example, “where children unintentionally chew the tablets prior to an accidental ingestion.”86

         276.   However, in rejecting the petition in a 2013 decision, the FDA found that “study

data show that the reformulated version's extended-release features can be compromised when

subjected to ... cutting, grinding, or chewing.” The FDA also determined that “reformulated

Opana ER” could also be “readily prepared for injections and more easily injected[.]” In fact,

the FDA warned that preliminary data—including in Endo’s own studies—suggested that a

higher percentage of reformulated Opana ER abuse is via injection than was the case with the

original formulation.

         277.   Meanwhile, in 2012, an internal memorandum to Endo account executives noted

that abuse of Opana ER had “increased significantly” in the wake of the purportedly abuse-

deterrent formulation. In February 2013, Endo received abuse data regarding Opana ER from

Inflexxion, Inc., which gathers information from substance abusers entering treatment and

reviews abuse-focused internet discussions, that confirmed continued abuse, particularly by

injection.

         278.   In 2009, only 3% of Opana ER abuse was by intravenous means. Since the

reformulation, injection of Opana ER increased by more than 500%. Endo’s own data, presented

in 2014, found between October 2012 and March 2014, 64% of abusers of Opana ER did so by




86
     CP, FDA Docket 2012-8-0895, at 2.



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injection, compared with 36% for the old formulation.87 The transition into injection of Opana

ER made the drug even less safe than the original formulation. Injection carries risks of HIV,

Hepatitis C, and, in reformulated Opana ER’s specific case, the blood-clotting disorder

thrombotic thrombocytopenic purpura (TTP), which can cause kidney failure.

       279.    Publicly, Endo sought to marginalize the problem. On a 2013 call with investors,

when asked about an outbreak of TTP in Tennessee from injecting Opana ER, Endo sought to

limit its import by assigning it to “a very, very distinct area of the country.”

       280.    Despite its knowledge that Opana ER was widely abused and injected, Endo

marketed the drug as tamper-resistant and abuse-deterrent. Upon information and belief, based

on the company’s detailing elsewhere, Endo sales representatives informed doctors that Opana

ER was abuse-deterrent, could not be tampered with, and was safe. In addition, sales

representatives did not disclose evidence that Opana was easier to abuse intravenously and, if

pressed by prescribers, claimed that while outlier patients might find a way to abuse the drug,

most would be protected.

       281.    A review of national surveys of prescribers regarding their “take-aways” from

pharmaceutical detailing confirms that prescribers remember being told Opana ER was tamper-

resistant. Endo also tracked messages that doctors took from its in-person marketing. Among the

advantages of Opana ER, according to participating doctors, was its “low abuse potential.”

       282.    In its written materials, Endo marketed Opana ER as having been designed to be

crush-resistant, knowing that this would (falsely) imply that Opana ER actually was crush-


87
   Theresa Cassidy, The Changing Abuse Ecology: Implications for Evaluating the Abuse Pattern
of Extended-Release Oxymorphone and Abuse-Deterrent Opioid Formulations, Pain Week
Abstract 2014, available at: https://www.painweek.org/assets/documents/general/724-
painweek2014acceptedabstracts.pdf.



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resistant and that this crush-resistant quality would make Opana ER less likely to be abused. For

example, a June 14, 2012 Endo press release announced “the completion of the company’s

transition of its Opana ER franchise to the new formulation designed to be crush resistant.”

       283.    The press release further stated that: “We firmly believe that the new formulation

of Opana ER, coupled with our long-term commitment to awareness and education around

appropriate use of opioids will benefit patients, physicians and payers. The press release

described the old formulation of Opana as subject to abuse and misuse, but failed to disclose the

absence of evidence that reformulated Opana was any better. In September 2012, another Endo

press release stressed that reformulated Opana ER employed “INTAC Technology” and

continued to describe the drug as “designed to be crush-resistant.”

       284.    Similarly, journal advertisements that appeared in April 2013 stated Opana ER

was “designed to be crush resistant.” A January 2013 article in Pain Medicine News, based in

part on an Endo press release, described Opana ER as “crush-resistant.” This article was posted

on the Pain Medicine News website, which was accessible to patients and prescribers.

       285.    In March 2017, because Opana ER could be “readily prepared for injection” and

was linked to outbreaks of HIV and TTP, an FDA advisory committee recommended that Opana

be withdrawn from the market. The FDA adopted this recommendation on June 8, 2017.88 Endo

announced on July 6, 2017 that it would agree to stop marketing and selling Opana ER.89

However, by this point, the damage had been done. Even then, Endo continued to insist, falsely,

that it “has taken significant steps over the years to combat misuse and abuse.”
88
   Press Release, “FDA requests removal of Opana ER for risks related to abuse,” June 8, 2017,
available at:
https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm
89
   Press Release, “Endo Provides Update on Opana ER,” July 6, 2017, available at:
http://www.endo.com/news-events/press-releases



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                        iii.   Other Marketing Defendants’ misrepresentations regarding
                               abuse deterrence

         286.    Kadian was not approved by the FDA as abuse deterrent, and, upon information

and belief, Actavis had no studies to suggest it was. However, Actavis sales representatives

informed prescribers it was more difficult to abuse and less addictive than other opioids.

         287.    Mallinckrodt promoted both Exalgo (extended-release hydromorphone) and

Xartemis XR (oxycodone and acetaminophen) as specifically formulated to reduce abuse. For

example, Mallinckrodt’s promotional materials stated that “the physical properties of EXALGO

may make it difficult to extract the active ingredient using common forms of physical and

chemical tampering, including chewing, crushing and dissolving.”90 One member of the FDA’s

Controlled Substance Staff, however, noted in 2010 that hydromorphone has “a high abuse

potential comparable to oxycodone” and further stated that “we predict that Exalgo will have

high levels of abuse and diversion.”91

         288.    With respect to Xartemis XR, Mallinckrodt’s promotional materials stated that

“XARTEMIS XR has technology that requires abusers to exert additional effort to extract the

active ingredient from the large quantity of inactive and deterrent ingredients.”92 In anticipation




90
   Mallinckrodt Press Release, FDA Approves Mallinckrodt’s EXALGO® (hydromorphone HCl)
Extended-Release Tablets 32 mg (CII) for Opioid-Tolerant Patients with Moderate-to-Severe
Chronic Pain (Aug. 27, 2012), available at
http://newsroom.medtronic.com/phoenix.zhtml?c=251324&p=irol-newsArticle&ID=2004159
91
  http://www.fda.gov/downloads/advisorycommittees/committeesmeetingmaterials/
drugs/anestheticandanalgesicdrugproductsadvisorycommittee/ucm187490.pdf at 157-58
92
     Mallinckrodt, Responsible Use of Opioid Pain Medications (Mar. 7, 2014)



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of Xartemis XR’s approval, Mallinckrodt added 150-200 sales representatives to promote it, and

CEO Mark Trudeau said the drug could generate “hundreds of millions in revenue.”93

          289.   While Marketing Defendants promote patented technology as the solution to

opioid abuse and addiction, none of their “technology” addresses the most common form of

abuse—oral ingestion—and their statements regarding abuse-deterrent formulations give the

misleading impression that these reformulated opioids can be prescribed safely.

          290.   In sum, each of the nine categories of misrepresentations discussed above

regarding the use of opioids to treat chronic pain was not supported by or was contrary to the

scientific evidence. In addition, the misrepresentations and omissions set forth above and

elsewhere in this Complaint are misleading and contrary to the Marketing Defendants’ products’

labels.

                 b.     The Marketing Defendants Disseminated Their Misleading Messages
                        About Opioids Through Multiple Channels

          291.   The Marketing Defendants’ false marketing campaign not only targeted the

medical community who had to treat chronic pain, but also patients who experience chronic pain.

          292.   The Marketing Defendants utilized various channels to carry out their marketing

scheme of targeting the medical community and patients with deceptive information about

opioids: (1) “Front Groups” with the appearance of independence from the Marketing

Defendants; (2) so-called “key opinion leaders” (“KOLs”), that is, doctors who were paid by the

Marketing Defendants to promote their pro-opioid message; (3) CME programs controlled

and/or funded by the Marketing Defendants; (4) branded advertising; (5) unbranded advertising;


93
  Samantha Liss, Mallinckrodt banks on new painkillers for sales, St. Louis Business Journal
(Dec. 30, 2013), available at http://argentcapital.com/mallinckrodt-banks-on-new-painkillers-for-
sales/



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(6) publications; (7) direct, targeted communications with prescribers by sales representatives or

“detailers”; and (8) speakers bureaus and programs.

                           a.     The Marketing Defendants Directed Front Groups to
                                  Deceptively Promote Opioid Use

            293.    Patient advocacy groups and professional associations also became vehicles to

reach prescribers, patients, and policymakers. Marketing Defendants exerted influence and

effective control over the messaging by these groups by providing major funding directly to

them, as well as through KOLs who served on their boards. These “Front Groups” put out

patient education materials, treatment guidelines and CMEs that supported the use of opioids for

chronic pain, overstated their benefits, and understated their risks.94 Defendants funded these

Front Groups in order to ensure supportive messages from these seemingly neutral and credible

third parties, and their funding did, in fact, ensure such supportive messages—often at the

expense of their own constituencies.

            294.    “Patient advocacy organizations and professional societies like the Front Groups

‘play a significant role in shaping health policy debates, setting national guidelines for patient

treatment, raising disease awareness, and educating the public.’”95 “Even small organizations—

with ‘their large numbers and credibility with policymakers and the public’—have ‘extensive

influence in specific disease areas.’ Larger organizations with extensive funding and outreach

capabilities ‘likely have a substantial effect on policies relevant to their industry sponsors.’”96


94
   U.S. Senate Homeland Security & Governmental Affairs Committee, Fueling an Epidemic:
Exposing the Financial Ties Between Opioid Manufacturers and Third Party Advocacy Groups,
(February 12, 2018) https://www.hsdl.org/?abstract&did=808171 (“Fueling an Epidemic”), at
p. 3.
95
     Id. at p. 2.
96
     Id.



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Indeed, the U.S. Senate’s report, Fueling an Epidemic: Exposing the Financial Ties Between

Opioid Manufacturers and Third Party Advocacy Groups,97 which arose out of a 2017 Senate

investigation and, drawing on disclosures from Purdue, Janssen, Insys, and other opioid

manufacturers, “provides the first comprehensive snapshot of the financial connections between

opioid manufacturers and advocacy groups and professional societies operating in the area of

opioids policy,”98 found that the Marketing Defendants made millions of dollars’ worth of

contributions to various Front Groups.99

           295.       The Marketing Defendants also “made substantial payments to individual group

executives, staff members, board members, and advisory board members” affiliated with the

Front Groups subject to the Senate Committee’s study.100

           296.       As the Senate Fueling an Epidemic Report found, the Front Groups “amplified or

issued messages that reinforce industry efforts to promote opioid prescription and use, including

guidelines and policies minimizing the risk of addiction and promoting opioids for chronic

pain.”101 They also “lobbied to change laws directed at curbing opioid use, strongly criticized

landmark CDC guidelines on opioid prescribing, and challenged legal efforts to hold physicians

and industry executives responsible for overprescription and misbranding.”102

           297.       The Marketing Defendants took an active role in guiding, reviewing, and

approving many of the false and misleading statements issued by the Front Groups, ensuring that


97
     Fueling an Epidemic, supra note 125, p. 3.
98
     Id. at p. 1.
99
     Id. at p. 3.
100
      Id. at p. 10.
101
      Id. at 12-15.
102
      Id. at 12.



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Defendants were consistently in control of their content. By funding, directing, editing,

approving, and distributing these materials, Defendants exercised control over and adopted their

false and deceptive messages and acted in concert with the Front Groups and through the Front

groups, with each other to deceptively promote the use of opioids for the treatment of chronic

pain.

                       i.     American Pain Foundation

         298.   The most prominent of the Front Groups was the American Pain Foundation

(“APF”). While APF held itself out as an independent patient advocacy organization, in reality it

received 90% of its funding in 2010 from the drug and medical-device industry, including from

defendants Purdue, Endo, Janssen and Cephalon. APF received more than $10 million in funding

from opioid manufacturers from 2007 until it closed its doors in May 2012. By 2011, APF was

entirely dependent on incoming grants from Defendants Purdue, Cephalon, Endo, and others to

avoid using its line of credit. Endo was APF’s largest donor and provided more than half of its

$10 million in funding from 2007 to 2012.

         299.   For example, APF published a guide sponsored by Cephalon and Purdue titled

Treatment Options: A Guide for People Living with Pain, and distributed 17,200 copies of this

guide in one year alone, according to its 2007 annual report. This guide contains multiple

misrepresentations regarding opioid use, which are discussed below.

         300.   APF also developed the National Initiative on Pain Control (“NIPC”), which ran a

facially unaffiliated website, www.painknowledge.com. NIPC promoted itself as an education

initiative led by its expert leadership team, including purported experts in the pain management

field. NIPC published unaccredited prescriber education programs (accredited programs are

reviewed by a third party and must meet certain requirements of independence from

pharmaceutical companies), including a series of “dinner dialogues.” But it was Endo that


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substantially controlled NIPC, by funding NIPC projects, developing, specifying, and reviewing

its content, and distributing NIPC materials. Endo’s control of NIPC was such that Endo listed it

as one of its “professional education initiative[s]” in a plan Endo submitted to the FDA. Yet,

Endo’s involvement in NIPC was nowhere disclosed on the website pages describing NIPC or

www.painknowledge.org. Endo estimated it would reach 60,000 prescribers through NIPC.

       301.    APF was often called upon to provide “patient representatives” for the Marketing

Defendants’ promotional activities, including for Purdue’s “Partners Against Pain” and Janssen’s

“Let’s Talk Pain.” Although APF presented itself as a patient advocacy organization, it

functioned largely as an advocate for the interests of the Marketing Defendants, not patients. As

Purdue told APF in 2001, the basis of a grant to the organization was Purdue’s desire to

strategically align its investments in nonprofit organizations that share [its] business interests.

       302.    In practice, APF operated in close collaboration with Defendants, submitting

grant proposals seeking to fund activities and publications suggested by Defendants and assisting

in marketing projects for Defendants.

       303.    This alignment of interests was expressed most forcefully in the fact that Purdue

hired APF to provide consulting services on its marketing initiatives. Purdue and APF entered

into a “Master Consulting Services” Agreement on September 14, 2011. That agreement gave

Purdue substantial rights to control APF’s work related to a specific promotional project.

Moreover, based on the assignment of particular Purdue “contacts” for each project and APF’s

periodic reporting on their progress, the agreement enabled Purdue to be regularly aware of the

misrepresentations APF was disseminating regarding the use of opioids to treat chronic pain in

connection with that project. The agreement gave Purdue—but not APF—the right to end the

project (and, thus, APF’s funding) for any reason. Even for projects not produced during the




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terms of this Agreement, the Agreement demonstrates APF’s lack of independence and

willingness to harness itself to Purdue’s control and commercial interests, which would have

carried across all of APF’s work.

       304.    APF’s Board of Directors was largely comprised of doctors who were on the

Marketing Defendants’ payrolls, either as consultants or speakers at medical events. The close

relationship between APF and the Marketing Defendants demonstrates APF’s clear lack of

independence, in its finances, management, and mission, and its willingness to allow Marketing

Defendants to control its activities and messages supports an inference that each Defendant that

worked with it was able to exercise editorial control over its publications—even when

Defendants’ messages contradicted APF’s internal conclusions. For example, a roundtable

convened by APF and funded by Endo also acknowledged the lack of evidence to support

chronic opioid therapy. APF’s formal summary of the meeting notes concluded that: “[An]

important barrier[] to appropriate opioid management [is] the lack of confirmatory data about the

long-term safety and efficacy of opioids in non-cancer chronic pain, amid cumulative clinical

evidence.”

       305.    In May 2012, the U.S. Senate Finance Committee began looking into APF to

determine the links, financial and otherwise, between the organization and the manufacturers of

opioid painkillers. Within days of being targeted by the Senate investigation, APF’s board voted

to dissolve the organization “due to irreparable economic circumstances.” APF then “cease[d] to

exist, effective immediately.” Without support from Marketing Defendants, to whom APF could

no longer be helpful, APF was no longer financially viable.




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                       ii.     American Academy of Pain Medicine and the American Pain
                               Society

         306.   The American Academy of Pain Medicine (“AAPM”) and the American Pain

Society (“APS”) are professional medical societies, each of which received substantial funding

from Defendants from 2009 to 2013. In 1997, AAPM issued a “consensus” statement that

endorsed opioids to treat chronic pain and claimed that the risk that patients would become

addicted to opioids was low.103 The Chair of the committee that issued the statement, Dr. J.

David Haddox, was at the time a paid speaker for Purdue. The sole consultant to the committee

was Dr. Russell Portenoy, who was also a spokesperson for Purdue. The consensus statement,

which also formed the foundation of the 1998 Guidelines, was published on the AAPM’s

website.

         307.   AAPM’s corporate council includes Purdue, Depomed, Teva and other

pharmaceutical companies. AAPM’s past presidents include Haddox (1998), Dr. Scott Fishman

(“Fishman”) (2005), Dr. Perry G. Fine (“Fine”) (2011) and Dr. Lynn R. Webster (“Webster”)

(2013), all of whose connections to the opioid manufacturers are well-documented as set forth

below.

         308.   Fishman, who also served as a KOL for Marketing Defendants, stated that he

would place the organization “at the forefront” of teaching that “the risks of addiction are . . .

small and can be managed.”104



103
   The Use of Opioids for the Treatment of Chronic Pain, APS & AAPM (1997). Available at
http://www.stgeorgeutah.com/wp-content/uploads/2016/05/OPIOIDES.DOLORCRONICO.pdf
(as viewed August 18, 2017).
104
   Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and
Pain Medicine, Chief of the Division of Pain Medicine, Univ. of Cal., Davis (2005), available at
http://www.medscape.org/viewarticle/500829.



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       309.    AAPM received over $2.2 million in funding since 2009 from opioid

manufacturers. AAPM maintained a corporate relations council, whose members paid $25,000

per year (on top of other funding) to participate. The benefits included allowing members to

present educational programs at off-site dinner symposia in connection with AAPM’s marquee

event – its annual meeting held in Palm Springs, California, or other resort locations.

       310.    AAPM describes the annual event as an “exclusive venue” for offering CMEs to

doctors. Membership in the corporate relations council also allows drug company executives and

marketing staff to meet with AAPM executive committee members in small settings. Defendants

Endo, Purdue, and Cephalon were members of the council and presented deceptive programs to

doctors who attended this annual event. The conferences sponsored by AAPM heavily

emphasized CME sessions on opioids – 37 out of roughly 40 at one conference alone.

       311.    AAPM’s staff understood that they and their industry funders were engaged in a

common task. Defendants were able to influence AAPM through both their significant and

regular funding and the leadership of pro-opioid KOLs within the organization.

       312.    AAPM and APS issued their own guidelines in 2009 (“2009 Guidelines”) AAPM,

with the assistance, prompting, involvement, and funding of Defendants, issued the treatment

guidelines discussed herein, and continued to recommend the use of opioids to treat chronic pain.

Fourteen of the 21 panel members who drafted the 2009 Guidelines, including KOL Dr. Fine,

received support from Defendants Janssen, Cephalon, Endo, and Purdue. Of these individuals,

six received support from Purdue, eight from Teva, nine from Janssen, and nine from Endo.

       313.    One panel member, Dr. Joel Saper, Clinical Professor of Neurology at Michigan

State University and founder of the Michigan Headache & Neurological Institute, resigned from

the panel because of his concerns that the Guidelines were influenced by contributions that drug




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companies, including Purdue, Endo, Janssen, and Teva, made to the sponsoring organizations

and committee members.

         314.    Dr. Gilbert Fanciullo, now retired as a professor at Dartmouth College’s Geisel

School of Medicine, who also served on the AAPM/APS Guidelines panel, has since described

them as “skewed” by drug companies and “biased in many important respects,” including the

high presumptive maximum dose, lack of suggested mandatory urine toxicology testing, and

claims of a low risk of addiction.

         315.    The 2009 Guidelines have been a particularly effective channel of deception.

They have influenced not only treating physicians, but also the scientific literature on opioids;

they were reprinted in the Journal of Pain, have been cited hundreds of times in academic

literature, were disseminated during the relevant time period, and were and are available online.

Treatment guidelines are especially influential with primary care physicians and family doctors

to whom Marketing Defendants promoted opioids, whose lack of specialized training in pain

management and opioids makes them more reliant on, and less able to evaluate, these guidelines.

For that reason, the CDC has recognized that treatment guidelines can “change prescribing

practices.”105

         316.    The 2009 Guidelines are relied upon by doctors, especially general practitioners

and family doctors who have no specific training in treating chronic pain.

         317.    The Marketing Defendants widely cited and promoted the 2009 Guidelines

without disclosing the lack of evidence to support their conclusions, their involvement in the

development of the Guidelines or their financial backing of the authors of these Guidelines. For

example, a speaker presentation prepared by Endo in 2009 titled The Role of Opana ER in the

105
      2016 CDC Guideline at 2.



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Management of Moderate to Severe Chronic Pain relies on the AAPM/APS Guidelines while

omitting their disclaimer regarding the lack of evidence for recommending the use of opioids for

chronic pain.

                       iii.    FSMB

       318.     The Federation of State Medical Boards (“FSMB”) is a trade organization

representing the various state medical boards in the United States. The state boards that comprise

the FSMB membership have the power to license doctors, investigate complaints, and discipline

physicians.

       319.     The FSMB finances opioid- and pain-specific programs through grants from

Defendants.

       320.     Since 1998, the FSMB has been developing treatment guidelines for the use of

opioids for the treatment of pain. The 1998 version, Model Guidelines for the Use of Controlled

Substances for the Treatment of Pain (“1998 Guidelines”) was produced “in collaboration with

pharmaceutical companies.” The 1998 Guidelines that the pharmaceutical companies helped

author taught not that opioids could be appropriate in only limited cases after other treatments

had failed, but that opioids were “essential” for treatment of chronic pain, including as a first

prescription option.

       321.     A 2004 iteration of the 1998 Guidelines and the 2007 book, Responsible Opioid

Prescribing, also made the same claims as the 1998 Guidelines. These guidelines were posted

online and were available to and intended to reach physicians nationwide, including in Lucas

County.

       322.     FSMB’s 2007 publication Responsible Opioid Prescribing was backed largely by

drug manufacturers, including Purdue, Endo and Cephalon. The publication also received

support from the American Pain Foundation and the American Academy of Pain Medicine. The


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publication was written by Dr. Fishman, and Dr. Fine served on the Board of Advisors. In all,

163,131 copies of Responsible Opioid Prescribing were distributed by state medical boards (and

through the boards, to practicing doctors). The FSMB website describes the book as “the leading

continuing medical education (CME) activity for prescribers of opioid medications.” This

publication asserted that opioid therapy to relieve pain and improve function is a legitimate

medical practice for acute and chronic pain of both cancer and non-cancer origins; that pain is

under-treated, and that patients should not be denied opioid medications except in light of clear

evidence that such medications are harmful to the patient..106

         323.   The Marketing Defendants relied on the 1998 Guidelines to convey the alarming

message that “under-treatment of pain” would result in official discipline, but no discipline

would result if opioids were prescribed as part of an ongoing patient relationship and prescription

decisions were documented. FSMB turned doctors’ fear of discipline on its head: doctors, who

used to believe that they would be disciplined if their patients became addicted to opioids, were

taught instead that they would be punished if they failed to prescribe opioids to their patients

with chronic pain.

                       iv.     The Alliance for Patient Access

         324.   Founded in 2006, the Alliance for Patient Access (“APA”) is a self-described

patient advocacy and health professional organization that styles itself as “a national network of

physicians dedicated to ensuring patient access to approved therapies and appropriate clinical




106
   Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide 8-9 (Waterford Life
Sciences 2007).



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care.”107 It is run by Woodberry Associates LLC, a lobbying firm that was also established in

2006.108 As of June 2017, the APA listed 30 “Associate Members and Financial Supporters.”

The list includes Johnson & Johnson, Endo, Mallinckrodt, Purdue and Cephalon.

         325.   APA’s board members have also directly received substantial funding from

pharmaceutical companies.109 For instance, board vice president Dr. Srinivas Nalamachu

(“Nalamachu”), who practices in Kansas, received more than $800,000 from 2013 through 2015

from pharmaceutical companies—nearly all of it from manufacturers of opioids or drugs that

treat opioids’ side effects, including from defendants Endo, Insys, Purdue and Cephalon.

Nalamachu’s clinic was raided by FBI agents in connection with an investigation of Insys and its

payment of kickbacks to physicians who prescribed Subsys.110 Other board members include

Dr. Robert A. Yapundich from North Carolina, who received $215,000 from 2013 through 2015

from pharmaceutical companies, including payments by defendants Cephalon and Mallinckrodt;

Dr. Jack D. Schim from California, who received more than $240,000 between 2013 and 2015

from pharmaceutical companies, including defendants Endo, Mallinckrodt and Cephalon;

Dr. Howard Hoffberg from Maryland, who received $153,000 between 2013 and 2015 from


107
   About AfPA, The Alliance for Patient Access, http://allianceforpatientaccess.org/ about-
afpa/#membership (last visited Jan. 4, 2018). References herein to APA include two affiliated
groups: the Global Alliance for Patient Access and the Institute for Patient Access.
108
   Mary Chris Jaklevic, Non-profit Alliance for Patient Access uses journalists and politicians to
push Big Pharma’s agenda, Health News Review (Oct. 2, 2017),
https://www.healthnewsreview.org/2017/10/non-profit-alliance-patient-access-uses-journalists-
politicians-push-big-pharmas-agenda/ (hereinafter “Jaklevic, Non-profit Alliance for Patient
Access”).
109
   All information concerning pharmaceutical company payments to doctors in this paragraph is
from ProPublica’s Dollars for Docs database, available at
https://projects.propublica.org/docdollars/.
110
   Andy Marso, FBI seizes records of Overland Park pain doctor tied to Insys, Kansas City Star
(July 20, 2017), http://www.kansascity.com/news/business/health-care/article162569383.html.



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pharmaceutical companies, including defendants Endo, Purdue, Insys, Mallinckrodt and

Cephalon; and Dr. Robin K. Dore from California, who received $700,000 between 2013 and

2015 from pharmaceutical companies.

          326.    Among its activities, APA issued a “white paper” titled “Prescription Pain

Medication: Preserving Patient Access While Curbing Abuse.”111 Among other things, the white

paper criticizes prescription monitoring programs, purporting to express concern that they are

burdensome, not user friendly, and of questionable efficacy:

                  Prescription monitoring programs that are difficult to use and
                  cumbersome can place substantial burdens on physicians and their
                  staff, ultimately leading many to stop prescribing pain medications
                  altogether. This forces patients to seek pain relief medications
                  elsewhere, which may be much less convenient and familiar and
                  may even be dangerous or illegal.

                                           *      *        *

                  In some states, physicians who fail to consult prescription
                  monitoring databases before prescribing pain medications for their
                  patients are subject to fines; those who repeatedly fail to consult
                  the databases face loss of their professional licensure. Such
                  penalties seem excessive and may inadvertently target older
                  physicians in rural areas who may not be facile with computers and
                  may not have the requisite office staff. Moreover, threatening and
                  fining physicians in an attempt to induce compliance with
                  prescription monitoring programs represents a system based on
                  punishment as opposed to incentives. . . .

                  We cannot merely assume that these programs will reduce
                  prescription pain medication use and abuse.112

          327.    The white paper also purports to express concern about policies that have been

enacted in response to the prevalence of pill mills:


111
   Prescription Pain Medication: Preserving Patient Access While Curbing Abuse, Institute for
Patient Access (Oct. 2013), https://goo.gl/EiSYhW.
112
      Id. at 4-5 (footnote omitted).



                                                  98
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                    Although well intentioned, many of the policies designed to
                    address this problem have made it difficult for legitimate pain
                    management centers to operate. For instance, in some states, [pain
                    management centers] must be owned by physicians or professional
                    corporations, must have a Board certified medical director, may
                    need to pay for annual inspections, and are subject to increased
                    record keeping and reporting requirements. . . . [I]t is not even
                    certain that the regulations are helping prevent abuses.113

           328.     In addition, in an echo of earlier industry efforts to push back against what they

termed “opiophobia,” the white paper laments the stigma associated with prescribing and taking

pain medication:

                    Both pain patients and physicians can face negative perceptions
                    and outright stigma. When patients with chronic pain can’t get
                    their prescriptions for pain medication filled at a pharmacy, they
                    may feel like they are doing something wrong – or even
                    criminal. . . . Physicians can face similar stigma from peers.
                    Physicians in non-pain specialty areas often look down on those
                    who specialize in pain management – a situation fueled by the
                    numerous regulations and fines that surround prescription pain
                    medications.114

           329.     In conclusion, the white paper states that “[p]rescription pain medications, and

specifically the opioids, can provide substantial relief for people who are recovering from

surgery, afflicted by chronic painful diseases, or experiencing pain associated with other

conditions that does not adequately respond to over-the-counter drugs.”115

           330.     The APA also issues “Patient Access Champion” financial awards to members of

Congress, including 50 such awards in 2015. The awards were funded by a $7.8 million donation

from unnamed donors. While the awards are ostensibly given for protecting patients’ access to

Medicare, and are thus touted by their recipients as demonstrating a commitment to protecting

113
      Id. at 5-6.
114
      Id. at 6.
115
      Id. at 7.



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the rights of senior citizens and the middle class, they appear to be given to provide cover to and

reward members of Congress who have supported the APA’s agenda.116

          331.    The APA also lobbies Congress directly. In 2015, the APA signed onto a letter

supporting legislation proposed to limit the ability of the DEA to police pill mills by enforcing

the “suspicious orders” provision of the Comprehensive Drug Abuse Prevention and Control Act

of 1970, 21 U.S.C. §801 et seq. (“CSA” or “Controlled Substances Act”). The AAPM is also a

signatory to this letter. An internal U.S. Department of Justice (“DOJ”) memo stated that the

proposed bill “‘could actually result in increased diversion, abuse, and public health and safety

consequences’”117 and, according to DEA chief administrative law judge John J. Mulrooney

(“Mulrooney”), the law would make it “all but logically impossible” to prosecute manufacturers

and distributors, like the defendants here, in the federal courts.118 The law passed both houses of

Congress and was signed into law in 2016.

                         v.      The U.S. Pain Foundation (“USPF”)

          332.    The USPF was another Front Group with systematic connections and

interpersonal relationships with the Marketing Defendants. The USPF was one of the largest

recipients of contributions from the Marketing Defendants, collecting nearly $3 million in

payments between 2012 and 2015 alone.119 The USPF was also a critical component of the


116
      Jaklevic, Non-profit Alliance for Patient Access, supra n.74.
117
   Bill Whitaker, Ex-DEA Agent: Opioid Crisis Fueled by Drug Industry and Congress, CBS
News (Oct. 17, 2017), https://www.cbsnews.com/news/ex-dea-agent-opioid-crisis-fueled-by-
drug-industry-and-congress/ (hereinafter, “Whitaker, Opioid Crisis Fueled by Drug Industry”).
118
   John J. Mulrooney, II & Katherine E. Legel, Current Navigation Points in Drug Diversion
Law: Hidden Rocks in Shallow, Murky, Drug-Infested Waters, 101 Marquette L. Rev.
(forthcoming Feb. 2018), https://www.documentcloud.org/documents/4108121-Marquette-Law-
Review-Mulrooney-Legel.html.
119
      Fueling an Epidemic, supra note 125, p. 4.



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Marketing Defendants’ lobbying efforts to reduce the limits on over-prescription. The U.S. Pain

Foundation advertises its ties to the Marketing Defendants, listing opioid manufacturers like

Pfizer, Teva, Depomed, Endo, Purdue, McNeil (i.e. Janssen), and Mallinckrodt as “Platinum,”

“Gold,” and “Basic” corporate members.120 Industry Front Groups like the American Academy

of Pain Management, the American Academy of Pain Medicine, the American Pain Society, and

PhRMA are also members of varying levels in the USPF.

                       vi.    American Geriatrics Society (“AGS”)

         333.   The AGS was another Front Group with systematic connections and interpersonal

relationships with the Marketing Defendants. The AGS was a large recipient of contributions

from the Marketing Defendants, including Endo, Purdue and Janssen. AGS contracted with

Purdue, Endo and Janssen to disseminate guidelines regarding the use of opioids for chronic pain

in 2002 (The Management of Persistent Pain in Older Persons, hereinafter “2002 AGS

Guidelines”) and 2009 (Pharmacological Management of Persistent Pain in Older Persons,121

hereinafter “2009 AGS Guidelines”). According to news reports, AGS has received at least

$344,000 in funding from opioid manufacturers since 2009.122 AGS’s complicity in the common

purpose with the Marketing Defendants is evidenced by the fact that AGS internal discussions in

August 2009 reveal that it did not want to receive-up front funding from drug companies, which




120
    Id. at 12; Transparency, U.S. Pain Foundation, https://uspainfoundation.org/transparency/
(last accessed on March 9, 2018).
121
    Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics
Soc’y 1331, 1339, 1342 ( 2009), available at
https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-PainGuidelines2009.pdf
(last accessed on March 9, 2018).
122
    John Fauber & Ellen Gabler, “Narcotic Painkiller Use Booming Among Elderly,” Milwaukee
J. Sentinel, May 30, 2012.



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would suggest drug company influence, but would instead accept commercial support to

disseminate pro-opioid publications.

         334.   The 2009 AGS Guidelines recommended that “[a]ll patients with moderate to

severe pain . . . should be considered for opioid therapy.” The panel made “strong

recommendations” in this regard despite “low quality of evidence” and concluded that the risk of

addiction is manageable for patients, even with a prior history of drug abuse.123 These

Guidelines further recommended that “the risks [of addiction] are exceedingly low in older

patients with no current or past history of substance abuse.” These recommendations are not

supported by any study or other reliable scientific evidence. Nevertheless, they have been cited

over 1,833 times in Google Scholar (which allows users to search scholarly publications that

would be have been relied on by researchers and prescribers) since their 2009 publication and as

recently as this year.

         335.   Representatives of the Marketing Defendants, often at informal meetings at

conferences, suggested activities, lobbying efforts and publications for AGS to pursue. AGS

then submitted grant proposals seeking to fund these activities and publications, knowing that

drug companies would support projects conceived as a result of these communications.

         336.   Members of AGS Board of Directors were doctors who were on the Marketing

Defendants’ payrolls, either as consultants or speakers at medical events. As described below,

many of the KOLs also served in leadership positions within the AGS.




123
      2009 AGS Guidelines at 1342.



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                        b.     The Marketing Defendants Paid Key Opinion Leaders to
                               Deceptively Promote Opioid Use

       337.      To falsely promote their opioids, the Marketing Defendants paid and cultivated a

select circle of doctors who were chosen and sponsored by the Marketing Defendants for their

supportive messages. As set forth below, pro-opioid doctors have been at the hub of the

Marketing Defendants’ well-funded, pervasive marketing scheme since its inception and were

used to create the grave misperception science and legitimate medical professionals favored the

wider and broader use of opioids. These doctors include Dr. Russell Portenoy and Dr. Lynn

Webster, as set forth in this section, as well as Dr. Perry Fine and Dr. Scott Fishman, as set forth

further below.

       338.      Although these KOLs were funded by the Marketing Defendants, the KOLs were

used extensively to present the appearance that unbiased and reliable medical research

supporting the broad use of opioid therapy for chronic pain had been conducted and was being

reported on by independent medical professionals.

       339.      As the Marketing Defendants’ false marketing scheme picked up steam, these

pro-opioid KOLs wrote, consulted on, edited, and lent their names to books and articles, and

gave speeches and CMEs supportive of opioid therapy for chronic pain. They served on

committees that developed treatment guidelines that strongly encouraged the use of opioids to

treat chronic pain and they were placed on boards of pro-opioid advocacy groups and

professional societies that develop, select, and present CMEs.

       340.      Through use of their KOLs and strategic placement of these KOLs throughout

every critical distribution channel of information within the medical community, the Marketing

Defendants were able to exert control of each of these modalities through which doctors receive

their information.



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       341.    In return for their pro-opioid advocacy, the Marketing Defendants’ KOLs

received money, prestige, recognition, research funding, and avenues to publish. For example,

Dr. Webster has received funding from Endo, Purdue, and Cephalon. Dr. Fine has received

funding from Janssen, Cephalon, Endo, and Purdue.

       342.    The Marketing Defendants carefully vetted their KOLs to ensure that they were

likely to remain on-message and supportive of the Marketing Defendants’ agenda. The

Marketing Defendants also kept close tabs on the content of the materials published by these

KOLs. And, of course, the Marketing Defendants kept these KOLs well-funded to enable them

to push the Marketing Defendants’ deceptive message out to the medical community.

       343.    Once the Marketing Defendants identified and funded KOLs and those KOLs

began to publish “scientific” papers supporting the Marketing Defendants’ false position that

opioids were safe and effective for treatment of chronic pain, the Marketing Defendants poured

significant funds and resources into a marketing machine that widely cited and promoted their

KOLs and studies or articles by their KOLs to drive prescription of opioids for chronic pain. The

Marketing Defendants cited to, distributed, and marketed these studies and articles by their

KOLs as if they were independent medical literature so that it would be well-received by the

medical community. By contrast, the Marketing Defendants did not support, acknowledge, or

disseminate the truly independent publications of doctors critical of the use of chronic opioid

therapy.

       344.    In their promotion of the use of opioids to treat chronic pain, the Marketing

Defendants’ KOLs knew that their statements were false and misleading, or they recklessly

disregarded the truth in doing so, but they continued to publish their misstatements to benefit

themselves and the Marketing Defendants.




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                       i.      Dr. Russell Portenoy

         345.   In 1986, Dr. Russell Portenoy, who later became Chairman of the Department of

Pain Medicine and Palliative Care at Beth Israel Medical Center in New York while at the same

time serving as a top spokesperson for drug companies, published an article reporting that “[f]ew

substantial gains in employment or social function could be attributed to the institution of opioid

therapy.”124

         346.   Writing in 1994, Dr. Portenoy described the prevailing attitudes regarding the

dangers of long-term use of opioids:

                The traditional approach to chronic non-malignant pain does not
                accept the long-term administration of opioid drugs. This
                perspective has been justified by the perceived likelihood of
                tolerance, which would attenuate any beneficial effects over time,
                and the potential for side effects, worsening disability, and
                addiction. According to conventional thinking, the initial response
                to an opioid drug may appear favorable, with partial analgesia and
                salutary mood changes, but adverse effects inevitably occur
                thereafter. It is assumed that the motivation to improve function
                will cease as mental clouding occurs and the belief takes hold that
                the drug can, by itself, return the patient to a normal life. Serious
                management problems are anticipated, including difficulty in
                discontinuing a problematic therapy and the development of drug
                seeking behavior induced by the desire to maintain analgesic
                effects, avoid withdrawal, and perpetuate reinforcing psychic
                effects. There is an implicit assumption that little separates these
                outcomes from the highly aberrant behaviors associated with
                addiction.125




124
   R. Portenoy & K. Foley, Chronic Use of Opioid Analgesics in Non-Malignant Pain: Report of
38 cases, 25(2) Pain 171 (1986).
125
   R. Portenoy, Opioid Therapy for Chronic Nonmalignant Pain: Current Status, 1 Progress in
Pain Res. & Mgmt., 247-287 (H.L. Fields and J.C. Liebeskind eds., 1994) (emphasis added).



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(emphasis added.) According to Dr. Portenoy, the foregoing problems could constitute

“compelling reasons to reject long-term opioid administration as a therapeutic strategy in all but

the most desperate cases of chronic nonmalignant pain.”126

            347.    Despite having taken this position on long-term opioid treatment, Dr. Portenoy

ended up becoming a spokesperson for Purdue and other Marketing Defendants, promoting the

use of prescription opioids and minimizing their risks. A respected leader in the field of pain

treatment, Dr. Portenoy was highly influential. Dr. Andrew Kolodny, cofounder of Physicians

for Responsible Opioid Prescribing, described him “lecturing around the country as a religious-

like figure. The megaphone for Portenoy is Purdue, which flies in people to resorts to hear him

speak. It was a compelling message: ‘Docs have been letting patients suffer; nobody really gets

addicted; it’s been studied.’”127

            348.    As one organizer of CME seminars who worked with Portenoy and Purdue

pointed out, “had Portenoy not had Purdue’s money behind him, he would have published some

papers, made some speeches, and his influence would have been minor. With Purdue’s millions

behind him, his message, which dovetailed with their marketing plans, was hugely magnified.”128

            349.    Dr. Portenoy was also a critical component of the Marketing Defendants’ control

over their Front Groups. Specifically, Dr. Portenoy sat as a Director on the board of the APF. He

was also the President of the APS.

            350.    In recent years, some of the Marketing Defendants’ KOLs have conceded that

many of their past claims in support of opioid use lacked evidence or support in the scientific

126
      Id.
127
   Sam Quinones, Dreamland: The True Tale of America’s Opiate Epidemic 314 (Bloomsbury
Press 2015).
128
      Id. at 136.



                                                   106
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literature.129 Dr. Portenoy has now admitted that he minimized the risks of opioids, and that he

“gave innumerable lectures in the late 1980s and ‘90s about addiction that weren’t true.”130 He

mused, “Did I teach about pain management, specifically about opioid therapy, in a way that

reflects misinformation? Well, against the standards of 2012, I guess I did . . .”131

            351.   In a 2011 interview released by Physicians for Responsible Opioid Prescribing,

Portenoy stated that his earlier work purposefully relied on evidence that was not “real” and left

real evidence behind:

                   I gave so many lectures to primary care audiences in which the
                   Porter and Jick article was just one piece of data that I would then
                   cite, and I would cite six, seven, maybe ten different avenues of
                   thought or avenues of evidence, none of which represented real
                   evidence, and yet what I was trying to do was to create a narrative
                   so that the primary care audience would look at this information in
                   [total] and feel more comfortable about opioids in a way they
                   hadn’t before. In essence this was education to destigmatize
                   [opioids], and because the primary goal was to destigmatize, we
                   often left evidence behind.132

            352.   Several years earlier, when interviewed by journalist Barry Meier for his 2003

book, Pain Killer, Dr. Portenoy was more direct: “It was pseudoscience. I guess I’m going to

have always to live with that one.”133

129
   See, e.g., John Fauber, Painkiller boom fueled by networking, Journal Sentinel (Feb. 18,
2012), http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-
networking-dp3p2rn-139609053.html/ (reporting that a key Endo KOL acknowledged that
opioid marketing went too far).
130
   Thomas Catan and Evan Perez, A Pain-Drug Champion Has Second Thoughts, The Wall
Street Journal (Dec. 17, 2012, 11:36am),
https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.
131
      Id.
132
   Jacobs, One-paragraph letter, supra n.25; Andrew Kolodny, Opioids for Chronic Pain:
Addiction is NOT Rare, YouTube (Oct. 30, 2011),
https://www.youtube.com/watch?v=DgyuBWN9D4w&feature=youtu.be.
133
      Meier, supra note 17, at 277.



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                       ii.     Dr. Lynn Webster

       353.    Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

of the Lifetree Clinical Research & Pain Clinic in Salt Lake City, Utah. Dr. Webster was

President in 2013 and is a current board member of AAPM, a Front Group that ardently supports

chronic opioid therapy. He is a Senior Editor of Pain Medicine, the same journal that published

Endo’s special advertising supplements touting Opana ER. Dr. Webster was the author of

numerous CMEs sponsored by Cephalon, Endo, and Purdue. At the same time, Dr. Webster was

receiving significant funding from Defendants (including nearly $2 million from Cephalon).

       354.    Dr. Webster created and promoted the Opioid Risk Tool, a five question, one-

minute screening tool relying on patient self-reports that purportedly allows doctors to manage

the risk that their patients will become addicted to or abuse opioids. The claimed ability to pre-

sort patients likely to become addicted is an important tool in giving doctors confidence to

prescribe opioids long-term, and for this reason, references to screening appear in various

industry-supported guidelines. Versions of Dr. Webster’s Opioid Risk Tool (“ORT”) appear on,

or are linked to, websites run by Endo, Janssen, and Purdue. In 2011, Dr. Webster presented, via

webinar, a program sponsored by Purdue titled, Managing Patient’s Opioid Use: Balancing the

Need and the Risk. Dr. Webster recommended use of risk screening tools, urine testing, and

patient agreements to prevent “overuse of prescriptions” and “overdose deaths.” This webinar

was available to and was intended to reach doctors in Lucas County.

       355.    Dr. Webster was himself tied to numerous overdose deaths. He and the Lifetree

Clinic were investigated by the DEA for overprescribing opioids after twenty patients died from

overdoses. In keeping with the Marketing Defendants’ promotional messages, Dr. Webster

apparently believed the solution to patients’ tolerance or addictive behaviors was more opioids:

he prescribed staggering quantities of pills.


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       356.    At an AAPM annual meeting held February 22 through 25, 2006, Cephalon

sponsored a presentation by Webster and others titled, “Open-label study of fentanyl effervescent

buccal tablets in patients with chronic pain and breakthrough pain: Interim safety results.” The

presentation’s agenda description states: “Most patients with chronic pain experience episodes of

breakthrough pain, yet no currently available pharmacologic agent is ideal for its treatment.” The

presentation purports to cover a study analyzing the safety of a new form of fentanyl buccal

tablets in the chronic pain setting and promises to show the “[i]nterim results of this study

suggest that FEBT is safe and well-tolerated in patients with chronic pain and BTP.” This CME

effectively amounted to off-label promotion of Cephalon’s opioids—the only drugs in this

category—for chronic pain, even though they were approved only for cancer pain.

       357.    Cephalon sponsored a CME written by Dr. Webster, Optimizing Opioid

Treatment for Breakthrough Pain, offered by Medscape, LLC from September 28, 2007 through

December 15, 2008. The CME taught that non-opioid analgesics and combination opioids

containing non-opioids such as aspirin and acetaminophen are less effective at treating

breakthrough pain because of dose limitations on the non-opioid component.

                       iii.    Dr. Perry Fine

       358.    Dr. Perry Fine’s ties to the Marketing Defendants have been well documented. He

has authored articles and testified in court cases and before state and federal committees, and he,

too, has argued against legislation restricting high-dose opioid prescription for non-cancer

patients. He has served on Purdue’s advisory board, provided medical legal consulting for

Janssen, and participated in CME activities for Endo, along with serving in these capacities for

several other drug companies. He co-chaired the APS-AAPM Opioid Guideline Panel, served as




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treasurer of the AAPM from 2007 to 2010 and as president of that group from 2011 to 2013, and

was also on the board of directors of APF.134

          359.   Multiple videos feature Fine delivering educational talks about prescription

opioids. He even testified at trial that the 1,500 pills a month prescribed to celebrity Anna Nicole

Smith for pain did not make her an addict before her death.

          360.   He has also acknowledged having failed to disclose numerous conflicts of

interest. For example, Dr. Fine failed to fully disclose payments received as required by his

employer, the University of Utah—telling the university that he had received under $5,000 in

2010 from Johnson & Johnson for providing “educational” services, but Johnson & Johnson’s

website states that the company paid him $32,017 for consulting, promotional talks, meals and

travel that year.135

          361.   Dr. Fine and Dr. Portenoy co-wrote A Clinical Guide to Opioid Analgesia, in

which they downplayed the risks of opioid treatment, such as respiratory depression and

addiction:

                 At clinically appropriate doses, . . . respiratory rate typically does
                 not decline. Tolerance to the respiratory effects usually develops
                 quickly, and doses can be steadily increased without risk.

                 Overall, the literature provides evidence that the outcomes of drug
                 abuse and addiction are rare among patients who receive opioids
                 for a short period (i.e., for acute pain) and among those with no




134
   Scott M. Fishman, MD, Incomplete Financial Disclosures in a Letter on Reducing Opioid
Abuse and Diversion, 306 (13) JAMA 1445 (Sept. 20, 2011),
https://jamanetwork.com/journals/jama/article-abstract/1104464?redirect=true.
135
      Weber and Ornstein, supra note 61.



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                   history of abuse who receive long-term therapy for medical
                   indications.136

            362.   In November 2010, Dr. Fine and others published an article presenting the results

of another Cephalon-sponsored study titled “Long-Term Safety and Tolerability of Fentanyl

Buccal Tablet for the Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic

Pain: An 18-Month Study.”137 In that article, Dr. Fine explained that the 18-month “open-label”

study “assessed the safety and tolerability of FBT [Fentora] for the [long-term] treatment of BTP

in a large cohort . . . of opioid-tolerant patients receiving around-the-clock . . . opioids for

noncancer pain.” The article acknowledged that: (a) “[t]here has been a steady increase in the use

of opioids for the management of chronic noncancer pain over the past two decades”; (b) the

“widespread acceptance” had led to the publishing of practice guidelines “to provide evidence-

and consensus-based recommendations for the optimal use of opioids in the management of

chronic pain”; and (c) those guidelines lacked “data assessing the long-term benefits and harms

of opioid therapy for chronic pain.”138

            363.   The article concluded: “[T]he safety and tolerability profile of FBT in this study

was generally typical of a potent opioid. The [adverse events] observed were, in most cases,

predictable, manageable, and tolerable.” They also conclude that the number of abuse-related

events was “small.”139


136
   Perry G. Fine, MD and Russell K. Portenoy, MD, A Clinical Guide to Opioid Analgesia 20
and 34, McGraw-Hill Companies (2004),
http://www.thblack.com/links/RSD/OpioidHandbook.pdf.
137
   Perry G. Fine, et al., Long-Term Safety and Tolerability of Fentanyl Buccal Tablet for the
Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic Pain: An 18-Month
Study, 40(5) J. Pain & Symptom Management 747-60 (Nov. 2010).
138
      Id.
139
      Id.



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            364.   Multiple videos feature Dr. Fine delivering educational talks about the drugs. In

one video from 2011 titled “Optimizing Opioid Therapy,” he sets forth a “Guideline for Chronic

Opioid Therapy” discussing “opioid rotation” (switching from one opioid to another) not only

for cancer patients, but for non-cancer patients, and suggests it may take four or five switches

over a person’s “lifetime” to manage pain.140 He states the “goal is to improve effectiveness

which is different from efficacy and safety.” Rather, for chronic pain patients, effectiveness “is a

balance of therapeutic good and adverse events over the course of years.” The entire program

assumes that opioids are appropriate treatment over a “protracted period of time” and even over a

patient’s entire “lifetime.” He even suggests that opioids can be used to treat sleep apnea. He

further states that the associated risks of addiction and abuse can be managed by doctors and

evaluated with “tools,” but leaves that for “a whole other lecture.”141

                          iv.     Dr. Scott Fishman

            365.   Dr. Scott Fishman is a physician whose ties to the opioid drug industry are legion.

He has served as an APF board member and as president of the AAPM, and has participated

yearly in numerous CME activities for which he received “market rate honoraria.” As discussed

below, he has authored publications, including the seminal guides on opioid prescribing, which

were funded by the Marketing Defendants. He has also worked to oppose legislation requiring

doctors and others to consult pain specialists before prescribing high doses of opioids to non-

cancer patients. He has himself acknowledged his failure to disclose all potential conflicts of




140
   Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.
141
      Id.



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interest in a letter in the Journal of the American Medical Association titled “Incomplete

Financial Disclosures in a Letter on Reducing Opioid Abuse and Diversion.”142

            366.   Dr. Fishman authored a physician’s guide on the use of opioids to treat chronic

pain titled “Responsible Opioid Prescribing,” in 2007 which promoted the notion that long-term

opioid treatment was a viable and safe option for treating chronic pain.

            367.   In 2012, Dr. Fishman updated the guide and continued emphasizing the

“catastrophic” “under-treatment” of pain and the “crisis” such under-treatment created:

                   Given the magnitude of the problems related to opioid analgesics,
                   it can be tempting to resort to draconian solutions: clinicians may
                   simply stop prescribing opioids, or legislation intended to improve
                   pharmacovigilance may inadvertently curtail patient access to care.
                   As we work to reduce diversion and misuse of prescription
                   opioids, it’s critical to remember that the problem of unrelieved
                   pain remains as urgent as ever.143

            368.   The updated guide still assures that “[o]pioid therapy to relieve pain and improve

function is legitimate medical practice for acute and chronic pain of both cancer and noncancer

origins.”144

            369.   In another guide by Dr. Fishman, he continues to downplay the risk of addiction:

“I believe clinicians must be very careful with the label ‘addict.’ I draw a distinction between a




142
   Scott M. Fishman, Incomplete Financial Disclosures in a Letter on Reducing Opioid Abuse
and Diversion, 306(13) JAMA 1445 (2011); Tracy Weber & Charles Ornstein, Two Leaders in
Pain Treatment Have Long Ties to Drug Industry, ProPublica (Dec. 23, 2011, 2:14 PM),
https://www.propublica.org/article/two-leaders-in-pain-treatment-have-long-ties-to-drug-industry
(hereinafter “Weber, Two Leaders in Pain”).
143
  Scott M. Fishman, Responsible Opioid Prescribing: A Guide for Michigan Clinicians, 10-11
(Waterford Life Sciences 2012).
144
      Id.



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‘chemical coper’ and an addict.”145 The guide also continues to present symptoms of addiction

as symptoms of “pseudoaddiction.”

                       c.      The Marketing Defendants Disseminated Their
                               Misrepresentations Through Continuing Medical Education
                               Programs

         370.   Now that the Marketing Defendants had both a group of physician promoters and

had built a false body of “literature,” Defendants needed to make sure their false marketing

message was widely distributed.

         371.   One way the Marketing Defendants aggressively distributed their false message

was through thousands of Continuing Medical Education courses (“CMEs”).

         372.   A CME is a professional education program provided to doctors. Doctors are

required to attend a certain number and, often, type of CME programs each year as a condition of

their licensure. These programs are delivered in person, often in connection with professional

organizations’ conferences, and online, or through written publications. Doctors rely on CMEs

not only to satisfy licensing requirements, but also to get information on new developments in

medicine or to deepen their knowledge in specific areas of practice. Because CMEs typically are

taught by KOLs who are highly respected in their fields, and are thought to reflect these

physicians’ medical expertise, they can be especially influential with doctors.

         373.   The countless doctors and other health care professionals who participate in

accredited CMEs constitute an enormously important audience for opioid reeducation. As one

target, Defendants aimed to reach general practitioners, whose broad area of practice and lack of




145
   Scott M. Fishman, Listening to Pain: A Physician’s Guide to Improving Pain Management
Through Better Communication 45 (Oxford University Press 2012).



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expertise and specialized training in pain management made them particularly dependent upon

CMEs and, as a result, especially susceptible to the Marketing Defendants’ deceptions.

         374.   The Marketing Defendants sponsored CMEs that were delivered thousands of

times, promoting chronic opioid therapy and supporting and disseminating the deceptive and

biased messages described in this Complaint. These CMEs, while often generically titled to

relate to the treatment of chronic pain, focus on opioids to the exclusion of alternative treatments,

inflate the benefits of opioids, and frequently omit or downplay their risks and adverse effects.

         375.   Cephalon sponsored numerous CME programs, which were made widely

available through organizations like Medscape, LLC (“Medscape”) and which disseminated false

and misleading information to physicians across the country.

         376.   Another Cephalon-sponsored CME presentation titled Breakthrough Pain:

Treatment Rationale with Opioids was available on Medscape starting September 16, 2003 and

was given by a self-professed pain management doctor who “previously operated back, complex

pain syndromes, the neuropathies, and interstitial cystitis.” He describes the pain process as a

non-time-dependent continuum that requires a balanced analgesia approach using “targeted

pharmacotherapeutics to affect multiple points in the pain-signaling pathway.”146 The doctor lists

fentanyl as one of the most effective opioids available for treating breakthrough pain, describing

its use as an expected and normal part of the pain management process. Nowhere in the CME is

cancer or cancer-related pain even mentioned, despite FDA restrictions that fentanyl use be

limited to cancer-related pain.




146
   Daniel S. Bennett, Breakthrough Pain: Treatment Rationale With Opioids, Medscape,
http://www.medscape.org/viewarticle/461612 (last visited Oct. 10, 2017).



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         377.   Teva paid to have a CME it sponsored, Opioid-Based Management of Persistent

and Breakthrough Pain, published in a supplement of Pain Medicine News in 2009. The CME

instructed doctors that “clinically, broad classification of pain syndromes as either cancer- or

noncancer-related has limited utility” and recommended Actiq and Fentora for patients with

chronic pain. The CME is still available online.

         378.   Responsible Opioid Prescribing was sponsored by Purdue, Endo and Teva. The

FSMB website described it as the “leading continuing medical education (CME) activity for

prescribers of opioid medications.” Endo sales representatives distributed copies of Responsible

Opioid Prescribing with a special introductory letter from Dr. Scott Fishman.

         379.   In all, more than 163,000 copies of Responsible Opioid Prescribing were

distributed nationally.

         380.   The American Medical Association (“AMA”) recognized the impropriety that

pharmaceutical company-funded CMEs creates; stating that support from drug companies with a

financial interest in the content being promoted “creates conditions in which external interests

could influence the availability and/or content” of the programs and urges that “[w]hen possible,

CME[s] should be provided without such support or the participation of individuals who have

financial interests in the education subject matter.”147

         381.   Physicians attended or reviewed CMEs sponsored by the Marketing Defendants

during the relevant time period and were misled by them.

         382.   By sponsoring CME programs put on by Front Groups like APF, AAPM, and

others, the Marketing Defendants could expect instructors to deliver messages favorable to them,


147
  Opinion 9.0115, Financial Relationships with Industry in CME, Am. Med. Ass’n (Nov.
2011).



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as these organizations were dependent on the Marketing Defendants for other projects. The

sponsoring organizations honored this principle by hiring pro-opioid KOLs to give talks that

supported chronic opioid therapy. Marketing Defendant-driven content in these CMEs had a

direct and immediate effect on prescribers’ views on opioids. Producers of CMEs and the

Marketing Defendants both measure the effects of CMEs on prescribers’ views on opioids and

their absorption of specific messages, confirming the strategic marketing purpose in supporting

them.

                       d.      The Marketing Defendants Used “Branded” Advertising to
                               Promote their Products to Doctors and Consumers

         383.   The Marketing Defendants engaged in widespread advertising campaigns touting

the benefits of their branded drugs. The Marketing Defendants published print advertisements in

a broad array of medical journals, ranging from those aimed at specialists, such as the Journal of

Pain and Clinical Journal of Pain, to journals with wider medical audiences, such as the Journal

of the American Medical Association. The Marketing Defendants collectively spent more than

$14 million on the medical journal advertising of opioids in 2011, nearly triple what they spent

in 2001. The 2011 total includes $8.3 million by Purdue, $4.9 million by Janssen, and $1.1

million by Endo.

         384.   The Marketing Defendants also targeted consumers in their advertising. They

knew that physicians are more likely to prescribe a drug if a patient specifically requests it.148

They also knew that this willingness to acquiesce to such patient requests holds true even for



148
   In one study, for example, nearly 20% of sciatica patients requesting oxycodone received a
prescription for it, compared with 1% of those making no specific request. J.B. McKinlay et al.,
Effects of Patient Medication Requests on Physician Prescribing Behavior, 52(2) Med. Care 294
(2014).



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opioids and for conditions for which they are not approved.149 Endo’s research, for example,

also found that such communications resulted in greater patient “brand loyalty,” with longer

durations of Opana ER therapy and fewer discontinuations. The Marketing Defendants thus

increasingly took their opioid sales campaigns directly to consumers, including through patient-

focused “education and support” materials in the form of pamphlets, videos, or other

publications that patients could view in their physician’s office.

                          e.     The Marketing Defendants Used “Unbranded” Advertising To
                                 Promote Opioid Use For Chronic Pain Without FDA Review

            385.   The Marketing Defendants also aggressively promoted opioids through

“unbranded advertising” to generally tout the benefits of opioids without specifically naming a

particular brand-name opioid drug. Instead, unbranded advertising is usually framed as “disease

awareness”—encouraging consumers to “talk to your doctor” about a certain health condition

without promoting a specific product and, therefore, without providing balanced disclosures

about the product’s limits and risks. In contrast, a pharmaceutical company’s “branded”

advertisement that identifies a specific medication and its indication (i.e., the condition which the

drug is approved to treat) must also include possible side effects and contraindications—what the

FDA Guidance on pharmaceutical advertising refers to as “fair balance.” Branded advertising is

also subject to FDA review for consistency with the drug’s FDA-approved label. Through

unbranded materials, the Marketing Defendants expanded the overall acceptance of and demand

for chronic opioid therapy without the restrictions imposed by regulations on branded

advertising.




149
      Id.



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       386.    Many of the Marketing Defendants utilized unbranded websites to promote opioid

use without promoting a specific branded drug, such as Purdue’s pain-management website,

www.inthefaceofpain.com. The website contained testimonials from several dozen “advocates,”

including health care providers, urging more pain treatment. The website presented the advocates

as neutral and unbiased, but an investigation by the New York Attorney General later revealed

that Purdue paid the advocates hundreds of thousands of dollars.

                       f.      The Marketing Defendants Funded, Edited And
                               Distributed Publications That Supported Their
                               Misrepresentations

       387.    The Marketing Defendants created a body of false, misleading, and unsupported

medical and popular literature about opioids that (a) understated the risks and overstated the

benefits of long-term use; (b) appeared to be the result of independent, objective research; and

(c) was likely to shape the perceptions of prescribers, patients, and payors. This literature served

marketing goals, rather than scientific standards, and was intended to persuade doctors and

consumers that the benefits of long-term opioid use outweighed the risks.

       388.    To accomplish their goal, the Marketing Defendants—sometimes through third-

party consultants and/or Front Groups—commissioned, edited, and arranged for the placement of

favorable articles in academic journals.

       389.    The Marketing Defendants’ plans for these materials did not originate in the

departments with the organizations that were responsible for research, development, or any other

area that would have specialized knowledge about the drugs and their effects on patients; rather,

they originated in the Marketing Defendants’ marketing departments.

       390.    The Marketing Defendants made sure that favorable articles were disseminated

and cited widely in the medical literature, even when the Marketing Defendants knew that the

articles distorted the significance or meaning of the underlying study, as with the Porter & Jick


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letter. The Marketing Defendants also frequently relied on unpublished data or posters, neither

of which are subject to peer review, but were presented as valid scientific evidence.

            391.   The Marketing Defendants published or commissioned deceptive review articles,

letters to the editor, commentaries, case-study reports, and newsletters aimed at discrediting or

suppressing negative information that contradicted their claims or raised concerns about chronic

opioid therapy.

            392.   For example, in 2007 Cephalon sponsored the publication of an article titled

“Impact of Breakthrough Pain on Quality of Life in Patients with Chronic, Noncancer Pain:

Patient Perceptions and Effect of Treatment with Oral Transmucosal Fentanyl Citrate,”150

published in the nationally circulated journal Pain Medicine, to support its effort to expand the

use of its branded fentanyl products. The article’s authors (including Dr. Lynn Webster,

discussed above) stated that the “OTFC [fentanyl] has been shown to relieve BTP more rapidly

than conventional oral, normal-release, or ‘short acting’ opioids” and that “[t]he purpose of [the]

study was to provide a qualitative evaluation of the effect of BTP on the [quality of life] of

noncancer pain patients.” The number-one-diagnosed cause of chronic pain in the patients

studied was back pain (44%), followed by musculoskeletal pain (12%) and head pain (7%). The

article cites Portenoy and recommends fentanyl for non-cancer BTP patients:

                   In summary, BTP appears to be a clinically important condition in
                   patients with chronic noncancer pain and is associated with an
                   adverse impact on QoL. This qualitative study on the negative
                   impact of BTP and the potential benefits of BTP-specific therapy
                   suggests several domains that may be helpful in developing BTP-
                   specific, QoL assessment tools.151
150
  Donald R. Taylor, et al., Impact of Breakthrough Pain on Quality of Life in Patients With
Chronic, Noncancer Pain: Patient Perceptions and Effect of Treatment With Oral Transmucosal
Fentanyl Citrate (OTFC, ACTIQ), 8(3) Pain Med. 281-88 (Mar. 2007).
151
      Id.



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                       g.     The Marketing Defendants Used Detailing To
                              Directly Disseminate Their Misrepresentations To Prescribers

       393.    The Marketing Defendants’ sales representatives executed carefully crafted

marketing tactics, developed at the highest rungs of their corporate ladders, to reach targeted

doctors with centrally orchestrated messages. The Marketing Defendants’ sales representatives

also distributed third-party marketing material to their target audience that was deceptive.

       394.    Each Marketing Defendant promoted opioids through sales representatives (also

called “detailers”) and, upon information and belief, small group speaker programs to reach out

to individual prescribers. By establishing close relationships with doctors, the Marketing

Defendants were able to disseminate their misrepresentations in targeted, one-on-one settings

that allowed them to promote their opioids and to allay individual prescribers’ concerns about

prescribing opioids for chronic pain.

       395.    In accordance with common industry practice, the Marketing Defendants

purchase and closely analyze prescription sales data from IMS Health (now IQVIA), a healthcare

data collection, management and analytics corporation. This data allows them to track precisely

the rates of initial and renewal prescribing by individual doctors, which allows them to target and

tailor their appeals. Sales representatives visited hundreds of thousands of doctors and

disseminated the misinformation and materials described above.

       396.    Marketing Defendants devoted and continue to devote massive resources to direct

sales contacts with doctors. In 2014 alone, Marketing Defendants spent $166 million on detailing

branded opioids to doctors. This amount is twice as much as Marketing Defendants spent on

detailing in 2000. The amount includes $108 million spent by Purdue, $34 million by Janssen,

$13 million by Teva, and $10 million by Endo.




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       397.    Cephalon’s quarterly spending steadily climbed from below $1 million in 2000 to

more than $3 million in 2014 (and more than $13 million for the year), with a peak, coinciding

with the launch of Fentora, of more than $27 million in 2007, as shown below:




       398.    Endo’s quarterly spending went from the $2 million to $4 million range in 2000-

2004 to more than $10 million following the launch of Opana ER in mid-2006 (and more than

$38 million for the year in 2007) and more than $8 million coinciding with the launch of a

reformulated version in 2012 (and nearly $34 million for the year):




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       399.   Janssen’s quarterly spending dramatically rose from less than $5 million in 2000

to more than $30 million in 2011, coinciding with the launch of Nucynta ER (with yearly

spending at $142 million for 2011), as shown below:




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       400.    Purdue’s quarterly spending notably decreased from 2000 to 2007, as Purdue

came under investigation by the Department of Justice, but then spiked to above $25 million in

2011 (for a total of $110 million that year), and continues to rise, as shown below:




       401.    For its opioid, Actiq, Cephalon also engaged in direct marketing in direct

contravention of the FDA’s strict instructions that Actiq be prescribed only to terminal cancer

patients and by oncologists and pain management doctors experienced in treating cancer pain.

                       h.      Marketing Defendants Used Speakers’ Bureaus
                               and Programs to Spread Their Deceptive Messages

       402.    In addition to making sales calls, Marketers’ detailers also identified doctors to

serve, for payment, on their speakers’ bureaus and to attend programs with speakers and meals

paid for by the Marketing Defendants. These speaker programs and associated speaker trainings

serve three purposes: they provide an incentive to doctors to prescribe, or increase their

prescriptions of, a particular drug; to qualify to be selected a forum in which to further market to

the speaker himself or herself; and an opportunity to market to the speaker’s peers. The


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Marketing Defendants grade their speakers, and future opportunities are based on speaking

performance, post-program sales, and product usage. Purdue, Janssen, Endo, Cephalon, and

Mallinckrodt each made thousands of payments to physicians nationwide, for activities including

participating on speakers’ bureaus, providing consulting services, and other services.

       403.    As detailed below, Insys paid prescribers for fake speakers’ programs in exchange

for prescribing its product, Subsys. Insys’s schemes resulted in countless speakers’ programs at

which the designated speaker did not speak, and, on many occasions, speaker programs at which

the only attendees at the events were the speaker and an Insys sales representative. It was a pay-

to-prescribe program.

       404.    Insys used speakers’ programs as a front to pay for prescriptions, and paid to push

opioids onto patients who did not need them.

               c.       The Marketing Defendants
                        Targeted Vulnerable Populations

       405.    The Marketing Defendants specifically targeted their marketing at two vulnerable

populations—the elderly and veterans.

       406.    Elderly patients taking opioids have been found to be exposed to elevated fracture

risks, a greater risk for hospitalizations, and increased vulnerability to adverse drug effects and

interactions, such as respiratory depression which occurs more frequently in elderly patients.

       407.    The Marketing Defendants promoted the notion—without adequate scientific

foundation—that the elderly are particularly unlikely to become addicted to opioids. The AGS

2009 Guidelines, for example, which Purdue, Endo, and Janssen publicized, described the risk of

addiction as “exceedingly low in older patients with no current or past history of substance

abuse.” (emphasis added). As another example, an Endo-sponsored CME put on by NIPC,

Persistent Pain in the Older Adult, taught that prescribing opioids to older patients carried



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“possibly less potential for abuse than in younger patients.” Contrary to these assertions,

however, a 2010 study examining overdoses among long-term opioid users found that patients 65

or older were among those with the largest number of serious overdoses.

       408.    According to a study published in the 2013 Journal of American Medicine,

veterans returning from Iraq and Afghanistan who were prescribed opioids have a higher

incidence of adverse clinical outcomes, such as overdoses and self-inflicted and accidental

injuries. A 2008 survey showed that prescription drug misuse among military personnel doubled

from 2002 to 2005, and then nearly tripled again over the next three years. Veterans are twice as

likely as non-veterans to die from an opioid overdose.

       409.    Yet the Marketing Defendants deliberately targeted veterans with deceptive

marketing. For example, a 2009 publication sponsored by Purdue, Endo, and Janssen, and

distributed by APF with grants from Janssen and Endo, was written as a personal narrative of

one veteran but was in fact another vehicle for opioid promotion. Called Exit Wounds, the

publication describes opioids as “underused” and the “gold standard of pain medications” while

failing to disclose significant risks of opioid use, including the risks of fatal interactions with

benzodiazepines. According to a VA Office of Inspector General Report, 92.6% of veterans who

were prescribed opioid drugs were also prescribed benzodiazepines, despite the increased danger

of respiratory depression from the two drugs together.

       410.    Opioid prescriptions have dramatically increased for veterans and the elderly.

Since 2007, prescriptions for the elderly have grown at twice the rate of prescriptions for adults

between the ages of 40 and 59. And in 2009, military doctors wrote 3.8 million prescriptions for

narcotic pain pills—four times as many as they did in 2001.




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                d.     Insys Employed Fraudulent, Illegal, and Misleading Marketing
                       Schemes to Promote Subsys

         411.   Insys’s opioid, Subsys, was approved by the FDA in 2012 for “management of

breakthrough pain in adult cancer patients who are already receiving and who are tolerant to

around-the-clock opioid therapy for their underlying persistent cancer pain.” Under FDA rules,

Insys could only market Subsys for this use. Subsys consists of the highly addictive narcotic,

fentanyl, administered via a sublingual (under the tongue) spray, which provides rapid-onset pain

relief. It is in the class of drugs described as Transmucosal Immediate-Release Fentanyl

(“TIRF”).

         412.   To reduce the risk of abuse, misuse, and diversion, the FDA instituted a Risk

Evaluation and Mitigation Strategy (“REMS”) for Subsys and other TIRF products, such as

Cephalon’s Actiq and Fentora. The purpose of REMS was to educate “prescribers, pharmacists,

and patients on the potential for misuse, abuse, addiction, and overdose” for this type of drug and

to “ensure safe use and access to these drugs for patients who need them.”152 Prescribers must

enroll in the TIRF REMS before writing a prescription for Subsys.

         413.   Since its launch, Subsys has been an extremely expensive medication, and its

price continues to rise each year. Depending on a patient’s dose strength and frequency of use, a

month’s supply of Subsys could cost in the thousands of dollars.

         414.   Due to its high cost, in most instances prescribers must submit Subsys

prescriptions to insurance companies or health benefit payors for prior authorization to determine

whether they will pay for the drug prior to the patient attempting to fill the prescription.

According to the U.S. Senate Homeland Security and Governmental Affairs Committee Minority


152
      Press Release, FDA, FDA Approves Shared System REMS for TIRF Products, Dec. 29, 2011.



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Staff Report (“Staff Report”), the prior authorization process includes “confirmation that the

patient had an active cancer diagnosis, was being treated by an opioid (and, thus, was opioid

tolerant), and was being prescribed Subsys to treat breakthrough pain that the other opioid could

not eliminate. If any one of these factors was not present, the prior authorization would be

denied . . . .”153

         415.    These prior authorization requirements proved to be daunting. Subsys received

reimbursement approval in only approximately 30% of submitted claims. In order to increase

approvals, Insys created a prior authorization unit, called the Insys Reimbursement Center

(“IRC”), to obtain approval for Subsys reimbursements. This unit employed a number of

fraudulent and misleading tactics to secure reimbursements, including falsifying medical

histories of patients, falsely claiming that patients had cancer, and providing misleading

information to insurers and payors regarding patients’ diagnoses and medical conditions.

         416.    Subsys has proved to be extremely profitable for Insys. Insys made

approximately $330 million in net revenue from Subsys last year. Between 2013 and 2016, the

value of Insys stock rose 296%.

         417.    Since its launch in 2012, Insys aggressively worked to grow its profits through

fraudulent, illegal, and misleading tactics, including its reimbursement-related fraud. Through

its sales representatives and other marketing efforts, Insys deceptively promoted Subsys as safe

and appropriate for uses such as neck and back pain, without disclosing the lack of approval or

evidence for such uses, and misrepresented the appropriateness of Subsys for treatment those


153
   U.S. Senate Homeland Security & Governmental Affairs Committee, Fueling an Epidemic,
Insys Therapeutics and the Systemic Manipulation of Prior Authorization,
https://www.documentcloud.org/documents/3987564-REPORT-Fueling-an-Epidemic-Insys-
Therapeutics.html.



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conditions. It implemented a kickback scheme wherein it paid prescribers for fake speakers’

programs in exchange for prescribing Subsys. All of these fraudulent and misleading schemes

had the effect of pushing Insys’s dangerous opioid onto patients who did not need it.

            418.   Insys incentivized its sales force to engage in illegal and fraudulent conduct.

Many of the Insys sales representatives were new to the pharmaceutical industry and their base

salaries were low compared to industry standard. The compensation structure was heavily

weighted toward commissions and rewarded reps more for selling higher (and more expensive)

doses of Subsys, a “highly unusual” practice because most companies consider dosing a patient-

specific decision that should be made by a doctor.154

            419.   The Insys “speakers program” was perhaps its most widespread and damaging

scheme. A former Insys salesman, Ray Furchak, alleged in a qui tam action that the sole purpose

of the speakers program was “in the words of his then supervisor Alec Burlakoff, ‘to get money

in the doctor’s pocket.’” Furchak went on to explain that “[t]he catch . . . was that doctors who

increased the level of Subsys prescriptions, and at higher dosages (such as 400 or 800

micrograms instead of 200 micrograms), would receive the invitations to the program—and the

checks.”155 It was a pay-to-prescribe program.

            420.   Insys’s sham speaker program and other fraudulent and illegal tactics have been

outlined in great detail in indictments and guilty pleas of Insys executives, employees, and

prescribers across the country, as well as in a number of lawsuits against the company itself.

            421.   In May of 2015, two Alabama pain specialists were arrested and charged with

illegal prescription drug distribution, among other charges. The doctors were the top prescribers
154
      Id.
155
  Roddy Boyd, Insys Therapeutics and the New ‘Killing It’”, Southern Investigative Reporting
Foundation, The Investigator, April 24, 2015.



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of Subsys, though neither were oncologists. According to prosecutors, the doctors received

illegal kickbacks from Insys for prescribing Subsys. Both doctors had prescribed Subsys to treat

neck, back, and joint pain. In February of 2016, a former Insys sales manager pled guilty to

conspiracy to commit health care fraud, including engaging in a kickback scheme in order to

induce one of these doctors to prescribe Subsys. The plea agreement states that nearly all of the

Subsys prescriptions written by the doctor were off-label to non-cancer patients. In May of

2017, one of the doctors was sentenced to 20 years in prison.

       422.    In June of 2015, a nurse practitioner in Connecticut described as the state’s

highest Medicare prescriber of narcotics, pled guilty to receiving $83,000 in kickbacks from

Insys for prescribing Subsys. Most of her patients were prescribed the drug for chronic pain.

Insys paid the nurse as a speaker for more than 70 dinner programs at approximately $1,000 per

event; however, she did not give any presentations. In her guilty plea, the nurse admitted

receiving the speaker fees in exchange for writing prescriptions for Subsys.

       423.    In August of 2015, Insys settled a complaint brought by the Oregon Attorney

General. In its complaint, the Oregon Department of Justice cited Insys for, among other things,

misrepresenting to doctors that Subsys could be used to treat migraine, neck pain, back pain, and

other uses for which Subsys is neither safe nor effective, and using speaking fees as kickbacks to

incentivize doctors to prescribe Subsys.

       424.    In August of 2016, the State of Illinois sued Insys for similar deceptive and illegal

practices. The Complaint alleged that Insys marketed Subsys to high-volume prescribers of

opioid drugs instead of to oncologists whose patients experienced the breakthrough cancer pain

for which the drug is indicated. The Illinois Complaint also details how Insys used its speaker

program to pay high volume prescribers to prescribe Subsys. The speaker events took place at




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upscale restaurants in the Chicago area, and Illinois speakers received an “honorarium” ranging

from $700 to $5,100, and they were allowed to order as much food and alcohol as they wanted.

At most of the events, the “speaker” being paid by Insys did not speak, and, on many occasions,

the only attendees at the events were the speaker and an Insys sales representative.

            425.   In December of 2016, six Insys executives and managers were indicted and then,

in October 2017, Insys’s founder and owner was arrested and charged with multiple felonies in

connection with an alleged conspiracy to bribe practitioners to prescribe Subsys and defraud

insurance companies. A U.S. Department of Justice press release explained that, among other

things: “Insys executives improperly influenced health care providers to prescribe a powerful

opioid for patients who did not need it, and without complying with FDA requirements, thus

putting patients at risk and contributing to the current opioid crisis.”156 A Drug Enforcement

Administration (“DEA”) Special Agent in Charge further explained that: “Pharmaceutical

companies whose products include controlled medications that can lead to addiction and

overdose have a special obligation to operate in a trustworthy, transparent manner, because their

customers’ health and safety and, indeed, very lives depend on it.”157

                   e.     The Marketing Defendants’ Scheme Succeeded, Creating a Public
                          Health Epidemic

                          a.     The Marketing Defendants dramatically expanded opioid
                                 prescribing and use

            426.   The Marketing Defendants necessarily expected a return on the enormous

investment they made in their deceptive marketing scheme, and worked to measure and expand

156
   Press Release, DOJ, U.S. Attorney’s Office, Dist. of Mass., Founder and Owner of
Pharmaceutical Company Insys Arrested and Charged with Racketeering (Oct. 26, 2017),
available at https://www.justice.gov/usao-ma/pr/founder-and-owner-pharmaceutical-company-
insys-arrested-and-charged-racketeering.
157
      Id.



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their success. They knew they were influencing prescribers and increasing prescriptions.

Studies also show that in doing so, they fueled an epidemic of addiction and abuse.

            427.   Endo, for example directed the majority of its marketing budget to sales

representatives—with good results: virtually all of Endo’s opioid sales—and profits—were from

a market that did not exist ten years earlier.

            428.   Cephalon also recognized the return of its efforts to market Actiq and Fentora off-

label for chronic pain. In 2000, Actiq generated $15 million in sales. By 2002, Actiq sales had

increased by 92%, which Cephalon attributed to “a dedicated sales force for ACTIQ” and

“ongoing changes to [its] marketing approach including hiring additional sales representatives

and targeting our marketing efforts to pain specialists.”158 Actiq became Cephalon’s second

best-selling drug. By the end of 2006, Actiq’s sales had exceeded $500 million.159 Only 1% of

the 187,076 prescriptions for Actiq filled at retail pharmacies during the first six months of 2006

were prescribed by oncologists. One measure suggested that “more than 80 percent of patients

who use[d] the drug don’t have cancer.”160

            429.   Upon information and belief, each of the Marketing Defendants tracked the

impact of their marketing efforts to measure their impact in changing doctors’ perceptions and

prescribing of their drugs. They purchased prescribing and survey data that allowed them to

closely monitor these trends, and they did actively monitor them. For instance, they monitored

doctors’ prescribing before and after detailing visits, and at various levels of detailing intensity,

and before and after speaker programs. Defendants invested in their aggressive and deceptive

158
   Cephalon, Inc. Annual Report (Form 10-K) at 28 (Mar. 31, 2003),
https://www.sec.gov/Archives/edgar/data/873364/000104746903011137/a2105971z10-k.htm.
159
      Carreyrou, Narcotic Lollipop.
160
      Id.



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marketing for one reason: it worked. As described in this Complaint, both in specific instances

and more generally, Defendants’ marketing changed prescribers’ willingness to prescribe

opioids, led them to prescribe more of their opioids, and persuaded them to continue prescribing

opioids or to switch to supposedly “safer” opioids, such as ADF.

         430.   This success would have come as no surprise. Drug company marketing

materially impacts doctors’ prescribing behavior.161 The effects of sales calls on prescribers’

behavior is well documented in the literature, including a 2017 study that found that physicians

ordered fewer promoted brand-name medications and prescribed more cost-effective generic

versions if they worked in hospitals that instituted rules about when and how pharmaceutical

sales representatives were allowed to detail prescribers. The changes in prescribing behavior

appeared strongest at hospitals that implemented the strictest detailing policies and included

enforcement measures. Another study examined four practices, including visits by sales

representatives, medical journal advertisements, direct-to-consumer advertising, and pricing, and

found that sales representatives have the strongest effect on drug utilization. An additional study

found that doctor meetings with sales representatives are related to changes in both prescribing

practices and requests by physicians to add the drugs to hospitals’ formularies.




161
   See, e.g., P. Manchanda & P. Chintagunta, Responsiveness of Physician Prescription
Behavior to Salesforce Effort: An Individual Level Analysis, 15 (2-3) Mktg. Letters 129 (2004)
(detailing has a positive impact on prescriptions written); I. Larkin, Restrictions on
Pharmaceutical Detailing Reduced Off-Label Prescribing of Antidepressants and Antipsychotics
in Children, 33(6) Health Affairs 1014 (2014) (finding academic medical centers that restricted
direct promotion by pharmaceutical sales representatives resulted in a 34% decline in on-label
use of promoted drugs); see also A. Van Zee, The Promotion and Marketing of OxyContin:
Commercial Triumph, Public Health Tragedy, 99(2) Am J. Pub. Health 221 (2009) (correlating
an increase of OxyContin prescriptions from 670,000 annually in 1997 to 6.2 million in 2002 to a
doubling of Purdue’s sales force and trebling of annual sales calls).



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         431.   Marketing Defendants spent millions of dollars to market their drugs to

prescribers and patients and meticulously tracked their return on that investment. In one recent

survey published by the AMA, even though nine in ten general practitioners reported

prescription drug abuse to be a moderate to large problem in their communities, 88% of the

respondents said they were confident in their prescribing skills, and nearly half were comfortable

using opioids for chronic non-cancer pain.162 These results are directly due to the Marketing

Defendants’ fraudulent marketing campaign focused on several misrepresentations.

         432.   Thus, both independent studies and Marketing Defendants’ own tracking confirm

that Defendants’ marketing scheme dramatically increased their sales.

                       b.      Marketing Defendants’ deception in expanding their market
                               created and fueled the opioid epidemic

         433.   Independent research demonstrates a close link between opioid prescriptions and

opioid abuse. For example, a 2007 study found “a very strong correlation between therapeutic

exposure to opioid analgesics, as measured by prescriptions filled, and their abuse.”163 It has

been estimated that 60% of the opioids that are abused come, directly or indirectly, through

physicians’ prescriptions.

         434.   There is a parallel relationship between the availability of prescription opioid

analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and




162 Research Letter, Prescription Drug Abuse: A National Survey of Primary Care Physicians,
JAMA Intern. Med. (Dec. 8, 2014), E1-E3.
163
  Theodore J. Cicero et al.. Relationship Between Therapeutic Use and Abuse of Opioid
Analgesics in Rural, Suburban, and Urban Locations in the United States, 16.8
Pharmacoepidemiology and Drug Safety, 827-40 (2007).



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associated adverse outcomes. The opioid epidemic is “directly related to the increasingly

widespread misuse of powerful opioid pain medications.”164

         435.     In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has

quadrupled since 1999 and has increased in parallel with [opioid] overdoses.” Patients receiving

opioid prescriptions for chronic pain account for the majority of overdoses. For these reasons,

the CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical

“to reverse the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.”

         E.       Defendants Throughout the Supply Chain Deliberately Disregarded Their
                  Duties to Maintain Effective Controls and to Identify, Report, and Take
                  Steps to Halt Suspicious Orders

         436.     The Marketing Defendants created a vastly and dangerously larger market for

opioids. All of the Defendants compounded this harm by facilitating the supply of far more

opioids that could have been justified to serve that market. The failure of the Defendants to

maintain effective controls, and to investigate, report, and take steps halt orders that they knew or

should have known were suspicious breached both their statutory and common law duties.

         437.     For over a decade, as the Marketing Defendants increased the demand for opioids,

all the Defendants aggressively sought to bolster their revenue, increase profit, and grow their

share of the prescription painkiller market by unlawfully and surreptitiously increasing the

volume of opioids they sold. However, Defendants are not permitted to engage in a limitless

expansion of their sales through the unlawful sales of regulated painkillers. Rather, as described

below, Defendants are subject to various duties to report the quantity of Schedule II controlled

substances in order to monitor such substances and prevent oversupply and diversion into the

illicit market.

164
      http://www.nejm.org/doi/full/10.1056/NEJMsr1601307



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            438.   Defendants are all required to register as either manufacturers or distributors

pursuant to 21 U.S.C. § 823 and 21 C.F.R. §§ 1301.11, 1301.74.

            439.   Marketing Defendants’ scheme was resoundingly successful. Chronic opioid

therapy—the prescribing of opioids long-term to treat chronic pain—has become a

commonplace, and often first-line, treatment. Manufacturing Defendants’ deceptive marketing

caused prescribing not only of their opioids, but of opioids as a class, to skyrocket. According to

the CDC opioid prescriptions, as measured by number of prescriptions and morphine milligram

equivalent (“MME”) per person, tripled from 1999 to 2015. In 2015, on an average day, more

than 650,000 opioid prescriptions were dispensed in the U.S. While previously a small minority

of opioid sales, today between 80% and 90% of opioids (measured by weight) used are for

chronic pain. Approximately 20% of the population between the ages of 30 and 44, and nearly

30% of the population over 45, have used opioids. Opioids are the most common treatment for

chronic pain, and 20% of office visits now include the prescription of an opioid.

            440.   In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has

quadrupled since 1999 and has increased in parallel with [opioid] overdoses.”165 Patients

receiving opioid prescriptions for chronic pain account for the majority of overdoses. For these

reasons, the CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are

critical “to reverse the epidemic of opioid drug overdose deaths and prevent opioid-related

morbidity.”166




165
   CDC, January 1, 2016 Morbidity and Mortality Weekly Report; Rudd, Rose A., et al.
"Increases in drug and opioid overdose deaths—United States, 2000–2014." American Journal of
Transplantation 16.4 (2016): 1323-1327.
166
      Id.



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               a.      All Defendants Have a Duty to Report Suspicious Orders and Not to
                       Ship Those Orders Unless Due Diligence Disproves Their Suspicions

       441.    Multiple sources impose duties on the Defendants to report suspicious orders and

further to not ship those orders unless due diligence disproves those suspicions.

       442.    First, under the common law, the Defendants had a duty to exercise reasonable

care in delivering dangerous narcotic substances. By flooding Ohio with more opioids than

could be used for legitimate medical purposes and by filling and failing to report orders that they

knew or should have realized were likely being diverted for illicit uses, Defendants breached that

duty and both created and failed to prevent a foreseeable risk of harm.

       443.    Second, each of the Defendants assumed a duty, when speaking publicly about

opioids and their efforts to combat diversion, to speak accurately and truthfully.

       444.    Third, each of the Defendants was required to register with the DEA to

manufacture and/or distribute Schedule II controlled substances. See 21 U.S.C. § 823(a)-(b), (e);

28 C.F.R. § 0.100. As registrants, Defendants were required to “maint[ain] . . . effective controls

against diversion” and to “design and operate a system to disclose . . . suspicious orders of

controlled substances.” 21 U.S.C. § 823(a)-(b); 21 C.F.R. § 1301.74. Defendants were further

required to take steps to halt suspicious orders. Defendants violated their obligations under

federal law.

       445.    Fourth, Defendants also had duties under applicable state laws.

       446.    Recognizing a need for greater scrutiny over controlled substances due to their

potential for abuse and danger to public health and safety, the United States Congress enacted the

Controlled Substances Act in 1970. The CSA and its implementing regulations created a closed-

system of distribution for all controlled substances and listed chemicals. Congress specifically

designed the closed chain of distribution to prevent the diversion of legally produced controlled



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substances into the illicit market. Congress was concerned with the diversion of drugs out of

legitimate channels of distribution and acted to halt the “widespread diversion of [controlled

substances] out of legitimate channels into the illegal market.” Moreover, the closed-system

was specifically designed to ensure that there are multiple ways of identifying and preventing

diversion through active participation by registrants within the drug delivery chain. All

registrants – which includes all manufacturers and distributors of controlled substances – must

adhere to the specific security, recordkeeping, monitoring and reporting requirements that are

designed to identify or prevent diversion. When registrants at any level fail to fulfill their

obligations, the necessary checks and balances collapse. The result is the scourge of addiction

that has occurred.

       447.    The CSA requires manufacturers and distributors of Schedule II substances like

opioids to: (a) limit sales within a quota set by the DEA for the overall production of Schedule II

substances like opioids; (b) register to manufacture or distribute opioids; (c) maintain effective

controls against diversion of the controlled substances that they manufacturer or distribute; and

(d) design and operate a system to identify suspicious orders of controlled substances, halt such

unlawful sales, and report them to the DEA.

       448.    Central to the closed-system created by the CSA was the directive that the DEA

determine quotas of each basic class of Schedule I and II controlled substances each year. The

quota system was intended to reduce or eliminate diversion from “legitimate channels of trade”

by controlling the “quantities of the basic ingredients needed for the manufacture of [controlled

substances], and the requirement of order forms for all transfers of these drugs.” When

evaluating production quotas, the DEA was instructed to consider the following information:

               a.      Information provided by the Department of Health and Human Services;

               b.      Total net disposal of the basic class [of each drug] by all manufacturers;


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               c.      Trends in the national rate of disposal of the basic class [of drug];

               d.      An applicant’s production cycle and current inventory position;

               e.      Total actual or estimated inventories of the class [of drug] and of all
                       substances manufactured from the class and trends in inventory
                       accumulation; and

               f.      Other factors such as: changes in the currently accepted medical use of
                       substances manufactured for a basic class; the economic and physical
                       availability of raw materials; yield and sustainability issues; potential
                       disruptions to production; and unforeseen emergencies.

       449.    It is unlawful to manufacture a controlled substance in Schedule II, like

prescription opioids, in excess of a quota assigned to that class of controlled substances by the

DEA.

       450.    To ensure that even drugs produced within quota are not diverted, Federal

regulations issued under the CSA mandate that all registrants, manufacturers and distributors

alike, “design and operate a system to disclose to the registrant suspicious orders of controlled

substances.” 21 C.F.R. § 1301.74(b). Registrants are not entitled to be passive (but profitable)

observers, but rather “shall inform the Field Division Office of the Administration in his area of

suspicious orders when discovered by the registrant.” Id. Suspicious orders include orders of

unusual size, orders deviating substantially from a normal pattern, and orders of unusual

frequency. Id. Other red flags may include, for example, “[o]rdering the same controlled

substance from multiple distributors.”

       451.    These criteria are disjunctive and are not all inclusive. For example, if an order

deviates substantially from a normal pattern, the size of the order does not matter and the order

should be reported as suspicious. Likewise, a distributor or manufacturer need not wait for a

normal pattern to develop over time before determining whether a particular order is suspicious.

The size of an order alone, regardless of whether it deviates from a normal pattern, is enough to



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trigger the responsibility to report the order as suspicious. The determination of whether an

order is suspicious depends not only on the ordering patterns of the particular customer but also

on the patterns of the entirety of the customer base and the patterns throughout the relevant

segment of the industry. For this reason, identification of suspicious orders serves also to identify

excessive volume of the controlled substance being shipped to a particular region.

       452.    In sum, Defendants have several responsibilities under state and federal law with

respect to control of the supply chain of opioids. First, they must set up a system to prevent

diversion, including excessive volume and other suspicious orders. That would include

reviewing their own data, relying on their observations of prescribers and pharmacies, and

following up on reports or concerns of potential diversion. All suspicious orders must be

reported to relevant enforcement authorities. Further, they must also stop shipment of any order

which is flagged as suspicious and only ship orders which were flagged as potentially suspicious

if, after conducting due diligence, they can determine that the order is not likely to be diverted

into illegal channels.

       453.    State and federal statutes and regulations reflect a standard of conduct and care

below which reasonably prudent manufacturers and distributors would not fall. Together, these

laws and industry guidelines make clear that Distributor and Marketing Defendants alike possess

and are expected to possess specialized and sophisticated knowledge, skill, information, and

understanding of both the market for scheduled prescription narcotics and of the risks and

dangers of the diversion of prescription narcotics when the supply chain is not properly

controlled.

       454.    Further, these laws and industry guidelines make clear that the Distributor

Defendants and Marketing Defendants alike have a duty and responsibility to exercise their




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specialized and sophisticated knowledge, information, skill, and understanding to prevent the

oversupply of prescription opioids and minimize the risk of their diversion into an illicit market.

       455.    The FTC has recognized the unique role of distributors. Since their inception,

Distributor Defendants have continued to integrate vertically by acquiring businesses that are

related to the distribution of pharmaceutical products and health care supplies. In addition to the

actual distribution of pharmaceuticals, as wholesalers, Distributor Defendants also offer their

pharmacy, or dispensing, customers a broad range of added services. For example, Distributor

Defendants offer their pharmacies sophisticated ordering systems and access to an inventory

management system and distribution facility that allows customers to reduce inventory carrying

costs. Distributor Defendants are also able to use the combined purchase volume of their

customers to negotiate the cost of goods with manufacturers and offer services that include

software assistance and other database management support. See Fed. Trade Comm’n v.

Cardinal Health, Inc., 12 F. Supp. 2d 34, 41 (D.D.C. 1998) (granting the FTC’s motion for

preliminary injunction and holding that the potential benefits to customers did not outweigh the

potential anti-competitive effect of a proposed merger between Cardinal Health, Inc. and Bergen

Brunswig Corp.). As a result of their acquisition of a diverse assortment of related businesses

within the pharmaceutical industry, as well as the assortment of additional services they offer,

Distributor Defendants have a unique insight into the ordering patterns and activities of their

dispensing customers.

       456.    Marketing Defendants also have specialized and detailed knowledge of the

potential suspicious prescribing and dispensing of opioids through their regular visits to doctors’

offices and pharmacies, and from their purchase of data from commercial sources, such as IMS.

Their extensive boots-on-the-ground through their sales force, allows Marking Defendants to




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observe the signs of suspicious prescribing and dispensing discussed elsewhere in the

Complaint—lines of seemingly healthy patients, out-of-state license plates, and cash

transactions, to name only a few. In addition, Marketing Defendants regularly mined data,

including, upon information, chargeback data, that allowed them to monitor the volume and type

of prescribing of doctors, including sudden increases in prescribing and unusual high dose

prescribing, that would have alerted them, independent of their sales representatives, to

suspicious prescribing. These information points gave Marketing Defendants insight into

prescribing and dispensing conduct that enabled them to play a valuable role in the preventing

diversion and fulfilling their obligations under the CSA.

       457.    Defendants have a duty to, and are expected, to be vigilant in deciding whether a

prospective customer can be trusted to deliver controlled substances only for lawful purposes.

       458.    Defendants breached these duties by failing to: (a) control the supply chain;

(b) prevent diversion; (c) report suspicious orders; and (d) halt shipments of opioids in quantities

they knew or should have known could not be justified and were indicative of serious problems

of overuse of opioids.

               b.        Defendants Were Aware of and Have Acknowledged Their
                         Obligations to Prevent Diversion and to Report and Take Steps to
                         Halt Suspicious Orders

       459.    The reason for the reporting rules is to create a “closed” system intended to

control the supply and reduce the diversion of these drugs out of legitimate channels into the

illicit market, while at the same time providing the legitimate drug industry with a unified

approach to narcotic and dangerous drug control. Both because distributors handle such large

volumes of controlled substances, and because they are uniquely positioned, based on their

knowledge of their customers and orders, as the first line of defense in the movement of legal

pharmaceutical controlled substances from legitimate channels into the illicit market,


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distributors’ obligation to maintain effective controls to prevent diversion of controlled

substances is critical. Should a distributor deviate from these checks and balances, the closed

system of distribution, designed to prevent diversion, collapses.

       460.    Defendants were well aware they had an important role to play in this system, and

also knew or should have known that their failure to comply with their obligations would have

serious consequences.

       461.    Recently, Mallinckrodt, a prescription opioid manufacturer, admitted in a

settlement with DEA that “[a]s a registrant under the CSA, Mallinckrodt had a responsibility to

maintain effective controls against diversion, including a requirement that it review and monitor

these sales and report suspicious orders to DEA.” Mallinckrodt further stated that it “recognizes

the importance of the prevention of diversion of the controlled substances they manufacture” and

agreed that it would “design and operate a system that meets the requirements of 21 CFR

1301.74(b) . . . [such that it would] utilize all available transaction information to identify

suspicious orders of any Mallinckrodt product.” Mallinckrodt specifically agreed “to notify DEA

of any diversion and/or suspicious circumstances involving any Mallinckrodt controlled

substances that Mallinckrodt discovers.”

       462.    Trade organizations to which Defendants belong have acknowledged that

wholesale distributors have been responsible for reporting suspicious orders for more than 40

years. The Healthcare Distribution Management Association (“HDMA”), now known as the

Healthcare Distribution Alliance (“HDA”), a trade association of pharmaceutical distributors to

which Distributor Defendants belong, has long taken the position that distributors have

responsibilities to “prevent diversion of controlled prescription drugs” not only because they

have statutory and regulatory obligations do so, but “as responsible members of society.”




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Guidelines established by the HDA also explain that distributors, “[a]t the center of a

sophisticated supply chain . . . are uniquely situated to perform due diligence in order to help

support the security of the controlled substances they deliver to their customers.”

        463.    The DEA also repeatedly reminded the Defendants of their obligations to report

and decline to fill suspicious orders. Responding to the proliferation of pharmacies operating on

the internet that arranged illicit sales of enormous volumes of opioids to drug dealers and

customers, the DEA began a major push to remind distributors of their obligations to prevent

these kinds of abuses and educate them on how to meet these obligations. Since 2007, the DEA

has hosted at least five conferences that provided registrants with updated information about

diversion trends and regulatory changes. Each of the Distributor Defendants attended at least

one of these conferences. The DEA has also briefed wholesalers regarding legal, regulatory, and

due diligence responsibilities since 2006. During these briefings, the DEA pointed out the red

flags wholesale distributors should look for to identify potential diversion.

        464.    The DEA also advised in a September 27, 2006 letter to every commercial entity

registered to distribute controlled substances that they are “one of the key components of the

distribution chain. If the closed system is to function properly . . . distributors must be vigilant in

deciding whether a prospective customer can be trusted to deliver controlled substances only for

lawful purposes. This responsibility is critical, as . . . the illegal distribution of controlled

substances has a substantial and detrimental effect on the health and general welfare of the

American people.” The DEA’s September 27, 2006 letter also expressly reminded them that

registrants, in addition to reporting suspicious orders, have a “statutory responsibility to exercise

due diligence to avoid filling suspicious orders that might be diverted into other than legitimate

medical, scientific, and industrial channels.” The same letter reminds distributors of the




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importance of their obligation to “be vigilant in deciding whether a prospective customer can be

trusted to deliver controlled substances only for lawful purposes,” and warns that “even just one

distributor that uses its DEA registration to facilitate diversion can cause enormous harm.”

       465.    The DEA sent another letter to Defendants on December 27, 2007, reminding

them that, as registered manufacturers and distributors of controlled substances, they share, and

must each abide by, statutory and regulatory duties to “maintain effective controls against

diversion” and “design and operate a system to disclose to the registrant suspicious orders of

controlled substances.” The DEA’s December 27, 2007 letter reiterated the obligation to detect,

report, and not fill suspicious orders and provided detailed guidance on what constitutes a

suspicious order and how to report (e.g., by specifically identifying an order as suspicious, not

merely transmitting data to the DEA). Finally, the letter references the Revocation of

Registration issued in Southwood Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007),

which discusses the obligation to report suspicious orders and “some criteria to use when

determining whether an order is suspicious.”

               c.      Defendants Worked Together to Inflate the Quotas of Opioids They
                       Could Distribute

       466.    Finding it impossible to legally achieve their ever-increasing sales ambitions

Defendants engaged in the common purpose of increasing the supply of opioids and fraudulently

increasing the quotas that governed the manufacture and distribution of their prescription

opioids.

       467.    Wholesale distributors such as the Distributor Defendants had close financial

relationships with both Marketing Defendants and customers, for whom they provide a broad

range of value added services that render them uniquely positioned to obtain information and

control against diversion. These services often otherwise would not be provided by



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manufacturers to their dispensing customers and would be difficult and costly for the dispenser

to reproduce. For example, “[w]holesalers have sophisticated ordering systems that allow

customers to electronically order and confirm their purchases, as well as to confirm the

availability and prices of wholesalers’ stock.” Fed. Trade Comm’n v. Cardinal Health, Inc., 12

F. Supp. 2d 34, 41 (D.D.C. 1998). Through their generic source programs, wholesalers are also

able “to combine the purchase volumes of customers and negotiate the cost of goods with

manufacturers.” Wholesalers typically also offer marketing programs, patient services, and other

software to assist their dispensing customers.

       468.    Distributor Defendants had financial incentives from the Marketing Defendants to

distribute higher volumes, and thus to refrain from reporting or declining to fill suspicious

orders. Wholesale drug distributors acquire pharmaceuticals, including opioids, from

manufacturers at an established wholesale acquisition cost. Discounts and rebates from this cost

may be offered by manufacturers based on market share and volume. As a result, higher

volumes may decrease the cost per pill to distributors. Decreased cost per pill in turn, allows

wholesale distributors to offer more competitive prices, or alternatively, pocket the difference as

additional profit. Either way, the increased sales volumes result in increased profits.

The Marketing Defendants engaged in the practice of paying rebates and/or chargebacks to the

Distributor Defendants for sales of prescription opioids as a way to help them boost sales and

better target their marketing efforts. The Washington Post has described the practice as industry-

wide, and the HDA includes a “Contracts and Chargebacks Working Group,” suggesting a

standard practice. Further, in a recent settlement with the DEA, Mallinckrodt, a prescription

opioid manufacturer, acknowledged that “[a]s part of their business model Mallinckrodt collects

transaction information, referred to as chargeback data, from their direct customers




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(distributors).” The transaction information contains data relating to the direct customer sales of

controlled substances to ‘downstream’ registrants,” meaning pharmacies or other dispensaries,

such as hospitals. Marketing Defendants buy data from pharmacies as well. This exchange of

information, upon information, and belief, would have opened channels providing for the

exchange of information revealing suspicious orders as well.

       469.    The contractual relationships among the Defendants also include vault security

programs. Defendants are required to maintain certain security protocols and storage facilities

for the manufacture and distribution of their opiates. The manufacturers negotiated agreements

whereby the Marketing Defendants installed security vaults for the Distributor Defendants in

exchange for agreements to maintain minimum sales performance thresholds. These agreements

were used by the Defendants as a tool to violate their reporting and diversion duties in order to

reach the required sales requirements.

       470.    In addition, Defendants worked together to achieve their common purpose

through trade or other organizations, such as the Pain Care Forum (“PCF”) and the HDA.

       471.    The Pain Care Forum (“PCF”) has been described as a coalition of drug makers,

trade groups and dozens of non-profit organizations supported by industry funding, including the

Front Groups described in this Complaint. The PCF recently became a national news story when

it was discovered that lobbyists for members of the PCF quietly shaped federal and state policies

regarding the use of prescription opioids for more than a decade.

       472.    The Center for Public Integrity and The Associated Press obtained “internal

documents shed[ding] new light on how drug makers and their allies shaped the national




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response to the ongoing wave of prescription opioid abuse.”167 Specifically, PCF members spent

over $740 million lobbying in the nation’s capital and in all 50 statehouses on an array of issues,

including opioid-related measures.168

            473.   The Defendants who stood to profit from expanded prescription opioid use are

members of and/or participant in the PCF. In 2012, membership and participating organizations

included Endo, Purdue, Actavis and Cephalon. Each of the Marketing Defendants worked

together through the PCF. But, the Marketing Defendants were not alone. The Distributor

Defendants actively participated, and continue to participate in the PCF, at a minimum, through

their trade organization, the HDA.169 The Distributor Defendants participated directly in the

PCF as well.

            474.   Additionally, the HDA led to the formation of interpersonal relationships and an

organization among the Defendants. Although the entire HDA membership directory is private,

the HDA website confirms that each of the Distributor Defendants and the Marketing Defendants

including Actavis, Endo, Purdue, Mallinckrodt and Cephalon were members of the HDA.

Additionally, the HDA and each of the Distributor Defendants, eagerly sought the active




167
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The
Center for Public Integrity (September 19, 2017, 12:01 a.m.),
https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber-shaped-policy-
amid-drug-epidemic (emphasis added).
168
      Id.
169
   Id. The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief
Executive Officer, Pharmaceutical Segment for Cardinal Health, Inc., the Group President,
Pharmaceutical Distribution and Strategic Global Source for AmerisourceBergen Corporation,
and the President, U.S. Pharmaceutical for McKesson Corporation. Executive Committee,
Healthcare Distribution Alliance (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/executive-committee.



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membership and participation of the Marketing Defendants by advocating for the many benefits

of members, including “strengthen[ing] . . . alliances.”170

            475.   Beyond strengthening alliances, the benefits of HDA membership included the

ability to, among other things, “network one on one with manufacturer executives at HDA’s

members-only Business and Leadership Conference,” “networking with HDA wholesale

distributor members,” “opportunities to host and sponsor HDA Board of Directors events,”

“participate on HDA committees, task forces and working groups with peers and trading

partners,” and “make connections.”171 Clearly, the HDA and the Defendants believed that

membership in the HDA was an opportunity to create interpersonal and ongoing organizational

relationships and “alliances” between the Marketing and Distributor Defendants.

            476.   The application for manufacturer membership in the HDA further indicates the

level of connection among the Defendants and the level of insight that they had into each other’s

businesses.172 For example, the manufacturer membership application must be signed by a

“senior company executive,” and it requests that the manufacturer applicant identify a key

contact and any additional contacts from within its company.

            477.   The HDA application also requests that the manufacturer identify its current

distribution information, including the facility name and contact information. Manufacturer

members were also asked to identify their “most recent year end net sales” through wholesale

170
   Manufacturer Membership Benefits, Healthcare Distribution Alliance, (accessed on
September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
benefits.ashx?la=en.
171
      Id.
172
   Manufacturer Membership Application, Healthcare Distribution Alliance, (accessed on
September 14, 2017), https://www.healthcaredistribution.org/~/media/pdfs/membership/
manufacturer-membership-application.ashx?la=en.



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distributors, including the Distributor Defendants AmerisourceBergen, Cardinal Health, and

McKesson and their subsidiaries.

            478.   The closed meetings of the HDA’s councils, committees, task forces and working

groups provided the Marketing and Distributor Defendants with the opportunity to work closely

together, confidentially, to develop and further the common purpose and interests of the

enterprise.

            479.   The HDA also offers a multitude of conferences, including annual business and

leadership conferences. The HDA and the Distributor Defendants advertise these conferences to

the Marketing Defendants as an opportunity to “bring together high-level executives, thought

leaders and influential managers . . . to hold strategic business discussions on the most pressing

industry issues.”173 The conferences also gave the Marketing and Distributor Defendants

“unmatched opportunities to network with [their] peers and trading partners at all levels of the

healthcare distribution industry.”174 The HDA and its conferences were significant opportunities

for the Marketing and Distributor Defendants to interact at a high-level of leadership. It is clear

that the Marketing Defendants embraced this opportunity by attending and sponsoring these

events.175

            480.   After becoming members of HDA, Defendants were eligible to participate on

councils, committees, task forces and working groups, including:


173
   Business and Leadership Conference – Information for Manufacturers, Healthcare
Distribution Alliancehttps://www.healthcaredistribution.org/events/2015-business-and-
leadership-conference/blc-for-manufacturers (last accessed on September 14, 2017).
174
      Id.
175
   2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance,
https://www.healthcaredistribution.org/events/2015-distribution-management-conference (last
accessed on September 14, 2017).



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                a.     Industry Relations Council: “This council, composed of distributor and
                       manufacturer members, provides leadership on pharmaceutical
                       distribution and supply chain issues.”

                b.     Business Technology Committee: “This committee provides guidance to
                       HDA and its members through the development of collaborative e-
                       commerce business solutions. The committee’s major areas of focus
                       within pharmaceutical distribution include information systems,
                       operational integration and the impact of e-commerce.” Participation in
                       this committee includes distributor and manufacturer members.

                c.     Logistics Operation Committee: “This committee initiates projects
                       designed to help members enhance the productivity, efficiency and
                       customer satisfaction within the healthcare supply chain. Its major areas
                       of focus include process automation, information systems, operational
                       integration, resource management and quality improvement.” Participation
                       in this committee includes distributor and manufacturer members.

                d.     Manufacturer Government Affairs Advisory Committee: “This committee
                       provides a forum for briefing HDA’s manufacturer members on federal
                       and state legislative and regulatory activity affecting the pharmaceutical
                       distribution channel. Topics discussed include such issues as prescription
                       drug traceability, distributor licensing, FDA and DEA regulation of
                       distribution, importation and Medicaid/Medicare reimbursement.”
                       Participation in this committee includes manufacturer members.

                e.     Contracts and Chargebacks Working Group: “This working group
                       explores how the contract administration process can be streamlined
                       through process improvements or technical efficiencies. It also creates
                       and exchanges industry knowledge of interest to contract and chargeback
                       professionals.” Participation in this group includes manufacturer and
                       distributor members.

         481.   The Distributor Defendants and Marketing Defendants also participated, through

the HDA, in Webinars and other meetings designed to exchange detailed information regarding

their prescription opioid sales, including purchase orders, acknowledgements, ship notices, and

invoices.176 For example, on April 27, 2011, the HDA offered a Webinar to “accurately and

effectively exchange business transactions between distributors and manufacturers…” The


176
   Webinars, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/resources/webinar-leveraging-edi.



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Marketing Defendants used this information to gather high-level data regarding overall

distribution and direct the Distributor Defendants on how to most effectively sell prescription

opioids.

       482.    Taken together, the interaction and length of the relationships between and among

the Marketing and Distributor Defendants reflects a deep level of interaction and cooperation

between two groups in a tightly knit industry. The Marketing and Distributor Defendants were

not two separate groups operating in isolation or two groups forced to work together in a closed

system. Defendants operated together as a united entity, working together on multiple fronts, to

engage in the unlawful sale of prescription opioids.

       483.    The HDA and the Pain Care Forum are but two examples of the overlapping

relationships, and concerted joint efforts to accomplish common goals and demonstrates that the

leaders of each of the Defendants were in communication and cooperation.

       484.    Publications and guidelines issued by the HDA nevertheless confirm that the

Defendants utilized their membership in the HDA to form agreements. Specifically, in the fall of

2008, the HDA published the Industry Compliance Guidelines: Reporting Suspicious Orders and

Preventing Diversion of Controlled Substances (the “Industry Compliance Guidelines”)

regarding diversion. As the HDA explained in an amicus brief, the Industry Compliance

Guidelines were the result of “[a] committee of HDMA members contribut[ing] to the

development of this publication” beginning in late 2007.

       485.    This statement by the HDA and the Industry Compliance Guidelines support the

allegation that Defendants utilized the HDA to form agreements about their approach to their

duties under the CSA. As John M. Gray, President/CEO of the HDA stated to the Energy and

Commerce Subcommittee on Health in April 2014, is “difficult to find the right balance between




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proactive anti-diversion efforts while not inadvertently limiting access to appropriately

prescribed and dispensed medications.” Here, it is apparent that all of the Defendants found the

same balance – an overwhelming pattern and practice of failing to identify, report or halt

suspicious orders, and failure to prevent diversion.

       486.    The Defendants’ scheme had a decision-making structure driven by the Marketing

Defendants and corroborated by the Distributor Defendants. The Marketing Defendants worked

together to control the state and federal government’s response to the manufacture and

distribution of prescription opioids by increasing production quotas through a systematic refusal

to maintain effective controls against diversion, and identify suspicious orders and report them to

the DEA.

       487.    The Defendants worked together to control the flow of information and influence

state and federal governments to pass legislation that supported the use of opioids and limited the

authority of law enforcement to rein in illicit or inappropriate prescribing and distribution. The

Marketing and Distributor Defendants did this through their participation in the PCF and HDA.

       488.    The Defendants also worked together to ensure that the Aggregate Production

Quotas, Individual Quotas and Procurement Quotas allowed by the DEA remained artificially

high and ensured that suspicious orders were not reported to the DEA in order to ensure that the

DEA had no basis for refusing to increase or decrease production quotas due to diversion.

       489.    The Defendants also had reciprocal obligations under the CSA to report

suspicious orders of other parties if they became aware of them. Defendants were thus

collectively responsible for each other’s compliance with their reporting obligations.

       490.    Defendants thus knew that their own conduct could be reported by other

distributors or manufacturers and that their failure to report suspicious orders they filled could be




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brought to the DEA’s attention. As a result, Defendants had an incentive to communicate with

each other about the reporting of suspicious orders to ensure consistency in their dealings with

DEA.

       491.    The desired consistency was achieved. As described below, none of the

Defendants reported suspicious orders and the flow of opioids continued unimpeded.

               d.      Defendants Kept Careful Track of Prescribing Data and Knew About
                       Suspicious Orders and Prescribers

       492.    The data that reveals and/or confirms the identity of each wrongful opioid

distributor is hidden from public view in the DEA’s confidential ARCOS database. The data

necessary to identify with specificity the transactions that were suspicious is in possession of the

Distributor and Marketing Defendants but has not been disclosed to the public.

       493.    Publicly available information confirms that Distributor and Marketing

Defendants funneled far more opioids into communities across the United States than could have

been expected to serve legitimate medical use, and ignored other red flags of suspicious orders.

This information, along with the information known only to Distributor and Marketing

Defendants, would have alerted them to potentially suspicious orders of opioids.

       494.    This information includes the following facts:

               a.      distributors and manufacturers have access to detailed transaction-level
                       data on the sale and distribution of opioids, which can be broken down by
                       zip code, prescriber, and pharmacy and includes the volume of opioids,
                       dose, and the distribution of other controlled and non-controlled
                       substances;

               b.      manufacturers make use of that data to target their marketing and, for that
                       purpose, regularly monitor the activity of doctors and pharmacies;

               c.      manufacturers and distributors regularly visit pharmacies and doctors to
                       promote and provide their products and services, which allows them to
                       observe red flags of diversion, as described in paragraphs 186 and 200;




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                d.     Distributor Defendants together account for approximately 90% of all
                       revenues from prescription drug distribution in the United States, and each
                       plays such a large part in the distribution of opioids that its own volume
                       provides a ready vehicle for measuring the overall flow of opioids into a
                       pharmacy or geographic area; and

                e.     Marketing Defendants purchased chargeback data (in return for discounts
                       to Distributor Defendants) that allowed them to monitor the combined
                       flow of opioids into a pharmacy or geographic area.

         495.   The conclusion that Defendants were on notice of the problems of abuse and

diversion follows inescapably from the fact that they flooded communities with opioids in

quantities that they knew or should have known exceeded any legitimate market for opioids-even

the wider market for chronic pain.

         496.   At all relevant times, the Defendants were in possession of national, regional,

state, and local prescriber- and patient-level data that allowed them to track prescribing patterns

over time. They obtained this information from data companies, including but not limited to:

IMS Health, QuintilesIMS, IQVIA, Pharmaceutical Data Services, Source Healthcare Analytics,

NDS Health Information Services, Verispan, Quintiles, SDI Health, ArcLight, Scriptline,

Wolters Kluwer, and/or PRA Health Science, and all of their predecessors or successors in

interest (the “Data Vendors”).

         497.   The Distributor Defendants developed “know your customer” questionnaires and

files. This information, compiled pursuant to comments from the DEA in 2006 and 2007 was

intended to help the Defendants identify suspicious orders or customers who were likely to divert

prescription opioids.177 The “know your customer” questionnaires informed the Defendants of



177
   Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug
Enforcement Administration (available at
https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf); Richard
Widup, Jr., Kathleen H. Dooley, Esq. Pharmaceutical Production Diversion: Beyond the PDMA,
                                                                footnote continued on next page


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the number of pills that the pharmacies sold, how many non-controlled substances were sold

compared to controlled substances, whether the pharmacy buys from other distributors, the types

of medical providers in the area, including pain clinics, general practitioners, hospice facilities,

cancer treatment facilities, among others, and these questionnaires put the recipients on notice of

suspicious orders.

         498.   Defendants purchased nationwide, regional, state, and local prescriber- and

patient-level data from the Data Vendors that allowed them to track prescribing trends, identify

suspicious orders, identify patients who were doctor shopping, identify pill mills, etc. The Data

Vendors’ information purchased by the Defendants allowed them to view, analyze, compute, and

track their competitors’ sales, and to compare and analyze market share information.178

         499.   IMS, for example, provided Defendants with reports detailing prescriber behavior

and the number of prescriptions written between competing products.179

         500.   Similarly, Wolters Kluwer, an entity that eventually owned data mining

companies that were created by McKesson (Source) and Cardinal Health (ArcLight), provided

the Defendants with charts analyzing the weekly prescribing patterns of multiple physicians,




footnote continued from previous page
Purdue Pharma and McGuireWoods LLC, (available at https://www.mcguirewoods.com/news-
resources/publications/lifesciences/product_diversion_beyond_pdma.pdf).
178
   A Verispan representative testified that the Supply Chain Defendants use the prescribing
information to “drive market share.” Sorrell v. IMS Health Inc., 2011 WL 661712, *9-10 (Feb.
22, 2011).
179
   Paul Kallukaran & Jerry Kagan, Data Mining at IMS HEALTH: How we Turned a Mountain
of Data into a Few Information-rich Molehills, (accessed on February 15, 2018),
http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.198.349&rep=rep1&type=pdf, Figure
2 at p.3.



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organized by territory, regarding competing drugs, and analyzed the market share of those

drugs.180

            501.   This information allowed the Defendants to track and identify instances of

overprescribing. In fact, one of the Data Vendors’ experts testified that the used the Data

Vendors’ information could be used to track, identify, report, and halt suspicious orders of

controlled substances.181

            502.   Defendants were, therefore, collectively aware of the suspicious orders that

flowed daily from their manufacturing and distribution facilities.

            503.   Defendants refused to identify, investigate and report suspicious orders to the

DEA when they became aware of the same despite their actual knowledge of drug diversion

rings. As described in detail below, Defendants refused to identify suspicious orders and

diverted drugs despite the DEA issuing final decisions against the Distributor Defendants in 178

registrant actions between 2008 and 2012182 and 117 recommended decisions in registrant

actions from The Office of Administrative Law Judges. These numbers include seventy-six (76)

actions involving orders to show cause and forty-one (41) actions involving immediate

suspension orders, all for failure to report suspicious orders.183



180
      Sorrell v. IMS Health Inc., 2011 WL 705207, *467-471 (Feb. 22, 2011).
181
   In Sorrell, expert Eugene “Mick” Kolassa testified, on behalf of the Data Vender, that “a firm
that sells narcotic analgesics was able to use prescriber-identifiable information to identify
physicians that seemed to be prescribing an inordinately high number of prescriptions for their
product.” Id; see also Joint Appendix in Sorrell v. IMS Health, 2011 WL 687134, at *204 (Feb.
22, 2011).
182
   Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The
Drug Enforcement Administration’s Adjudication of Registrant Actions 6 (2014),
https://oig.justice.gov/reports/2014/e1403.pdf.
183
      Id.



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            504.   Sales representatives were also aware that the prescription opioids they were

promoting were being diverted, often with lethal consequences. As a sales representative wrote

on a public forum:

                   Actions have consequences - so some patient gets Rx’d the 80mg
                   OxyContin when they probably could have done okay on the 20mg
                   (but their doctor got “sold” on the 80mg) and their teen
                   son/daughter/child’s teen friend finds the pill bottle and takes out a
                   few 80’s... next they’re at a pill party with other teens and some
                   kid picks out a green pill from the bowl... they go to sleep and
                   don’t wake up (because they don’t understand respiratory
                   depression) Stupid decision for a teen to make...yes... but do they
                   really deserve to die?

            505.   Moreover, Defendants’ sales incentives rewarded sales representatives who

happened to have pill mills within their territories, enticing those representatives to look the

other way even when their in-person visits to such clinics should have raised numerous red flags.

In one example, a pain clinic in South Carolina was diverting massive quantities of OxyContin.

People traveled to the clinic from towns as far as 100 miles away to get prescriptions, the DEA’s

diversion unit raided the clinic, and prosecutors eventually filed criminal charges against the

doctors. But Purdue’s sales representative for that territory, Eric Wilson, continued to promote

OxyContin sales at the clinic. He reportedly told another local physician that this clinic

accounted for 40% of the OxyContin sales in his territory. At that time, Wilson was Purdue’s

top-ranked sales representative.184 In response to news stories about this clinic, Purdue issued a

statement, declaring that “if a doctor is intent on prescribing our medication inappropriately,

such activity would continue regardless of whether we contacted the doctor or not.”185




184
      Meier, supra note 17, at 298-300.
185
      Id.



                                                    158
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            506.   In another example, a Purdue sales manager informed her supervisors in 2009

about a suspected pill mill in Los Angeles, reporting over email that when she visited the clinic

with her sales representative, “it was packed with a line out the door, with people who looked

like gang members,” and that she felt “very certain that this an organized drug ring[.]”186 She

wrote, “This is clearly diversion. Shouldn’t the DEA be contacted about this?” But her

supervisor at Purdue responded that while they were “considering all angles,” it was “really up to

[the wholesaler] to make the report.”187 This pill mill was the source of 1.1 million pills

trafficked to Everett, Washington, a city of around 100,000 people. Purdue waited until after the

clinic was shut down in 2010 to inform the authorities.

            507.   Defendant’ obligation to report suspicious prescribing ran head on into their

marketing strategy. Defendants did identify doctors who were their most prolific prescribers, but

not to report them, but to market to them. It would make little sense to focus on marketing to

doctors who may be engaged in improper prescribing only to report them to law enforcement,

nor to report those doctors who drove Defendants’ sales.

            508.   Defendants purchased data from IMS (now IQVIA) or other proprietary sources

to identify doctors to target for marketing and to monitor their own and competitors’ sales.

Marketing visits were focused on increasing, sustaining, or converting the prescriptions of the

biggest prescribers, particularly through aggressive, high frequency detailing visits.

            509.   This focus on marketing to the highest prescribers had two impacts. First, it

demonstrates that manufacturers were keenly aware of the doctors who were writing large


186
   Harriet Ryan et al., More than 1 million OxyContin pills ended up in the hands of criminals
and addicts. What the drugmaker knew, LOS ANGELES TIMES (July 10, 2016),
http://www.latimes.com/projects/la-me-oxycontin-part2/
187
      Id.



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quantities of opioids. But instead of investigating or reporting those doctors, Defendants were

singularly focused on maintaining, capturing, or increasing their sales.

          510.   Whenever examples of opioid diversion and abuse have drawn media attention,

Purdue and other Marketing Defendants have consistently blamed “bad actors.” For example, in

2001, during a Congressional hearing, Purdue’s attorney Howard Udell answered pointed

questions about how it was that Purdue could utilize IMS Health data to assess their marketing

efforts but not notice a particularly egregious pill mill in Pennsylvania run by a doctor named

Richard Paolino. Udell asserted that Purdue was “fooled” by the doctor: “The picture that is

painted in the newspaper [of Dr. Paolino] is of a horrible, bad actor, someone who preyed upon

this community, who caused untold suffering. And he fooled us all. He fooled law enforcement.

He fooled the DEA. He fooled local law enforcement. He fooled us.”188

          511.   But given the closeness with which Defendants monitored prescribing patterns

through IMS Health data, it is highly improbable that they were “fooled.” In fact, a local

pharmacist had noticed the volume of prescriptions coming from Paolino’s clinic and alerted

authorities. Purdue had the prescribing data from the clinic and alerted no one. Indeed, a Purdue

executive referred to Purdue’s tracking system and database as a “gold mine” and acknowledged

that Purdue could identify highly suspicious volumes of prescriptions.

          512.   As discussed below, Endo knew that Opana ER was being widely abused. Yet,

the New York Attorney General revealed, based on information obtained in an investigation into

Endo, that Endo sales representatives were not aware that they had a duty to report suspicious

activity and were not trained on the company’s policies or duties to report suspicious activity,



188
      Meier, supra note 17, at 179.



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and Endo paid bonuses to sales representatives for detailing prescribers who were subsequently

arrested for illegal prescribing.

        513.    Sales representatives making in-person visits to such clinics were likewise not

fooled. But as pill mills were lucrative for the manufacturers and individual sales representatives

alike, Marketing Defendants and their employees turned a collective blind eye, allowing certain

clinics to dispense staggering quantities of potent opioids and feigning surprise when the most

egregious examples eventually made the nightly news.

                e.      Defendants Failed to Report Suspicious Orders or Otherwise Act to
                        Prevent Diversion

        514.    As discussed above, Defendants failed to report suspicious orders, prevent

diversion, or otherwise control the supply of opioids following into communities across America.

Despite the notice described above, and in disregard of their duties, Defendants continued to

pump massive quantities of opioids despite their obligations to control the supply, prevent

diversion, report and take steps to halt suspicious orders.

        515.    Governmental agencies and regulators have confirmed (and in some cases

Defendants have admitted) that Defendants did not meet their obligations and have uncovered

especially blatant wrongdoing.

        516.    For example, on January 5, 2017, McKesson entered into an Administrative

Memorandum Agreement with the DEA wherein it agreed to pay a $150 million civil penalty

for, inter alia, failure to identify and report suspicious orders at its facilities in Aurora, CO;

Aurora, IL; Delran, NJ; LaCrosse, WI; Lakeland FL; Landover, MD; La Vista, NE; Livonia, MI;

Methuen, MA; Santa Fe Springs, CA; Washington Courthouse, OH; and West Sacramento, CA.

McKesson admitted that, at various times during the period from January 1, 2009 through the

effective date of the Agreement (January 17, 2017) it “did not identify or report to [the] DEA



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certain orders placed by certain pharmacies which should have been detected by McKesson as

suspicious based on the guidance contained in the DEA Letters.”

         517.   McKesson further admitted that, during this time period, it “failed to maintain

effective controls against diversion of particular controlled substances into other than legitimate

medical, scientific and industrial channels by sales to certain of its customers in violation of the

CSA and the CSA’s implementing regulations, 21 C.F.R. Part 1300 et seq., at the McKesson

Distribution Centers.” Due to these violations, McKesson agreed to a partial suspension of its

authority to distribute controlled substances from certain of its facilities some of which

investigators found “were supplying pharmacies that sold to criminal drug rings.”

         518.   Similarly, in 2017, the Department of Justice fined Mallinckrodt $35 million for

failure to report suspicious orders of controlled substances, including opioids, and for violating

recordkeeping requirements. The government alleged that “Mallinckrodt failed to design and

implement an effective system to detect and report ‘suspicious orders’ for controlled substances -

orders that are unusual in their frequency, size, or other patterns . . . [and] Mallinckrodt supplied

distributors, and the distributors then supplied various U.S. pharmacies and pain clinics, an

increasingly excessive quantity of oxycodone pills without notifying DEA of these suspicious

orders.”

         519.   On December 23, 2016, Cardinal Health agreed to pay the United States $44

million to resolve allegations that it violated the Controlled Substances Act in Maryland, Florida

and New York by failing to report suspicious orders of controlled substances, including

oxycodone, to the DEA. In the settlement agreement, Cardinal Health admitted, accepted, and

acknowledged that it had violated the CSA between January 1, 2009 and May 14, 2012 by failing

to:




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               a.      “timely identify suspicious orders of controlled substances and inform the
                       DEA of those orders, as required by 21 C.F.R. §1301.74(b)”;

               b.      “maintain effective controls against diversion of particular controlled
                       substances into other than legitimate medical, scientific, and industrial
                       channels, as required by 21 C.F.R. §1301.74, including the failure to make
                       records and reports required by the CSA or DEA’s regulations for which a
                       penalty may be imposed under 21 U.S.C. §842(a)(5)”; and

               c.      “execute, fill, cancel, correct, file with the DEA, and otherwise handle
                       DEA ‘Form 222’ order forms and their electronic equivalent for Schedule
                       II controlled substances, as required by 21 U.S.C. §828 and 21 C.F.R. Part
                       1305.”

       520.    In 2012, the State of West Virginia sued AmerisourceBergen and Cardinal Health,

as well as several smaller wholesalers, for numerous causes of action, including violations of the

CSA, consumer credit and protection, and antitrust laws and the creation of a public nuisance.

Unsealed court records from that case demonstrate that AmerisourceBergen, along with

McKesson and Cardinal Health, together shipped 423 million pain pills to West Virginia

between 2007 and 2012. AmerisourceBergen itself shipped 80.3 million hydrocodone pills and

38.4 million oxycodone pills during that time period. These quantities alone are sufficient to

show that the Defendants failed to control the supply chain or to report and take steps to halt

suspicious orders. In 2016, AmerisourceBergen agreed to settle the West Virginia lawsuit for

$16 million to the state; Cardinal Health settled for $20 million.

       521.    H.D. Smith has also routinely been found to have violated its duties to report

suspicious orders and halt suspicious shipments of prescription opioids. According to a recent

letter from the U.S. House of Representatives Committee on Energy and Commerce, data

provided to the Committee showed that between 2007 and 2008, H.D. Smith provided two

pharmacies in Williamson, WV, a town with a population of 3,191, combined total of nearly 5

million hydrocodone and oxycodone pills - approximately 1,565 hydrocodone and oxycodone




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pills for every man, woman, and child in Williamson, WV.189 According to press reports, H.D.

Smith distributed approximately 13.7 million hydrocodone and 4.4 million oxycodone pills to

West Virginia between 2007 and 2012.190 Press accounts further indicate that H.D. Smith did

not submit any suspicious order reports to the state for at least a decade.191 Upon information

and belief, H.D. Smith engaged in similar wrongful activities in Ohio.

            522.   Similarly, Miami-Luken has come under DEA scrutiny for facilitating the

diversion of significant quantities of the highly addictive pain killers, oxycodone and

hydrocodone. On November 23, 2015, the DEA issued an Order to Show Cause against Miami-

Luken to begin the process of revoking Miami-Luken’s registration to distribute controlled

substances under the Controlled Substances Act. In early 2016, Miami-Luken agreed to pay the

state of West Virginia $2.5 million to resolve allegations that the company knowingly shipped

opioids to West Virginia pharmacies without exercising sufficient monitoring or control.192

            523.   According to a recent letter from the U.S. House of Representatives Committee

on Energy and Commerce, data provided to the Committee showed that from 2008 to 2015

Miami-Luken provided one pharmacy in Oceana, WV, 4,391,520 hydrocodone and oxycodone




189
   See January 26, 2018 Letter to J. Christopher Smith, President and CEO, H.D. Smith, from
the House Committee on Energy and Commerce.
190
   Eric Eyre, Drug wholesaler agrees to pay $3.5M to settle WV lawsuit, Charleston Gazette-
Mail, Jan. 3, 2017 available at https://www.wvgazettemail.com/news/health/drug-wholesaler-
agrees-to-pay-m-to-settle-wv-lawsuit/article_4e8c7f4c-cec5-5173-a199-c19374a6250c.html
191
      Id.
192
   State of West Virginia, Office of the Attorney General,
http://ago.wv.gov/consumerprotection/Fighting%20Substance%20Abuse/Documents/2016.05%2
0Substance%20Abuse%20Timeline%20(M0132433xCECC6).PDF



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pills. Oceana, WV’s population was a mere 1,394 in 2010.193 As the Committee noted, this

means that in 2014 alone, Miami-Luken provided roughly 689 pills for every man, woman, and

child in Oceana.194 Similarly, according to the data Miami-Luken provided to the Committee, in

2008, Miami-Luken provided two pharmacies in Kermit, WV, 2,283,700 hydrocodone and

oxycodone pills - 5,624 pills for every man, woman, and child in Kermit, WV.195

            524.   Thus, it is the various governmental agencies who have alleged or found—and the

Defendants themselves who have admitted—that the Defendants, acting in disregard of their

duties, pumped massive quantities of opioids into communities around the country despite their

obligations to control the supply, prevent diversions, and report and take steps to halt suspicious

orders.

                   f.     Defendants Delayed a Response to the Opioid Crisis by Pretending to
                          Cooperate with Law Enforcement

            525.   When a manufacturer or distributor does not report or stop suspicious orders,

prescriptions for controlled substances may be written and dispensed to individuals who abuse

them or who sell them to others to abuse. This, in turn, fuels and expands the illegal market and

results in opioid-related overdoses. Without reporting by those involved in the supply chain, law

enforcement may be delayed in taking action - or may not know to take action at all.

            526.   After being caught failing to comply with particular obligations at particular

facilities, Distributor Defendants made broad promises to change their ways and insisted that

they sought to be good corporate citizens. As part of McKesson’s 2008 Settlement with the

193
   See January 26, 2018, Letter to Dr. Joseph Mastandrea, Chairman of the Board, Miami-
Luken, Inc., and Mr. Michael Faul, President and Chief Executive Officer, Miami-Luken, Inc.,
from the House Committee on Energy and Commerce.
194
      Id.
195
      Id.



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DEA, McKesson claimed to have “taken steps to prevent such conduct from occurring in the

future,” including specific measures delineated in a “Compliance Addendum” to the Settlement.

Yet, in 2017, McKesson paid $150 million to resolve an investigation by the U.S. DOJ for again

failing to report suspicious orders of certain drugs, including opioids. Even though McKesson

had been sanctioned in 2008 for failure to comply with its legal obligations regarding controlling

diversion and reporting suspicious orders, and even though McKesson had specifically agreed in

2008 that it would no longer violate those obligations, McKesson continued to violate the laws in

contrast to its written agreement not to do so.

       527.    More generally, the Distributor Defendants publicly portrayed themselves as

committed to working with law enforcement, opioid manufacturers, and others to prevent

diversion of these dangerous drugs. For example, Defendant Cardinal claims that: “We

challenge ourselves to best utilize our assets, expertise and influence to make our communities

stronger and our world more sustainable, while governing our activities as a good corporate

citizen in compliance with all regulatory requirements and with a belief that doing ‘the right

thing’ serves everyone.” Defendant Cardinal likewise claims to “lead [its] industry in anti-

diversion strategies to help prevent opioids from being diverted for misuse or abuse.” Along the

same lines, it claims to “maintain a sophisticated, state-of-the-art program to identify, block and

report to regulators those orders of prescription controlled medications that do not meet [its]

strict criteria.” Defendant Cardinal also promotes funding it provides for “Generation Rx,”

which funds grants related to prescription drug misuse. A Cardinal executive recently claimed

that Cardinal uses “advanced analytics” to monitor its supply chain; Cardinal assured the public

it was being “as effective and efficient as possible in constantly monitoring, identifying, and

eliminating any outside criminal activity.”




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         528.   Along the same lines, Defendant McKesson publicly claims that its “customized

analytics solutions track pharmaceutical product storage, handling and dispensing in real time at

every step of the supply chain process,” creating the impression that McKesson uses this tracking

to help prevent diversion. Defendant McKesson has also publicly stated that it has a “best-in-

class controlled substance monitoring program to help identify suspicious orders,” and claimed it

is “deeply passionate about curbing the opioid epidemic in our country.”

         529.   Defendant AmerisourceBergen, too, has taken the public position that it is

“work[ing] diligently to combat diversion and [is] working closely with regulatory agencies and

other partners in pharmaceutical and healthcare delivery to help find solutions that will support

appropriate access while limiting misuse of controlled substances.” A company spokeswoman

also provided assurance that: “At AmerisourceBergen, we are committed to the safe and efficient

delivery of controlled substances to meet the medical needs of patients.”

         530.   Moreover, in furtherance of their effort to affirmatively conceal their conduct and

avoid detection, the Defendants, through their trade associations, HDMA and NACDS, filed an

amicus brief in Masters Pharmaceuticals, which made the following statements:196

                a.     “HDMA and NACDS members not only have statutory and regulatory
                       responsibilities to guard against diversion of controlled prescription drugs,
                       but undertake such efforts as responsible members of society.”

                b.     “Distributors take seriously their duty to report suspicious orders, utilizing
                       both computer algorithms and human review to detect suspicious orders
                       based on the generalized information that is available to them in the
                       ordering process.”

         531.   Through the above statements made on their behalf by their trade associations,

and other similar statements assuring their continued compliance with their legal obligations, the


196
      Brief for HDMA and NACDS, 2016 WL 1321983, at *3-4, *25.



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Defendants not only acknowledged that they understood their obligations under the law, but they

further affirmed that their conduct was in compliance with those obligations.

         532.   Defendant Mallinckrodt similarly claims to be “committed . . . to fighting opioid

misuse and abuse,” and further asserts that: “In key areas, our initiatives go beyond what is

required by law. We address diversion and abuse through a multidimensional approach that

includes educational efforts, monitoring for suspicious orders of controlled substances, . . . .”

         533.   Other Marketing Defendants also misrepresented their compliance with their legal

duties and their cooperation with law enforcement. Purdue serves as a hallmark example of such

wrongful conduct. Purdue deceptively and unfairly failed to report to authorities illicit or

suspicious prescribing of its opioids, even as it has publicly and repeatedly touted its

“constructive role in the fight against opioid abuse,” including its commitment to ADF opioids

and its “strong record of coordination with law enforcement.”197

         534.   At the heart of Purdue’s public outreach is the claim that it works hand-in-glove

with law enforcement and government agencies to combat opioid abuse and diversion. Purdue

has consistently trumpeted this partnership since at least 2008, and the message of close

cooperation is in virtually all of Purdue’s recent pronouncements in response to the opioid abuse.

         535.   Touting the benefits of ADF opioids, Purdue’s website asserts: “[W]e are acutely

aware of the public health risks these powerful medications create . . . . That’s why we work with

health experts, law enforcement, and government agencies on efforts to reduce the risks of opioid



197
   Purdue, Setting The Record Straight On OxyContin’s FDA-Approved Label, May 5, 2016,
available at http://www.purduepharma.com/news-media/get-the-facts/setting-the-record-straight-
on-oxycontins-fda-approved-label/; Purdue, Setting The Record Straight On Our Anti-Diversion
Programs, July 11, 2016, available at http://www.purduepharma.com/news-media/get-the-
facts/setting-the-record-straight-on-our-anti-diversion-programs/.



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abuse and misuse . . . .”198 Purdue’s statement on “Opioids Corporate Responsibility” likewise

states that “[f]or many years, Purdue has committed substantial resources to combat opioid abuse

by partnering with . . . communities, law enforcement, and government.”199 And, responding to

criticism of Purdue’s failure to report suspicious prescribing to government regulatory and

enforcement authorities, the website similarly proclaims that Purdue “ha[s] a long record of close

coordination with the DEA and other law enforcement stakeholders to detect and reduce drug

diversion.”200

         536.    These public pronouncements create the misimpression that Purdue is proactively

working with law enforcement and government authorities nationwide to root out drug diversion,

including the illicit prescribing that can lead to diversion. It aims to distance Purdue from its

past conduct in deceptively marketing opioids and make its current marketing seem more

trustworthy and truthful.

         537.    Public statements by the Defendants and their associates created the false and

misleading impression to regulators, prescribers, and the public that the Defendants rigorously

carried out their legal duties, including their duty to report suspicious orders and exercise due

diligence to prevent diversion of these dangerous drugs, and further created the false impression




198
   Purdue website, Opioids With Abuse-Deterrent Properties, available at http://www.
purduepharma.com/healthcare-professionals/responsible-use-of-opioids/opioids-with-abuse-
deterrent-properties/.
199
  Purdue website, Opioids Corporate Responsibility, available at http://www.purduepharma.
com/news-media/opioids-corporate-responsibility/.
200
   Purdue, Setting The Record Straight On Our Anti-Diversion Programs, July 11, 2016,
available at http://www.purduepharma.com/news-media/get-the-facts/setting-the-record-straight-
on-our-anti-diversion-programs/. Contrary to its public statements, Purdue seems to have
worked behind the scenes to push back against law enforcement.



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that these Defendants also worked voluntarily to prevent diversion as a matter of corporate

responsibility to the communities their business practices would necessarily impact.

               g.      The National Retail Pharmacies Were on Notice of and Contributed
                       to Illegal Diversion of Prescription Opioids

       538.    National retail pharmacy chains earned enormous profits by flooding the country

with prescription opioids. They were keenly aware of the oversupply of prescription opioids

through the extensive data and information they developed and maintained as both distributors

and dispensaries. Yet, instead of taking any meaningful action to stem the flow of opioids into

communities, they continued to participate in the oversupply and profit from it.

       539.    Each of the National Retail Pharmacies does substantial business throughout the

United States. This business includes the distribution and dispensing of prescription opioids.

       540.    Statewide ARCOS data confirms that the National Retail Pharmacies distributed

and dispensed substantial quantities of prescription opioids, including fentanyl, hydrocodone,

and oxycodone in Ohio. In addition, they distributed and dispensed substantial quantities of

prescription opioids in other states, and these drugs were diverted from these other states to

Ohio. The National Retail Pharmacies failed to take meaningful action to stop this diversion

despite their knowledge of it, and contributed substantially to the diversion problem.

       541.    The National Retail Pharmacies developed and maintained extensive data on

opioids they distributed and dispensed. Through this data, National Retail Pharmacies had direct

knowledge of patterns and instances of improper distribution, prescribing, and use of prescription

opioids in communities throughout the country, and in Ohio in particular. They used the data to

evaluate their own sales activities and workforce. On information and belief, the National Retail

Pharmacies also provided Defendants with data regarding, inter alia, individual doctors in




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exchange for rebates or other forms of consideration. The National Retail Pharmacies’ data is a

valuable resource that they could have used to help stop diversion, but failed to do so.

                       a.     The National Retail Pharmacies Have a Duty to Prevent
                              Diversion

       542.    Each participant in the supply chain of opioid distribution, including the National

Retail Pharmacies, is responsible for preventing diversion of prescription opioids into the illegal

market by, among other things, monitoring and reporting suspicious activity.

       543.    The National Retail Pharmacies, like manufacturers and other distributors, are

registrants under the CSA. 21 C.F.R. § 1301.11. Under the CSA, pharmacy registrants are

required to “provide effective controls and procedures to guard against theft and diversion of

controlled substances.” See 21 C.F.R. § 1301.71(a). In addition, 21 C.F.R. § 1306.04(a) states,

“[t]he responsibility for the proper prescribing and dispensing of controlled substances is upon

the prescribing practitioner, but a corresponding responsibility rests with the pharmacist who fills

the prescription.” Because pharmacies themselves are registrants under the CSA, the duty to

prevent diversion lies with the pharmacy entity, not the individual pharmacist alone.

       544.    The DEA, among others, has provided extensive guidance to pharmacies

concerning their duties to the public. The guidance advises pharmacies how to identify

suspicious orders and other evidence of diversion.

       545.    Suspicious pharmacy orders include orders of unusually large size, orders that are

disproportionately large in comparison to the population of a community served by the

pharmacy, orders that deviate from a normal pattern and/or orders of unusual frequency and

duration, among others.

       546.    Additional types of suspicious orders include: (1) prescriptions written by a

doctor who writes significantly more prescriptions (or in larger quantities or higher doses) for



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controlled substances compared to other practitioners in the area; (2) prescriptions which should

last for a month in legitimate use, but are being refilled on a shorter basis; (3) prescriptions for

antagonistic drugs, such as depressants and stimulants, at the same time; (4) prescriptions that

look “too good” or where the prescriber’s handwriting is too legible; (5) prescriptions with

quantities or doses that differ from usual medical usage; (6) prescriptions that do not comply

with standard abbreviations and/or contain no abbreviations; (7) photocopied prescriptions; or

(8) prescriptions containing different handwriting. Most of the time, these attributes are not

difficult to detect and should be easily recognizable by pharmacies.

       547.    Suspicious pharmacy orders are red flags for if not direct evidence of diversion.

       548.    Other signs of diversion can be observed through data gathered, consolidated, and

analyzed by the National Retail Pharmacies themselves. That data allows them to observe

patterns or instances of dispensing that are potentially suspicious, of oversupply in particular

stores or geographic areas, or of prescribers or facilities that seem to engage in improper

prescribing.

       549.    According to industry standards, if a pharmacy finds evidence of prescription

diversion, the local Board of Pharmacy and DEA must be contacted.

       550.    Despite their legal obligations as registrants under the CSA, the National Retail

Pharmacies allowed widespread diversion to occur—and they did so knowingly.

       551.    Performance metrics and prescription quotas adopted by the National Retail

Pharmacies for their retail stores contributed to their failure. Under CVS’s Metrics System, for

example, pharmacists are directed to meet high goals that make it difficult, if not impossible, to

comply with applicable laws and regulations. There is no measurement for pharmacy accuracy

or customer safety. Moreover, the bonuses for pharmacists are calculated, in part, on how many




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prescriptions that pharmacist fills within a year. The result is both deeply troubling and entirely

predictable: opioids flowed out of National Retail Pharmacies and into communities throughout

the country. The policies remained in place even as the epidemic raged.

       552.    Upon information and belief, this problem was compounded by the Pharmacies’

failure to adequately train their pharmacists and pharmacy technicians on how to properly and

adequately handle prescriptions for opioid painkillers, including what constitutes a proper

inquiry into whether a prescription is legitimate, whether a prescription is likely for a condition

for which the FDA has approved treatments with opioids, and what measures and/or actions to

take when a prescription is identified as phony, false, forged, or otherwise illegal, or when

suspicious circumstances are present, including when prescriptions are procured and pills

supplied for the purpose of illegal diversion and drug trafficking.

       553.    Upon information and belief, the National Retail Pharmacies also failed to

adequately use data available to them to identify doctors who were writing suspicious numbers

of prescriptions and/or prescriptions of suspicious amounts of opioids, or to adequately use data

available to them to do statistical analysis to prevent the filling of prescriptions that were

illegally diverted or otherwise contributed to the opioid crisis.

       554.    Upon information and belief, the National Retail Pharmacies failed to analyze: (a)

the number of opioid prescriptions filled by individual pharmacies relative to the population of

the pharmacy’s community; (b) the increase in opioid sales relative to past years; (c) the number

of opioid prescriptions filled relative to other drugs; and (d) the increase in annual opioid sales

relative to the increase in annual sales of other drugs.

       555.    Upon information and belief, the National Retail Pharmacies also failed to

conduct adequate internal or external audits of their opioid sales to identify patterns regarding




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prescriptions that should not have been filled and to create policies accordingly, or if they

conducted such audits, they failed to take any meaningful action as a result.

       556.    Upon information and belief, the National Retail Pharmacies also failed to

effectively respond to concerns raised by their own employees regarding inadequate policies and

procedures regarding the filling of opioid prescriptions.

       557.    The National Retail Pharmacies were, or should have been, fully aware that the

quantity of opioids being distributed and dispensed by them was untenable, and in many areas

patently absurd; yet, they did not take meaningful action to investigate or to ensure that they

were complying with their duties and obligations under the law with regard to controlled

substances.

                       b.      Multiple Enforcement Actions against the National Retail
                               Pharmacies Confirms their Compliance Failures.

       558.    The National Retail Pharmacies have long been on notice of their failure to abide

by state and federal law and regulations governing the distribution and dispensing of prescription

opioids. Indeed, several of the National Retail Pharmacies have been repeatedly penalized for

their illegal prescription opioid practices. Upon information and belief, based upon the

widespread nature of these violations, these enforcement actions are the product of, and confirm,

national policies and practices of the National Retail Pharmacies.

                       i.      CVS

       559.    CVS is one of the largest companies in the world, with annual revenue of more

than $150 billion. According to news reports, it manages medications for nearly 90 million

customers at 9,700 retail locations. CVS could be a force for good in connection with the opioid

crisis, but like other Defendants, CVS sought profits over people.




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         560.    CVS is a repeat offender and recidivist: the company has paid fines totaling over

$40 million as the result of a series of investigations by the DEA and the United States

Department of Justice (“DOJ”). It nonetheless treated these fines as the cost of doing business

and has allowed its pharmacies to continue dispensing opioids in quantities significantly higher

than any plausible medical need would require, and to continue violating its recordkeeping and

dispensing obligations under the CSA.

         561.    As recently as July 2017, CVS entered into a $5 million settlement with the U.S.

Attorney’s Office for the Eastern District of California regarding allegations that its pharmacies

failed to keep and maintain accurate records of Schedule II, III, IV, and V controlled

substances.201

         562.    This fine was preceded by numerous others throughout the country.

         563.    In February 2016, CVS paid $8 million to settle allegations made by the DEA and

the DOJ that from 2008-2012, CVS stores and pharmacists in Maryland violated their duties

under the CSA and filling prescriptions with no legitimate medical purpose.202

         564.    In October 2016, CVS paid $600,000 to settle allegations by the DOJ that stores

in Connecticut failed to maintain proper records in accordance with the CSA.203

201
   Press Release, U.S. Attorney’s Office E. Dist. of Cal., CVS Pharmacy Inc. Pays $5M to Settle
Alleged Violations of the Controlled Substance Act, U.S. Dep’t of Just. (July 11, 2017),
https://www.justice.gov/usao-edca/pr/cvs-pharmacy-inc-pays-5m-settle-alleged-violations-
controlled-substance-act.
202
    Press Release, U.S. Attorney’s Office Dist. of Md., United States Reaches $8 Million
Settlement Agreement with CVS for Unlawful Distribution of Controlled Substances, U.S. Dep’t
of Just. (Feb. 12, 2016), https://www.justice.gov/usao-md/pr/united-states-reaches-8-million-
settlement-agreement-cvs-unlawful-distribution-controlled.
203
    Press Release, U.S. Attorney’s Office Dist. of Conn., CVS Pharmacy Pays $600,000 to Settle
Controlled Substances Act Allegations, U.S. Dep’t of Just. (Oct. 20, 2016),
https://www.justice.gov/usao-ct/pr/cvs-pharmacy-pays-600000-settle-controlled-substances-act-
allegations.



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         565.   In September 2016, CVS entered into a $795,000 settlement with the

Massachusetts Attorney General wherein CVS agreed to require pharmacy staff to access the

state’s prescription monitoring program website and review a patient’s prescription history

before dispensing certain opioid drugs.204

         566.   In June 2016, CVS agreed to pay the DOJ $3.5 million to resolve allegations that

50 of its stores violated the CSA by filling forged prescriptions for controlled substances—

mostly addictive painkillers—more than 500 times between 2011 and 2014.205

         567.   In August 2015, CVS entered into a $450,000 settlement with the U.S. Attorney’s

Office for the District of Rhode Island to resolve allegations that several of its Rhode Island

stores violated the CSA by filling invalid prescriptions and maintaining deficient records. The

United States alleged that CVS retail pharmacies in Rhode Island filled a number of forged

prescriptions with invalid DEA numbers, and filled multiple prescriptions written by psychiatric

nurse practitioners for hydrocodone, despite the fact that these practitioners were not legally

permitted to prescribe that drug. Additionally, the government alleged that CVS had

recordkeeping deficiencies.206



204
   Dialynn Dwyer, CVS will pay $795,000, strengthen policies around dispensing opioids in
agreement with state, Boston.com (Sept. 1, 2016), https://www.boston.com/news/local-
news/2016/09/01/cvs-will-pay-795000-strengthen-policies-around-dispensing-opioids-in-
agreement-with-state.
205
   Press Release, U.S. Attorney’s Office Dist. of Mass., CVS to Pay $3.5 Million to Resolve
Allegations that Pharmacists Filled Fake Prescriptions, U.S. Dep’t of Just. (June 30, 2016),
https://www.justice.gov/usao-ma/pr/cvs-pay-35-million-resolve-allegations-pharmacists-filled-
fake-prescriptions.
206
   Press Release, U.S. Attorney’s Office Dist. of R.I., Drug Diversion Claims Against CVS
Health Corp. Resolved With $450,000 Civil Settlement, U.S. Dep’t of Just. (Aug. 10, 2015),
https://www.justice.gov/usao-ri/pr/drug-diversion-claims-against-cvs-health-corp-resolved-
450000-civil-settlement.



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         568.   In May 2015, CVS agreed to pay a $22 million penalty following a DEA

investigation that found that employees at two pharmacies in Sanford, Florida, had dispensed

prescription opioids, “based on prescriptions that had not been issued for legitimate medical

purposes by a health care provider acting in the usual course of professional practice. CVS also

acknowledged that its retail pharmacies had a responsibility to dispense only those prescriptions

that were issued based on legitimate medical need.”207

         569.   In September 2014, CVS agreed to pay $1.9 million in civil penalties to resolve

allegations it filled prescriptions written by a doctor whose controlled-substance registration had

expired.208

         570.   In August 2013, CVS was fined $350,000 by the Oklahoma Pharmacy Board for

improperly selling prescription narcotics in at least five locations in the Oklahoma City

metropolitan area.209

         571.   Dating back to 2006, CVS retail pharmacies in Oklahoma and elsewhere

intentionally violated the CSA by filling prescriptions signed by prescribers with invalid DEA

registration numbers.210

207
   Press Release, U.S. Attorney’s Office M. Dist. of Fla., United States Reaches $22 Million
Settlement Agreement With CVS For Unlawful Distribution of Controlled Substances, U.S.
Dep’t of Just. (May 13, 2015), https://www.justice.gov/usao-mdfl/pr/united-states-reaches-22-
million-settlement-agreement-cvs-unlawful-distribution.
208
   Patrick Danner, H-E-B, CVS Fined Over Prescriptions, San Antonio Express-News (Sept. 5,
2014), http://www.expressnews.com/business/local/article/H-E-BCVS-
fined-over-prescriptions-5736554.php.
209
  Andrew Knittle, Oklahoma pharmacy board stays busy, hands out massive fines at times,
NewsOK (May 3, 2015), http://newsok.com/article/5415840.
210
   Press Release, U.S. Attorney’s Office W. Dist. of Okla., CVS to Pay $11 Million To Settle
Civil Penalty Claims Involving Violations of Controlled Substances Act, U.S. Dep’t of Just.
(Apr. 3, 2013), https://www.justice.gov/usao-wdok/pr/cvs-pay-11-million-settle-civil-penalty-
claims-involving-violations-controlled.



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                         ii.     Walgreens

         572.   Walgreens is the second-largest pharmacy store chain in the United States behind

CVS, with annual revenue of more than $118 billion. According to its website, Walgreens

operates more than 8,100 retail locations and filled 990 million prescriptions on a 30-day

adjusted basis in fiscal 2017.

         573.   Walgreens also has been penalized for serious and flagrant violations of the CSA.

Indeed, Walgreens agreed to the largest settlement in DEA history—$80 million—to resolve

allegations that it committed an unprecedented number of recordkeeping and dispensing

violations of the CSA, including negligently allowing controlled substances such as oxycodone

and other prescription painkillers to be diverted for abuse and illegal black market sales.211

         574.   The settlement resolved investigations into and allegations of CSA violations in

Florida, New York, Michigan, and Colorado that resulted in the diversion of millions of opioids

into illicit channels.

         575.   Walgreens’ Florida operations at issue in this settlement highlight its egregious

conduct regarding diversion of prescription opioids. Walgreens’ Florida pharmacies each

allegedly ordered more than one million dosage units of oxycodone in 2011—more than ten

times the average amount.212

         576.   They increased their orders over time, in some cases as much as 600% in the

space of just two years, including, for example, supplying a town of 3,000 with 285,800 orders


211
    Press Release, U.S. Attorney’s Office S. Dist. of Fla., Walgreens Agrees To Pay A Record
Settlement Of $80 Million For Civil Penalties Under The Controlled Substances Act, U.S. Dep’t
of Just. (June 11, 2013), https://www.justice.gov/usao-sdfl/pr/walgreens-agrees-pay-record-
settlement-80-million-civil-penalties-under-controlled.
212
  Order to Show Cause and Immediate Suspension of Registration, In the Matter of Walgreens
Co. (Drug Enf’t Admin. Sept. 13, 2012).



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of oxycodone in a one-month period. Yet Walgreens corporate officers turned a blind eye to

these abuses. In fact, corporate attorneys at Walgreens suggested, in reviewing the legitimacy of

prescriptions coming from pain clinics, that “if these are legitimate indicators of inappropriate

prescriptions perhaps we should consider not documenting our own potential noncompliance,”

underscoring Walgreens’ attitude that profit outweighed compliance with the CSA or the health

of communities.213

            577.   Defendant Walgreens’ settlement with the DEA stemmed from the DEA’s

investigation into Walgreens’ distribution center in Jupiter, Florida, which was responsible for

significant opioid diversion in Florida. According to the Order to Show Cause, Defendant

Walgreens’ corporate headquarters pushed to increase the number of oxycodone sales to

Walgreens’ Florida pharmacies, and provided bonuses for pharmacy employees based on number

of prescriptions filled at the pharmacy in an effort to increase oxycodone sales. In July 2010,

Defendant Walgreens ranked all of its Florida stores by number of oxycodone prescriptions

dispensed in June of that year, and found that the highest-ranking store in oxycodone sales sold

almost 18 oxycodone prescriptions per day. All of these prescriptions were filled by the Jupiter

Center.214

            578.   Walgreens has also settled with a number of state attorneys general, including

West Virginia ($575,000) and Massachusetts ($200,000).215




213
      Id.
214
      Id.
215
   Walgreens to pay $200,000 settlement for lapses with opioids, APhA (Jan. 25, 2017),
https://www.pharmacist.com/article/walgreens-pay-200000-settlement-lapses-opioids.



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            579.   The Massachusetts Attorney General’s Medicaid Fraud Division found that, from

2010 through most of 2015, multiple Walgreens stores across the state failed to monitor the

opioid use of some Medicaid patients who were considered high-risk.

            580.   In January 2017, an investigation by the Massachusetts Attorney General found

that some Walgreens pharmacies failed to monitor patients’ drug use patterns and didn’t use

sound professional judgment when dispensing opioids and other controlled substances—despite

the context of soaring overdose deaths in Massachusetts. Walgreens agreed to pay $200,000 and

follow certain procedures for dispensing opioids.216

                          iii.    Rite Aid

            581.   With approximately 4,600 stores in 31 states and the District of Columbia, Rite

Aid is the largest drugstore chain on the East Coast and the third-largest in the United States,

with annual revenue of more than $21 billion.

            582.   In 2009, as a result of a multi-jurisdictional investigation by the DOJ, Rite Aid

and nine of its subsidiaries in eight states were fined $5 million in civil penalties for its violations

of the CSA.217

            583.   The investigation revealed that from 2004 onwards, Rite Aid pharmacies across

the country had a pattern of non-compliance with the requirements of the CSA and federal

regulations that lead to the diversion of prescription opioids in and around the communities of




216
      Id.
217
   Press Release, Dep’t of Just., Rite Aid Corporation and Subsidiaries Agree to Pay $5 Million
in Civil Penalties to Resolve Violations in Eight States of the Controlled Substances Act, U.S.
Dep’t of Just. (Jan. 12, 2009), https://www.justice.gov/opa/pr/rite-aid-corporation-and-
subsidiaries-agree-pay-5-million-civil-penalties-resolve-violations.



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the Rite Aid pharmacies investigated. Rite Aid also failed to notify the DEA of losses of

controlled substances in violation of 21 USC 842(a)(5) and 21 C.F.R 1301.76(b).218

            584.   Numerous state and federal drug diversion prosecutions have occurred in which

prescription opioid pills were procured from National Retail Pharmacies. The allegations in this

Complaint do not attempt to identify all these prosecutions, and the information above is merely

by way of example.

            585.   The litany of state and federal actions against the National Retail Pharmacies

demonstrate that they routinely, and as a matter of standard operation procedure, violated their

legal obligations under the CSA and other laws and regulations that govern the distribution and

dispensing of prescription opioids.

            586.   Throughout the country and in Ohio in particular, the National Retail Pharmacies

were or should have been aware of numerous red flags of potential suspicious activity and

diversion.

            587.   On information and belief, from the catbird seat of their retail pharmacy

operations, the National Retail Pharmacies knew or reasonably should have known about the

disproportionate flow of opioids into Ohio and the operation of “pill mills” that generated opioid

prescriptions that, by their quantity or nature, were red flags for if not direct evidence of illicit

supply and diversion. Additional information was provided by news reports, and state and

federal regulatory actions, including prosecutions of pill mills in the area.

            588.   On information and belief, the National Retail Pharmacies knew or reasonably

should have known about the devastating consequences of the oversupply and diversion of

prescription opioids, including spiking opioid overdose rates in the community.

218
      Id.



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        589.    On information and belief, because of (among others sources of information)

regulatory and other actions taken against the National Retail Pharmacies directly, actions taken

against others pertaining to prescription opioids obtained from their retail stores, complaints and

information from employees and other agents, and the massive volume of opioid prescription

drug sale data that they developed and monitored, the National Retail Pharmacies were well

aware that their distribution and dispensing activities fell far short of legal requirements.

        590.    The National Retail Pharmacies’ actions and omission in failing to effectively

prevent diversion and failing to monitor, report, and prevent suspicious orders have contributed

significantly to the opioid crisis by enabling, and failing to prevent, the diversion of opioids.

        F.      The Opioids the Defendants Sold Migrated into Other Jurisdictions

        591.    As the demand for prescription opioids grew, fueled by their potency and purity,

interstate commerce flourished: opioids moved from areas of high supply to areas of high

demand, traveling across state lines in a variety of ways.

        592.    First, prescriptions written in one state may, under some circumstances, be filled

in a different state. But even more significantly, individuals transported opioids from one

jurisdiction specifically to sell them.

        593.    When authorities in states such as Ohio and Kentucky cracked down on opioid

suppliers, out-of-state suppliers filled the gaps. Florida in particular assumed a prominent role,

as its lack of regulatory oversight created a fertile ground for pill mills. Residents of Ohio and

other states would simply drive to Florida, stock up on pills from a pill mill, and transport them

back to home to sell. The practice became so common that authorities dubbed these individuals

“prescription tourists.”

        594.    The facts surrounding numerous criminal prosecutions illustrate the common

practice. For example, one man from Warren county, Ohio, sentenced to four years for


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transporting prescription opioids from Florida to Ohio, explained that he could get a prescription

for 180 pills from a quick appointment in West Palm Beach, and that back home, people were

willing to pay as much as $100 a pill—ten times the pharmacy price.219 In Columbus, Ohio, a

DEA investigation led to the 2011 prosecution of sixteen individuals involved in the “oxycodone

pipeline between Ohio and Florida.”220 When officers searched the Ohio home of the alleged

leader of the group, they found thousands of prescriptions pills, including oxycodone and

hydrocodone, and $80,000 in cash. In 2015, another Columbus man was sentenced for the same

conduct—paying couriers to travel to Florida and bring back thousands of prescription opioids,

and, in the words of U.S. district judge Michael Watson, contributing to a “pipeline of death.”221

         595.   Outside of Atlanta, Georgia, four individuals pled guilty in 2015 for operating a

pill mill; the U.S. attorney’s office found that most of the pain clinic’s customers came from

other states, including North Carolina, Kentucky, Tennessee, Ohio, South Carolina, and

Florida.222 Another investigation in Atlanta led to the 2017 conviction of two pharmacists who




219
   Andrew Welsh-Huggins, ‘Prescription tourists’ thwart states’ crackdown on illegal sale of
painkillers, NBC News (July 8, 2012), http://www.nbcnews.com/id/48111639/ns/us_news-
crime_and_courts/t/prescription-tourists-thwart-states-crackdown-illegal-sale-painkillers/#.
WtdyKE2Wy71.
220
   16 charged in ‘pill mill’ pipeline, Columbus Dispatch (June 7, 2011),
http://www.dispatch.com/content/stories/local/2011/06/07/16-charged-in-pill-mill-pipeline.html.
221
   Leader of Ohio pill-mill trafficking scheme sentenced, Star Beacon (July 16, 2015),
http://www.starbeacon.com/news/leader-of-ohio-pill-mill-trafficking-scheme-sentenced/article_
5fb058f5-deb8-5963-b936-d71c279ef17c.html.
222
   Four Defendants Plead Guilty to Operating a “Pill Mill” in Lilburn, Georgia, U.S. Atty’s
Off., Northern District of Ga. (May 14, 2015), https://www.justice.gov/usao-ndga/pr/four-
defendants-plead-guilty-operating-pill-mill-lilburn-georgia.



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dispensed opioids to customers of a pill mill across from the pharmacy; many of those customers

were from other states, including Ohio and Alabama.223

            596.    In yet another case, defendants who operated a pill mill in south Florida were

tried in eastern Kentucky based on evidence that large numbers of customers transported

oxycodone back to the area for both use and distribution by local drug trafficking organizations.

As explained by the Sixth Circuit in its decision upholding the venue decision, “[d]uring its

existence, the clinic generated over $10 million in profits. To earn this sum required more

business than the local market alone could provide. Indeed, only about half of the PCB’s

customers came from Florida. Instead, the clinic grew prosperous on a flow of out-of-state

traffic, with prospective patients traveling to the clinic from locations far outside Ft. Lauderdale,

including from Ohio, Georgia, and Massachusetts.”224 The court further noted that the pill mill

“gained massive financial benefits by taking advantage of the demand for oxycodone by

Kentucky residents.”225

            597.    The route from Florida and Georgia to Kentucky, Ohio, and West Virginia was so

well traveled that it became known as the Blue Highway, a reference to the color of the 30mg

Roxicodone pills manufactured by Mallinckrodt.226 Eventually, as police began to stop vehicles

with certain out-of-state tags cruising north on I-75, the prescription tourists adapted. They

rented cars just over the Georgia state line to avoid the telltale out-of-state tag.227 If they were

223
   Two Pharmacists Convicted for Illegally Dispensing to Patients of a Pill Mill, U.S. Atty’s
Off., Northern District of Ga. (Mar. 29, 2017), https://gdna.georgia.gov/press-releases/2017-03-
30/two-pharmacists-convicted-illegally-dispensing-patients-pill-mill.
224
      United States v. Elliott, 876 F.3d 855, 858 (6th Cir. 2017).
225
      Id. at 861.
226
      John Temple, American Pain 171 (2016).
227
      Id.



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visiting multiple pill mills on one trip, they would stop at FedEx between clinics to mail the pills

home and avoid the risk of being caught with multiple prescriptions if pulled over.228 Or they

avoided the roads altogether: Allegiant Air, which offered several flights between Appalachia

and Florida, was so popular with drug couriers that it was nicknamed the “Oxy Express.”229

            598.   While the I-75 corridor was well utilized, prescription tourists also came from

other states. The director of the Georgia drugs and narcotics agency observed that visitors to

Georgia pill mills come from as far away as Arizona and Nebraska.230

            599.   Similar pipelines developed in other regions of the country. For example, the I-95

corridor was another transport route for prescription pills. As the director of the Maine Drug

Enforcement Agency explained, the oxycodone in Maine was coming up extensively from

Florida, Georgia and California.231 And, according to the FBI, Michigan plays an important role

in the opioid epidemic in other states; opioids prescribed in Michigan are often trafficked down

to West Virginia, Ohio, and Kentucky.232

            600.   Along the West Coast, over a million pills were transported from the Lake

Medical pain clinic in Los Angeles and cooperating pharmacies to the city of Everett,




228
      Id.
229
   Id.; see also Welsh-Huggins, supra n. 1. Note that Interstate 75 as also called as the Oxy
Express; for example, the Peabody Award-winning documentary by that name focuses on the
transport of prescription opioids along I-75.
https://www.youtube.com/watch?v=wGZEvXNqzkM
230
      Id.
231
    Nok-Noi Ricker, Slaying of Florida firefighter in Maine puts focus on Interstate 95 drug
running, Bangor Daily News (March 9, 2012), http://bangordailynews.com/2012/03/09/news/
state/slaying-of-florida-firefighter-in-maine-puts-focus-on-interstate-95-drug-running/
232
  Julia Smillie, Michigan’s Opioid Epidemic Tackled From All Directions By Detroit FBI,
Workit Health (October 6, 2017), https://www.workithealth.com/blog/fbi-michigan-opioid-crisis



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Washington.233 Couriers drove up I-5 through California and Oregon, or flew from Los Angeles

to Seattle.234 The Everett-based dealer who received the pills from southern California wore a

diamond necklace in the shape of the West Coast states with a trail of green gemstones—the

color of 80-milligram OxyContin—connecting Los Angeles and Washington state.235




            601.   Abundant evidence, thus, establishes that prescription opioids migrated between

cities, counties, and states. As a result, prescription data from any particular jurisdiction does not

capture the full scope of the misuse, oversupply and diversion problem in that specific area. As

the criminal prosecutions referenced above show, if prescription opioid pills were hard to get in

one area, they migrated from another. The manufacturers and distributors were fully aware of

this phenomenon and profited from it.




233
   Harriet Ryan et al., How black-market OxyContin spurred a town’s descent into crime,
addiction and heartbreak, Los Angeles Times (July 10, 2016),
http://www.latimes.com/projects/la-me-oxycontin-everett/.
234
      Id.
235
      Id.



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       G.      Ohio-Specific Facts

       602.    The Marketing Defendants all marketed their products and disseminated their

misrepresentations in the State of Ohio. The Distributors Defendants all distributed opioids and

failed to meet their regulatory obligations in Ohio.

               a.      Defendants Breached Their Duties in Ohio

       603.    In addition to the duties imposed by federal law, under Ohio law, distributors

have a duty to detect, investigate, refuse to fill, and report suspicious orders of opioids.

               b.      The Devastating Effects of the Opioid Crisis in Ohio

       604.    The Marketing Defendants’ misrepresentations prompted Ohio health care

providers to prescribe, patients to take, and payors to cover opioids for the treatment of chronic

pain. Through their marketing, the Marketing Defendants overcame barriers to widespread

prescribing of opioids for chronic pain with deceptive messages about the risks and benefits of

long-term opioid use. Defendants compounded these harms by supplying opioids beyond even

what this expanded market could bear, funneling so many opioids into Ohio communities that

they could only have been delivering opioids for diversion and illicit use. The massive amount

of opioids that flooded into Ohio as a result of Defendants’ wrongful conduct has devastated

communities across the State.

       H.      Facts Specific to Lucas County

       605.    Plaintiff Board of Commissioners of Lucas County represents Lucas County, the

sixth largest county in Ohio with more than 430,000 residents and has been deeply affected by

the opioid crisis. Lucas County contains five cities, including Toledo, which is the county seat

and the largest city in Lucas County with nearly 400,000 residents.

       606.    The opioid crisis has reshaped daily reality for Lucas County in numerous ways,

including but not limited to increased and intensified emergency medical responses to overdoses;


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increased drug-related offenses affecting law enforcement, jails, and courts; enormous resources

spent on community and social programs to treat those with opioid use disorders; higher

workers’ compensation costs for prescription opioids and opioid-related claims; and ultimately

prevalent opioid abuse throughout Lucas County, including in public places.

         607.   Plaintiffs and stakeholders at all levels have been working to address the

unfolding crisis. For instance, in 2014, Plaintiff Mental Health Recovery Services Board of

Lucas County provided funding to create the Lucas County Heroin & Opiate Initiative to try to

combat opioids and alcohol abuse. The Initiative was created to make presentations in helping to

prevent prescription drug abuse, addiction and fatal overdose.236

         608.   In addition to the Lucas County Heroin & Opiate Initiative, the Lucas County

Sheriff’s Office has created the Drug Abuse Response Team, commonly known as D.A.R.T., in

an effort to respond to the public health and safety crisis that Lucas County is currently

experiencing. The goal of D.A.R.T. is to raise awareness about the dangers associated with

heroin and other drug usage and its mission is “to stop the profound number of deaths of our

friends and loved ones caused by opioid overdoses while helping victims overcome their

addictions. D.A.R.T. also aims to educate and support the family and friends of these

victims.”237 D.A.R.T. is composed of a Lucas County Sheriff’s Office Lieutenant, multiple

deputy sheriffs, forensic counselors, and officers from other local jurisdictions.238

         609.   While the Plaintiffs have committed substantial resources to address the crisis, the

opioid epidemic is nowhere near contained. Fully addressing the crisis requires that those



236
    Lucas County Heroin & Opiate Initiative – Harbor Corporation, http://www.harbor.org/lucas-
county-heroin-a-opiate-initiative.html (accessed July 20, 2018).
237
    Lucas County D.A.R.T, https://www.co.lucas.oh.us/2843/DART (accessed April 28, 2018).
238
    Id.



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responsible for it pay for their conduct and to abate the nuisance and harms they have created in

Lucas County.

                a.         The Opioid Epidemic Has Hit Lucas County with Particular Ferocity

         610.   Every week in 2016, an average of three Lucas County residents lost their lives to

a drug overdose. The number of annual unintentional drug overdose deaths in Lucas County has

skyrocketed since 2004, from 21 lives lost in 2004 to 157 lives lost in 2016. 239 The total number

of deaths from 2004 through 2016 in Lucas County was 972.240


                                               Overdose Deaths
                                                     Lucas County
                     180
                     160
                     140                                                                    157

                     120
                     100                                                        115   118

                     80                                               88
                     60                   75    73                         72
                     40                                     54   57
                                49   44                49
                     20
                           21
                      0
                            1   2    3    4     5      6    7    8    9    10   11    12    13


         611.   There is no end in sight for Lucas County. Based on preliminary numbers for

2017, at least 191 deaths were directly related to intoxication or drug or alcohol toxicity in Lucas

County last year, surpassing the record set in 2016.241 The majority these overdoses involved

opioids, including both prescription and nonprescription such as heroin.




239
    https://www.odh.ohio.gov/health/vipp/drug/dpoison.aspx. (accessed April 28, 2018).
240
    Id.
241
    Miller, Tim Local heroin overdose deaths on rise; Fentanyl now a big killer, January 25, 2017
http://www.wtol.com/story/34347707/local-heroin-overdose-deaths-on-rise-fentanyl-now-a-big-
killer (accessed May 1, 2018).



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         612.   Higher overdose rates flowed directly from a sharp rise in opioid prescription

rates in Lucas County. For instance, in 2012, the prescribing rate for opioids in Lucas County

was 115%. In other words, 115 opioid prescriptions were written for every 100 County

residents.242 And despite efforts by local and state officials to curb the crisis and limit the

number of pills in Lucas County, the prescribing rate remained above 98% in 2016.243

         613.   In addition, the opioid crisis has evolved and now heroin, fentanyl, and carfentanil

use is the latest evolution in the opioid crisis in Lucas County. As noted above, fentanyl and

carfentanil are incredibly lethal. Adding to the danger, in some instances fentanyl has been made

to look exactly like oxycodone tablets.

         614.   Some of Lucas County’s most vulnerable residents have also become victims of

the epidemic. Recent statistics from Lucas County Children show that more than 1,000

additional children are currently in foster care due to the opioid crisis.244 This increase of more

than 30% is directly related to the opioid epidemic, as parents struggling with opioid addiction

end up unable to care for their children, leading to children being removed from the home. To

make matters even more challenging, Lucas County has seen a decline in foster homes and in-

network foster homes. The rise in foster placements also has significant costs for the Plaintiffs:




242
    U.S. County Prescribing Rates, 2012, Opioid Overdose, Centers for Disease Control and
Prevention, https://www.cdc.gov/drugoverdose/maps/rxcounty2012.html (accessed May 2,
2018).
243
    U.S. County Prescribing Rates, 2012, Opioid Overdose, Centers for Disease Control and
Prevention, https://www.cdc.gov/drugoverdose/maps/rxcounty2016.html (accessed May 2,
2018).
244
    Oehler, Sarah, More than 1,000 Lucas Co. children in foster care due to opioid epidemic, July
10, 2017, http://www.wtol.com/story/35852550/more-than-1000-lucas-co-children-in-foster-
care-due-to-opioid-epidemic (accessed May 1, 2018).



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it costs the state of Ohio $321 million annually to care for children in foster care, including

almost $1 million per month in Lucas County alone.245

         615.   According to Plaintiff Lucas County Children Services Board of Trustees, in the

past several years there has been a significant increase in babies born addicted to opioids. These

infants spend their first months of life suffering from withdrawal, a condition known as

“Neonatal Abstinence Syndrome” (NAS). These children often need years of long-term care and

monitoring due to NAS. Numerous Lucas County children are under the care of relatives or

foster parents because their birth families have been blinded by their substance dependency. The

number of children in Lucas County Children Services’ custody jumped 21 percent between

2011 and 2016.246

         616.   The issue of treating and caring for opiate-addicted babies started to grow out of

control. In 2013, Dean Sparks, then Executive Director of Lucas County Children Services, said

that out of the approximately 500 cases his agency handles in northwest Ohio, 99 of them

concern opiate addiction.247 The fallout is firmly gripping the system's finances, too. "Our

placement costs are going to be at least a million more than we projected for the year," confessed

Sparks.248

         617.   These statistics and stories describe a public health crisis of epidemic proportions

in Lucas County. As a practical and financial matter, Plaintiffs have been saddled with an



245
      Reese, Robin, Fund needed for epidemic’s young victims, February 25, 2017
http://www.toledoblade.com/Op-Ed-Columns/2017/02/25/Funds-needed-for-epidemic-s-young-
victims.html (accessed April 28, 2018).
246
    Id.
247
    Born Addicted: Lucas County’s epidemic of babies born drug dependent, 2013 Toledo News
Now, http://www.wtol.com/story/23765460/born-addicted-lucas-countys-epidemic-of-babies-
born-drug-dependent (accessed May 1, 2018).
248
    Id.



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enormous economic burden. Nearly every department in Lucas County is affected by the opioid

crisis caused by Defendants in some manner, and several departments have direct and specific

response costs that total millions of dollars.

        618.    In fact, a recent study published in October 2017 performed by the C. William

Swank Program in Rural-Urban Policy at Ohio State University titled “Taking Measure of

Ohio’s Opioid Crisis” estimated that there were likely 92,000 to 170,000 Ohioans abusing or

dependent upon opioids in 2015. Based on these opioid abuse disorder rates, the study

concluded that the annual costs associated with treatment, criminal justice, and lost productivity

totaled $2.8 billion to $5.0 billion in 2015 alone. Additionally, the study estimated that the

lifetime lost productivity of those who died from an opioid overdose in 2015 was $3.8 billion, for

an annual total cost of opioid addiction, abuse, and overdose deaths ranging from $6.6 billion to

$8.8 billion.

        619.    Whatever the precise cost, there is no doubt that as a direct result of Defendants’

aggressive marketing scheme and distribution of prescription opioids, Plaintiffs have suffered

significant and ongoing harms—harms that will continue well into the future. Each day that

Defendants continue to evade responsibility for the epidemic they caused, Plaintiffs must

continue allocating substantial resources to address it.

                b.     Defendants Actively Promoted Opioids in Lucas County and Were
                       Aware of the Excessive Prescribing Practices That Followed

        620.    Defendants’ pharmaceutical sales representatives (sometimes called “detailers”)

targeted health care providers in Lucas County to promote opioid sales. They communicated the

misrepresentations discussed in this Complaint to doctors, nurses, and staff in Lucas County.

Upon information and belief, these detailers consistently and aggressively offered free meals—

including at some of the most expensive restaurants in Lucas County—and other perks to doctors



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and employees at the offices they visited, and the detailers were given handsome bonuses when

these doctors wrote prescriptions for their product. Sales representatives, including those active

in Lucas County, knew or should have known the potential consequences of pushing potent

doses of opioids for chronic pain and other common indications.

         621.   Although Plaintiffs do not presently know the names of the Marketing

Defendants’ current and past sales representatives in Lucas County, this information will become

available through discovery. Sales representatives’ call notes, for example, will identify the

strategies Marketing Defendants deployed specifically within Lucas County and some of the

specific misrepresentations they made.

         622.   Pill mills were a significant problem in Lucas County, dispensing millions of pills

into the community. Several of the pill mills churned out such a high volume of pills that they

were criminally prosecuted. One doctor in Toledo, for example, is spending several years behind

bars for illegally dispensing controlled substances and defrauding Ohio’s Medicaid program.249

This doctor was found to have overprescribed approximately 1,300 pills.250 As discussed above,

the Marketing Defendants utilize prescription data from IMS Health and other entities to track

where their drugs are being prescribed, in what quantities, and by whom, in order to tailor their

detailing activities. Sales representatives, whose compensation is tied to the volume of

prescriptions written in their territories, know which doctors are the top prescribers of both their

branded drugs and their competitor’s products and they target their sales efforts accordingly.




249
     Raghuveer, Amulya, Toledo doctor sent to prison for running pill mill, March 27, 2013,
http://nbc24.com/news/local/toledo-doctor-sent-to-prison-for-running-pill-mill (accessed May 2,
2018).
250
    Id.



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Likewise, all Defendants in the supply chain are responsible for monitoring the movement of

controlled substances.

         623.   Defendants, thus, were fully aware of doctors and clinics whose prescribing

activities were questionable. Yet, upon information and belief, Defendants did nothing to stop

the pills mills from operating, and, to the contrary, encouraged their activities by sending sales

representatives to the pill mills and continuing to supply excessive quantities of opioids.

                c.       Defendants Distributed Hundreds of Millions of Pills

         624.   According to preliminary data recovered from the United States Government’s

ARCOS database regarding some of the most frequently abused categories of opioids,251

distributors registered with the DEA, including Defendants, moved millions of units of these

opioids into Lucas County between 2006 and 2014.

         625.   As large as the ARCOS data shows the volume is, even this appears to understate

the scope of the problem: the ARCOS data disclosed to date in this litigation only accounts for

four opioid-related DEA drug codes. According to statistics generated by the Ohio Automated

Rx Reporting System (OARRS), the number of opioid doses dispensed to Ohio patients per year

exceeds the ARCOS data.252

         626.   According to the OARRS data, 792,585,802 opioid doses were dispensed to Ohio

patients in 2012:




251
    On information and belief, the ARCOS data disclosed to date in this litigation only contains
data for four opioid-related DEA drug codes: oxycodone (DEA Drug Code 9143); hydrocodone
(DEA Drug Code 9193); hydromorphone (DEA Drug Code 9150); and fentanyl (DEA Drug
Code 9801). The ARCOS data disclosed to date does not include morphine (DEA Drug Code
9300); oxymorphone (DEA Drug Code 9652); carfentanil (DEA Drug Code 9743); tapentadol
(DEA Drug Code 9780); or Buprenorphine (DEA Drug Code 9064).
252
    https://www.ohiopmp.gov/State.aspx (source: Ohio Automated Rx Reporting System).



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       627.   This also bears true comparing the current ARCOS data with the OARRS data

collected for Lucas County. The opioid doses dispensed per capita to Ohio patients in Lucas

County is reported by OARRS as follows:




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       628.    Whatever the exact tally, the unconscionable proliferation of opioids contributed

to the public health emergency now unfolding in Lucas County—harms that are described in

further detail below.

               d.       Board of Commissioners of Lucas County Has Borne and Will
                        Continue to Bear Substantial Costs as a Direct Result of Defendants’
                        Misconduct

       629.    Plaintiff Board of Commissioners of Lucas County has been working tirelessly to

confront to the epidemic caused by Defendants’ reckless promotion and distribution of

prescription opioids, and the Board of Commissioners allocates significant resources to respond

to the crisis through nearly every department. The services and programs offered by various

departments and divisions in Lucas County come at an enormous cost and place a huge strain on

the Board of Commissioners’ approximately $625 million annual budget. Below are illustrative,

but non-exhaustive examples of the harms the Plaintiffs have suffered and will continue to suffer

as a result of Defendants’ misconduct:

                        a.    Healthcare-Related Services

       630.    Plaintiff Mental Health & Recovery Services Board (MHRSB) of Lucas County is

responsible for the planning, funding and monitoring of public mental health and alcohol and

other drug addiction services delivered to the residents of Lucas County. MHRSB spends

enormous sums for treatment programs, a large percentage of which is devoted to treating

individuals with opioid-use disorder or dependence.

       631.    Lucas County has three health and human services levies in place, with millions

of dollars going for treatment through Plaintiff MHRSB. Three local levies represent 64% of all

MHRSB revenue. A majority of the funding in the last three years has been devoted to

combatting the opioid epidemic created by Defendants. MHRSB devotes a substantial percentage

to addiction treatment and recovery services, including residential treatment, intensive


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outpatient, prevention, detoxification, housing, employment and education. But even with this

substantial commitment, the Plaintiffs are well short of what they need to treat the growing

number of individuals with opioid-use disorder in Lucas County.

        632.   Additionally, access to Medication-Assisted Treatment (MAT) remains

inadequate in Lucas County. National health experts universally agree that MAT, including

buprenorphine— the first drug approved to treat opioid abuse that can be prescribed or dispensed

in physician offices—is vital to recovery. But in 2016, only 273 physicians in Ohio were

certified to treat 30 patients at a time, and only 104 physicians were certified to treat 100 patients

at a time.

        633.   Based on the limited numbers of buprenorphine-licensed physicians, a maximum

of only 18,000 opioid-dependent patients could have received buprenorphine treatment from a

private physician in 2016—not nearly enough, given the Swank study’s estimate that 92,000 and

170,000 Ohioans are abusing or dependent upon opioids. Additional funds are needed to expand

access to MAT.

        634.   Lucas County’s Emergency Management Services (EMS) has also been hit hard

by the crisis. EMS provides essential emergency medical and life-saving services to Lucas

County and in an area spanning 596 square miles. Any time residents of Lucas County call 9-1-1

for an emergency, they use the EMS system which partners with fire departments, paramedic

agencies, EMS dispatch centers, and hospitals.

        635.   EMS is at the front line of the opioid crisis, as they are the first on-scene

responders to overdoses, deaths, and injuries related to opioid abuse. EMS incurs costs in dealing

with the opioid crisis both in terms of responding to these emergencies and in training and

preparing for them. For example, the resources required for each instance of a paramedic or




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emergency medical technician (EMT) administering naloxone in response to a 9-1-1 call for an

overdose include not only the cost of naloxone itself but also the costs of training EMTs to

administer the life-saving drug. Lucas County EMS has had to administer thousands of doses of

naloxone. 940 doses were administered in Lucas County in 2017 alone.253 On average, there are

between 8 and 12 overdoses per day in Lucas County, according to county records. Lucas

County EMS provides naloxone for county Life Squads and all fire-based EMS first responders

in Lucas County, excluding Springfield Fire Department and Oregon Fire Department, said Brent

Parquette, continuing education program administrator at Lucas County EMS.254 Of the 2,967

doses of the antidote purchased last year, roughly 2,100 were delivered to patients, Mr. Parquette

said. That’s an increase from the past two years, and a drastic change from 2014’s total of 1,098

doses. Each dose costs about $35.

         636.   Like many communities in the country, Lucas County uses a tiered system to

respond to medical emergencies. The first-tier response includes Basic Life Support (BLS)

services provided by firefighter/EMTs or community medical technicians, whereas Advanced

Life Support (ALS) resources (paramedics) usually provide emergency care for critical or life-

threatening injuries and illness. ALS resources respond to medical emergencies that are

immediately life-threatening, such as cardiac arrest, stroke, overdose, and car accidents. In

contrast, BLS calls are for non-acute and non-life-threatening medical issues. EMS must spend

County resources in responding to both ALS and BLS calls related to prescription opioid abuse.



253
      Naloxone Administration by Ohio EMS Provided by County, Ohio, 2017
http://www.ems.ohio.gov/links/emsNaloxoneAdminByCounty2017.pdf (accessed April 28,
2018).
254
    Dunn, Allison, As opioid epidemic rages, naloxone used in unprecedented frequency, April
20, 2018, http://www.toledoblade.com/news/2018/04/20/As-opioid-epidemic-rages-naloxone-
plays-ever-larger-role.html (accessed April 28, 2018).



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Overdoses are not the only opioid-related health emergencies to which EMS must respond. For

example, opioids have helped to drive a wave of new health problems that EMS must deal with.

Many of these health problems, including infections and infectious diseases, fall outside the

typical emergencies for which EMS was designed to respond or address. As a result, the opioid

epidemic has had more subtle effects on EMS and its budget, in addition to the costs of

emergency responses to overdoses.

       637.    EMS also spends resources on staffing, education, and outreach in direct response

to the crises created by Defendants, including regional and medical program staffing costs.

       638.    Lucas County’s Medical Examiner’s Office (LCMEO) has also been hit hard by

the crisis caused by Defendants. LCMEO operates as a regional crime lab with national

accreditations. They provide timely death data regarding drug overdoses in Lucas County that

help steer prevention efforts. The LCMEO also created investigation courses for justice and law

enforcement officials. All of these efforts come at a substantial cost to the Plaintiffs.

       639.    In addition to Plaintiff MHRSB, EMS, and the LCMEO, Plaintiff Board of

Commissioners spends substantial sums focusing on prevention, treatment, and recovery through

a variety of programs for those suffering from an opioid use disorder. For instance, the Toledo-

Lucas County Health Department has naloxone available to those in need, regardless of the

ability to pay. In addition to making naloxone available, the Plaintiffs have facilitated an opioid

overdose education program. Participants are educated on the risk factors of opioid overdose,

how to recognize an opioid overdose, and how to respond to an opioid overdose by calling 9-1-1,

giving rescue breaths, and administering nasal naloxone.




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       640.    A protocol was also established for distributing naloxone in Lucas County. All

pharmacists received addiction education and were trained on how to provide naloxone.

Guidelines were also created to educate customers filling opioid prescriptions.

       641.    The Toledo-Lucas County Health Department also operates one of the first, and

currently one of only a few, licensed syringe exchange programs in Ohio. At Northwest Ohio

Syringe Services (NOSS) people can exchange used needles for new ones to help promote health

and safety.

       642.    Plaintiff Board of Commissioners also partners and/or funds several organizations

providing treatment and recovery services. These services offer residential treatment and

outpatient treatment for individuals with opioid-use disorder. Outpatient treatment programs for

individuals with an opioid-use disorder are particularly expensive for Plaintiffs.

                       b.      Lucas County’s Criminal Justice System

       643.    Lucas County’s criminal justice system has been particularly affected by the

opioid crisis. The Sheriff’s Department has dealt with an increasing number of opioid-related

crimes, jails must spend additional amounts housing inmates involved in opioid-related crimes

and providing MAT to inmates, and Lucas County’s court system is saddled with a rising case

load related to opioid abuse, including cases in its drug court.

       644.    The Lucas County Sheriff’s Department (LCSD) ensures the safety of the entire

County through its approximately 494 employees. Ohio law mandates that the LCSD provides

for law enforcement, court security, service of papers, jail operations, extradition process, and

the transportation of prisoners. While many of Lucas County’s municipalities have their own

police forces, the LCSD also maintains full police jurisdiction in all of the municipalities,

villages, and townships within Lucas County.




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       645.    A significant portion of LCSD’s budget is now devoted to addressing and

responding to the crisis caused by Defendants. The prevalence of opioids—both “legal” and

illegal—has profoundly affected public safety issues in Lucas County, including the LCSD’s

work and resources.

       646.    For example, the opioid epidemic has forced LCSD to expend significant

resources fighting drug trafficking in Lucas County. Of course, before Defendants created the

opioid epidemic, illegal drugs were bought and sold in Lucas County. But as opioids have taken

a bigger role in the drug trade, illegal drug trafficking in Lucas County has risen significantly.

       647.    Lucas County is one of 11 counties included in Ohio’s High Intensity Drug

Trafficking Area (“HITDA”). Designation as a HITDA indicates the Office of National Drug

Control Policy determined the area “is a significant center of illegal drug production,

manufacturing, importation, or distribution” and “drug-related activities in the area are having a

significant harmful impact in the area and in other areas of the country,” among other criteria.

       648.    Pills and heroin arrive in Lucas County through large, difficult-to-untangle

networks that stretch across state lines. Combatting this rise in drug trafficking has forced Lucas

County and the Plaintiff Board of Commissioners to put more officers on the street and assign

more detectives to investigate these drug cases. In addition, because many of the sources of

illicit opioids in Lucas County come from large criminal networks, LCSD has spent considerable

time and effort coordinating law enforcement efforts with other jurisdictions, including with the

City of Toledo.

       649.    LCSD officers and deputies also are equipped with naloxone, and Plaintiffs have

incurred significant costs to ensure this life-saving drug is available to its deputies.




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       650.    Nationally, 63% of sentenced jail inmates met the criteria for drug dependence or

abuse, according to data collected through the 2007 and 2008-09 National Inmate Surveys. Data

from a national study in five major American cities demonstrated that at the time of arrest, 63%

to 83% of arrestees had drugs in their system. Between 2000 and 2013, the percentage of

arrestees with opioids in their system increased, with some cities seeing significant increases in

opioid presence. On information and belief, this trend is happening in Lucas County as well.

       651.    Additionally, Plaintiff Board of Commissioners contracts with private and public

agencies to provide medical and mental health services for inmates at the Lucas County Jail.

These services come at a massive cost to Plaintiff.

       652.    The Lucas County Court system is also burdened by the epidemic, which has put

significant demands on Court resources, and the staff and ten judges who work there.

       653.    The unfolding tragedy of the opioid crisis is chronicled on the Court’s docket.

There, one can find defendants charged with selling heroin, forging prescriptions for OxyContin,

or stealing power tools to fund an opioid addiction. In Family Court, the toll of the crisis is

catalogued in divorces, dependency cases, and other matters that arise when a parent or child

becomes addicted to opioids.

       654.    The cases that come before the Court not only demonstrate some of the effects of

the crisis on County residents, but have direct and significant costs to Board of Commissioners.

It takes significant resources to try criminal cases. And, though critical to the efforts to produce

favorable outcomes for opioid users and their families, the many programs the Court has

developed require significant resources.

       655.    Relatedly, the Plaintiff Board of Commissioners must fund both its Prosecutor’s

Office and its Public Defender Office to both prosecute and protect the rights of low-income




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people in criminal, juvenile delinquency, and parental rights matters. Many of the cases both

offices now handle involves opioid-related crimes, placing a significant burden on both offices’

respective budgets.

       656.    Plaintiff Board of Commissioners has established a specialized Drug Court docket

to reduce substance abuse and recidivism by utilizing treatment and community control

alternatives. In particular, the docket was established to target low risk/high need offenders.

       657.    The increase in both criminal and civil cases related to opioid use and abuse has

ultimately put a substantial strain on the Court’s resources. It has had to shift resources away

from some areas in order to meet the challenges of opioid-related litigation. As the above

statistics and figures demonstrate, there is no doubt the crisis caused by Defendants has had

profound impacts on Lucas County’s criminal justice system.

       c. Direct Costs for Prescription Opioids and Workers’ Compensation Claims

       658.    Plaintiff Board of Commissioners funds its own health insurance plan for the

benefit of its employees, through which it pays part or all of its employees’ health care costs,

including the cost of prescription drugs, including opioids.

       659.    Plaintiff Board of Commissioners has also been damaged directly through its

payments of false claims for chronic opioid therapy by (a) directly paying the costs through its

self-funded insurance plan, and (b) paying through its workers’ compensation program and

premiums. With respect to the former, the Board of Commissioners pays for medical claims

related to opioids. In other words, any time an individual covered by the Board of

Commissioners’ health insurance program submits a claim for treatment and the primary

diagnosis is opioid-related—including for instance, treatment for opioid addiction—the Board of

Commissioners incurs costs in providing coverage.




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       660.    Across the United States, people who are prescribed opioid painkillers cost health

insurers approximately $16,000 more than those who do not have such prescriptions. Those

costs, including those borne by Plaintiffs, would have been avoided had Defendants not hidden

the truth about the risks and benefits of opioids.

       661.    The Plaintiffs have also shouldered significant health-related costs outside of its

health insurance program as a result of Defendants’ actions. For instance, when Plaintiffs’

employees are prescribed opioids for chronic pain they often are forced to miss work, because

the drugs’ effects interfere with the ability to work. Since opioid prescriptions fail to treat the

cause of the pain, the employees often continue to miss work due to the ongoing problems.

       662.    In fact, recent studies suggest that opioids actually slow recovery times, keeping

employees out of work longer than they would have been had they not taken these unnecessary

pharmaceuticals. If those employees become addicted to the opioids, they are likely to miss even

more work. Because of Defendants’ misstatements, the Plaintiffs’ employees have had losses in

work time, which result in substantial losses to the Plaintiffs.

       663.    The Board of Commissioners also administers its own workers’ compensation

program through a workers’ compensation management team. When someone working for Lucas

County is injured on the job, the Board of Commissioners pays, among other things, that

person’s health care costs.

       664.    The vast majority of the opioid prescriptions related to these workers’

compensation claims are unnecessary, as the injuries are typically back strains, joint pain, and

other injuries that should be treated with physical therapy, lidocaine patches, and other nonopioid

therapies. Yet, because of Defendants’ marketing efforts, the Board of Commissioners purchased




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prescription opioids in connection with its workers’ compensation programs it should have never

paid for.

       665.    And, as set forth above, the direct costs of filling the opioid prescriptions is just a

small part of the total cost to the Board of Commissioners for prescriptions of opioids. Under its

workers’ compensation plan, the Board of Commissioners pays for doctors’ visits, lab work, and

other costs related to the prescription of opioid painkillers. Had Defendants told the truth about

the risks and benefits of opioids, Lucas County Board of Commissioners would not have had to

pay for these drugs or the costs related to their prescriptions.

       666.    Defendants’ deceptive marketing of opioids ultimately caused health care

providers to prescribe and the Board of Commissioner to pay for—through partially funding a

medical insurance plan for its employees and its workers’ compensation program—opioids to

treat chronic pain. The fact that the Board of Commissioners would pay for these inappropriate

prescriptions was both the foreseeable and intended consequence of Defendants’ fraudulent

marketing scheme. Defendants set out to change the medical and general consensus supporting

chronic opioid therapy with the intention of encouraging doctors to prescribe, and government

payors such as Board of Commissioners to pay for, long-term prescriptions of opioids to treat

chronic pain despite the absence of genuine evidence supporting chronic opioid therapy and the

existence of evidence to the contrary.

       667.    Defendants’ misrepresentations related to the Board of Commissioner’s

requirement that medical treatments be medically necessary or reasonably required—a condition

of payment for any medical treatment under the Board of Commissioners’ health plans and

workers’ compensation program. But for Defendants’ fraudulent and deceptive marketing,

prescribers would have accurately understood the risks and benefits of opioids and would not




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have prescribed opioids where not medically necessary or reasonably required to treat chronic

pain. Misrepresentations as to, for example, whether patients were likely to become addicted to

the drug, would be able to resume life activities, and would experience long-term relief were not

minor or insubstantial matters, but the core of prescribers’ decision-making.

       668.    It is the Board of Commissioners’ practice not to pay claims that are not

medically necessary or reasonably required. However, the Board of Commissioners would not

have known whether a prescriber had made an informed judgment that a particular claim for

opioids was medically necessary or reasonably required, or, conversely had acted under the

influence of Defendants’ fraudulent and deceptive marketing. It is not clear from the face of a

claim whether: (1) the patient suffered from cancer or another terminal condition, for example,

where long-term prescribing was medically necessary or appropriate; or (2) the prescriber was

exposed to Defendants’ marketing materials, treatment guidelines, or education programs, or

visited by a drug representative who engaged in affirmative misrepresentations or omissions, for

example.

               e.      The Northwest Ohio Opioid Addiction Treatment Planning Task
                       Force

       669.    In addition to the direct costs incurred in responding to the opioid crisis, the

Plaintiffs have been investing resources into efforts that, it hopes, will bring an end to the opioid

epidemic and at least mitigate the damage caused by Defendants. The Northwest Ohio Opioid

Addiction Treatment Planning Task Force was formed in 2016 by to address the lack of access to

community-based withdrawal and substance use treatment for residents who overdose on

opioids. The Task Force includes representatives from Lucas County Correctional Treatment

Facility, Plaintiff Lucas County Mental Health and Recovery Services Board, and Lucas County

Sheriff along with 23 other community hospitals, universities, and organizations with wide array



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of backgrounds, including individuals in drug treatment and recovery, education, health care, law

enforcement, medicine, mental health services, pharmacists, prevention specialists, and public

health officials. Ohio Representative Robert Sprague also participates in the Task Force, as does

a member of the recovery community.

       670.    In addition, because the individuals using opioids are increasingly younger, the

effects of the opioid epidemic will reverberate throughout Lucas County for decades to come. As

such, the Task Force supports and maintains several programs specifically aimed at raising

awareness in youth.

       671.    In addition, the opioid crisis has evolved, and now heroin, fentanyl, and

carfentanil use is the latest evolution in the opioid crisis in Lucas County. As noted above,

fentanyl and carfentanil are incredibly lethal. Adding to the danger, in some instances fentanyl

has been made to look exactly like oxycodone tablets.

               f.      Defendants Actively Promoted Opioids in Lucas County and Were
                       Aware of the Excessive Prescribing Practices That Followed

       672.    Sales representatives targeted their opioid promotion at health care providers in

Lucas County. They communicated the misrepresentations discussed in this Complaint to

doctors, nurses, and staff in Lucas County. Upon information and belief, these detailers

consistently and aggressively offered free meals—including at some of the most expensive

restaurants in Lucas County—and other perks to doctors and employees at the offices they

visited, and the detailers were given handsome bonuses when these doctors wrote prescriptions

for their product. Sales representatives, including those active in Lucas County, knew or should

have known the potential consequences of pushing potent doses of opioids for chronic pain and

other common indications.




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               g.     Lucas County Board of Commissioners Has Borne and Will Continue
                      to Bear Substantial Costs as a Direct Result of Defendants’
                      Misconduct

       673.    Lucas County Board of Commissioners has been working tirelessly to confront to

the epidemic caused by Defendants’ reckless promotion and distribution of prescription opioids,

and the Board of Commissioners allocates significant resources to respond to the crisis through

nearly every department. The services and programs offered by various departments and

divisions in Lucas County come at an enormous cost and place a huge strain on the Board of

Commissioners’ annual budget.

               h.     Mental Health and Recovery Services Board has Borne and Will
                      Continue to Bear Substantial Costs as a Direct Result of Defendants’
                      Misconduct

       674.    Plaintiff MHRSB has been working along side the other Plaintiffs to confront to

the epidemic caused by Defendants’ reckless promotion and distribution of prescription opioids,

and MHRSB allocates significant resources to respond to the crisis through its various programs.

The services and programs offered by Plaintiff MHRSB come at an enormous cost and place a

huge strain on the MHRSB annual budget.

       675.    As detailed above, Plaintiff MHRSB is working to address the damage caused by

the opioid epidemic from multiple fronts, including prevention, acute treatment, and recovery for

affected individuals and community mental health needs as a whole.

       676.    MHRSB’s various funding sources include an individual levy paid by the

taxpayers of Lucas County.

               i.     Lucas County Children Services Board of Trustees Has Borne and
                      Will Continue to Bear Substantial Costs as a Direct Result of
                      Defendants’ Misconduct

       677.    Plaintiff Lucas County Children Services Board of Trustees has been working

along side the other Plaintiffs to confront to the epidemic caused by Defendants’ reckless


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promotion and distribution of prescription opioids, and CSB allocates significant resources to

respond to the crisis through its various programs. The services and programs offered by CSB

come at an enormous cost and place a huge strain on the CSB annual budget.

         678.   As the Lucas County Agency charged with protecting children, these costs

include the placement costs incurred when CSB takes custody of children whose parents can no

longer care for them as a result of their death or addiction stemming from opioids. As custodians

of these children, CSB bears the costs of the children’s needs along with its other operational

costs.

         679.   Lucas County Children Services Board of Trustees’ various funding sources

include an individual levy paid by the taxpayers of Lucas County.

         I.     No Federal Agency Action, Including The FDA, Can Provide The Relief
                Board of Commissioners. MHRSB and CSB Seeks Here

         680.   The injuries the Board of Commissioners, MHRSB and CSB have suffered and

will continue to suffer cannot be addressed by agency or regulatory action. There are no rules the

FDA could make or actions the agency could take that would provide the Board of

Commissioners, MHRSB and CSB the relief they seek in this litigation.

         681.   Even if prescription opioids were entirely banned today or only used for the

intended purpose, thousands of Lucas County residents, and millions of Americans, would

remain addicted to opioids, and overdoses will continue to claim lives. The Plaintiffs will

respond to related medical emergencies and administer naloxone. The Sheriff’s Office will spend

extraordinary resources combatting illegal opioid sales, and the Lucas County courts will remain

burdened with opioid-related crimes. Social services and public health efforts through MHRSB

and CSB, among others, will be stretched thin.




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        682.   Regulatory action would do nothing to compensate the Board of Commissioners,

MRHSB and CSB for the money and resources they have already expended addressing the

impacts of the opioid epidemic and the resources it will need in the future. Only this litigation

has the ability to provide the Board of Commissioners, MRHSB and CSB with the relief they

seek.

        683.   Furthermore, the costs Board of Commissioners, MRHSB and CSB have incurred

in responding to the homeless crises and in rendering public services described above are

recoverable pursuant to the causes of actions raised by the Plaintiffs. Defendants’ misconduct

alleged herein is not a series of isolated incidents, but instead the result of a sophisticated and

complex marketing scheme over the course of more than twenty years that has caused a

substantial and long-term burden on the municipal services provided by the Plaintiffs. In

addition, the public nuisance created by Defendants and the Plaintiffs’ requested relief in seeking

abatement further compels Defendants to reimburse and compensate Board of Commissioners,

MRHSB and CSB for substantial costs they have spent addressing the crisis caused by

Defendants.

        J.     The Defendants Conspired To Engage In The Wrongful Conduct
               Complained Of Herein and Intended To Benefit Both Independently and
               Jointly From Their Conspiracy

               a.      Conspiracy Among Marketing Defendants

        684.   The Marketing Defendants agreed among themselves to set up, develop, and fund

an unbranded promotion and marketing network to promote the use of opioids for the

management of pain in order to mislead physicians, patients, health care providers, and health

care payors through misrepresentations and omissions regarding the appropriate uses, risks, and

safety of opioids, to increase sales, revenue, and profit from their opioid products.




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       685.    This interconnected and interrelated network relied on the Marketing Defendants’

collective use of unbranded marketing materials, such as KOLs, scientific literature, CMEs,

patient education materials, and Front Groups developed and funded collectively by the

Marketing Defendants intended to mislead consumers and medical providers of the appropriate

uses, risks, and safety of opioids.

       686.    The Marketing Defendants’ collective marketing scheme to increase opioid

prescriptions, sales, revenues and profits centered around the development, the dissemination,

and reinforcement of nine false propositions: (1) that addiction is rare among patients taking

opioids for pain; (2) that addiction risk can be effectively managed; (3) that symptoms of

addiction exhibited by opioid patients are actually symptoms of an invented condition dubbed

“pseudoaddiction”; (4) that withdrawal is easily managed; (5) that increased dosing presents no

significant risks; (6) that long-term use of opioids improves function; (7) that the risks of

alternative forms of pain treatment are greater than the adverse effects of opioids; (8) that use of

time-released dosing prevents addiction; and (9) that abuse-deterrent formulations provide a

solution to opioid abuse.

       687.    The Marketing Defendants knew that none of these propositions is true and that

there was no evidence to support them.

       688.    Each Marketing Defendant worked individually and collectively to develop and

actively promulgate these nine false propositions in order to mislead physicians, patients, health

care providers, and healthcare payors regarding the appropriate uses, risks, and safety of opioids.

       689.    What is particularly remarkable about the Marketing Defendants’ effort is the

seamless method in which the Marketing Defendants joined forces to achieve their collective

goal: to persuade consumers and medical providers of the safety of opioids, and to hide their




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actual risks and dangers. In doing so, the Marketing Defendants effectively built a new – and

extremely lucrative – opioid marketplace for their select group of industry players.

       690.    The Marketing Defendants’ unbranded promotion and marketing network was a

wildly successful marketing tool that achieved marketing goals that would have been impossible

to have been met by a single or even a handful of the network’s distinct corporate members.

       691.    For example, the network members pooled their vast marketing funds and

dedicated them to expansive and normally cost-prohibitive marketing ventures, such as the

creation of Front Groups. These collaborative networking tactics allowed each Marketing

Defendant to diversify its marketing efforts, all the while sharing any risk and exposure, financial

and/or legal, with other Marketing Defendants.

       692.    The most unnerving tactic utilized by the Marketing Defendants’ network, was

their unabashed mimicry of the scientific method of citing “references” in their materials. In the

scientific community, cited materials and references are rigorously vetted by objective unbiased

and disinterested experts in the field, scientific method, and an unfounded theory or proposition

would, or should, never gain traction.

       693.    Marketing Defendants put their own twist on the scientific method: they worked

together to manufacture wide support for their unfounded theories and propositions involving

opioids. Due to their sheer numbers and resources, the Marketing Defendants were able to create

a false consensus through their materials and references.

       694.    An illustrative example of the Marketing Defendants’ utilization of this tactic is

the wide promulgation of the Porter & Jick Letter, which declared the incidence of addiction

“rare” for patients treated with opioids. The authors had analyzed a database of hospitalized

patients who were given opioids in a controlled setting to ease suffering from acute pain. These




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patients were not given long-term opioid prescriptions or provided opioids to administer to

themselves at home, nor was it known how frequently or infrequently and in what doses the

patients were given their narcotics. Rather, it appears the patients were treated with opioids for

short periods of time under in-hospital doctor supervision.

       695.    Nonetheless, Marketing Defendants widely and repeatedly cited this letter as

proof of the low addiction risk in connection with taking opioids in connection with taking

opioids despite its obvious shortcomings. Marketing Defendants’ egregious misrepresentations

based on this letter included claims that less than one percent of opioid users became addicted.

       696.    Marketing Defendants’ collective misuse of the Porter & Jick Letter helped the

opioid manufacturers convince patients and healthcare providers that opioids were not a concern.

The enormous impact of Marketing Defendants’ misleading amplification of this letter was well

documented in another letter published in the NEJM on June, 1, 2017, describing the way the

one-paragraph 1980 letter had been irresponsibly cited and in some cases “grossly

misrepresented.” In particularly, the authors of this letter explained:

               [W]e found that a five-sentence letter published in the Journal in
               1980 was heavily and uncritically cited as evidence that addiction
               was rare with long-term opioid therapy. We believe that this
               citation pattern contributed to the North American opioid crises by
               helping to shape a narrative that allayed prescribers’ concerns
               about the risk of addiction associated with long-term opioid
               therapy…

By knowingly misrepresenting the appropriate uses, risks, and safety of opioids, the Marketing

Defendants committed overt acts in furtherance of their conspiracy.

               b.      Conspiracy Among All Defendants

       697.    In addition, and on an even broader level, all Defendants took advantage of the

industry structure, including end-running its internal checks and balance, to their collective

advantage. Defendants agreed among themselves to increasing the supply of opioids and


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fraudulently increasing the quotas that governed the manufacture and supply of prescription

opioids. Defendants did so to increase sales, revenue, and profit from their opioid products.

       698.    The interaction and length of the relationships between and among the Defendants

reflects a deep level of interaction and cooperation between Defendants in a tightly knit industry.

The Marketing and Distributor Defendants were not two separate groups operating in isolation or

two groups forced to work together in a closed system. The Defendants operated together as a

united entity, working together on multiple fronts, to engage in the unlawful sale of prescription

opioids.

       699.    Defendants collaborated to expand the opioid market in an interconnected and

interrelated network in the following ways, as set forth more fully below, including, for example,

membership in the Healthcare Distribution Alliance.

       700.    Defendants utilized their membership in the HDA and other forms of

collaboration to form agreements about their approach to their duties under the CSA to report

suspicious orders. The Defendants overwhelmingly agreed on the same approach – to fail to

identify, report or halt suspicious opioid orders, and fail to prevent diversion. Defendants’

agreement to restrict reporting provided an added layer of insulation from DEA scrutiny for the

entire industry as Defendants were thus collectively responsible for each other’s compliance with

their reporting obligations. Defendants were aware, both individually and collectively aware of

the suspicious orders that flowed directly from Defendants’ facilities.

       701.    Defendants knew that their own conduct could be reported by other Defendants

and that their failure to report suspicious orders they filled could be brought to the DEA’s

attention. As a result, Defendants had an incentive to communicate with each other about the

reporting or suspicious orders to ensure consistency in their dealings with DEA.




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       702.    The Defendants also worked together to ensure that the opioid quotas allowed by

the DEA remained artificially high and ensured that suspicious orders were not reported to the

DEA in order to ensure that the DEA had not basis for refusing to increase or decrease

production quotas due to diversion.

       703.    The desired consistency, and collective end goal was achieved. Defendants

achieved blockbuster profits through higher opioid sales by orchestrating the unimpeded flow of

opioids.

       K.      Statutes Of Limitations Are Tolled and Defendants Are Estopped From
               Asserting Statutes Of Limitations As Defenses

               a.      Continuing Conduct.

       704.    Plaintiffs contend they continue to suffer harm from the unlawful actions by the

Defendants.

       705.    The continued tortious and unlawful conduct by the Defendants causes a repeated

or continuous injury. The damages have not occurred all at once but have continued to occur and

have increased as time progresses. The tort is not completed nor have all the damages been

incurred until the wrongdoing ceases. The wrongdoing and unlawful activity by Defendants has

not ceased. The public nuisance remains unabated. The conduct causing the damages remains

unabated.

               b.      Equitable Estoppel and Fraudulent Concealment

       706.    Defendants are equitably estopped from relying upon a statute of limitations

defense because they undertook active efforts to deceived Plaintiffs and to purposefully conceal

their unlawful conduct and fraudulently assure the public, including the State, the Plaintiffs, and

Plaintiffs’ Community, that they were undertaking efforts to comply with their obligations under

the state and federal controlled substances laws, all with the goal of protecting their registered



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manufacturer or distributor status in the State and to continue generating profits.

Notwithstanding the allegations set forth above, the Defendants affirmatively assured the public,

including the State, the Plaintiffs, and Plaintiffs’ Community, that they are working to curb the

opioid epidemic.

       707.    The Defendants were deliberate in taking steps to conceal their conspiratorial

behavior and active role in the deceptive marketing and the oversupply of opioids through

overprescribing and suspicious sales, all of which fueled the opioid epidemic.

       708.    As set forth herein, the Marketing Defendants deliberately worked through Front

Groups purporting to be patient advocacy and professional organizations, through public

relations companies hired to work with the Front Groups and through paid KOLs to secretly

control messaging, influence prescribing practices and drive sales. The Marketing Defendants

concealed their role in shaping, editing, and approving the content of prescribing guidelines,

informational brochures, KOL presentations and other false and misleading materials addressing

pain management and opioids that were widely disseminated to regulators, prescribers and the

public at large. They concealed the addictive nature and dangers associated with opioid use and

denied blame for the epidemic attributing it instead solely to abuse and inappropriate prescribing.

They manipulated scientific literature and promotional materials to make it appear that

misleading statements about the risks, safety and superiority of opioids were actually accurate,

truthful, and supported by substantial scientific evidence. Through their public statements,

omissions, marketing, and advertising, the Marketing Defendants’ deceptions deprived Plaintiffs

of actual or implied knowledge of facts sufficient to put Plaintiffs on notice of potential claims.

       709.    Defendants also concealed from Plaintiffs the existence of Plaintiffs’ claims by

hiding their lack of cooperation with law enforcement and affirmatively seeking to convince the




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public that their legal duties to report suspicious sales had been satisfied through public

assurances that they were working to curb the opioid epidemic. They publicly portrayed

themselves as committed to working diligently with law enforcement and others to prevent

diversion of these dangerous drugs and curb the opioid epidemic, and they made broad promises

to change their ways insisting they were good corporate citizens. These repeated

misrepresentations misled regulators, prescribers and the public, including Plaintiffs, and

deprived Plaintiffs of actual or implied knowledge of facts sufficient to put Plaintiffs on notice of

potential claims.

       710.    Plaintiffs did not discover the nature, scope and magnitude of Defendants’

misconduct, and its full impact on jurisdiction, and could not have acquired such knowledge

earlier through the exercise of reasonable diligence.

       711.    The Marketing Defendants’ campaign to misrepresent and conceal the truth about

the opioid drugs that they were aggressively pushing in the State and in Plaintiffs’ Community

deceived the medical community, consumers, the State, and Plaintiffs’ Community.

       712.    Further, Defendants have also concealed and prevented discovery of information,

including data from the ARCOS database, that will confirm their identities and the extent of their

wrongful and illegal activities. On April 11, 2018, the Northern District of Ohio Ordered the

transactional ARCOS data be produced, over Defendants’ strenuous objections. In so doing, the

Court reviewed its previous decisions on this data and held that, because the transaction data had

not yet been produced, the Plaintiffs could not identify the potential defendants in this litigation,

and further held that such information was “critical”:

               This means Plaintiffs still do not know: (a) which manufacturers
               (b) sold what types of pills (c) to which distributors; nor do they
               know (d) which distributors (e) sold what types of pills (f) to which
               retailers (g) in what locations. In any given case, therefore, the



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               Plaintiff still cannot know for sure who are the correct defendants,
               or the scope of their potential liability. For example, the ARCOS
               spreadsheets produced by DEA show the top five distributors of
               oxycodone in Ohio in 2014 were Cardinal Health,
               AmerisourceBergen, McKesson, Wal-Mart, and Miami-Luken; but
               there is no way to know whether (or how much) any of these five
               entities distributed oxycodone into Seneca County, Ohio (or any
               other particular venue). . . . [The] DEA and [the] defendants . . .
               [have] conceded the data was relevant and necessary to
               litigation . . . . Discovery of precisely which manufacturers sent
               which drugs to which distributors, and which distributors sent
               which drugs to which pharmacies and doctors, is critical not only
               to all of plaintiffs’ claims, but also to the Court’s understanding of
               the width and depth of this litigation.

Order of April 11, 2018 [Doc. 233] at pp. 6-7 (footnotes omitted).

       713.    Defendants intended that their actions and omissions would be relied upon,

including by Plaintiffs and Plaintiff’s Community. Plaintiffs and Plaintiffs’ Community did not

know and did not have the means to know the truth, due to Defendants’ actions and omissions.

       714.    The Plaintiffs and Plaintiffs’ Community reasonably relied on Defendants’

affirmative statements regarding their purported compliance with their obligations under the law

and consent orders.

       L.      Facts Pertaining to Punitive Damages

       715.    As set forth above, Defendants acted deliberately to increase sales of, and profits

from, opioid drugs. The Marketing Defendants knew there was no support for their claims that

addiction was rare, that addiction risk could be effectively managed, that signs of addiction were

merely “pseudoaddiction,” that withdrawal is easily managed, that higher doses pose no

significant additional risks, that long-term use of opioids improves function, or that time-release

or abuse-deterrent formulations would prevent addiction or abuse. Nonetheless, they knowingly

promoted these falsehoods in order to increase the market for their addictive drugs.




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       716.    All of the Defendants, moreover, knew that large and suspicious quantities of

opioids were being poured into communities throughout the United States, yet, despite this

knowledge, took no steps to report suspicious orders, control the supply of opioids, or otherwise

prevent diversion. Indeed as described above, Defendants acted in concert together to maintain

high levels of quotas for their products and to ensure that suspicious orders would not be

reported to regulators.

       717.    Defendants’ conduct was so willful and deliberate that it continued in the face of

numerous enforcement actions, fines, and other warnings from state and local governments and

regulatory agencies. Defendants paid their fines, made promises to do better, and continued on

with their marketing and supply schemes. This ongoing course of conduct knowingly,

deliberately, and repeatedly threatened and accomplished harm and risk of harm to public health

and safety, and large-scale economic loss to communities and government liabilities across the

country.

       718.    Defendants’ actions demonstrated both malice and also aggravated and egregious

fraud. Defendants engaged in the conduct alleged herein with a conscious disregard for the

rights and safety of other persons, even though that conduct had a great probability of causing

substantial harm. The Marketing Defendants’ fraudulent wrongdoing was done with a

particularly gross and conscious disregard.

               a.         The Marketing Defendants Persisted in Their Fraudulent Scheme
                          Despite Repeated Admonitions, Warnings, and Even Prosecutions

       719.    So determined were the Marketing Defendants to sell more opioids that they

simply ignored multiple admonitions, warnings and prosecutions. These governmental and

regulatory actions included:




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                       a.      FDA Warnings to Janssen Failed to Deter Janssen’s
                               Misleading Promotion of Duragesic

       720.    On February 15, 2000, the FDA sent Janssen a letter concerning the dissemination

of “homemade” promotional pieces that promoted the Janssen drug Duragesic in violation of the

Federal Food, Drug, and Cosmetic Act. In a subsequent letter, dated March 30, 2000, the FDA

explained that the “homemade” promotional pieces were “false or misleading because they

contain misrepresentations of safety information, broaden Duragesic’s indication, contain

unsubstantiated claims, and lack fair balance.” The March 30, 2000 letter detailed numerous

ways in which Janssen’s marketing was misleading.

       721.    The letter did not stop Janssen. On September 2, 2004, the U.S. Department of

Health and Human Services (“HHS”) sent Janssen a warning letter concerning Duragesic due to

“false or misleading claims about the abuse potential and other risks of the drug, and . . .

unsubstantiated effectiveness claims for Duragesic,” including, specifically, “suggesting that

Duragesic has a lower potential for abuse compared to other opioid products.” The September 2,

2004 letter detailed a series of unsubstantiated, false, or misleading claims.

       722.    One year later, Janssen was still at it. On July 15, 2005, the FDA issued a public

health advisory warning doctors of deaths resulting from the use of Duragesic and its generic

competitor, manufactured by Mylan N.V. The advisory noted that the FDA had been

“‘examining the circumstances of product use to determine if the reported adverse events may be

related to inappropriate use of the patch’” and noted the possibility “that patients and physicians

might be unaware of the risks” of using the fentanyl transdermal patch, which is a potent opioid

analgesic approved only for chronic pain in opioid-tolerant patients that could not be treated by

other drugs.




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                       b.     Governmental Action, Including Large Monetary Fines, Failed
                              to Stop Cephalon from Falsely Marketing Actiq for Off-Label
                              Uses

       723.    On September 29, 2008, Cephalon finalized and entered into a corporate integrity

agreement with the Office of the Inspector General of HHS and agreed to pay $425 million in

civil and criminal penalties for its off-label marketing of Actiq and two other drugs (Gabitril and

Provigil). According to a DOJ press release, Cephalon had trained sales representatives to

disregard restrictions of the FDA-approved label, employed sales representatives and healthcare

professionals to speak to physicians about off-label uses of the three drugs and funded CME to

promote off-label uses.

       724.    Notwithstanding letters, an FDA safety alert, DOJ and state investigations, and

the massive settlement, Cephalon has continued its deceptive marketing strategy.

                       c.     FDA Warnings Did Not Prevent Cephalon from Continuing
                              False and Off-Label Marketing of Fentora

       725.    On September 27, 2007, the FDA issued a public health advisory to address

numerous reports that patients who did not have cancer or were not opioid tolerant had been

prescribed Fentora, and death or life-threatening side effects had resulted. The FDA warned:

“Fentora should not be used to treat any type of short-term pain.” Indeed, FDA specifically

denied Cephalon’s application, in 2008, to broaden the indication of Fentora to include treatment

of non-cancer breakthrough pain and use in patients who were not already opioid-tolerant.

       726.    Flagrantly disregarding the FDA’s refusal to broaden the indication for Fentora,

Cephalon nonetheless marketed Fentora beyond its approved indications. On March 26, 2009,

the FDA warned Cephalon against its misleading advertising of Fentora (“Warning Letter”). The

Warning Letter described a Fentora Internet advertisement as misleading because it purported to

broaden “the indication for Fentora by implying that any patient with cancer who requires



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treatment for breakthrough pain is a candidate for Fentora . . . when this is not the case.” It

further criticized Cephalon’s other direct Fentora advertisements because they did not disclose

the risks associated with the drug.

       727.    Despite this warning, Cephalon continued to use the same sales tactics to push

Fentora as it did with Actiq. For example, on January 13, 2012, Cephalon published an insert in

Pharmacy Times titled “An Integrated Risk Evaluation and Mitigation Strategy (REMS) for

FENTORA (Fentanyl Buccal Tablet) and ACTIQ (Oral Transmucosal Fentanyl Citrate).”

Despite the repeated warnings of the dangers associated with the use of the drugs beyond their

limited indication, as detailed above, the first sentence of the insert states: “It is well recognized

that the judicious use of opioids can facilitate effective and safe management of chronic pain.”

                       d.      A Guilty Plea and a Large Fine Did Not Deter Purdue from
                               Continuing Its Fraudulent Marketing of OxyContin

       728.    In May 2007, Purdue and three of its executives pled guilty to federal charges of

misbranding OxyContin in what the company acknowledged was an attempt to mislead doctors

about the risk of addiction. Purdue was ordered to pay $600 million in fines and fees. In its

plea, Purdue admitted that its promotion of OxyContin was misleading and inaccurate,

misrepresented the risk of addiction and was unsupported by science. Additionally, Michael

Friedman, the company’s president, pled guilty to a misbranding charge and agreed to pay $19

million in fines; Howard R. Udell, Purdue’s top lawyer, also pled guilty and agreed to pay $8

million in fines; and Paul D. Goldenheim, its former medical director, pled guilty as well and

agreed to pay $7.5 million in fines.

       729.    Nevertheless, even after the settlement, Purdue continued to pay doctors on

speakers’ bureaus to promote the liberal prescribing of OxyContin for chronic pain and fund

seemingly neutral organizations to disseminate the message that opioids were non-addictive as



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well as other misrepresentations. At least until early 2018, Purdue continued to deceptively

market the benefits of opioids for chronic pain while diminishing the associated dangers of

addiction. After Purdue made its guilty plea in 2007, it assembled an army of lobbyists to fight

any legislative actions that might encroach on its business. Between 2006 and 2015, Purdue and

other painkiller producers, along with their associated nonprofits, spent nearly $900 million

dollars on lobbying and political contributions - eight times what the gun lobby spent during that

period.

                 b.     Repeated Admonishments and Fines Did Not Stop Defendants from
                        Ignoring Their Obligations to Control the Supply Chain and Prevent
                        Diversion

          730.   Defendants were repeatedly admonished and even fined by regulatory authorities,

but continued to disregard their obligations to control the supply chain of dangerous opioids and

to institute controls to prevent diversion.

          731.   In a 60 Minutes interview last fall, former DEA agent Joe Rannazzisi described

Defendants’ industry as “out of control,” stating that “[w]hat they wanna do, is do what they

wanna do, and not worry about what the law is. And if they don’t follow the law in drug supply,

people die. That’s just it. People die.” He further explained that:

                 JOE RANNAZZISI: The three largest distributors are Cardinal
                 Health, McKesson, and AmerisourceBergen. They control
                 probably 85 or 90 percent of the drugs going downstream.

                 [INTERVIEWER]: You know the implication of what you’re
                 saying, that these big companies knew that they were pumping
                 drugs into American communities that were killing people.

                 JOE RANNAZZISI: That’s not an implication, that’s a fact.
                 That’s exactly what they did.

          732.   Another DEA veteran similarly stated that these companies failed to make even a

“good faith effort” to “do the right thing.” He further explained that “I can tell you with 100



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percent accuracy that we were in there on multiple occasions trying to get them to change their

behavior. And they just flat out ignored us.”

       733.    Government actions against the Defendants with respect to their obligations to

control the supply chain and prevent diversion include:

               a.     On April 24, 2007, the DEA issued an Order to Show Cause and
                      Immediate Suspension Order against the AmerisourceBergen Orlando,
                      Florida distribution center (“Orlando Facility”) alleging failure to maintain
                      effective controls against diversion of controlled substances. On June 22,
                      2007, AmerisourceBergen entered into a settlement that resulted in the
                      suspension of its DEA registration;

               b.     On November 28, 2007, the DEA issued an Order to Show Cause and
                      Immediate Suspension Order against the Cardinal Health Auburn,
                      Washington Distribution Center (“Auburn Facility”) for failure to
                      maintain effective controls against diversion of hydrocodone;

               c.     On December 5, 2007, the DEA issued an Order to Show Cause and
                      Immediate Suspension Order against the Cardinal Health Lakeland,
                      Florida Distribution Center (“Lakeland Facility”) for failure to maintain
                      effective controls against diversion of hydrocodone;

               d.     On December 7, 2007, the DEA issued an Order to Show Cause and
                      Immediate Suspension Order against the Cardinal Health Swedesboro,
                      New Jersey Distribution Center (“Swedesboro Facility”) for failure to
                      maintain effective controls against diversion of hydrocodone;

               e.     On January 30, 2008, the DEA issued an Order to Show Cause against the
                      Cardinal Health Stafford, Texas Distribution Center (“Stafford Facility”)
                      for failure to maintain effective controls against diversion of hydrocodone;

               f.     On September 30, 2008, Cardinal Health entered into a Settlement and
                      Release Agreement and Administrative Memorandum of Agreement with
                      the DEA related to its Auburn, Lakeland, Swedesboro and Stafford
                      Facilities. The document also referenced allegations by the DEA that
                      Cardinal failed to maintain effective controls against the diversion of
                      controlled substances at its distribution facilities located in McDonough,
                      Georgia (“McDonough Facility”), Valencia, California (“Valencia
                      Facility”) and Denver, Colorado (“Denver Facility”);

               g.     On February 2, 2012, the DEA issued an Order to Show Cause and
                      Immediate Suspension Order against the Cardinal Health’s Lakeland
                      Facility for failure to maintain effective controls against diversion of
                      oxycodone; and


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               h.      On December 23, 2016, Cardinal Health agreed to pay a $44 million fine
                       to the DEA to resolve the civil penalty portion of the administrative action
                       taken against its Lakeland Facility.

       734.    McKesson’s deliberate disregard of its obligations was especially flagrant. On

May 2, 2008, McKesson Corporation entered into an Administrative Memorandum of

Agreement (“2008 McKesson MOA”) with the DEA which provided that McKesson would

“maintain a compliance program designed to detect and prevent the diversion of controlled

substances, inform DEA of suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the

procedures established by its Controlled Substance Monitoring Program.”

       735.    Despite its 2008 agreement with DEA, McKesson continued to fail to report

suspicious orders between 2008 and 2012 and did not fully implement or follow the monitoring

program it agreed to. It failed to conduct adequate due diligence of its customers, failed to keep

complete and accurate records in the CSMP files maintained for many of its customers and

bypassed suspicious order reporting procedures set forth in the CSMP. It failed to take these

actions despite its awareness of the great probability that its failure to do so would cause

substantial harm.

       736.    On January 5, 2017, McKesson Corporation entered into an Administrative

Memorandum Agreement with the DEA wherein it agreed to pay a $150 million civil penalty for

violation of the 2008 MOA as well as failure to identify and report suspicious orders at its

facilities in Aurora CO, Aurora IL, Delran NJ, LaCrosse WI, Lakeland FL, Landover MD, La

Vista NE, Livonia MI, Methuen MA, Sante Fe Springs CA, Washington Courthouse OH and

West Sacramento CA. McKesson’s 2017 agreement with DEA documents that McKesson

continued to breach its admitted duties by “fail[ing] to properly monitor its sales of controlled

substances and/or report suspicious orders to DEA, in accordance with McKesson’s obligations.”




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         737.   As the Washington Post and 60 Minutes recently reported, DEA staff

recommended a much larger penalty than the $150 million ultimately agreed to for McKesson’s

continued and renewed breach of its duties, as much as a billion dollars, and delicensing of

certain facilities. A DEA memo outlining the investigative findings in connection with the

administrative case against 12 McKesson distribution centers included in the 2017 Settlement

stated that McKesson “[s]upplied controlled substances in support of criminal diversion

activities”; “[i]gnored blatant diversion”; had a “[p]attern of raising thresholds arbitrarily”;

“[f]ailed to review orders or suspicious activity”; and “[i]gnored [the company’s] own

procedures designed to prevent diversion.”

         738.   On December 17, 2017, CBS aired an episode of 60 Minutes featuring Assistant

Special Agent Schiller, who described McKesson as a company that killed people for its own

financial gain and blatantly ignored the CSA requirement to report suspicious orders:

                DAVID SCHILLER: If they would stayed in compliance with their
                authority and held those that they’re supplying the pills to, the
                epidemic would be nowhere near where it is right now. Nowhere
                near.

                                                ***

                They had hundreds of thousands of suspicious orders they should
                have reported, and they didn’t report any. There’s not a day that
                goes by in the pharmaceutical world, in the McKesson world, in
                the distribution world, where there’s not something suspicious. It
                happens every day.

                [INTERVIEWER:] And they had none.

                DAVID SCHILLER: They weren’t reporting any. I mean, you
                have to understand that, nothing was suspicious?255



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   Bill Whitaker, Whistleblowers: DEA Attorneys Went Easy on McKesson, the Country’s
Largest Drug Distributor, CBS News (Dec. 17, 2017),
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          739.   Following the 2017 settlement, McKesson shareholders made a books and records

request of the company. According to a separate action pending on their behalf, the Company’s

records show that the Company’s Audit Committee failed to monitor McKesson’s information

reporting system to assess the state of the Company’s compliance with the CSA and McKesson’s

2008 Settlements. More particularly, the shareholder action alleges that the records show that in

October 2008, the Audit Committee had an initial discussion of the 2008 Settlements and results

of internal auditing, which revealed glaring omissions; specifically:

                 a.     some customers had “not yet been assigned thresholds in the system to
                        flag large shipments of controlled substances for review”;

                 b.     “[d]ocumentation evidencing new customer due diligence was
                        incomplete”;

                 c.     “documentation supporting the company’s decision to change thresholds
                        for existing customers was also incomplete”; and

                 d.     Internal Audit “identified opportunities to enhance the Standard Operating
                        Procedures.”

Yet, instead of correcting these deficiencies, after that time, for a period of more than four years,

the Audit Committee failed to address the CSMP or perform any more audits of McKesson’s

compliance with the CSA or the 2008 Settlements, the shareholder action’s description of

McKesson’s internal documents reveals. During that period of time, McKesson’s Audit

Committee failed to inquire whether the Company was in compliance with obligations set forth

in those agreements and with the controlled substances regulations more generally. It was only

in January 2013 that the Audit Committee received an Internal Audit report touching on these

issues.


footnote continued from previous page
https://www.cbsnews.com/news/whistleblowers-deaattorneys-went-easy-on-mckesson-the-
countrys-largest-drug-distributor/.



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       740.      In short, McKesson, was “neither rehabilitated nor deterred by the 2008

[agreement],” as a DEA official working on the case noted. Quite the opposite, “their bad acts

continued and escalated to a level of egregiousness not seen before.” According to statements

of “DEA investigators, agents and supervisors who worked on the McKesson case” reported in

the Washington Post, “the company paid little or no attention to the unusually large and frequent

orders placed by pharmacies, some of them knowingly supplying the drug rings.” “Instead, the

DEA officials said, the company raised its own self-imposed limits, known as thresholds, on

orders from pharmacies and continued to ship increasing amounts of drugs in the face of

numerous red flags.”

       741.      Since at least 2002, Purdue has maintained a database of health care providers

suspected of inappropriately prescribing OxyContin or other opioids. Physicians could be added

to this database based on observed indicators of illicit prescribing such as excessive numbers of

patients, cash transactions, patient overdoses, and unusual prescribing of the highest-strength

pills (80 mg OxyContin pills or “80s,” as they were known on the street, were a prime target for

diversion). Purdue claims that health care providers added to the database no longer were

detailed, and that sales representatives received no compensation tied to these providers’

prescriptions.

       742.      Yet, Purdue failed to cut off these providers’ opioid supply at the pharmacy

level—meaning Purdue continued to generate sales revenue from their prescriptions—and failed

to report these providers to state medical boards or law enforcement. Purdue’s former senior

compliance officer acknowledged in an interview with the Los Angeles Times that in five years

of investigating suspicious pharmacies, the company never stopped the supply of its opioids to a

pharmacy, even where Purdue employees personally witnessed the diversion of its drugs.




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           743.   The same was true of prescribers. For example, as discussed above, despite

Purdue’s knowledge of illicit prescribing from one Los Angeles clinic which its district manager

called an “organized drug ring” in 2009, Purdue did not report its suspicions until long after law

enforcement shut it down and not until the ring prescribed more than 1.1 million OxyContin

tablets.

           744.   The New York Attorney General found that Purdue placed 103 New York health

care providers on its “No-Call” List between January 1, 2008 and March 7, 2015, and yet that

Purdue’s sales representatives had detailed approximately two-thirds of these providers, some

quite extensively, making more than a total of 1,800 sales calls to their offices over a six-year

period.

           745.   The New York Attorney General similarly found that Endo knew, as early as

2011, that Opana ER was being abused in New York, but certain sales representatives who

detailed New York health care providers testified that they did not know about any policy or duty

to report problematic conduct. The New York Attorney General further determined that Endo

detailed health care providers who were subsequently arrested or convicted for illegal prescribing

of opioids a total of 326 times, and these prescribers collectively wrote 1,370 prescriptions for

Opana ER (although the subsequent criminal charges at issue did not involve Opana ER).

           746.   As all of the governmental actions against the Marketing Defendants and against

all the Defendants shows, Defendants knew that their actions were unlawful, and yet deliberately

refused to change their practices because compliance with their legal obligations would have

decreased their sales and their profits.




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II.       FACTS PERTAINING TO CLAIMS UNDER RACKETEER-INFLUENCED AND
          CORRUPT ORGANIZATIONS (“RICO”) ACT

          A.     The Opioid Marketing Enterprise

                 a.     The Common Purpose and Scheme of the Opioid Marketing
                        Enterprise

          747.   Knowing that their products were highly addictive, ineffective and unsafe for the

treatment of long-term chronic pain, non-acute and non-cancer pain, the RICO Marketing

Defendants256 formed an association-in-fact enterprise and engaged in a scheme to unlawfully

increase their profits and sales, and grow their share of the prescription painkiller market,

through repeated and systematic misrepresentations about the safety and efficacy of opioids for

treating long-term chronic pain.

          748.   In order to unlawfully increase the demand for opioids, the RICO Marketing

Defendants formed an association-in-fact enterprise (the “Opioid Marketing Enterprise”) with

the “Front Groups” and KOLs described above. Through their personal relationships, the

members of the Opioid Marketing Enterprise had the opportunity to form and take actions in

furtherance of the Opioid Marketing Enterprise’s common purpose. The RICO Marketing

Defendants’ substantial financial contribution to the Opioid Marketing Enterprise, and the

advancement of opioids-friendly messaging, fueled the U.S. opioids epidemic.257

          749.   The RICO Marketing Defendants, through the Opioid Marketing Enterprise,

concealed the true risks and dangers of opioids from the medical community and the public,

including Plaintiff, and made misleading statements and misrepresentations about opioids that

downplayed the risk of addiction and exaggerated the benefits of opioid use. The misleading

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   The RICO Marketing Defendants referred to in this section are those named in the First Claim
for Relief under 28 U.S.C. § 1964(c), including Purdue, Cephalon, Janssen, and Endo.
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      Fueling an Epidemic, supra note 125.



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statements included: (1) that addiction is rare among patients taking opioids for pain; (2) that

addiction risk can be effectively managed; (3) that symptoms of addiction exhibited by opioid

patients are actually symptoms of an invented condition the RICO Marketing Defendants named

“pseudoaddiction”; (4) that withdrawal is easily managed; (5) that increased dosing present no

significant risks; (6) that long-term use of opioids improves function; (7) that the risks of

alternative forms of pain treatment are greater than the adverse effects of opioids; (8) that use of

time-released dosing prevents addiction; and (9) that abuse-deterrent formulations provide a

solution to opioid abuse.

       750.    The scheme devised, implemented and conducted by the RICO Marketing

Defendants was a common course of conduct designed to ensure that the RICO Marketing

Defendants unlawfully increased their sales and profits through concealment and

misrepresentations about the addictive nature and effective use of the RICO Marketing

Defendants’ drugs. The RICO Marketing Defendants, the Front Groups, and the KOLs acted

together for a common purpose and perpetuated the Opioid Marketing Enterprise’s scheme,

including through the unbranded promotion and marketing network as described above.

       751.    There was regular communication between the RICO Marketing Defendants,

Front Groups and KOLs, in which information was shared, misrepresentations are coordinated,

and payments were exchanged. Typically, the coordination, communication and payment

occurred, and continues to occur, through the repeated and continuing use of the wires and mail

in which the RICO Marketing Defendants, Front Groups, and KOLs share information regarding

overcoming objections and resistance to the use of opioids for chronic pain. The RICO

Marketing Defendants, Front Groups and KOLs functioned as a continuing unit for the purpose




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of implementing the Opioid Marketing Enterprise’s scheme and common purpose, and each

agreed and took actions to hide the scheme and continue its existence.

       752.    At all relevant times, the Front Groups were aware of the RICO Marketing

Defendants’ conduct, were knowing and willing participants in and beneficiaries of that conduct.

Each Front Group also knew, but did not disclose, that the other Front Groups were engaged in

the same scheme, to the detriment of consumers, prescribers, and the Plaintiff. But for the

Opioid Marketing Enterprise’s unlawful fraud, the Front Groups would have had incentive to

disclose the deceit by the RICO Marketing Defendants and the Opioid Marketing Enterprise to

their members and constituents. By failing to disclose this information, Front Groups

perpetuated the Opioid Marketing Enterprise’s scheme and common purpose, and reaped

substantial benefits

       753.    At all relevant times, the KOLs were aware of the RICO Marketing Defendants’

conduct, were knowing and willing participants in that conduct, and reaped benefits from that

conduct. The RICO Marketing Defendants selected KOLs solely because they favored the

aggressive treatment of chronic pain with opioids. The RICO Marketing Defendants’ support

helped the KOLs become respected industry experts. And, as they rose to prominence, the KOLs

falsely touted the benefits of using opioids to treat chronic pain, repaying the RICO Marketing

Defendants by advancing their marketing goals. The KOLs also knew, but did not disclose, that

the other KOLS and Front Groups were engaged in the same scheme, to the detriment of

consumers, prescribers, and the Plaintiff. But for the Opioid Marketing Enterprise’s unlawful

conduct, the KOLs would have had incentive to disclose the deceit by the RICO Marketing

Defendants and the Opioid Marketing Enterprise, and to protect their patients and the patients of




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other physicians. By failing to disclose this information, KOLs furthered the Opioid Marketing

Enterprise’s scheme and common purpose, and reaped substantial benefits.

       754.    As public scrutiny and media coverage focused on how opioids ravaged

communities in Ohio and throughout the United States, the Front Groups and KOLS did not

challenge the RICO Marketing Defendants’ misrepresentations, seek to correct their previous

misrepresentations, terminate their role in the Opioid Marketing Enterprise, nor disclose publicly

that the risks of using opioids for chronic pain outweighed their benefits and were not supported

by medically acceptable evidence.

       755.    The RICO Marketing Defendants, Front Groups and KOLs engaged in certain

discrete categories of activities in furtherance of the common purpose of the Opioid Marketing

Enterprise. As described herein, the Opioid Marketing Enterprise’s conduct in furtherance of the

common purpose of the Opioid Marketing Enterprise involved: (1) misrepresentations regarding

the risk of addiction and safe use of prescription opioids for long-term chronic pain (described in

detail above); (2) lobbying to defeat measures to restrict over-prescription; (3) efforts to criticize

or undermine CDC guidelines; and (4) efforts to limit prescriber accountability.

       756.    In addition to disseminating misrepresentations about the risks and benefits of

opioids, the Opioid Marketing Enterprise also furthered its common purpose by criticizing or

undermining CDC guidelines. Members of the Opioid Marketing Enterprise criticized or

undermined the CDC Guidelines which represented “an important step - and perhaps the first

major step from the federal government - toward limiting opioid prescriptions for chronic pain.”

       757.    Several Front Groups, including the U.S. Pain Foundation and the AAPM,

criticized the draft guidelines in 2015, arguing that the “CDC slides presented on Wednesday




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were not transparent relative to process and failed to disclose the names, affiliation, and conflicts

of interest of the individuals who participated in the construction of these guidelines.”

       758.    The AAPM criticized the prescribing guidelines in 2016, through its immediate

past president, stating “that the CDC guideline makes disproportionately strong

recommendations based upon a narrowly selected portion of the available clinical evidence.”

       759.    The RICO Marketing Defendants alone could not have accomplished the purpose

of the Opioid Marketing Enterprise without the assistance of the Front Groups and KOLs, who

were perceived as “neutral” and more “scientific” than the RICO Marketing Defendants

themselves. Without the work of the Front Groups and KOLs in spreading misrepresentations

about opioids, the Opioid Marketing Enterprise could not have achieved its common purpose.

       760.    The impact of the Opioid Marketing Enterprise’s scheme is still in place - i.e., the

opioids continue to be prescribed and used for chronic pain throughout the area of Lucas County,

and the epidemic continues to injure Plaintiff, and consume the resources of Plaintiffs’ health

care and law enforcement systems.

       761.    As a result, it is clear that the RICO Marketing Defendants, the Front Groups, and

the KOLs were each willing participants in the Opioid Marketing Enterprise, had a common

purpose and interest in the object of the scheme, and functioned within a structure designed to

effectuate the Enterprise’s purpose.

               b.        The Conduct of the Opioid Marketing Enterprise violated Civil RICO

       762.    From approximately the late 1990s to the present, each of the Marketing

Defendants exerted control over the Opioid Marketing Enterprise and participated in the

operation or management of the affairs of the Opioid Marketing Enterprise, directly or indirectly,

in the following ways:




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         a.    Creating and providing a body of deceptive, misleading and unsupported
               medical and popular literature about opioids that (i) understated the risks
               and overstated the benefits of long-term use; (ii) appeared to be the result
               of independent, objective research; and (iii) was thus more likely to be
               relied upon by physicians, patients, and payors;

         b.    Creating and providing a body of deceptive, misleading and unsupported
               electronic and print advertisements about opioids that (i) understated the
               risks and overstated the benefits of long-term use; (ii) appeared to be the
               result of independent, objective research; and (iii) was thus more likely to
               be relied upon by physicians, patients, and payors;

         c.    Creating and providing a body of deceptive, misleading and unsupported
               sales and promotional training materials about opioids that (i) understated
               the risks and overstated the benefits of long-term use; (ii) appeared to be
               the result of independent, objective research; and (iii) was thus more likely
               to be relied upon by physicians, patients, and payors;

         d.    Creating and providing a body of deceptive, misleading and unsupported
               CMEs and speaker presentations about opioids that (i) understated the
               risks and overstated the benefits of long-term use; (ii) appeared to be the
               result of independent, objective research; and (iii) was thus more likely to
               be relied upon by physicians, patients, and payors;

         e.    Selecting, cultivating, promoting and paying KOLs based solely on their
               willingness to communicate and distribute the RICO Marketing
               Defendants’ messages about the use of opioids for chronic pain;

         f.    Providing substantial opportunities for KOLs to participate in research
               studies on topics the RICO Marketing Defendants suggested or chose,
               with the predictable effect of ensuring that many favorable studies
               appeared in the academic literature;

         g.    Paying KOLs to serve as consultants or on the RICO Marketing
               Defendants’ advisory boards, on the advisory boards and in leadership
               positions on Front Groups, and to give talks or present CMEs, typically
               over meals or at conferences;

         h.    Selecting, cultivating, promoting, creating and paying Front Groups based
               solely on their willingness to communicate and distribute the RICO
               Marketing Defendants’ messages about the use of opioids for chronic
               pain;

         i.    Providing substantial opportunities for Front Groups to participate in
               and/or publish research studies on topics the RICO Marketing Defendants
               suggested or chose (and paid for), with the predictable effect of ensuring
               that many favorable studies appeared in the academic literature;



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              j.      Paying significant amounts of money to the leaders and individuals
                      associated with Front Groups;

              k.      Donating to Front Groups to support talks or CMEs, that were typically
                      presented over meals or at conferences;

              l.      Disseminating many of their false, misleading, imbalanced, and
                      unsupported statements through unbranded materials that appeared to be
                      independent publications from Front Groups;

              m.      Sponsoring CME programs put on by Front Groups that focused
                      exclusively on the use of opioids for chronic pain;

              n.      Developing and disseminating pro-opioid treatment guidelines with the
                      help of the KOLs as authors and promoters, and the help of the Front
                      Groups as publishers, and supporters;

              o.      Encouraging Front Groups to disseminate their pro-opioid messages to
                      groups targeted by the RICO Marketing Defendants, such as veterans and
                      the elderly, and then funding that distribution;

              p.      Concealing their relationship to and control of Front Groups and KOLs
                      from the Plaintiff and the public at large; and

              q.      Intending that Front Groups and KOLs would distribute through the U.S.
                      mail and interstate wire facilities, promotional and other materials that
                      claimed opioids could be safely used for chronic pain.

       763.   The Opioid Marketing Enterprise had a hierarchical decision-making structure

that was headed by the RICO Marketing Defendants and corroborated by the KOLs and Front

Groups. The RICO Marketing Defendants controlled representations made about their opioids

and their drugs, doled out funds to PBMs and payments to KOLs, and ensured that

representations made by KOLs, Front Groups, and the RICO Marketing Defendants’ sales

detailers were consistent with the Marketing Defendants’ messaging throughout the United

States and Ohio. The Front Groups and KOLS in the Opioid Marketing Enterprise were

dependent on the Marketing Defendants for their financial structure and for career development

and promotion opportunities.




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           764.   The Front Groups also conducted and participated in the conduct of the Opioid

Marketing Enterprise, directly or indirectly, in the following ways:

                  a.     The Front Groups promised to, and did, make representations regarding
                         opioids and the RICO Marketing Defendants’ drugs that were consistent
                         with the RICO Marketing Defendants’ messages;

                  b.     The Front Groups distributed, through the U.S. Mail and interstate wire
                         facilities, promotional and other materials which claimed that opioids
                         could be safely used for chronic pain without addiction, and
                         misrepresented the benefits of using opioids for chronic pain outweighed
                         the risks;

                  c.     The Front Groups echoed and amplified messages favorable to increased
                         opioid use—and ultimately, the financial interests of the RICO Marketing
                         Defendants;

                  d.     The Front Groups issued guidelines and policies minimizing the risk of
                         opioid addiction and promoting opioids for chronic pain;

                  e.     The Front Groups strongly criticized the 2016 guidelines from the Center
                         for Disease Control and Prevention (CDC) that recommended limits on
                         opioid prescriptions for chronic pain; and

                  f.     The Front Groups concealed their connections to the KOLs and the RICO
                         Marketing Defendants.

           765.   The RICO Marketing Defendants’ Front Groups, “with their large numbers and

credibility with policymakers and the public—have ‘extensive influence in specific disease

areas.’” The larger Front Groups “likely have a substantial effect on policies relevant to their

industry sponsors.”258 “By aligning medical culture with industry goals in this way, many of the

groups described in this report may have played a significant role in creating the necessary

conditions for the U.S. opioid epidemic.”259




258
      Fueling an Epidemic, supra note 125, p. 1.
259
      Id. 2.



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       766.    The KOLs also participated in the conduct of the affairs of the Opioid Marketing

Enterprise, directly or indirectly, in the following ways:

               a.      The KOLs promised to, and did, make representations regarding opioids
                       and the RICO Marketing Defendants’ drugs that were consistent with the
                       Marketing Defendants’ messages themselves;

               b.      The KOLs distributed, through the U.S. Mail and interstate wire facilities,
                       promotional and other materials which claimed that opioids could be
                       safely used for chronic pain without addiction, and misrepresented the
                       benefits of using opioids for chronic pain outweighed the risks;

               c.      The KOLs echoed and amplified messages favorable to increased opioid
                       use—and ultimately, the financial interests of the RICO Marketing
                       Defendants;

               d.      The KOLs issued guidelines and policies minimizing the risk of opioid
                       addiction and promoting opioids for chronic pain;

               e.      The KOLs strongly criticized the 2016 guidelines from the Center for
                       Disease Control and Prevention (CDC) that recommended limits on opioid
                       prescriptions for chronic pain; and

               f.      The KOLs concealed their connections to the Front Groups and the RICO
                       Marketing Defendants, and their sponsorship by the RICO Marketing
                       Defendants.

       767.    The scheme devised and implemented by the RICO Marketing Defendants and

members of the Opioid Marketing Enterprise, amounted to a common course of conduct intended

to increase the RICO Marketing Defendants’ sales from prescription opioids by encouraging the

prescribing and use of opioids for long-term chronic pain. The scheme was a continuing course

of conduct, and many aspects of it continue through to the present.

               c.      The RICO Marketing Defendants Controlled and Paid Front Groups
                       and KOLs to Promote and Maximize Opioid Use

       768.    As discussed in detail above, the RICO Marketing Defendants funded and

controlled the various Front Groups, including APF, AAPM/APS, FSMB, Alliance for Patient

Access, USPF, and AGS. The Front Groups, which appeared to be independent, but were not,




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transmitted the RICO Marketing Defendants’ misrepresentations. The RICO Marketing

Defendants and the Front Groups thus worked together to promote the goals of the Opioid

Marketing Enterprise.

       769.    The RICO Marketing Defendants worked together with each other through the

Front Groups that they jointly funded and through which they collaborated on the joint

promotional materials described above.

       770.    Similarly, as discussed in detail above, the RICO Marketing Defendants paid

KOLs, including Drs. Portenoy, Fine, Fishman, and Webster, to spread their misrepresentations

and promote their products. The RICO Marketing Defendants and the KOLs thus worked

together to promote the goals of the Opioid Marketing Enterprise.

               d.       Pattern of Racketeering Activity

       771.    The RICO Marketing Defendants’ scheme described herein was perpetrated, in

part, through multiple acts of mail fraud and wire fraud, constituting a pattern of racketing

activity as described herein.

       772.    The pattern of racketeering activity used by the RICO Marketing Defendants and

the Opioid Marketing Enterprise likely involved thousands of separate instances of the use of the

U.S. Mail or interstate wire facilities in furtherance of the unlawful Opioid Marketing Enterprise,

including essentially uniform misrepresentations, concealments and material omissions regarding

the beneficial uses and non-addictive qualities for the long-term treatment of chronic, non-acute

and non-cancer pain, with the goal of profiting from increased sales of the RICO Marketing

Defendants’ drugs induced by consumers, prescribers, regulators and Plaintiffs’ reliance on the

RICO Marketing Defendants’ misrepresentations.

       773.    Each of these fraudulent mailings and interstate wire transmissions constitutes

racketeering activity and collectively, these violations constitute a pattern of racketeering


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activity, through which the RICO Marketing Defendants, the Front Groups and the KOLs

defrauded and intended to defraud Ohio consumers, the State, and other intended victims.

        774.   The RICO Marketing Defendants devised and knowingly carried out an illegal

scheme and artifice to defraud by means of materially false or fraudulent pretenses,

representations, promises, or omissions of material facts regarding the safe, non-addictive and

effective use of opioids for long-term chronic, non-acute and non-cancer pain. The RICO

Marketing Defendants and members of the Opioid Marketing Enterprise knew that these

representations violated the FDA approved use these drugs, and were not supported by actual

evidence. The RICO Marketing Defendants intended that that their common purpose and

scheme to defraud would, and did, use the U.S. Mail and interstate wire facilities, intentionally

and knowingly with the specific intent to advance, and for the purpose of executing, their illegal

scheme.

        775.   By intentionally concealing the material risks and affirmatively misrepresenting

the benefits of using opioids for chronic pain, to, prescribers, regulators and the public, including

Plaintiff, the RICO Marketing Defendants, the Front Groups and the KOLs engaged in a

fraudulent and unlawful course of conduct constituting a pattern of racketeering activity.

        776.   The RICO Marketing Defendants’ use of the U.S. Mail and interstate wire

facilities to perpetrate the opioids marketing scheme involved thousands of communications,

publications, representations, statements, electronic transmissions, payments, including, inter

alia:

               a.      Marketing materials about opioids, and their risks and benefits, which the
                       RICO Marketing Defendants sent to health care providers, transmitted
                       through the internet and television, published, and transmitted to Front
                       Groups and KOLs located across the country and the State;

               b.      Written representations and telephone calls between the RICO Marketing
                       Defendants and Front Groups regarding the misrepresentations, marketing


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                       statements and claims about opioids, including the non-addictive, safe use
                       of chronic long-term pain generally;

               c.      Written representations and telephone calls between the RICO Marketing
                       Defendants and KOLs regarding the misrepresentations, marketing
                       statements and claims about opioids, including the non-addictive, safe use
                       of chronic long-term pain generally

               d.      E-mails, telephone and written communications between the RICO
                       Marketing Defendants and the Front Groups agreeing to or implementing
                       the opioids marketing scheme;

               e.      E-mails, telephone and written communications between the RICO
                       Marketing Defendants and the KOLs agreeing to or implementing the
                       opioids marketing scheme;

               f.      Communications between the RICO Marketing Defendants, Front Groups
                       and the media regarding publication, drafting of treatment guidelines, and
                       the dissemination of the same as part of the Opioid Marketing Enterprise;

               g.      Communications between the RICO Marketing Defendants, KOLs and the
                       media regarding publication, drafting of treatment guidelines, and the
                       dissemination of the same as part of the Opioid Marketing Enterprise;

               h.      Written and oral communications directed to State agencies, federal and
                       state courts, and private insurers throughout the State that fraudulently
                       misrepresented the risks and benefits of using opioids for chronic pain;
                       and

               i.      Receipts of increased profits sent through the U.S. Mail and interstate wire
                       facilities - the wrongful proceeds of the scheme.

       777.    In addition to the above-referenced predicate acts, it was intended by and

foreseeable to the RICO Marketing Defendants that the Front Groups and the KOLs would

distribute publications through the U.S. Mail and by interstate wire facilities, and, in those

publications, claim that the benefits of using opioids for chronic pain outweighed the risks of

doing so.

       778.    To achieve the common goal and purpose of the Opioid Marketing Enterprise, the

RICO Marketing Defendants and members of the Opioid Marketing Enterprise hid from the

consumers, prescribers, regulators and the Plaintiff: (a) the fraudulent nature of the RICO



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Marketing Defendants’ marketing scheme; (b) the fraudulent nature of statements made by the

RICO Marketing Defendants and by their KOLs, Front Groups and other third parties regarding

the safety and efficacy of prescription opioids; and (c) the true nature of the relationship between

the members of the Opioid Marketing Enterprise.

       779.    The RICO Marketing Defendants, and each member of the Opioid Marketing

Enterprise agreed, with knowledge and intent, to the overall objective of the RICO Marketing

Defendants’ fraudulent scheme and participated in the common course of conduct to commit acts

of fraud and indecency in marketing prescription opioids.

       780.    Indeed, for the RICO Marketing Defendants’ fraudulent scheme to work, each of

them had to agree to implement similar tactics regarding fraudulent marketing of prescription

opioids. This conclusion is supported by the fact that the RICO Marketing Defendants each

financed, supported, and worked through the same KOLs and Front Groups, and often

collaborated on and mutually supported the same publications, CMEs, presentations, and

prescription guidelines

       781.    The RICO Marketing Defendants’ predicate acts all had the purpose of creating

the opioid epidemic that substantially injured Plaintiffs’ business and property, while

simultaneously generating billion-dollar revenue and profits for the RICO Marketing

Defendants. The predicate acts were committed or caused to be committed by the RICO

Marketing Defendants through their participation in the Opioid Marketing Enterprise and in

furtherance of its fraudulent scheme.

       B.      The Opioid Supply Chain Enterprise

       782.    Faced with the reality that they will now be held accountable for the

consequences of the opioid epidemic they created, members of the industry resort to “a




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categorical denial of any criminal behavior or intent.”260 Defendants’ actions went far beyond

what could be considered ordinary business conduct. For more than a decade, certain

Defendants, the “RICO Supply Chain Defendants” (the RICO Marketing Defendants and

McKesson, Cardinal, and AmerisourceBergen) worked together in an illicit enterprise, engaging

in conduct that was not only illegal, but in certain respects anti-competitive, with the common

purpose and achievement of vastly increasing their respective profits and revenues by

exponentially expanding a market that the law intended to restrict.

         783.   Knowing that dangerous drugs have a limited place in our society, and that their

dissemination and use must be vigilantly monitored and policed to prevent the harm that drug

abuse and addiction causes to individuals, society and governments, Congress enacted the

Controlled Substances Act (“CSA”). Specifically, through the CSA, which created a closed

system of distribution for controlled substances, Congress established an enterprise for good.

The CSA imposes a reporting duty that cuts across company lines. Regulations adopted under

the CSA require that companies who are entrusted with permission to operate with within this

system cannot simply operate as competitive in an “anything goes” profit-maximizing market.

Instead, the statute tasks them to watch over each other with a careful eye for suspicious activity.

Driven by greed, Defendants betrayed that trust and subverted the constraints of the CSA’s

closed system to conduct their own enterprise for evil.

         784.   As “registrants” under the CSA, the RICO Supply Chain Defendants are duty

bound to identify and report “orders of unusual size, orders deviating substantially from a normal




260
   http://www.mckesson.com/about-mckesson/fighting-opioid-abuse/60-minutes-response (last
visited, Apr. 21, 2018).



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pattern, and orders of unusual frequency.”261 Critically, these Defendants’ responsibilities do not

end with the products they manufacture or distribute – there is no such limitation in the law

because their duties cut across company lines. Thus, when these Defendants obtain information

about the sales and distribution of other companies’ opioid products, as they did through data

mining companies like IMS Health, they were legally obligated to report that activity to the

DEA.

          785.   If morality and the law did not suffice, competition dictates that the RICO Supply

Chain Defendants would turn in their rivals when they had reason to suspect suspicious activity.

Indeed, if a manufacturer or distributor could gain market share by reporting a competitor’s

illegal behavior (causing it to lose a license to operate, or otherwise inhibit its activity), ordinary

business conduct dictates that it would do so. Under the CSA this whistleblower or watchdog

function is not only a protected choice, but a statutory mandate. Unfortunately, however, that is

not what happened. Instead, knowing that investigations into potential diversion would only lead

to shrinking markets. The RICO Supply Chain Defendants elected to operate in a conspiracy of

silence, in violation of both the CSA and RICO.

          786.   The RICO Supply Chain Defendants’ scheme required the participation of all. If

any one member broke rank, its compliance activities would highlight deficiencies of the others,

and the artificially high quotas they maintained through their scheme would crumble. But, if all

the members of the enterprise conducted themselves in the same manner, it would be difficult for

the DEA to go after any one of them. Accordingly, through the connections they made as a

result of their participation in the Healthcare Distribution Alliance (“HDA”), the RICO Supply

Chain Defendants chose to flout the closed system designed to protect the citizens. Publicly, in

261
      21 C.F.R. 1301.74(b).



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2008, they announced their formulation of “Industry Compliance Guidelines: Reporting

Suspicious Orders and Prevention Diversion of Controlled Substances.” But, privately, the

RICO Supply Chain Defendants refused to act and through their lobbying efforts, they

collectively sought to undermine the impact of the CSA. Indeed, despite the issuance of these

Industry Compliance Guidelines, which recognize these Defendants’ duties under the law, as

illustrated by the subsequent industry-wide enforcement actions and consent orders issued after

that time, none of them complied. John Gray, President and CEO of the HDA said to Congress

in 2014, it is “difficult to find the right balance between proactive anti-diversion efforts while not

inadvertently limiting access to appropriately prescribed and dispensed medications.” Yet, the

RICO Supply Chain Defendants apparently all found the same profit-maximizing balance –

intentionally remaining silent to ensure the largest possible financial return.

       787.    As described above, at all relevant times, the RICO Supply Chain Defendants

operated as an association-in-fact enterprise formed for the purpose of unlawfully increasing

sales, revenues and profits by fraudulently increasing the quotas set by the DEA that would allow

them to collectively benefit from a greater pool of prescription opioids to manufacture and

distribute. In support of this common purpose and fraudulent scheme, the RICO Supply Chain

Defendants jointly agreed to disregard their statutory duties to identify, investigate, halt and

report suspicious orders of opioids and diversion of their drugs into the illicit market so that

those orders would not result in a decrease, or prevent an increase in, the necessary quotas.

       788.    At all relevant times, as described above, the RICO Supply Chain Defendants

exerted control over, conducted and/or participated in the Opioid Supply Chain Enterprise by

fraudulently claiming that they were complying with their duties under the CSA to identify,

investigate and report suspicious orders of opioids in order to prevent diversion of those highly




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addictive substances into the illicit market, and to halt such unlawful sales, so as to increase

production quotas and generate unlawful profits, as follows:

         789.   The RICO Supply Chain Defendants disseminated false and misleading

statements to state and federal regulators claiming that:

                a.     the quotas for prescription opioids should be increased;

                b.     they were complying with their obligations to maintain effective controls
                       against diversion of their prescription opioids;

                c.     they were complying with their obligations to design and operate a system
                       to disclose to the registrant suspicious orders of their prescription opioids;

                d.     they were complying with their obligation to notify the DEA of any
                       suspicious orders or diversion of their prescription opioids; and

                e.     they did not have the capability to identify suspicious orders of controlled
                       substances.

         790.   The Defendants applied political and other pressure on the DOJ and DEA to halt

prosecutions for failure to report suspicious orders of prescription opioids and lobbied Congress

to strip the DEA of its ability to immediately suspend registrations pending investigation by

passing the “Ensuring Patient Access and Effective Drug Enforcement Act.”262




262
   See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June
13, 2016, updated July 6, 2016), http://pharmaceuticalcommerce.com/business-and-
finance/hdma-now-healthcare-distribution-alliance/; Lenny Bernstein & Scott Higham,
Investigation: The DEA Slowed Enforcement While the Opioid Epidemic Grew Out of Control,
Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-
enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-
8d13-d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator
Calls for Investigation of DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6,
2017, https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-
enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric
Eyre, DEA Agent: “We Had no Leadership” in WV Amid Flood of Pain Pills, Charleston
Gazette-Mail, Feb. 18, 2017, http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-
no-leadership-in-wv-amid-flood-of-pain-pills-.



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           791.   The CSA and the Code of Federal Regulations, require the RICO Supply Chain

Defendants to make reports to the DEA of any suspicious orders identified through the design

and operation of their system to disclose suspicious orders. The failure to make reports as

required by the CSA and Code of Federal Regulations amounts to a criminal violation of the

statute.

           792.   The RICO Supply Chain Defendants knowingly and intentionally furnished false

or fraudulent information in their reports to the DEA about suspicious orders, and/or omitted

material information from reports, records and other document required to be filed with the DEA

including the Marketing Defendants’ applications for production quotas. Specifically, the RICO

Supply Chain Defendants were aware of suspicious orders of prescription opioids and the

diversion of their prescription opioids into the illicit market, and failed to report this information

to the DEA in their mandatory reports and their applications for production quotas.

           793.   The RICO Supply Chain Defendants used, directed the use of, and/or caused to be

used, thousands of interstate mail and wire communications in service of their scheme through

virtually uniform misrepresentations, concealments and material omissions regarding their

compliance with their mandatory reporting requirements and the actions necessary to carry out

their unlawful goal of selling prescription opioids without reporting suspicious orders or the

diversion of opioids into the illicit market.

           794.   In devising and executing the illegal scheme, the RICO Supply Chain Defendants

devised and knowingly carried out a material scheme and/or artifice to defraud by means of

materially false or fraudulent pretenses, representations, promises, or omissions of material facts.

           795.   For the purpose of executing the illegal scheme, the RICO Supply Chain

Defendants committed racketeering acts, which number in the thousands, intentionally and




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knowingly with the specific intent to advance the illegal scheme. These racketeering acts, which

included repeated acts of mail fraud and wire fraud, constituted a pattern of racketeering.

       796.    The RICO Supply Chain Defendants’ use of the mail and wires includes, but is

not limited to, the transmission, delivery, or shipment of the following by the Marketing

Defendants, the Distributor Defendants, or third parties that were foreseeably caused to be sent

as a result of the RICO Supply Chain Defendants’ illegal scheme, including but not limited to:

               a.      The prescription opioids themselves;

               b.      Documents and communications that supported and/or facilitated the
                       RICO Supply Chain Defendants’ request for higher aggregate production
                       quotas, individual production quotas, and procurement quotas;

               c.      Documents and communications that facilitated the manufacture, purchase
                       and sale of prescription opioids;

               d.      RICO Supply Chain Defendants’ DEA registrations;

               e.      Documents and communications that supported and/or facilitated RICO
                       Supply Chain Defendants’ DEA registrations;

               f.      RICO Supply Chain Defendants’ records and reports that were required to
                       be submitted to the DEA pursuant to 21 U.S.C. § 827;

               g.      Documents and communications related to the RICO Supply Chain
                       Defendants’ mandatory DEA reports pursuant to 21 U.S.C. § 823 and 21
                       C.F.R. § 1301.74;

               h.      Documents intended to facilitate the manufacture and distribution of the
                       RICO Supply Chain Defendants’ prescription opioids, including bills of
                       lading, invoices, shipping records, reports and correspondence;

               i.      Documents for processing and receiving payment for prescription opioids;

               j.      Payments from the Distributors to the Marketing Defendants;

               k.      Rebates and chargebacks from the Marketing Defendants to the
                       Distributors Defendants;

               l.      Payments to the RICO Supply Chain Defendants’ lobbyists through the
                       PCF;




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               m.        Payments to the RICO Supply Chain Defendants’ trade organizations, like
                         the HDA, for memberships and/or sponsorships;

               n.        Deposits of proceeds from the RICO Supply Chain Defendants’
                         manufacture and distribution of prescription opioids; and

               o.        Other documents and things, including electronic communications.

       797.    The RICO Supply Chain Defendants (and/or their agents), for the purpose of

executing the illegal scheme, sent and/or received (or caused to be sent and/or received) by mail

or by private or interstate carrier, shipments of prescription opioids and related documents by

mail or by private carrier affecting interstate commerce, including the following:




                                                                     Drugs
 Defendant
                        Company Names                                                    CSA
Group Name                                       Drug Name       Chemical Name
                                                                                       Schedule
                                                                 Oxycodone
                                                OxyContin        hydrochloride       Schedule II
                                                                 extended release
                                                                 Morphine sulfate
                                                MS Contin                            Schedule II
                                                                 extended release
                                                                 Hydromorphone
                                                Dilaudid                             Schedule II
                    (1) Purdue Pharma, LP,                       hydrochloride

   Purdue           (2) Purdue Pharma, Inc.,                     Hydromorphone
                                                Dilaudid-HP                          Schedule II
                                                                 hydrochloride
                    (3) The Purdue Frederick
                    Company                     Butrans          Buprenorphine       Schedule II
                                                                 Hydrocodone
                                                Hysinga ER                           Schedule II
                                                                 bitrate
                                                                 Oxycodone
                                                                 hydrochloride
                                                Targiniq ER                          Schedule II
                                                                 and naloxone
                                                                 hydrochloride
  Cephalon          (1) Cephalon, Inc.,         Actiq            Fentanyl citrate    Schedule II



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                                                                    Drugs
 Defendant
                      Company Names                                                   CSA
Group Name                                      Drug Name       Chemical Name
                                                                                    Schedule
                 (2) Teva Pharmaceutical      Fentora          Fentanyl citrate    Schedule II
                 Industries, Ltd.,
                 (3) Teva Pharmaceuticals     Generic          Oxycodone
                                                                                   Schedule II
                 USA, Inc.                    OxyContin        hydrochloride
                                                               Oxymorphone
                                              Opana ER         hydrochloride       Schedule II
                                                               extended release
                 (1) Endo Health Solutions,
                                                               Oxymorphone
                 Inc.,                        Opana                                Schedule II
                                                               hydrochloride
                 (2) Endo Pharmaceuticals
                 Inc.,                        Percodan         Oxycodone           Schedule II
    Endo
                 (3) Qualitest                Percocet         Oxycodone           Schedule II
                 Pharmaceuticals, Inc.
                 (wholly-owned subsidiary     Generic oxycodone                    Schedule II
                 of Endo)                     Generic oxymorphone                  Schedule II
                                              Generic hydromorphone                Schedule II
                                              Generic hydrocodone                  Schedule II
                 (1) Mallinckrodt PLC,                         Hydromorphone
                                              Exalgo                               Schedule II
                                                               hydrochloride
Mallinckrodt     (2) Mallinckrodt LLC
                 (wholly-owned subsidiary                      Oxycodone
                                              Roxicodone                           Schedule II
                 of Mallinckrodt PLC)                          hydrochloride
                 (1) Allergan Plc,            Kadian           Morphine Sulfate    Schedule II
                 (2) Actavis LLC,
                                              Norco
                 (3) Actavis Pharma, Inc.,                     Hydrocodone and
                                              (Generic of                      Schedule II
                                                               acetaminophen
   Actavis       (4) Actavis Plc,             Vicodin)
                 (5) Actavis, Inc.,           Generic
                                                               Fentanyl            Schedule II
                 (6) Watson                   Duragesic
                 Pharmaceuticals, Inc.,       Generic          Oxymorphone
                                                                                   Schedule II
                 Watson Pharma, Inc.          Opana            hydrochloride

       798.    Each of the RICO Supply Chain Defendants identified manufactured, shipped,

paid for and received payment for the drugs identified above, throughout the United States.




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        799.    The RICO Supply Chain Defendants used the internet and other electronic

facilities to carry out their scheme and conceal the ongoing fraudulent activities. Specifically,

the RICO Supply Chain Defendants made misrepresentations about their compliance with

Federal and State laws requiring them to identify, investigate and report suspicious orders of

prescription opioids and/or diversion of the same into the illicit market.

        800.    At the same time, the RICO Supply Chain Defendants misrepresented the superior

safety features of their order monitoring programs, ability to detect suspicious orders,

commitment to preventing diversion of prescription opioids, and their compliance with all state

and federal regulations regarding the identification and reporting of suspicious orders of

prescription opioids.

        801.    The RICO Supply Chain Defendants utilized the internet and other electronic

resources to exchange communications, to exchange information regarding prescription opioid

sales, and to transmit payments and rebates/chargebacks.

        802.    The RICO Supply Chain Defendants also communicated by U.S. Mail, by

interstate facsimile, and by interstate electronic mail with each other and with various other

affiliates, regional offices, regulators, distributors, and other third-party entities in furtherance of

the scheme.

        803.    The mail and wire transmissions described herein were made in furtherance of the

RICO Supply Chain Defendants’ scheme and common course of conduct to deceive regulators,

the public and the Plaintiffs that these Defendants were complying with their state and federal

obligations to identify and report suspicious orders of prescription opioids all while Defendants

were knowingly allowing millions of doses of prescription opioids to divert into the illicit drug

market. The RICO Supply Chain Defendants’ scheme and common course of conduct was to




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increase or maintain high production quotas for their prescription opioids from which they could

profit.

          804.   Many of the precise dates of the fraudulent uses of the U.S. mail and interstate

wire facilities have been deliberately hidden by Defendants and cannot be alleged without access

to Defendants’ books and records. However, Plaintiffs have described the types of, and in some

instances, occasions on which the predicate acts of mail and/or wire fraud occurred. They

include thousands of communications to perpetuate and maintain the scheme, including the

things and documents described in the preceding paragraphs.

          805.   The RICO Supply Chain Defendants did not undertake the practices described

herein in isolation, but as part of a common scheme. Various other persons, firms, and

corporations, including third-party entities and individuals not named as defendants in this

Complaint, may have contributed to and/or participated in the scheme with these Defendants in

these offenses and have performed acts in furtherance of the scheme to increase revenues,

increase market share, and /or minimize the losses for the RICO Supply Chain Defendants.

          806.   The predicate acts constituted a variety of unlawful activities, each conducted

with the common purpose of obtaining significant monies and revenues from the sale of their

highly addictive and dangerous drugs. The predicate acts also had the same or similar results,

participants, victims, and methods of commission. The predicate acts were related and not

isolated events.

          807.   The predicate acts all had the purpose of creating the opioid epidemic that

substantially injured Plaintiffs’ business and property, while simultaneously generating billion-

dollar revenue and profits for the RICO Supply Chain Defendants. The predicate acts were




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committed or caused to be committed by the Defendants through their participation in the Opioid

Supply Chain Enterprise and in furtherance of its fraudulent scheme.

         808.   As described above, the RICO Supply Chain Defendants were repeatedly warned,

fined, and found to be in violation of applicable law and regulations, and yet they persisted. The

sheer volume of enforcement actions against the RICO Supply Chain Defendants supports this

conclusion that the RICO Supply Chain Defendants operated through a pattern and practice of

willfully and intentionally omitting information from their mandatory reports to the DEA as

required by 21 C.F.R. § 1301.74.263

         809.   Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, Plaintiffs’ Community and the Plaintiff. The RICO Supply

Chain Defendants calculated and intentionally crafted the diversion scheme to increase and

maintain profits from unlawful sales of opioids, without regard to the effect such behavior would

have on this jurisdiction, its citizens or the Plaintiff. The RICO Supply Chain Defendants were

aware that Plaintiffs and the citizens of this jurisdiction rely on these Defendants to maintain a

closed system of manufacturing and distribution to protect against the non-medical diversion and

use of their dangerously addictive opioid drugs.

         810.   By intentionally refusing to report and halt suspicious orders of their prescription

opioids, the RICO Supply Chain Defendants engaged in a fraudulent scheme and unlawful

course of conduct constituting a pattern of racketeering activity.



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   Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The
Drug Enforcement Administration’s Adjudication of Registrant Actions 6 (2014),
https://oig.justice.gov/reports/2014/e1403.pdf.



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                                      CLAIMS FOR RELIEF

                                   FIRST CLAIM FOR RELIEF

        Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Marketing Enterprise
   (Against Purdue, Cephalon, Janssen and Endo (the “RICO Marketing Defendants”))

        811.    Plaintiffs repeat, re-allege, and incorporate by reference each and every allegation

set forth above as if fully set forth herein.

        812.    The RICO Marketing Defendants – through the use of “Front Groups” that

appeared to be independent of the RICO Marketing Defendants; through the dissemination of

publications that supported the RICO Marketing Defendants’ scheme; through continuing

medical education (“CME”) programs controlled and/or funded by the RICO Marketing

Defendants; by the hiring and deployment of so-called “key opinion leaders,” (“KOLs”) who

were paid by the RICO Marketing Defendants to promote their message; and through the

“detailing” activities of the RICO Marketing Defendants’ sales forces – conducted an

association-in-fact enterprise, and/or participated in the conduct of an enterprise through a

pattern of illegal activities (the predicate racketeering acts of mail and wire fraud) to carry-out

the common purpose of the Opioid Marketing Enterprise, i.e., to unlawfully increase profits and

revenues from the continued prescription and use of opioids for long-term chronic pain.

Through the racketeering activities of the Opioid Marketing Enterprise sought to further the

common purpose of the enterprise through a fraudulent scheme to change prescriber habits and

public perception about the safety and efficacy of opioid use by convincing them that each of the

nine false propositions alleged earlier were true. In so doing, each of the RICO Marketing

Defendants knowingly conducted and participated in the conduct of the Opioid Marketing

Activities by engaging in mail and wire fraud in violation of 18 U.S.C. §§ 1962(c) and (d).




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       813.    The Opioid Marketing Enterprise alleged above, is an association-in-fact

enterprise that consists of the RICO Marketing Defendants (Purdue Cephalon, Janssen, and

Endo); the Front Groups (APF, AAPM, APS, FSMB, USPF, and AGS); and the KOLs

(Dr. Portenoy, Dr. Webster, Dr. Fine, and Dr. Fishman).

       814.    Each of the RICO Marketing Defendants and the other members of the Opioid

Marketing Enterprise conducted and participated in the conduct of the Opioid Marketing

Enterprise by playing a distinct role in furthering the enterprise’s common purpose of increasing

profits and sales through the knowing and intentional dissemination of false and misleading

information about the safety and efficacy of long-term opioid use, and the risks and symptoms of

addiction, in order to increase the market for prescription opioids by changing prescriber habits

and public perceptions and increase the market for opioids.

       815.    Specifically, the RICO Marketing Defendants each worked together to coordinate

the enterprise’s goals and conceal their role, and the enterprise’s existence, from the public by,

among other things, (i) funding, editing and distributing publications that supported and

advanced their false messages; (ii) funding KOLs to further promote their false messages;

(iii) funding, editing and distributing CME programs to advance their false messages; and

(iv) tasking their own employees to direct deceptive marketing materials and pitches directly at

physicians and, in particular, at physicians lacking the expertise of pain care specialists (a

practice known as sales detailing).

       816.    Each of the Front Groups helped disguise the role of RICO Marketing Defendants

by purporting to be unbiased, independent patient-advocacy and professional organizations in

order to disseminate patient education materials, a body of biased and unsupported scientific




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“literature,” and “treatment guidelines” that promoted the RICO Marketing Defendants false

messages.

       817.    Each of the KOLs were physicians chosen and paid by each of the RICO

Marketing Defendants to influence their peers’ medical practice by promoting the Marketing

Defendant’s false message through, among other things, writing favorable journal articles and

delivering supportive CMEs as if they were independent medical professionals, thereby further

obscuring the RICO Marketing Defendants’ role in the enterprise and the enterprise’s existence.

       818.    Further, each of the RICO Marketing Defendants, KOLs and Front Groups that

made-up the Opioid Marketing Enterprise had systematic links to and personal relationships with

each other through joint participation in lobbying groups, trade industry organizations,

contractual relationships and continuing coordination of activities. The systematic links and

personal relationships that were formed and developed allowed members of the Opioid

Marketing Enterprise the opportunity to form the common purpose and agree to conduct and

participate in the conduct of the Opioid Marketing Enterprise. Specifically, each of the RICO

Marketing Defendants coordinated their efforts through the same KOLs and Front Groups, based

on their agreement and understanding that the Front Groups and KOLs were industry friendly

and would work together with the RICO Marketing Defendants to advance the common purpose

of the Opioid Marketing Enterprise; each of the individuals and entities who formed the Opioid

Marketing Enterprise acted to enable the common purpose and fraudulent scheme of the Opioid

Marketing Enterprise.

       819.    At all relevant times, the Opioid Marketing Enterprise: (a) had an existence

separate and distinct from each RICO Marketing Defendant and its members; (b) was separate

and distinct from the pattern of racketeering in which the RICO Marketing Defendants engaged;




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(c) was an ongoing and continuing organization consisting of individuals, persons, and legal

entities, including each of the RICO Marketing Defendants; (d) was characterized by

interpersonal relationships between and among each member of the Opioid Marketing

Enterprise, including between the RICO Marketing Defendants and each of the Front Groups and

KOLs; and (e) had sufficient longevity for the enterprise to pursue its purpose and functioned as

a continuing unit.

       820.    The persons and entities engaged in the Opioid Marketing Enterprise are

systematically linked through contractual relationships, financial ties, personal relationships, and

continuing coordination of activities, as spearheaded by the RICO Marketing Defendants.

       821.    The RICO Marketing Defendants conducted and participated in the conduct of the

Opioid Marketing Enterprise through a pattern of racketeering activity that employed the use of

mail and wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud), to

increase profits and revenue by changing prescriber habits and public perceptions in order to

increase the prescription and use of prescription opioids, and expand the market for opioids.

       822.    The RICO Marketing Defendants each committed, conspired to commit, and/or

aided and abetted in the commission of at least two predicate acts of racketeering activity (i.e.

violations of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of

racketeering activity that the RICO Marketing Defendants committed, or aided and abetted in the

commission of, were related to each other, posed a threat of continued racketeering activity, and

therefore constitute a “pattern of racketeering activity.” The racketeering activity was made

possible by the RICO Marketing Defendants’ regular use of the facilities, services, distribution

channels, and employees of the Opioid Marketing Enterprise, the U.S. Mail and interstate wire




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facilities. The RICO Marketing Defendants participated in the scheme to defraud by using mail,

telephones and the Internet to transmit mailings and wires in interstate or foreign commerce.

       823.    The RICO Marketing Defendants’ predicate acts of racketeering (18 U.S.C.

§ 1961(1)) include, but are not limited to:

               a.      Mail Fraud: The RICO Marketing Defendants violated 18 U.S.C. § 1341
                       by sending or receiving, or by causing to be sent and/or received, materials
                       via U.S. mail or commercial interstate carriers for the purpose of
                       executing the unlawful scheme to design, manufacture, market, and sell
                       the prescription opioids by means of false pretenses, misrepresentations,
                       promises, and omissions.

               b.      Wire Fraud: The RICO Marketing Defendants violated 18 U.S.C. § 1343
                       by transmitting and/or receiving, or by causing to be transmitted and/or
                       received, materials by wire for the purpose of executing the unlawful
                       scheme to design, manufacture, market, and sell the prescription opioids
                       by means of false pretenses, misrepresentations, promises, and omissions.

       824.    Indeed, as summarized herein, the RICO Marketing Defendants used the mail and

wires to send or receive thousands of communications, publications, representations, statements,

electronic transmissions and payments to carry-out the Opioid Marketing Enterprise’s fraudulent

scheme.

       825.    Because the RICO Marketing Defendants disguised their participation in the

enterprise, and worked to keep even the enterprise’s existence secret so as to give the false

appearance that their false messages reflected the views of independent third parties, many of the

precise dates of the Opioid Marketing Enterprise’s uses of the U.S. Mail and interstate wire

facilities (and corresponding predicate acts of mail and wire fraud) have been hidden and cannot

be alleged without access to the books and records maintained by the RICO Marketing

Defendants, Front Groups, and KOLs. Indeed, an essential part of the successful operation of the

Opioid Marketing Enterprise alleged herein depended upon secrecy. However, Plaintiffs have

described the occasions on which the RICO Marketing Defendants, Front Groups, and KOLs



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disseminated misrepresentations and false statements to Ohio consumers, prescribers, regulators

and Plaintiff, and how those acts were in furtherance of the scheme.

       826.    Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including Ohio consumers, prescribers, regulators and Plaintiff.

The RICO Marketing Defendants, Front Groups and KOLs calculated and intentionally crafted

the scheme and common purpose of the Opioid Marketing Enterprise to ensure their own profits

remained high. In designing and implementing the scheme, the RICO Marketing Defendants

understood and intended that those in the distribution chain rely on the integrity of the

pharmaceutical companies and ostensibly neutral third parties to provide objective and scientific

evidence regarding the RICO Marketing Defendants’ products.

       827.    The RICO Marketing Defendants’ pattern of racketeering activity alleged herein

and the Opioid Marketing Enterprise are separate and distinct from each other. Likewise, the

RICO Marketing Defendants are distinct from the Opioid Marketing Enterprise.

       828.    The pattern of racketeering activity alleged herein is continuing as of the date of

this complaint, and, upon information and belief, will continue into the future unless enjoined by

this Court.

       829.    The racketeering activities conducted by the RICO Marketing Defendants, Front

Groups and KOLs amounted to a common course of conduct, with a similar pattern and purpose,

intended to deceive Ohio consumers, prescribers, regulators and the Plaintiff. Each separate use

of the U.S. Mail and/or interstate wire facilities employed by Defendants was related, had similar

intended purposes, involved similar participants and methods of execution, and had the same

results affecting the same victims, including Ohio consumers, prescribers, regulators and the




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Plaintiff. The RICO Marketing Defendants have engaged in the pattern of racketeering activity

for the purpose of conducting the ongoing business affairs of the Opioid Marketing Enterprise.

         830.   Each of the RICO Marketing Defendants aided and abetted others in the

violations of the above laws, thereby rendering them indictable as principals in the 18 U.S.C.

§§ 1341 and 1343 offenses.

         831.   As described herein, the RICO Marketing Defendants engaged in a pattern of

related and continuous predicate acts for years. The predicate acts constituted a variety of

unlawful activities, each conducted with the common purpose of obtaining significant money

and revenue from the marketing and sale of their highly addictive and dangerous drugs. The

predicate acts also had the same or similar results, participants, victims, and methods of

commission. The predicate acts were related and not isolated events.

         832.   The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court. The last racketeering incident occurred within five years of the commission of a prior

incident of racketeering.

         833.   The RICO Marketing Defendants’ violations of law and their pattern of

racketeering activity directly and proximately caused Plaintiffs injury in their business and

property. The RICO Marketing Defendants’ pattern of racketeering activity logically,

substantially and foreseeably caused an opioid epidemic. Plaintiffs’ injuries, as described below,

were not unexpected, unforeseen or independent.264 Rather, as Plaintiffs allege, the RICO

Marketing Defendants knew that the opioids were unsuited to treatment of long-term chronic,


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   Traveler’s Property Casualty Company of America v. Actavis, Inc., 22 Cal. Rptr. 3d 5, 19
(Cal. Ct. App. 2017).



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non-acute, and non-cancer pain, or for any other use not approved by the FDA, and knew that

opioids were highly addictive and subject to abuse.265 Nevertheless, the RICO Marketing

Defendants engaged in a scheme of deception that utilized the mail and wires in order to carry-

out the Opioid Marketing Enterprises’ fraudulent scheme, thereby increasing sales of their opioid

products.

            834.   It was foreseeable and expected that the RICO Marketing Defendants creating and

then participating in the Opioid Marketing Enterprise through a pattern of racketeering activities

to carry-out their fraudulent scheme would lead to a nationwide opioid epidemic, including

increased opioid addiction and overdose.266

            835.   Specifically, the RICO Marketing Defendants’ creation of, and then participation

in, the Opioid Marketing Enterprise through a pattern of racketeering activities to carry-out their

fraudulent scheme has injured Plaintiffs in the form of substantial losses of money and property

that logically, directly and foreseeably arise from the opioid-addiction epidemic. Plaintiffs’

injuries, as alleged throughout this complaint, and expressly incorporated herein by reference,

include:

                   a.     Losses caused by the decrease in funding available for Plaintiffs’ public
                          services for which funding was lost because it was diverted to other public
                          services designed to address the opioid epidemic;

                   b.     Costs for providing healthcare and medical care, additional therapeutic,
                          and prescription drug purchases, and other treatments for patients
                          suffering from opioid-related addiction or disease, including overdoses
                          and deaths;

                   c.     Costs of training emergency and/or first responders in the proper treatment
                          of drug overdoses;


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      Id.
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      Id.



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               d.     Costs associated with providing police officers, firefighters, and
                      emergency and/or first responders with Naloxone – an opioid antagonist
                      used to block the deadly effects of opioids in the context of overdose;

               e.     Costs associated with emergency responses by police officers, firefighters,
                      and emergency and/or first responders to opioid overdoses;

               f.     Costs for providing mental-health services, treatment, counseling,
                      rehabilitation services, and social services to victims of the opioid
                      epidemic and their families;

               g.     Costs for providing treatment of infants born with opioid-related medical
                      conditions, or born addicted to opioids due to drug use by mother during
                      pregnancy;

               h.     Costs associated with law enforcement and public safety relating to the
                      opioid epidemic, including but not limited to attempts to stop the flow of
                      opioids into local communities, to arrest and prosecute street-level dealers,
                      to prevent the current opioid epidemic from spreading and worsening, and
                      to deal with the increased levels of crimes that have directly resulted from
                      the increased homeless and drug-addicted population;

               i.     Costs associated with increased burden on Plaintiffs’ judicial system,
                      including increased security, increased staff, and the increased cost of
                      adjudicating criminal matters due to the increase in crime directly
                      resulting from opioid addiction;

               j.     Costs associated with providing care for children whose parents suffer
                      from opioid-related disability or incapacitation;

               k.     Loss of tax revenue due to the decreased efficiency and size of the
                      working population in Plaintiffs’ community;

               l.     Costs associated with extensive clean-up of public parks, spaces, and
                      facilities of needles and other debris and detritus of opioid addiction;

               m.     Losses caused by diminished property values in neighborhoods where the
                      opioid epidemic has taken root; and

               n.     Losses caused by diminished property values in the form of decreased
                      business investment and tax revenue.

       836.    Plaintiffs’ injuries were directly and thus proximately caused by these

Defendants’ racketeering activities because they were the logical, substantial and foreseeable

cause of Plaintiffs’ injuries. But for the opioid-addiction epidemic the RICO Marketing



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Defendants created through their Opioid Marketing Enterprise, Plaintiffs would not have lost

money or property.

       837.    Plaintiffs are the most directly harmed entity and there is no other Plaintiff better

suited to seek a remedy for the economic harms at issue here.

       838.    Plaintiffs seek all legal and equitable relief as allowed by law, including, inter

alia, actual damages; treble damages; equitable and/or injunctive relief in the form of court-

supervised corrective communication, actions and programs; forfeiture as deemed proper by the

Court; attorney’s fees; all costs and expenses of suit; and pre- and post-judgment interest,

including, inter alia:

       a.      Actual damages and treble damages, including pre-suit and post-judgment
               interest;

       b.      An order enjoining any further violations of RICO;

       c.      An order enjoining any further violations of any statutes alleged to have been
               violated in this Complaint;

       d.      An order enjoining the commission of any tortious conduct, as alleged in this
               Complaint;

       e.      An order enjoining any future marketing or misrepresentations regarding the
               health benefits or risks of prescription opioids use, except as specifically approved
               by the FDA;

       f.      An order enjoining any future marketing of opioids through non-branded
               marketing including through the Front Groups, KOLs, websites, or in any other
               manner alleged in this Complaint that deviates from the manner or method in
               which such marketing has been approved by the FDA;

       g.      An order enjoining any future marketing to vulnerable populations, including but
               not limited to, persons over the age of fifty-five, anyone under the age of twenty-
               one, and veterans;

       h.      An order compelling the Defendants to make corrective advertising statements
               that shall be made in the form, manner and duration as determined by the Court,
               but not less than print advertisements in national and regional newspapers and
               medical journals, televised broadcast on major television networks, and displayed
               on their websites, concerning: (1) the risk of addiction among patients taking



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         opioids for pain; (2) the ability to manage the risk of addiction; (3)
         pseudoaddiction is really addiction, not a sign of undertreated addiction; (4)
         withdrawal from opioids is not easily managed; (5) increasing opioid dosing
         presents significant risks, including addiction and overdose; (6) long term use of
         opioids has no demonstrated improvement of unction; (8) use of time-released
         opioids does not prevent addiction; (9) abuse-deterrent formulations do not
         prevent opioid abuse; and (10) that manufacturers and distributors have duties
         under the CSA to monitor, identify, investigate, report and halt suspicious orders
         and diversion but failed to do so;

   i.    An order enjoining any future lobbying or legislative efforts regarding the
         manufacturer, marketing, distribution, diversion, prescription, or use of opioids;

   j.    An order requiring all Defendants to publicly disclose all documents,
         communications, records, data, information, research or studies concerning the
         health risks or benefits of opioid use;

   k.    An order prohibiting all Defendants from entering into any new payment or
         sponsorship agreement with, or related to, any: Front Group, trade association,
         doctor, speaker, CME, or any other person, entity, or association, regarding the
         manufacturer, marketing, distribution, diversion, prescription, or use of opioids;

   l.    An order establishing a National Foundation for education, research, publication,
         scholarship, and dissemination of information regarding the health risks of opioid
         use and abuse to be financed by the Defendants in an amount to be determined by
         the Court;

   m.    An order enjoining any diversion of opioids or any failure to monitor, identify,
         investigate, report and halt suspicious orders or diversion of opioids;

   n.    An order requiring all Defendants to publicly disclose all documents,
         communications, records, information, or data, regarding any prescriber, facility,
         pharmacy, clinic, hospital, manufacturer, distributor, person, entity or association
         regarding suspicious orders for or the diversion of opioids;

   o.    An order divesting each Defendant of any interest in, and the proceeds of any
         interest in, the Marketing and Supply Chain Enterprises, including any interest in
         property associated with the Marketing and Supply Chain Enterprises;

   p.    Dissolution and/or reorganization of any trade industry organization, Front Group,
         or any other entity or association associated with the Marketing and Supply Chain
         Enterprises identified in this Complaint, as the Court sees fit;

   q.    Dissolution and/or reorganization of any Defendant named in this Complaint as
         the Court sees fit;




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         r.     Suspension and/or revocation of the license, registration, permit, or prior approval
                granted to any Defendant, entity, association or enterprise named in the
                Complaint regarding the manufacture or distribution of opioids;

         s.     Forfeiture as deemed appropriate by the Court; and

         839.   Attorney’s fees and all costs and expenses of suit.

                                 SECOND CLAIM FOR RELIEF

        Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Supply Chain Enterprise
            (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis,
      McKesson, Cardinal, and AmerisourceBergen – “RICO Supply Chain Defendants”)

         840.   Plaintiffs repeat, re-allege, and incorporate by reference each and every allegation

set forth above as if fully set forth herein.

         841.   At all relevant times, the RICO Supply Chain Defendants were and are “persons”

under 18 U.S.C. § 1961(3) because they are entities capable of holding, and do hold, “a legal or

beneficial interest in property.”

         842.   The RICO Supply Chain Defendants together formed an association-in-fact

enterprise, the Opioid Supply Chain Enterprise, for the purpose of increasing the quota for and

profiting from the increased volume of opioid sales in the United States. The Opioid Supply

Chain Enterprise is an association-in-fact enterprise within the meaning of § 1961. The Opioid

Supply Chain Enterprise consists of the RICO Supply Chain Defendants.

         843.   The RICO Supply Chain Defendants were members of the Healthcare

Distribution Alliance (the “HDA”).267 Each of the RICO Supply Chain Defendants is a member,

participant, and/or sponsor of the HDA, and has been since at least 2006, and utilized the HDA




267
   Health Distribution Alliance, History, Health Distribution Alliance, (last accessed on
September 15, 2017), https://www.healthcaredistribution.org/about/hda-history.



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to form the interpersonal relationships of the Opioid Supply Chain Enterprise and to assist them

in engaging in the pattern of racketeering activity that gives rise to the Count.

       844.    At all relevant times, the Opioid Supply Chain Enterprise: (a) had an existence

separate and distinct from each of the RICO Supply Chain Defendants; (b) was separate and

distinct from the pattern of racketeering in which the RICO Supply Chain Defendants engaged;

(c) was an ongoing and continuing organization consisting of legal entities, including each of the

RICO Supply Chain Defendants; (d) was characterized by interpersonal relationships among the

RICO Supply Chain Defendants; (e) had sufficient longevity for the enterprise to pursue its

purpose; and (f) functioned as a continuing unit. Each member of the Opioid Supply Chain

Enterprise participated in the conduct of the enterprise, including patterns of racketeering

activity, and shared in the astounding growth of profits supplied by fraudulently inflating opioid

quotas and resulting sales.

       845.    The RICO Supply Chain Defendants carried out, or attempted to carry out, a

scheme to defraud federal and state regulators, and the American public by knowingly

conducting or participating in the conduct of the Opioid Supply Chain Enterprise through a

pattern of racketeering activity within the meaning of 18 U.S.C. § 1961(1) that employed the use

of mail and wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

       846.    The RICO Supply Chain Defendants committed, conspired to commit, and/or

aided and abetted in the commission of at least two predicate acts of racketeering activity (i.e.

violations of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of

racketeering activity that the RICO Supply Chain Defendants committed, or aided and abetted in

the commission of, were related to each other, posed a threat of continued racketeering activity,

and therefore constitute a “pattern of racketeering activity.” The racketeering activity was made




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possible by the RICO Supply Chain Defendants’ regular use of the facilities, services,

distribution channels, and employees of the Opioid Supply Chain Enterprise. The RICO Supply

Chain Defendants participated in the scheme to defraud by using mail, telephone and the Internet

to transmit mailings and wires in interstate or foreign commerce.

       847.    The RICO Supply Chain Defendants also conducted and participated in the

conduct of the affairs of the Opioid Supply Chain Enterprise through a pattern of racketeering

activity by the felonious manufacture, importation, receiving, concealment, buying, selling, or

otherwise dealing in a controlled substance or listed chemical (as defined in section 102 of the

Controlled Substance Act), punishable under any law of the United States.

       848.    The RICO Supply Chain Defendants committed crimes that are punishable as

felonies under the laws of the United States. Specifically, 21 U.S.C. § 843(a)(4) makes it

unlawful for any person to knowingly or intentionally furnish false or fraudulent information in,

or omit any material information from, any application, report, record or other document

required to be made, kept or filed under this subchapter. A violation of § 843(a)(4) is punishable

by up to four years in jail, making it a felony. 21 U.S.C. § 843(d)(1).

       849.    Each of the RICO Supply Chain Defendants is a registrant as defined in the CSA.

Their status as registrants under the CSA requires that they maintain effective controls against

diversion of controlled substances in schedule I or II, design and operate a system to disclose to

the registrant suspicious orders of controlled substances and inform the DEA of suspicious

orders when discovered by the registrant. 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).

       850.    The RICO Supply Chain Defendants’ predicate acts of racketeering (18 U.S.C.

§ 1961(1)) include, but are not limited to:

               a.      Mail Fraud: The RICO Supply Chain Defendants violated 18 U.S.C.
                       § 1341 by sending or receiving, or by causing to be sent and/or received,



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                         materials via U.S. mail or commercial interstate carriers for the purpose of
                         executing the unlawful scheme to design, manufacture, market, and sell
                         the prescription opioids by means of false pretenses, misrepresentations,
                         promises, and omissions.

                  b.     Wire Fraud: The RICO Supply Chain Defendants violated 18 U.S.C.
                         § 1343 by transmitting and/or receiving, or by causing to be transmitted
                         and/or received, materials by wire for the purpose of executing the
                         unlawful scheme to design, manufacture, market, and sell the prescription
                         opioids by means of false pretenses, misrepresentations, promises, and
                         omissions.

                  c.     Controlled Substance Violations: The RICO Supply Chain Defendants
                         who are Distributor Defendants violated 21 U.S.C. § 843 by knowingly or
                         intentionally furnishing false or fraudulent information in, and/or omitting
                         material information from, documents filed with the DEA.

        851.      The RICO Supply Chain Defendants conducted their pattern of racketeering

activity in this jurisdiction and throughout the United States through this enterprise.

        852.      The RICO Supply Chain Defendants aided and abetted others in the violations of

the above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and

1343 offenses.

        853.      The RICO Supply Chain Defendants hid from the general public and suppressed

and/or ignored warnings from third parties, whistleblowers and governmental entities about the

reality of the suspicious orders that the RICO Supply Chain Defendants were filling on a daily

basis – leading to the diversion of hundreds of millions of doses of prescriptions opioids into the

illicit market.

        854.      The RICO Supply Chain Defendants, with knowledge and intent, agreed to the

overall objective of their fraudulent scheme and participated in the common course of conduct to

commit acts of fraud and indecency in manufacturing and distributing prescription opioids.




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       855.    Indeed, for the Defendants’ fraudulent scheme to work, each of the Defendants

had to agree to implement similar tactics regarding manufacturing prescription opioids and

refusing to report suspicious orders.

       856.    As described herein, the RICO Supply Chain Defendants engaged in a pattern of

related and continuous predicate acts for years. The predicate acts constituted a variety of

unlawful activities, each conducted with the common purpose of obtaining significant monies

and revenues from the sale of their highly addictive and dangerous drugs. The predicate acts

also had the same or similar results, participants, victims, and methods of commission. The

predicate acts were related and not isolated events.

       857.    The predicate acts all had the purpose of creating the opioid epidemic that

substantially injured Plaintiffs’ business and property, while simultaneously generating billion-

dollar revenue and profits for the RICO Supply Chain Defendants. The predicate acts were

committed or caused to be committed by the RICO Supply Chain Defendants through their

participation in the Opioid Supply Chain Enterprise and in furtherance of its fraudulent scheme.

       858.    The pattern of racketeering activity alleged herein and the Opioid Supply Chain

Enterprise are separate and distinct from each other. Likewise, the RICO Supply Chain

Defendants are distinct from the enterprise.

       859.    The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court.

       860.    Many of the precise dates of the RICO Supply Chain Defendants’ criminal actions

at issue here have been hidden by Defendants and cannot be alleged without access to




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Defendants’ books and records. Indeed, an essential part of the successful operation of the

Opioid Supply Chain Enterprise alleged herein depended upon secrecy.

       861.    By intentionally refusing to report and halt suspicious orders of their prescription

opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

a pattern of racketeering activity.

       862.    It was foreseeable to the RICO Supply Chain Defendants that Plaintiffs would be

harmed when they refused to report and halt suspicious orders, because their violation of the

duties imposed by the CSA and Code of Federal Regulations allowed the widespread diversion

of prescription opioids out of appropriate medical channels and into the illicit drug market –

causing the opioid epidemic that the CSA intended to prevent.

       863.    The last racketeering incident occurred within five years of the commission of a

prior incident of racketeering.

       864.    The RICO Supply Chain Defendants’ violations of law and their pattern of

racketeering activity directly and proximately caused Plaintiffs injury in their business and

property. The RICO Supply Chain Defendants’ pattern of racketeering activity, including their

refusal to identify, report and halt suspicious orders of controlled substances, logically,

substantially and foreseeably cause an opioid epidemic. Plaintiffs were injured by the RICO

Supply Chain Defendants’ pattern of racketeering activity and the opioid epidemic that they

created.

       865.    The RICO Supply Chain Defendants knew that the opioids they manufactured and

supplied were unsuited to treatment of long-term, chronic, non-acute, and non-cancer pain, or for

any other use not approved by the FDA, and knew that opioids were highly addictive and subject




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to abuse. 268 Nevertheless, the RICO Supply Chain Defendants engaged in a scheme of

deception, that utilized the mail and wires as part of their fraud, in order to increase sales of their

opioid products by refusing to identify, report suspicious orders of prescription opioids that they

knew were highly addictive, subject to abuse, and were actually being diverted into the illegal

market.269

          866.   The RICO Supply Chain Defendants’ predicate acts and pattern of racketeering

activity were a cause of the opioid epidemic which has injured Plaintiffs in the form of

substantial losses of money and property that logically, directly and foreseeably arise from the

opioid-addiction epidemic.

          867.   Specifically, Plaintiffs’ injuries, as alleged throughout this complaint, and

expressly incorporated herein by reference, include:

                 a.     Losses caused by the decrease in funding available for Plaintiffs’ public
                        services for which funding was lost because it was diverted to other public
                        services designed to address the opioid epidemic;

                 b.     Costs for providing healthcare and medical care, additional therapeutic,
                        and prescription drug purchases, and other treatments for patients
                        suffering from opioid-related addiction or disease, including overdoses
                        and deaths;

                 c.     Costs of training emergency and/or first responders in the proper treatment
                        of drug overdoses;

                 d.     Costs associated with providing police officers, firefighters, and
                        emergency and/or first responders with Naloxone – an opioid antagonist
                        used to block the deadly effects of opioids in the context of overdose;

                 e.     Costs associated with emergency responses by police officers, firefighters,
                        and emergency and/or first responders to opioid overdoses;


268
   Traveler’s Property Casualty Company of America v. Actavis, Inc., 22 Cal. Rptr. 3d 5, 19
(Cal. Ct. App. 2017).
269
      City of Everett v. Purdue Pharma L.P., 2017 WL 4236062, *6 (W.D. Wash. Sept. 25, 2017).



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               f.      Costs for providing mental-health services, treatment, counseling,
                       rehabilitation services, and social services to victims of the opioid
                       epidemic and their families;

               g.      Costs for providing treatment of infants born with opioid-related medical
                       conditions, or born addicted to opioids due to drug use by mother during
                       pregnancy;

               h.      Costs associated with law enforcement and public safety relating to the
                       opioid epidemic, including but not limited to attempts to stop the flow of
                       opioids into local communities, to arrest and prosecute street-level dealers,
                       to prevent the current opioid epidemic from spreading and worsening, and
                       to deal with the increased levels of crimes that have directly resulted from
                       the increased homeless and drug-addicted population;

               i.      Costs associated with increased burden on Plaintiffs’ judicial system,
                       including increased security, increased staff, and the increased cost of
                       adjudicating criminal matters due to the increase in crime directly
                       resulting from opioid addiction;

               j.      Costs associated with providing care for children whose parents suffer
                       from opioid-related disability or incapacitation;

               k.      Loss of tax revenue due to the decreased efficiency and size of the
                       working population in Plaintiffs’ community;

               l.      Losses caused by diminished property values in neighborhoods where the
                       opioid epidemic has taken root; and

               m.      Losses caused by diminished property values in the form of decreased
                       business investment and tax revenue.

       868.    Plaintiffs’ injuries were proximately caused by Defendants’ racketeering activities

because they were the logical, substantial and foreseeable cause of Plaintiffs’ injuries. But for

the opioid-addiction epidemic created by Defendants’ conduct, Plaintiffs would not have lost

money or property.

       869.    Plaintiff’s injuries were directly caused by the RICO Supply Chain Defendants’

pattern of racketeering activities.

       870.    Plaintiffs are most directly harmed and there are no other Plaintiffs better suited

to seek a remedy for the economic harms at issue here.



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       871.    Plaintiffs seek all legal and equitable relief as allowed by law, including, inter

alia, actual damages; treble damages; equitable and/or injunctive relief in the form of court-

supervised corrective communication, actions and programs; forfeiture as deemed proper by the

Court; attorney’s fees; all costs and expenses of suit; and pre- and post-judgment interest, and all

of the relief sought in the First Claim for Relief, as the Court deems just and applicable.

                                  THIRD CLAIM FOR RELIEF

                         Violation Of The Ohio Corrupt Practices Act
                             Ohio Revised Code §§ 2923.31, et seq.
                        (Against Purdue, Cephalon, Janssen, and Endo)
                             (the “Opioid Marketing Enterprise”)

       872.    Plaintiffs incorporate by reference all other paragraphs of this Complaint as if

fully set forth herein, and further allege as follows.

       873.    Plaintiffs bring this Claim against Defendants Purdue, Cephalon, Janssen, and

Endo (referred to collectively for this Claim as the “the RICO Marketing Defendants”), each of

whom is a “person” within the meaning of Ohio Revised Code Section 2923.31(G).

       B.      The Opioid Marketing Enterprise and Pattern of Corrupt Activity.

       874.    For efficiency and to avoid repetition, for purposes of this claim, Plaintiffs

incorporate by reference the paragraphs of Plaintiffs’ First Claim for Relief concerning the

Opioid Marketing Enterprise.

       875.    As alleged above, each of the RICO Marketing Defendants were members of an

association-in-fact enterprise, the Opioid Marketing Enterprise, within the meaning of Ohio Rev.

Code Ann. § 2923.31(C).

       876.    As alleged above, each of the RICO Marketing Defendants conducted and

participated in the conduct of the affairs of the Opioid Marketing Enterprise through a pattern of

“corrupt activities”, as defined in Ohio Rev. Code Ann.§ 2923.31(1) and (2).



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          877.   As previously alleged, the RICO Marketing Defendants engaged in a pattern of

corrupt activity by committing mail fraud (18 U.S.C. § 1341) and wire fraud (18 U.S.C. § 1343).

The RICO Marketing Defendants acts also constitute a pattern of telecommunications fraud

(Ohio Rev. Code Ann. § 2913.05). The RICO Marketing Defendants formed an association-in-

fact enterprise consisting of “advocacy groups and professional societies” (“Front Groups”) and

paid “physicians affiliated with these groups” (KOLs”) in order to unlawfully increase the

demand for opioids. Through their personal relationships, the RICO Marketing Defendants and

members of the Opioid Marketing Enterprise had the opportunity to form and take actions in

furtherance of the Opioid Marketing Enterprise’s common purpose. The RICO Marketing

Defendants’ substantial financial contribution to the Opioid Marketing Enterprise, and the

advancement of opioids-friendly messaging, fueled the U.S. opioids epidemic.270

          878.   The RICO Marketing Defendants, through the Opioid Marketing Enterprise, made

misleading statements and misrepresentations about opioids that downplayed the risk of

addiction and exaggerated the benefits of opioid use, including: (1) that addiction is rare among

patients taking opioids for pain; (2) that addiction risk can be effectively managed; (3) that

symptoms of addiction exhibited by opioid patients are actually symptoms of an invented

condition the RICO Marketing Defendants named “pseudoaddiction”; (4) that withdrawal is

easily managed; (5) that increased dosing presents no significant risks; (6) that long-term use of

opioids improves function; (7) that the risks of alternative forms of pain treatment are greater

than the adverse effects of opioids; (8) that use of time-released dosing prevents addiction; and

(9) that abuse-deterrent formulations provide a solution to opioid abuse.



270
      Fueling an Epidemic, supra note 125, p. 1.



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       C.      Injury Caused and Relief Sought

       879.    The RICO Marketing Defendants’ violations of law and their pattern of

racketeering activity directly or indirectly caused Plaintiffs’ injury. The RICO Marketing

Defendants’ pattern of racketeering activity logically, substantially and foreseeably caused an

opioid epidemic. Plaintiffs’ injuries, as described below, were not unexpected, unforeseen or

independent. Rather, as Plaintiffs allege, the RICO Marketing Defendants knew that the opioids

were unsuited to treatment of long-term chronic, non-acute, and non-cancer pain, or for any other

use not approved by the FDA, and knew that opioids were highly addictive and subject to abuse.

Nevertheless, the RICO Marketing Defendants engaged in a scheme of deception, that utilized

the mail and wires as part of their fraud, in order to increase sales of their opioid products.

       880.    It was foreseeable and expected that a massive marketing campaign utilized by

the RICO Marketing Defendants that misrepresented the non-addictive and effective use of

prescription opioids for purposes for which they are not suited and not approved by the FDA

would lead to a nationwide opioid epidemic. It was also foreseeable and expected that the RICO

Marketing Defendants’ marketing campaign would lead to increased opioid addiction and

overdose. Plaintiffs’ injury were logically, foreseeable, and substantially caused by the opioid

epidemic that the RICO Marketing Defendants created.

       881.    Specifically, the RICO Marketing Defendants’ predicate acts and pattern of

racketeering activity caused the opioid epidemic which has injured Plaintiffs in the form of

substantial losses of money and property that logically, directly and foreseeably arise from the

opioid-addiction epidemic. Plaintiffs’ injuries, as alleged throughout this complaint, and

expressly incorporated herein by reference, include:

               a.      Losses caused by the decrease in funding available for Plaintiffs’ public
                       services for which funding was lost because it was diverted to other public
                       services designed to address the opioid epidemic;


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         b.    Costs for providing healthcare and medical care, additional therapeutic,
               and prescription drug purchases, and other treatments for patients
               suffering from opioid-related addiction or disease, including overdoses
               and deaths;

         c.    Costs of training emergency and/or first responders in the proper treatment
               of drug overdoses;

         d.    Costs associated with providing police officers, firefighters, and
               emergency and/or first responders with Naloxone – an opioid antagonist
               used to block the deadly effects of opioids in the context of overdose;

         e.    Costs associated with emergency responses by police officers, firefighters,
               and emergency and/or first responders to opioid overdoses;

         f.    Costs for providing mental-health services, treatment, counseling,
               rehabilitation services, and social services to victims of the opioid
               epidemic and their families;

         g.    Costs for providing treatment of infants born with opioid-related medical
               conditions, or born addicted to opioids due to drug use by mother during
               pregnancy;

         h.    Costs associated with law enforcement and public safety relating to the
               opioid epidemic, including but not limited to attempts to stop the flow of
               opioids into local communities, to arrest and prosecute street-level dealers,
               to prevent the current opioid epidemic from spreading and worsening, and
               to deal with the increased levels of crimes that have directly resulted from
               the increased homeless and drug-addicted population;

         i.    Costs associated with increased burden on Plaintiffs’ judicial system,
               including increased security, increased staff, and the increased cost of
               adjudicating criminal matters due to the increase in crime directly
               resulting from opioid addiction;

         j.    Costs associated with providing care for children whose parents suffer
               from opioid-related disability or incapacitation;

         k.    Costs associated with extensive clean-up of public parks, spaces and
               facilities of needles and other debris and detritus of opioid addiction;

         l.    Loss of tax revenue due to the decreased efficiency and size of the
               working population in Plaintiffs’ community;

         m.    Losses caused by diminished property values in neighborhoods where the
               opioid epidemic has taken root; and




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                n.     Losses caused by diminished property values in the form of decreased
                       business investment and tax revenue.

       882.     Plaintiffs seek all legal and equitable relief as allowed by law, including, inter

alia, actual damages; treble damages; equitable and/or injunctive relief, including corrective

statements, information and education, under Ohio Rev. Code § 2923.34(B)(1)-(2), requiring

divestiture by, and reasonable restrictions upon, the future activities of the Defendants; forfeiture

as deemed proper by the Court; attorney’s fees and all costs; expenses of suit; and pre- and post-

judgment interest, and all of the relief sought into the First Claim for Relief, as the Court deems

just and applicable.

                                FOURTH CLAIM FOR RELIEF

                         Violation Of The Ohio Corrupt Practices Act
                             Ohio Revised Code §§ 2923.31, et seq.
              Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis,
                        McKesson, Cardinal, and AmerisourceBergen)
                           (The “Opioid Supply Chain Enterprise”)

       883.     Plaintiffs incorporate by reference all other paragraphs of this Complaint as if

fully set forth herein, and further allege as follows.

       884.     Plaintiffs bring this Claim against Defendants Purdue, Cephalon, Endo,

Mallinckrodt, Actavis (the “RICO Marketing Defendants”), and Defendants McKesson,

Cardinal, and AmerisourceBergen (the “Distributor Defendants”) (together with the RICO

Marketing Defendants, the “RICO Supply Chain Defendants”), each of whom is a “person”

within the meaning of Ohio Rev. Code Ann. § 2923.31(G).

       D.       The Opioid Supply Chain Enterprise and Pattern of Corrupt Activity

       885.     For efficiency and to avoid repetition, for purposes of this claim, Plaintiffs

incorporate by reference the paragraphs of Plaintiffs’ First Claim for Relief concerning the

Opioid Supply Chain Enterprise.



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       886.    As alleged above, each of the RICO Supply Chain Defendants were members of

an association-in-fact enterprise, the Opioid Supply Chain Enterprise, within the meaning of

Ohio Rev. Code Ann. § 2923.31(C).

       887.    As alleged above, each of the RICO Supply Chain Defendants conducted and

participated in the conduct of the affairs of this Enterprise through a pattern of “corrupt

activities” as defined in Ohio Rev. Code Ann.§ 2923.31(I)(1) and (2).

       888.    As previously alleged, the RICO Supply Chain Defendants engaged in a pattern

of corrupt activities defined as “racketeering activities” in 18 U.S.C. § 1961(1)(B) and (D),

including mail fraud (18 U.S.C. § 1341), wire fraud (18 U.S.C. § 1343), and dealing in a

controlled substance which crime is punishable under any law of the United States. The RICO

Supply Chain Defendants acts also constitute a pattern of telecommunications fraud (Ohio Rev.

Code Ann. § 2913.05).

       889.    For over a decade, the RICO Supply Chain Defendants aggressively sought to

bolster their revenue, increase profit, and grow their share of the prescription painkiller market

by unlawfully and surreptitiously increasing the volume of opioids they sold. However, the

RICO Supply Chain Defendants are not permitted to engage in a limitless expansion of their

sales through the unlawful sales of regulated painkillers. As “registrants” under the Controlled

Substances Act, 21 U.S.C. § 821, et seq. (the “CSA”), the RICO Supply Chain Defendants

operated and continue to operate within a “closed-system.” The CSA restricts the Supply Chain

Defendants’ ability to manufacture or distribute Schedule II substances like opioids by:

(1) requiring them to make sales within a limited quota set by the DEA for the overall production

of Schedule II substances like opioids; (2) register to manufacture or distribute opioids;

(3) maintain effective controls against diversion of the controlled substances that they




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manufacturer or distribute; and (4) design and operate a system to identify suspicious orders of

controlled substances, halt such unlawful sales, and report them to the DEA.

         890.   As alleged above, Congress created a closed-system when it enacted the CSA,

including the establishment of quota system, with the specific intent to protect public safety by

reducing or eliminating the diversion of Schedule II drugs, like opioids, from legitimate channels

of trade to illicit markets “by controlling the basic ingredients needed for the manufacture of

[controlled substances.]”271

         891.   Each of the RICO Supply Chain Defendants knows and has known for decades

that if they do not report, investigate or halt suspicious orders suspicious orders, the likelihood of

the DEA learning of these illicit transactions and diversions in a timely manner, or at all, is

greatly reduced and, therefore, is likely to contribute to the increase and maintenance of

artificially high quotas.

         892.   Each of the Manufacturing and Distributor Defendants also knows, and has

known for decades, that the quotas for their opioid products will decrease or increase as the

number of licit prescriptions decrease or increase.

         893.   Therefore, finding it impossible to legally achieve their ever increasing sales

ambitions, members of the Opioid Supply Chain Enterprise engaged in the common purpose of

fraudulently increasing the quotas that governed the manufacture and distribution of their

prescription opioids. The RICO Supply Chain Defendants formed and pursued their common

purpose through the many personal interactions that they had, confidentially, in organizations

like the Pain Care Forum and the Healthcare Distribution Alliance.

271
   1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the
Caucus on International Narcotics Control, United States Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony _0.pdf).



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       894.    The RICO Supply Chain Defendants’ common purpose and fraudulent scheme to

unlawfully increase the DEA quotas violated the Corrupt Practices Act in three ways. First, the

RICO Supply Chain Defendants violated the Corrupt Practices Act because they engaged in the

felonious manufacture, buying selling, or otherwise dealing in controlled substances that are

punishable by law in the United States. Specifically, the RICO Supply Chain Defendants

engaged in the manufacture, buying, selling, or otherwise dealing in controlled substances in

violation of 21 U.S.C. § 843 because they furnished false or fraudulent material information in,

and omitted material information from, applications, reports, records, and other document they

were required to make, keep, or file under required to be made, kept, or filed under this

subchapter or subchapter II of 21 U.S.C. 801, et seq.

       895.    Second, the RICO Supply Chain Defendants violated the Corrupt Practices Act by

engaging in mail and wire fraud. The RICO Supply Chain Defendants’ common purpose and

fraudulent scheme was intended to, and did, utilize interstate mail and wire facilities for the

commission of their fraud in violation 18 U.S.C. §§ 1341 (mail fraud) and 1343 (wire fraud).

       896.    Third, the RICO Supply Chain Defendants violated the Corrupt Practices Act by

engaging in telecommunications fraud. The RICO Supply Chain Defendants’ common purpose

and fraudulent scheme was intended to, and did disseminate or transmit writings, data, signs,

signals, pictures, sounds or images by means of wire, radio, satellite, telecommunication,

telecommunications devices or services in furtherance of the scheme to defraud.

       897.    The RICO Supply Chain Defendants’ fraudulent scheme arises at the intersection

between the quotas governing the RICO Supply Chain Defendants’ prescription opioids and the

RICO Supply Chain Defendants’ duty to identify, report, and halt suspicious orders of controlled

substances. The RICO Supply Chain Defendants’ formed an enterprise with the intent to




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fraudulently increase the quotas for prescription opioids by refusing to identify, report and halt

suspicious orders, thereby omitting both the fact and the RICO Supply Chain Defendants’

knowledge of widespread diversion of prescription opioids into illegitimate channels.

          898.   The RICO Supply Chain Defendants engaged in systematic and fraudulent acts as

part of the Opioid Supply Chain Enterprise, that furnished false or fraudulent material

information in, and omitted material information from their applications, reports, records and

other documents that the RICO Supply Chain Defendants were required to make, keep and/or

file. Furthermore, the RICO Supply Chain Defendants engaged in systematic and fraudulent acts

as part of the Opioid Distribution Enterprise that were intended to and actually did utilize the

mail and wire facilities of the United States and Ohio, including refusing to maintain effective

controls against diversion of their drugs, to design and operate a system to identify suspicious

orders of their drugs, to halt unlawful sales of suspicious orders, and to notify the DEA of

suspicious orders.272

          899.   Through the RICO Supply Chain Defendants’ scheme, members of the Opioid

Supply Chain Enterprise repeatedly requested increases of the quotas governing the manufacture,

sale and distribution of prescription opioids, misrepresented that they were complying with their

duties under the CSA, furnished false or fraudulent material information in, and omitted material

information from their applications, reports, records and other documents, engaged in unlawful

sales of painkillers that resulted in diversion of controlled substances through suspicious orders,

and refused to identify or report suspicious orders of controlled substances sales to the DEA.273

Defendants’ refusal to report suspicious orders resulted in artificial and illegal increases in the


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      21 U.S.C. § 823(a)(1), (b)(1); 21 C.F.R. § 1301.74(b)-(c).
273
      21 C.F.R. § 1303.11(b); 21 C.F.R. § 1303.23.



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annual production quotas for opioids allowed by the DEA. The end result of the RICO Supply

Chain Defendants’ fraudulent scheme and common purpose was continually increasing quotas

that generated obscene profits and, in turn, fueled an opioid epidemic.

       900.    In particular, each of the RICO Supply Chain Defendants were associated with,

and conducted or participated in, the affairs of the Opioid Supply Chain Enterprise, whose

common purpose was fraudulently increase the quotas governing the manufacture and sale of

prescription opioids.

       901.    The success of the RICO Supply Chain Defendants’ scheme allowed them to

unlawfully increase and/or maintain high production quotas and, as a direct result, allowed them

to make billions from the unlawful sale and diversion of opioids.

       E.      Impact of The Opioid Supply Chain Enterprise

       902.    The factual allegations and tragic statistics of injury and damage set forth in

Sections I.G-I.H apply equally here.

       F.      Injury Caused and Relief Sought

       903.    The RICO Supply Chain Defendants’ violations of law and their pattern of

racketeering activity directly and indirectly caused Plaintiffs’ injury. Their pattern of corrupt

activity logically, substantially and foreseeably caused an opioid epidemic. Plaintiffs’ injuries,

as described below, were not unexpected, unforeseen or independent. Rather, as Plaintiffs

allege, Defendants knew that the opioids were going to fuel and ever increasing illicit

prescription market, as well as increasing addiction and death as a result of licit prescriptions of

opioids to treat chronic, long-term pain.

       904.    It was foreseeable and expected that flooding the illegal market for opioids would

lead to a nationwide opioid epidemic. It was also foreseeable and expected that it would lead to




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increased opioid addiction and overdose. Plaintiffs’ injury was logically, foreseeable, and

substantially caused by the opioid epidemic that the RICO Supply Chain Defendants created.

       905.    Specifically, the RICO Supply Chain Defendants’ pattern of corrupt activity

caused the opioid epidemic which has injured Plaintiffs in the form of substantial losses of

money and property that logically, directly and foreseeably arise from the opioid-addiction

epidemic. Plaintiffs’ injuries, as alleged throughout this complaint, and expressly incorporated

herein by reference, include:

               a.     Losses caused by the decrease in funding available for Plaintiffs’ public
                      services for which funding was lost because it was diverted to other public
                      services designed to address the opioid epidemic;

               b.     Costs for providing healthcare and medical care, additional therapeutic,
                      and prescription drug purchases, and other treatments for patients
                      suffering from opioid-related addiction or disease, including overdoses
                      and deaths;

               c.     Costs of training emergency and/or first responders in the proper treatment
                      of drug overdoses;

               d.     Costs associated with providing police officers, firefighters, and
                      emergency and/or first responders with Naloxone – an opioid antagonist
                      used to block the deadly effects of opioids in the context of overdose;

               e.     Costs associated with emergency responses by police officers, firefighters,
                      and emergency and/or first responders to opioid overdoses;

               f.     Costs for providing mental-health services, treatment, counseling,
                      rehabilitation services, and social services to victims of the opioid
                      epidemic and their families;

               g.     Costs for providing treatment of infants born with opioid-related medical
                      conditions, or born addicted to opioids due to drug use by mother during
                      pregnancy;

               h.     Costs associated with law enforcement and public safety relating to the
                      opioid epidemic, including but not limited to attempts to stop the flow of
                      opioids into local communities, to arrest and prosecute street-level dealers,
                      to prevent the current opioid epidemic from spreading and worsening, and
                      to deal with the increased levels of crimes that have directly resulted from
                      the increased homeless and drug-addicted population;



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                i.     Costs associated with increased burden on Plaintiffs’ judicial system,
                       including increased security, increased staff, and the increased cost of
                       adjudicating criminal matters due to the increase in crime directly
                       resulting from opioid addiction;

                j.     Costs associated with providing care for children whose parents suffer
                       from opioid-related disability or incapacitation;

                k.     Costs associated with extensive clean-up of public parks, spaces and
                       facilities of needles and other debris and detritus of opioid addiction;

                l.     Loss of tax revenue due to the decreased efficiency and size of the
                       working population in Plaintiffs’ community;

                m.     Losses caused by diminished property values in neighborhoods where the
                       opioid epidemic has taken root; and

                n.     Losses caused by diminished property values in the form of decreased
                       business investment and tax revenue.

        906.    Plaintiffs seek all legal and equitable relief as allowed by law, including, inter

alia, actual damages, treble damages, equitable and/or injunctive relief, including corrective

statements, information and education, under Ohio Rev. Code § 2923.34(B)(1)-(2), requiring

divestiture by, and reasonable restrictions upon, the future activities of the Defendants, forfeiture

as deemed proper by the Court, attorney’s fees and all costs, and expenses of suit, and pre- and

post-judgment interest, and all of the relief sought into the First Claim for Relief, as the Court

deems just and applicable.

                                 FIFTH CLAIM FOR RELIEF
                            Common Law Absolute Public Nuisance
                                    (Against All Defendants)
               Pursuant to Ohio Revised Code §2307.71 et seq. and the Common Law


        907.    Plaintiffs incorporate by reference all other paragraphs of this Complaint as if

fully set forth herein unless inconsistent with the allegations in this Count, and further allege:

        908.    Defendants created and maintained a public nuisance which proximately caused

injury to Plaintiff.



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       909.       A public nuisance is an unreasonable interference with a right common to the

general public.

       910.       Defendants have created and maintained a public nuisance by marketing,

distributing, and selling opioids in ways that unreasonably interfere with the public health,

welfare, and safety in Plaintiffs’ Community, and Plaintiffs and the residents of Plaintiffs’

Community have a common right to be free from such conduct and to be free from conduct that

creates a disturbance and reasonable apprehension of danger to person and property.

       911.       The public nuisance is an absolute public nuisance because Defendants’ nuisance-

creating conduct was intentional and unreasonable and/or violated statutes which established

specific legal requirements for the protection of others.

       912.       Defendants have created and maintained an absolute public nuisance through their

ongoing conduct of marketing, distributing, and selling opioids, which are dangerously addictive

drugs, in a manner which caused prescriptions and sales of opioids to skyrocket in Plaintiffs’

Community, flooded Plaintiffs’ Community with opioids, and facilitated and encouraged the

flow and diversion of opioids into an illegal, secondary market, resulting in devastating

consequences to Plaintiffs and the residents of Plaintiffs’ Community.

       913.       Defendants know, and have known, that their intentional, unreasonable, and

unlawful conduct will cause, and has caused, opioids to be used and possessed illegally and that

their conduct has produced an ongoing nuisance that has had, and will continue to have, a

detrimental effect upon the public health, welfare, safety, peace, comfort, and convenience of

Plaintiffs and Plaintiff’s Community.

       914.       Defendants’ conduct has created an ongoing, significant, unlawful, and

unreasonable interference with rights common to the general public, including the public health,




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welfare, safety, peace, comfort, and convenience of Plaintiffs and Plaintiff’s Community. See

Restatement (Second) of Torts § 821B.

       915.    The interference is unreasonable because Defendants’ nuisance-creating conduct:

               a.      Involves a significant interference with the public health, the public safety,
                       the public peace, the public comfort, and/or the public convenience;

               b.      At all relevant times was and is proscribed by state and federal laws and
                       regulations; and/or

               c.      Is of a continuing nature and, as Defendants know, has had and is
                       continuing to have a significant effect upon rights common to the general
                       public, including the public health, the public safety, the public peace, the
                       public comfort, and/or the public convenience.

       916.    The significant interference with rights common to the general public is described

in detail throughout this Complaint and includes:

               a.      The creation and fostering of an illegal, secondary market for prescription
                       opioids;

               b.      Easy access to prescription opioids by children and teenagers;

               c.      A staggering increase in opioid abuse, addiction, overdose, injuries, and
                       deaths;

               d.      Infants being born addicted to opioids due to prenatal exposure, causing
                       severe withdrawal symptoms and lasting developmental impacts;

               e.      Employers have lost the value of productive and healthy employees; and

               f.      Increased costs and expenses for Plaintiffs relating to healthcare services,
                       law enforcement, the criminal justice system, social services, education
                       systems, and property maintenance and clean-up.

       917.    Defendants intentionally and unreasonably and/or unlawfully deceptively

marketed and pushed as many opioids onto the market as possible, fueling addiction to and

diversion of these powerful narcotics, resulting in increased addiction and abuse, an elevated

level of crime, death and injuries to the residents of Plaintiffs’ Community, a higher level of fear,




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discomfort and inconvenience to the residents of Plaintiffs’ Community, and direct costs to

Plaintiffs and Plaintiff’s Community.

       918.    Each Defendant is liable for creating the public nuisance because the intentional

and unreasonable and/or unlawful conduct of each Defendant was a substantial factor in

producing the public nuisance and harm to Plaintiff.

       919.    A violation of any rule or law controlling the sale and/or distribution of a drug of

abuse in Plaintiffs’ Community constitutes an absolute public nuisance. See e.g. R.C. § 4729.35

(“The violation by a . . . person of any laws of Ohio or of the United States of America or of any

rule of the board of pharmacy controlling the distribution of a drug of abuse . . . constitute[s] a

public nuisance[.]”).

       920.    In the sale and distribution of opioids in Ohio and Plaintiffs’ Community,

Defendants violated federal law, including, but not limited to, 21 U.S.C.A. § 823 and 21 C.F.R.

§ 1301.74, and Ohio law, including, but not limited to, R.C. § 4729.01(F) and O.A.C. §§ 4729-9-

12, 4729-9-16, and 4729-9-28.

       921.    Defendants’ unlawful nuisance-creating conduct includes violating federal and

Ohio statutes and regulations, including the controlled substances laws, by:

               a.       Distributing and selling opioids in ways that facilitated and encouraged
                        their flow into the illegal, secondary market;

               b.       Distributing and selling opioids without maintaining effective controls
                        against the diversion of opioids;

               c.       Choosing not to effectively monitor for suspicious orders;

               d.       Choosing not to investigate suspicious orders;

               e.       Choosing not to report suspicious orders;

               f.       Choosing not to stop or suspend shipments of suspicious orders; and




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               g.      Distributing and selling opioids prescribed by “pill mills” when
                       Defendants knew or should have known the opioids were being prescribed
                       by “pill mills.”

       922.    Defendants’ intentional and unreasonable nuisance-creating conduct, for which

the gravity of the harm outweighs the utility of the conduct, includes:

               a.      Distributing and selling opioids in ways that facilitated and encouraged
                       their flow into the illegal, secondary market;

               b.      Distributing and selling opioids without maintaining effective controls
                       against the diversion of opioids;

               c.      Choosing not to effectively monitor for suspicious orders;

               d.      Choosing not to investigate suspicious orders;

               e.      Choosing not to report suspicious orders;

               f.      Choosing not to stop or suspend shipments of suspicious orders; and

               g.      Distributing and selling opioids prescribed by “pill mills” when
                       Defendants knew or should have known the opioids were being prescribed
                       by “pill mills.”

       923.    Defendants intentionally and unreasonably distributed and sold opioids that

Defendants knew would be diverted into the illegal, secondary market and would be obtained by

persons with criminal purposes.

       924.    The Marketing Defendants intentionally and unreasonably engaged in a deceptive

marketing scheme that was designed to, and successfully did, change the perception of opioids

and cause their prescribing and sales to skyrocket in Plaintiffs’ Community.

       925.    The Marketing Defendants intentionally and unreasonably misled Plaintiff,

healthcare providers, and the public about the risks and benefits of opioids, including minimizing

the risks of addiction and overdose and exaggerating the purported benefits of long-term use of

opioids for the treatment of chronic pain.




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       926.    The Marketing Defendants violated Ohio and federal statutes and regulations,

including the controlled substances laws, by engaging in the deceptive marketing of opioids, as

described in this Complaint.

       927.    In the distribution and sale of opioids in Ohio and Plaintiffs’ Community,

Defendants violated and/or aided and abetted violations of R.C. § 2925.02(A), which states:

               “No person shall knowingly do any of the following:

               (1) By force, threat, or deception, administer to another or induce
               or cause another to use a controlled substance; . . . or

               (3) By any means, administer or furnish to another or induce or
               cause another to use a controlled substance, and thereby cause
               serious physical harm to the other person, or cause the other person
               to become drug dependent.”

       928.    Defendants are in the business of manufacturing, marketing, selling and/or

distributing prescription drugs, including opioids, which are specifically known to Defendants to

be dangerous because inter alia these drugs are defined under federal and state law as substances

posing a high potential for abuse and addiction.

       929.    Indeed, opioids are akin to medical grade heroin. Defendants’ wrongful conduct

of deceptively marketing and pushing as many opioids onto the market as possible led directly to

the public nuisance and harm to Plaintiff—exactly as would be expected when medical-grade

heroin in the form of prescription opioids are deceptively marketed, flood the community, and

are diverted into an illegal, secondary market.

       930.    Defendants had control over their conduct in Plaintiffs’ Community and that

conduct has had an adverse effect on rights common to the general public. Marketing

Defendants controlled their deceptive advertising and efforts to mislead the public, including

their acts and omissions in detailing by their sales representatives, online communications,

publications, Continuing Medical Education programs and other speaking events, and other


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means described in this Complaint. Defendants had control over their own shipments of opioids

and over their reporting, or lack thereof, of suspicious prescribers and orders. Each of the

Defendants controlled the systems they developed to prevent diversion, including whether they

filled orders they knew or should have known were likely to be diverted or fuel an illegal market.

       931.    It was reasonably foreseeable that Defendants’ actions and omissions would result

in the public nuisance and harm to Plaintiffs described herein.

       932.    Because of the Marketing Defendants’ deceptive marketing of opioids and

Defendants’ special positions within the closed system of opioid distribution, without

Defendants’ actions, opioid use would not have become so widespread, and the enormous public

health hazard of prescription opioid and heroin overuse, abuse, and addiction that now exists

would have been averted.

       933.    The public nuisance created by Defendants’ actions is substantial and

unreasonable. It has caused and continues to cause significant harm to Plaintiffs’ Community and

the harm inflicted outweighs any offsetting benefit.

       934.    The externalized risks associated with Defendants’ nuisance-creating conduct as

described herein greatly exceed the internalized benefits.

       935.    As a direct and proximate result of Defendants’ tortious conduct and the public

nuisance created by Defendants, Plaintiffs have suffered and will continue to suffer economic

damages including, but not limited to, significant expenses for police, emergency, health,

prosecution, corrections, rehabilitation, and other services.

       936.    As a direct and proximate result of Defendants’ tortious conduct and the public

nuisance created by Defendants, Plaintiffs have suffered and will continue to suffer stigma

damage, non-physical property damage, and damage to its proprietary interests.




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          937.   The nuisance created by Defendants’ conduct is abatable.

          938.   Defendants’ misconduct alleged in this case is ongoing and persistent.

          939.   Defendants’ misconduct alleged in this case does not concern a discrete event or

discrete emergency of the sort a political subdivision would reasonably expect to occur, and is

not part of the normal and expected costs of a local government’s existence. Plaintiffs allege

wrongful acts which are neither discrete nor of the sort a local government can reasonably

expect.

          940.   Plaintiffs have incurred expenditures for special programs over and above

Plaintiffs’ ordinary public services.

          941.   Plaintiffs seek to abate the nuisance created by the Defendants’ unreasonable,

unlawful, intentional, ongoing, continuing, and persistent actions and omissions and

unreasonable interference with rights common to the general public.

          942.   Plaintiffs have suffered, and will continue to suffer, unique harms as described in

this Complaint, which are of a different kind and degree than Ohio citizens at large. These are

harms that can only be suffered by Plaintiff.

          943.   Plaintiffs are asserting its own rights and interests and Plaintiffs’ claims are not

based upon or derivative of the rights of others.

          944.   The tortious conduct of each Defendant was a substantial factor in creating the

absolute public nuisance.

          945.   The tortious conduct of each Defendant was a substantial factor in producing

harm to Plaintiff.

          946.   Plaintiffs have suffered an indivisible injury as a result of the tortious conduct of

Defendants.




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        947.    Defendants acted with actual malice because Defendants acted with a conscious

disregard for the rights and safety of other persons, and said actions had a great probability of

causing substantial harm.

        948.    Plaintiffs assert this Cause of Action as a common law tort claim for absolute

public nuisance and not as a “product liability claim” as defined in R.C. § 2307.71. In this

Count, Plaintiff does not seek damages for death, physical injury to person, emotional distress, or

physical damage to property, as defined under the Ohio Product Liability Act.

        949.    Plaintiffs seek all legal and equitable relief as allowed by law, including inter alia

injunctive relief, restitution, disgorgement of profits, compensatory and punitive damages, and

all damages allowed by law to be paid by the Defendants, attorney fees and costs, and pre- and

post-judgment interest.

                                  SIXTH CLAIM FOR RELIEF
                                          Negligence
                                    (Against All Defendants)


        950.    Plaintiffs incorporate by reference all other paragraphs of this Complaint as if

fully set forth herein, and further allege:

        951.    Defendants owed Plaintiff a duty, including a preexisting duty, to not expose

Plaintiff to an unreasonable risk of harm.

        952.    Defendants had a legal duty to exercise reasonable and ordinary care and skill in

accordance with applicable standards of conduct in manufacturing, advertising, marketing,

selling and/or distributing opioids.

        953.    Defendants had a duty not to breach the standard of care established under Ohio

law and the federal Controlled Substances Act (“CSA”) and its implementing regulations to

report suspicious prescribing and to maintain systems to detect and report such activity.



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        954.    The degree of care the law requires is commensurate with the risk of harm the

conduct creates. Defendants’ conduct in marketing, distributing, and selling dangerously

addictive drugs requires a high degree of care and places them in a position of great trust and

responsibility vis a vis Plaintiff. Their duty cannot be delegated.

        955.    Each Defendant breached its duty to exercise the degree of care, prudence,

watchfulness, and vigilance commensurate with the dangers involved in selling dangerous

controlled substances.

        956.    Defendants breached their duty to Plaintiff by, inter alia:

                a.       Distributing and selling opioids in ways that facilitated and encouraged
                         their flow into the illegal, secondary market;

                b.       Distributing and selling opioids without maintaining effective controls
                         against the diversion of opioids;

                c.       Choosing not to effectively monitor for suspicious orders;

                d.       Choosing not to investigate suspicious orders;

                e.       Choosing not to report suspicious orders;

                f.       Choosing not to stop or suspend shipments of suspicious orders; and

                g.       Distributing and selling opioids prescribed by “pill mills” when
                         Defendants knew or should have known the opioids were being prescribed
                         by “pill mills.”

        957.    The Marketing Defendants breached their duty to Plaintiff by deceptively

marketing opioids, including minimizing the risks of addiction and overdose and exaggerating

the purported benefits of long-term use of opioids for the treatment of chronic pain.

        958.    Plaintiff does not allege that Defendants were negligent for failure to protect from

harm. Rather, Defendants engaged in conduct the foreseeable result of which was to cause harm

to Plaintiff.




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       959.    Defendants have engaged in affirmative acts of creating an illegal, secondary

prescription opioid market by failing to exercise adequate control over the marketing,

distribution, and sale of their prescription opioids.

       960.    Defendants were negligent by marketing, distributing, and selling opioids in a

way that created and fostered an illegal, secondary prescription opioid market that resulted in a

foreseeable and unreasonable risk of harm to Plaintiff.

       961.    The method by which Defendants created this market was by marketing,

distributing, and selling opioids without regard to the likelihood that the opioids would be placed

in the hands of criminals, addicts, juveniles, and others not permitted to use or possess

prescription opioids.

       962.    A reasonably prudent opioid manufacturer and distributor should have anticipated

an injury to Plaintiff as a probable result of marketing, distributing, and selling prescription

opioids in this manner.

       963.    It was reasonably foreseeable that Defendants’ actions and omissions would result

in the harm to Plaintiff as described herein.

       964.    Defendants had control over their conduct in Plaintiffs’ Community. Marketing

Defendants controlled their deceptive advertising and efforts to mislead the public, including

their acts and omissions in detailing by their sales representatives, online communications,

publications, Continuing Medical Education programs and other speaking events, and other

means described in this Complaint. Defendants had control over their own shipments of opioids

and over their reporting, or lack thereof, of suspicious prescribers and orders. Each of the

Defendants controlled the systems they developed to prevent diversion, including the criteria and

process they used to identify suspicious orders, whether and to what extent they trained their




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employees to report and halt suspicious orders, and whether they filled orders they knew or

should have known were likely to be diverted or fuel an illegal market.

       965.    Because of the Marketing Defendants’ deceptive marketing of opioids and each of

the Defendants’ special positions within the closed system of opioid distribution, without

Defendants’ actions, opioid use would not have become so widespread, and the enormous public

health hazard of prescription opioid and heroin overuse, abuse, and addiction that now exists

would have been averted.

       966.    Defendants also misleadingly portrayed themselves as cooperating with law

enforcement and actively working to combat the opioid epidemic when, in reality, Defendants

failed to satisfy even their minimum, legally-required obligations to report suspicious orders.

Defendants voluntarily undertook duties, through their statements to the media, regulators, and

the public at large, to take all reasonable precautions to prevent drug diversion.

       967.    Defendants are in the business of manufacturing, marketing, selling and/or

distributing prescription drugs, including opioids, which are specifically known to Defendants to

be dangerous because inter alia these drugs are defined under federal and state law as substances

posing a high potential for abuse and addiction.

       968.    Indeed, opioids are akin to medical grade heroin. Defendants’ wrongful conduct

of deceptively marketing and pushing as many opioids onto the market as possible led directly to

the public nuisance and harm to Plaintiff – exactly as would be expected when medical grade

heroin in the form of prescription opioids are deceptively marketed, flood the community, and

are diverted into an illegal, secondary market.

       969.    Reasonably prudent manufacturers and distributors of prescription opioids would

have anticipated that the scourge of opioid addiction would wreak havoc on communities, and




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the significant costs which would be imposed upon the governmental entities associated with

those communities. Indeed, it is a violation of R.C. § 4729.35 and Ohio Administrative Code

§§ 4729-9-12, 4729-9-16, and 4729-9-28 for distributors (including Marketing Defendants

registered as distributors) and a violation of R.C. § 4729.35, 21 U.S.C. § 823, and 21 C.F.R.

§ 1301.74 for Defendants not to report suspicious orders and exercise due diligence not to ship

such orders unless and until the suspicion has been removed. The closed system of opioid

distribution, whereby wholesale distributors are the gatekeepers between manufacturers and

pharmacies, exists for the purpose of controlling dangerous substances such as opioids and

preventing diversion and abuse.

          970.   Marketing Defendants knew or should have known that their affirmative

misconduct in engaging in an aggressive, widespread, and misleading campaign in marketing

narcotic drugs created an unreasonable risk of harm. The Defendants’ sales data, reports from

sales representatives, and internal documents, should have put them on notice that such harm was

not only foreseeable, but was actually occurring. Defendants nevertheless chose to deceptively

withhold information about the dangers of opioids from Plaintiff, physicians, patients, and the

public.

          971.   Defendants conduct was negligence per se in that Defendants violated federal

law, including, but not limited to, 21 U.S.C. §§ 823 and 827(d)(1); 21 C.F.R. §§ 1301.74,

1304.21, 1304.22, and 1304.33(e); and Ohio law, including, but not limited to, R.C.

§ 2925.02(A); and § 4729.01(F) and O.A.C. §§ 4729-9-12, 4729-9-16, and 4729-9-28. Plaintiff

was a party intended to be protected by such laws and whose injuries said laws were designed to

prevent. Defendants’ violations of said laws proximately caused injury to Plaintiff.




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       972.    Defendants also violated federal and Ohio statutes and regulations, including the

controlled substances laws, by, inter alia:

               a.      Distributing and selling opioids in ways that facilitated and encouraged
                       their flow into the illegal, secondary market;

               b.      Distributing and selling opioids without maintaining effective controls
                       against the diversion of opioids;

               c.      Choosing not to effectively monitor for suspicious orders;

               d.      Choosing not to investigate suspicious orders;

               e.      Choosing not to report suspicious orders;

               f.      Choosing not to stop or suspend shipments of suspicious orders; and

               g.      Distributing and selling opioids prescribed by “pill mills” when
                       Defendants knew or should have known the opioids were being prescribed
                       by “pill mills.”

       973.    As a direct and proximate result of Defendants’ negligence and/or negligence per

se, Plaintiffs have suffered and will continue to suffer economic damages including, but not

limited to, significant expenses for police, emergency, health, prosecution, corrections,

rehabilitation, and other services.

       974.    As a direct and proximate result of Defendants’ negligence and/or negligence per

se, Plaintiffs have suffered and will continue to suffer stigma damage, non-physical property

damage, and damage to its proprietary interests.

       975.    As a direct and proximate result of Defendants’ negligent, willful, wanton, and

intentional acts, omissions, misrepresentations and otherwise culpable acts, there is now a

national opioid epidemic that has caused enormous harm and injury to the public.

       976.    Defendants’ misconduct alleged in this case is ongoing and persistent.

       977.    Defendants’ misconduct alleged in this case does not concern a discrete event or

discrete emergency of the sort a political subdivision would reasonably expect to occur, and is



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not part of the normal and expected costs of a local government’s existence. Plaintiffs allege

wrongful acts which are neither discrete nor of the sort a local government can reasonably

expect.

          978.   Plaintiffs have incurred expenditures for special programs over and above

Plaintiffs’ ordinary public services.

          979.   Plaintiffs have suffered an indivisible injury as a result of the tortious conduct of

Defendants.

          980.   The tortious conduct of each Defendant was a substantial factor in producing

harm to Plaintiff.

          981.   Defendants acted with actual malice because Defendants acted with a conscious

disregard for the rights and safety of other persons, and said actions have a great probability of

causing substantial harm.

          982.   Plaintiffs seek all legal and equitable relief as allowed by law, including inter alia

injunctive relief, restitution, disgorgement of profits, compensatory and punitive damages, and

all damages allowed by law to be paid by the Defendants, attorney fees and costs, and pre- and

post-judgment interest.

                                 SEVENTH CLAIM FOR RELIEF

                                       Common Law Fraud
                                (Against the Marketing Defendants)

          983.   Plaintiffs incorporate by reference all other paragraphs of this Complaint as if

fully set forth herein, and further allege:

          984.   Marketing Defendants violated their duty not to actively deceive by intentionally

and unlawfully making knowingly false statements, and by intentionally and unlawfully omitting

and/or concealing information.



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       985.    Specifically, the Marketing Defendants’ knowing deceptions during the relevant

period, which were intended to induce reliance, include but are not limited to:

               a.     Marketing Defendants’ misrepresentations overstating the benefits of, and
                      evidence for, the use of opioids for chronic pain;

               b.     Marketing Defendants’ misrepresentations that the risks of long-term
                      opioid use, especially the risk of addiction, were overblown;

               c.     Marketing Defendants’ misrepresentations that opioid doses can be safely
                      and effectively increased until pain relief is achieved;

               d.     Marketing Defendants’ misrepresentations that signs of addiction were
                      “pseudoaddiction” and thus reflected undertreated pain, which should be
                      responded to with more opioids;

               e.     Marketing Defendants’ misrepresentations that screening tools effectively
                      prevent addiction;

               f.     Marketing Defendants’ misrepresentations concerning the comparative
                      risks of NSAIDs and opioids;

               g.     Marketing Defendants’ misrepresentations that opioids differ from
                      NSAIDs in that opioids have no ceiling dose;

               h.     Marketing Defendants’ misrepresentations that evidence supports the
                      long-term use of opioids for chronic pain;

               i.     Marketing Defendants’ misrepresentations that chronic opioid therapy
                      would improve patients’ function and quality of life;

               j.     Marketing Defendants’ false portrayal of their efforts and/or commitment
                      to rein in the diversion and abuse of opioids;

               k.     Marketing Defendants’ misrepresentations that withdrawal is easily
                      managed;

               l.     Purdue’s and Endo’s misrepresentations that alleged abuse-deterrent
                      opioids reduce tampering and abuse;

               m.     Purdue’s misrepresentations that OxyContin provides a full 12 hours of
                      pain relief;

               n.     Purdue’s misrepresentations that it cooperates with and supports efforts to
                      prevent opioid abuse and diversion;




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               o.      Mallinckrodt’s misrepresentations that it meets or exceeds legal
                       requirements for controlling against diversion of controlled substances it
                       has been entrusted to handle;

               p.      Insys’s misrepresentations that Subsys was appropriate for treatment of
                       non-cancer pain and its failure to disclose that Subsys was not approved
                       for such use;

               q.      Insys’s misrepresentations to third-party payors to secure approval for
                       coverage;

               r.      Insys’s use of speaker bureaus to disguise kickbacks to prescribers;

               s.      Teva’s misrepresentations that Actiq and Fentora were appropriate for
                       treatment of non-cancer pain and its failure to disclose that Actiq and
                       Fentora were not approved for such use;

               t.      Cephalon’s unsubstantiated claims that Actiq and Fentora were
                       appropriate for treatment of non-cancer pain;

               u.      Marketing Defendants’ use of front groups to misrepresent that the
                       deceptive statements from the sources described in this Complaint came
                       from objective, independent sources;

               v.      Marketing Defendants’ creation of a body of deceptive, misleading and
                       unsupported medical and popular literature, advertisements, training
                       materials, and speaker presentations about opioids that (i) understated the
                       risks and overstated the benefits of long-term use; (ii) appeared to be the
                       result of independent, objective research; and (iii) was thus more likely to
                       be relied upon by physicians, patients, and payors; and,

               w.      Such other misrepresentations and deceptions outlined above.

       986.    By engaging in the acts and practices alleged herein, Marketing Defendants, in the

relevant time period, with the intent that others rely on their omissions or suppression of

information, omitted material facts that Marketing Defendants had a duty to disclose by virtue of

these Defendants’ other representations, including but not limited to:

               a.      opioids are highly addictive and may result in overdose or death;

               b.      no credible scientific evidence supports the use of screening tools as a
                       strategy for reducing abuse or diversion;

               c.      high dose opioids subject the user to greater risks of addiction, other
                       injury, and/or death;


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               d.     opioids present the risks of hyperalgesia, hormonal dysfunction, decline in
                      immune function, mental clouding, confusion, dizziness, increased falls
                      and fractures in the elderly, neonatal abstinence syndrome, and potentially
                      fatal interactions with alcohol or benzodiazepines; these omissions were
                      made while Defendants exaggerated the risks of competing products such
                      as NSAIDs;

               e.     claims regarding the benefits of chronic opioid therapy lacked scientific
                      support or were contrary to the scientific evidence;

               f.     Purdue’s 12-hour OxyContin fails to last a full twelve hours in many
                      patients;

               g.     Purdue’s and Endo’s abuse-deterrent formulations are not designed to
                      address, and have no effect on, the common route of abuse (oral abuse),
                      can be defeated with relative ease, and may increase overall abuse;

               h.     Marketing Defendants’ failure to report suspicious prescribers and/or
                      orders;

               i.     Insys’s use of kickback and insurance fraud schemes;

               j.     Insys’s failure to disclose that Subsys was not approved for non-cancer
                      pain;

               k.     Cephalon’s failure to disclose that Actiq and Fentora were not approved
                      for non-cancer pain;

               l.     Marketing Defendants’ failure to disclose their financial ties to and role in
                      connection with KOLs, front groups, and deceptive literature and
                      materials, as more fully described above; and

               m.     Such other omissions and concealments as described above.

       987.    In each of the circumstances described in inter alia the foregoing paragraph,

Marketing Defendants knew that their failure to disclose rendered their prior representations

untrue or misleading. Thus, Marketing Defendants had a duty not to deceive Plaintiff.

       988.    In addition and independently, Marketing Defendants had a duty not to deceive

Plaintiff because Defendants had in their possession unique material knowledge that was

unknown, and not knowable, to the Plaintiff, Plaintiffs’ agents, Plaintiffs’ Community,

physicians, and the public.



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        989.     These Defendants made these false representations and concealed facts with

knowledge of the falsity of their representations. These Defendants’ false representations and

concealed facts were material to the conduct and actions at issue.

        990.     Marketing Defendants intended and had reason to expect under the operative

circumstances that the Plaintiff, Plaintiffs’ agents, Plaintiffs’ Community, physicians, the public,

and persons on whom Plaintiff and its agents relied would be deceived by Defendants’

statements, concealments, and conduct as alleged herein and that Plaintiff would act or fail to act

in reasonable reliance thereon.

        991.     Marketing Defendants intended that Plaintiff, Plaintiffs’ agents, Plaintiffs’

Community, physicians, the public, and persons on whom Plaintiff and its agents relied would

rely on these Defendants’ misrepresentations and omissions; Defendants intended and knew that

this reasonable and rightful reliance would be induced by these Defendants’ misrepresentations

and omissions; and, Defendants intended and knew that such reliance would cause Plaintiff to

suffer loss.

        992.     Plaintiff, Plaintiffs’ agents, Plaintiffs’ community, the public, physicians and

persons on whom Plaintiff and its agents relied, did in fact rightfully, reasonably, and justifiably

rely on Marketing Defendants’ representations and/or concealments, both directly and indirectly.

As the Marketing Defendants knew or should have known Plaintiff was directly and proximately

injured as a result of this reliance, Plaintiffs’ injuries were directly and proximately caused by

this reliance.

        993.     As a result of these representations and/or omissions, Plaintiff proceeded under

the misapprehension that the opioid crisis was simply a result of conduct by persons other than




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Defendants. As a consequence, these Defendants prevented Plaintiff from a more timely and

effective response to the opioid crisis.

          994.   By reason of its reliance on Marketing Defendants’ misrepresentations and

omissions of material fact, Plaintiff suffered damages.

          995.   Defendants’ misconduct alleged in this case is ongoing and persistent.

          996.   Defendants’ misconduct alleged in this case does not concern a discrete event or

discrete emergency of the sort a political subdivision would reasonably expect to occur, and is

not part of the normal and expected costs of a local government’s existence. Plaintiffs allege

wrongful acts which are neither discrete nor of the sort a local government can reasonably

expect.

          997.   Plaintiffs have incurred expenditures for special programs over and above

Plaintiffs’ ordinary public services.

          998.   These Defendants’ conduct was accompanied by wanton and willful disregard of

persons who foreseeably might be harmed by their acts and omissions.

          999.   Defendants’ actions demonstrated both malice and also aggravated and egregious

fraud. Defendants engaged in the conduct alleged herein with a conscious disregard for the

rights and safety of other persons, even though that conduct had a great probability of causing

substantial harm. The Marketing Defendants’ fraudulent wrongdoing was done with a

particularly gross and conscious disregard.

          1000. Plaintiffs seek all legal and equitable relief as allowed by law, including inter alia

injunctive relief, restitution, disgorgement of profits, compensatory and punitive damages, and

all damages allowed by law to be paid by the Defendants, attorney fees and costs, and pre-and

post-judgment interest.




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                                 EIGHTH CLAIM FOR RELIEF

                                  Injury Through Criminal Acts
                                          (R.C. 2307.60)
                                     (Against All Defendants)

        1001. Plaintiffs incorporate by reference all other paragraphs of this Complaint as if

fully set forth herein, and further allege:

        1002. R.C. § 2307.60(A)(1) provides that:

                Anyone injured in person or property by a criminal act has, and
                may recover full damages in, a civil action unless specifically
                excepted by law, may recover the costs of maintaining the civil
                action and attorney’s fees if authorized by any provision of the
                Rules of Civil Procedure or another section of the Revised Code or
                under the common law of this state, and may recover punitive or
                exemplary damages if authorized by section 2315.21 or another
                section of the Revised Code.

        1003. In the distribution and sale of opioids in Ohio and Plaintiffs’ Community,

Defendants violated R.C. § 2925.02(A), which states:

                “No person shall knowingly do any of the following:

                (1) By force, threat, or deception, administer to another or induce
                or cause another to use a controlled substance; . . . or

                (3) By any means, administer or furnish to another or induce or
                cause another to use a controlled substance, and thereby cause
                serious physical harm to the other person, or cause the other person
                to become drug dependent.”

        1004. Defendants’ actions in deceptively marketing opioids, as described throughout

this Complaint, knowingly induced or caused members of Plaintiffs’ community to use a

controlled substance by deception, in violation of R.C. § 2925.02(A).

        1005. Through the Defendants’ actions as described in this Complaint, including

flooding the market with opioids, deliberately disregarding their obligations to maintain effective

controls against diversion, Defendants furnished to residents of Plaintiffs’ Community or



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induced or caused residents of Plaintiffs’ Community to use a controlled substance, thereby

causing serious physical harm to those persons and causing them to become drug dependent, in

violation of R.C. §§ 2925.02(A)(3).

       1006. The exemption in R.C. § 2925.02 only applies to drug manufacturers and

wholesalers when their “conduct is in accordance with Chapters R.C. § 3719., 4715., 4723.,

4729., 4730., 4731., and 4741.” R.C. § 2925.02(B). Defendants are not in compliance with said

Chapters and have thereby forfeited the protection provided by the exception.

       1007. In the distribution and sale of opioids in Ohio and Plaintiffs’ Community,

Defendants violated R.C. § 2925.02(A)(2), which makes it a crime to: “Prepare for shipment,

ship, transport, deliver, prepare for distribution, or distribute a controlled substance or a

controlled substance analog, when the offender knows or has reasonable cause to believe that the

controlled substance or a controlled substance analog is intended for sale or resale by the

offender or another person.”

       1008. Defendants may claim an exemption to R.C. § 2925.03(A)(2) only if their

“conduct is in accordance with Chapters 3719., 4715., 4723., 4729., 4730., 4731., and 4741. of

the Revised Code.” Defendants are not in compliance with said Chapters and have thereby

forfeited the protection provided by the exception.

       1009. Defendants have engaged in additional criminal acts detailed in the RICO and

Ohio Criminal Practices Act Counts above, including acts of criminal wire fraud, mail fraud,

telecommunications fraud, unlawful dealing in controlled substances, violations of RICO, and

violations of the Ohio Criminal Practices Act.




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          1010. It was foreseeable to Defendants that their misconduct alleged in this Count

would lead to addiction, abuse, misuse, and diversion of opioids, both in Plaintiffs’ Community

and throughout the United States.

          1011. Plaintiff was within the zone of interest protected by these criminal laws.

          1012. As a direct and proximate result of Defendants’ criminal acts as described in this

Count, Plaintiff suffered injury and damages, for which Plaintiffs are entitled to recover pursuant

to R.C. § 2307.60(A)(1).

          1013. Defendants’ misconduct alleged in this case is ongoing and persistent.

          1014. Defendants’ misconduct alleged in this case does not concern a discrete event or

discrete emergency of the sort a political subdivision would reasonably expect to occur, and is

not part of the normal and expected costs of a local government’s existence. Plaintiffs allege

wrongful acts which are neither discrete nor of the sort a local government can reasonably

expect.

          1015. Plaintiffs have incurred expenditures for special programs over and above

Plaintiffs’ ordinary public services.

          1016. Defendants acted with actual malice because Defendants acted with a conscious

disregard for the rights and safety of other persons, and said actions had a great probability of

causing substantial harm.

          1017. Plaintiffs seek all legal relief to which they may be entitled pursuant to R.C.

§ 2307.60(A)(1), including inter alia compensatory damages, punitive and/or exemplary

damages, attorney’s fees, and the costs and expenses of suit, including pre- and post-judgment

interest.




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                                  NINTH CLAIM FOR RELIEF

                                        Unjust Enrichment
                                      (Against All Defendants)

        1018. Plaintiffs incorporate by reference all other paragraphs of this Complaint as if

fully set forth herein, and further allege:

        1019. As an expected and intended result of their conscious wrongdoing as set forth in

this Complaint, Defendants have profited and benefited from the increase in the distribution and

purchase of opioids within Plaintiffs’ Community, including from opioids foreseeably and

deliberately diverted within and into Plaintiffs’ Community.

        1020. Unjust enrichment arises not only where an expenditure by one party adds to the

property of another, but also where the expenditure saves the other from expense or loss.

        1021. Plaintiffs have expended substantial amounts of money in an effort to remedy or

mitigate the societal harms caused by Defendants’ conduct.

        1022. These expenditures include the provision of healthcare services and treatment

services to people who use opioids.

        1023. These expenditures have helped sustain Defendants’ businesses.

        1024. Plaintiffs have conferred a benefit upon Defendants by paying for Defendants’

externalities: the cost of the harms caused by Defendants’ improper distribution practices.

        1025. Defendants were aware of these obvious benefits, and their retention of the

benefit is unjust.

        1026. Plaintiffs have paid for the cost of Defendants’ externalities and Defendants have

benefited from those payments because they allowed them to continue providing customers with

a high volume of opioid products. Because of their deceptive marketing of prescription opioids,

Marketing Defendants obtained enrichment they would not otherwise have obtained. Because of



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their conscious failure to exercise due diligence in preventing diversion, Defendants obtained

enrichment they would not otherwise have obtained. The enrichment was without justification

and Plaintiff lacks a remedy provided by law.

          1027. Defendants have unjustly retained benefits to the detriment of Plaintiff, and

Defendants’ retention of such benefits violates the fundamental principles of justice, equity, and

good conscience.

          1028. Defendants’ misconduct alleged in this case is ongoing and persistent.

          1029. Defendants’ misconduct alleged in this case does not concern a discrete event or

discrete emergency of the sort a political subdivision would reasonably expect to occur, and is

not part of the normal and expected costs of a local government’s existence. Plaintiffs allege

wrongful acts which are neither discrete nor of the sort a local government can reasonably

expect.

          1030. Plaintiffs have incurred expenditures for special programs over and above

Plaintiffs’ ordinary public services.

          1031. Plaintiffs seek an order compelling Defendants to disgorge all unjust enrichment

to Plaintiff; and awarding such other, further, and different relief as this Honorable Court may

deem just.

                                  TENTH CLAIM FOR RELIEF

                                         CIVIL CONSPIRACY
                                        (Against All Defendants)

          1032. Plaintiffs incorporate by reference all other paragraphs of this Complaint as if

fully set forth herein, and further allege:

          1033. Defendants engaged in a civil conspiracy in their unlawful marketing of opioids

and/or distribution of opioids into Ohio and Plaintiffs’ Community.



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       1034. Defendants engaged in a civil conspiracy to commit fraud and misrepresentation

in conjunction with their unlawful marketing of opioids and/or distribution of opioids into Ohio

and Plaintiffs’ Community.

       1035. Defendants unlawfully failed to act to prevent diversion and failed to monitor for,

report, and prevent suspicious orders of opioids.

       1036. The Marketing Defendants further unlawfully marketed opioids in the Ohio and

Plaintiffs’ Community in furtherance of that conspiracy.

       1037. Defendants’ conspiracy and acts in furtherance thereof are alleged in detail in this

Complaint, including, without limitation, in Plaintiffs’ Counts for violations of RICO and the

Ohio Criminal Practices Act. Such allegations are specifically incorporated herein.

       1038. Defendants acted with a common understanding or design to commit unlawful

acts, as alleged herein, and acted purposely, without a reasonable or lawful excuse, which

directly caused the injuries alleged herein.

       1039. Defendants acted with malice, purposely, intentionally, unlawfully, and without a

reasonable or lawful excuse.

       1040. Defendants conduct in furtherance of the conspiracy described herein was not

mere parallel conduct because each Defendant acted directly against their commercial interests in

not reporting the unlawful distribution practices of their competitors to the authorities, which

they had a legal duty to do. Each Defendant acted against their commercial interests in this

regard due to an actual or tacit agreement between the Defendants that they would not report

each other to the authorities so they could all continue engaging in their unlawful conduct.

       1041. Defendants’ conspiracy, and Defendants’ actions and omissions in furtherance

thereof, caused the direct and foreseeable losses alleged herein.




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          1042. Defendants’ actions demonstrated both malice and also aggravated and egregious

fraud. Defendants engaged in the conduct alleged herein with a conscious disregard for the

rights and safety of other persons, even though that conduct had a great probability of causing

substantial harm. The Marketing Defendants’ fraudulent wrongdoing was done with a

particularly gross and conscious disregard.

          1043. Defendants’ misconduct alleged in this case is ongoing and persistent.

          1044. Defendants’ misconduct alleged in this case does not concern a discrete event or

discrete emergency of the sort a political subdivision would reasonably expect to occur, and is

not part of the normal and expected costs of a local government’s existence. Plaintiffs allege

wrongful acts which are neither discrete nor of the sort a local government can reasonably

expect.

          1045. Plaintiffs have incurred expenditures for special programs over and above

Plaintiffs’ ordinary public services.

          1046. Plaintiffs seek all legal and equitable relief as allowed by law, including inter alia

injunctive relief, restitution, disgorgement of profits, compensatory and punitive damages, and

all damages allowed by law to be paid by the Defendants, attorney fees and costs, and pre-and

post-judgment interest.

                                        PRAYER FOR RELIEF

          1047. Plaintiff respectfully requests that this Court enter an order of judgment granting

all relief requested in this complaint, and/or allowed at law or in equity, including:

                 a.      abatement of the nuisance;

                 b.      actual damages;

                 c.      treble or multiple damages and civil penalties as allowed by statute;

                 d.      punitive damages;


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             e.     exemplary damages;

             f.     disgorgement of unjust enrichment;

             g.     equitable and injunctive relief in the form of Court-enforced corrective
                    action, programs, and communications;

             h.     forfeiture, disgorgement, restitution and/or divestiture of proceeds and
                    assets;

             i.     attorneys’ fees;

             j.     costs and expenses of suit;

             k.     pre- and post-judgment interest; and

             l.     such other and further relief as this Court deems appropriate.




Dated October 23, 2018

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